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                       IN THE UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF ARKANSAS
                                   HELENA DIVISION

Re:       Turner Grain Merchandising, Inc., Debtor                          Case No. 2:14-bk-15687J
                                                                                           Chapter 7
                                                                           Converted from Chapter 11

                            APPLICATION FOR ATTORNEY FEES
          M. Randy Rice of Rice & Associates, P. A., hereby requests payment of attorney fees for

legal services performed on behalf of the above-named estate and states:

          1.     Applicant prepared his request to be hired as attorney for this estate on May 12, 2016.

The application was filed on May 13, 2016. An Order was entered by this Court on May 16, 2016,

authorizing the trustee to employ applicant as Attorney for the estate.

          2.     The applicant performed legal services on behalf of the estate. Attached to this

application is an itemization of services performed and the time required to render those services.

The services performed were reasonable and necessary for the effective administration of the above

estate.

          3.     The total fee charged for rendering legal services on behalf of the estate is

$506,276.25. There have been no prior payment to applicant for legal services rendered. The

attorney fee requested by applicant is reasonable and it is the best interest of the estate that this fee

be approved and paid.

          WHEREFORE, applicant prays that an attorney fee in the amount of $506,276.25 be

approved by this Court and be ordered paid by the estate to applicant as attorney and for all other

relief for which the estate may be entitled.

          DATE          July 24, 2017
                                                Respectfully Submitted;

                                                /s/ M. Randy Rice, Trustee
                                                523 S. Louisiana, #300
                                                Little Rock, AR 72201
                                                (501)374-1019
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               ITEMIZATION OF LEGAL SERVICES PERFORMED
                           BY M. RANDY RICE


DATE                        LEGAL SERVICES PROVIDED                                  TIME

04/29/16    Telephone conference with Richard Cox, former Trustee, re:
            information on pending matters in case and other related information.
                                                                                       .20

04/29/16    Telephone conference with Kevin Keech, attorney, re: status of case,
            information concerning claims, rights, litigation.                         .60

04/29/16    Conference with Kevin Keech, attorney re: status of case, information
            concerning claims, rights, litigation.                                    1.75

04/29/16    Telephone conference with Greg Bevel, attorney, re: possible
            retention in case, possible litigation.                                    .40

05/06/16    Telephone conference with Greg Bevel attorney, re: avoidance
            actions, fraudulent conveyances, contractual actions against creditors
            and other parties.                                                        1.00

05/12/16    Prepared application, affidavit and proposed order to hire Rice and
            Associates.                                                               1.00

05/12/16    Review of notes and court filings in preparation for meeting with
            Richard Cox, former attorney for estate, re: possible causes of action
            of the estate, other legal matters.                                       4.30

05/13/16    Conference with Richard Cox, former attorney for estate, Hamilton
            Mitchell, staff attorney and Donna Poullos, staff paralegal, re:
            pending legal matters, upcoming hearings, other possible claims and
            causes of action.                                                         3.00

05/13/16    Review and analysis of estate’s interest in multiple pending cases and
            of multiple files received from Richard Cox, former attorney for
            estate, re: pending legal matters, hearings scheduled for 05/31/16.       3.80

05/13/16    Emailed Tom Streetman, attorney, re: meeting with former trustee,
            legal matters to address.                                                  .25

05/14/16    Review of email received from Randy Grice, attorney, re: possible
            conference concerning upcoming hearings. Also, review of file and
            notes concerning claims against KBX .                                      .50

05/14/16    Telephone conference with Kevin Keech, attorney, re: hearing at end
            of the month.                                                              .20

05/14/16    Exchange of emails with Kerry Miller, attorney, re: scheduling
            telephone conference, proceeding with analysis of possible claims of

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            estate.                                                                   .50

05/14/16    Emailed Randy Grice, attorney re: upcoming hearings, possible
            meeting next week.                                                        .20

05/14/16    Emailed staff attorney for court, re: upcoming hearing, possible
            continuances.                                                             .25

05/14/16    Emailed Kendel Grooms, attorney, re: possible meeting early next
            week.                                                                     .25

05/14/16    Additional review and analysis of estate’s interest in multiple
            pending cases and of multiple files received from Richard Cox,
            former attorney for estate, re: pending legal matters, hearings
            scheduled for 05/31/16.                                                  4.60

05/15/16    Additional review of court filings and records turned over by Cox, re:
            pending legal matters, upcoming hearings.                                2.50

05/16/16    Review of email received from Tom Streetman, attorney, re: hearings
            on 05/31/16, discussions on possibly going forward.                       .20

05/16/16    Review of email received from Brian Crisp, CPA, re: proposed
            documents to support application for fees and expenses for work
            done thus far.                                                            .60

05/16/16    Telephone conference with Marty Blizzard, attorney, re: hearings set
            on 05/31/16, intent to go forward with some matters.                      .25

05/16/16    Preparation for telephone conference with potential special counsel.
            Telephone conference with Greg Bevel, Kerry Miller and Kevin
            McCullough, attorneys, re: potential claims of estate, meetings next
            week, status of discovery, application to retain special counsel.         .40

05/16/16    Telephone conference with Kevin Keech, attorney, re: upcoming
            hearings. Motion to consolidate non debtor parties.                       .30

05/16/16    Emailed Tom Streetman, attorney, re: hearing at end of the month,
            upcoming meetings with attorneys.                                         .25

05/16/16    Telephone conference with Tom Streetman, attorney, re: hearing on
            05/31/16, intent to proceed, retention of additional special counsel.     .60

05/16/16    Additional review of pleadings in adversary proceedings, re:
            scheduling meeting with Grooms and Grice, counsel for opposing
            parties.                                                                  .90

05/17/16    Preparation for conference and conference with Randy Grice, Kate
            Davidson, Scott Vaughn and Hamilton Mitchell, re: pending
            litigation, upcoming hearings, discovery and production of records.      2.00



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05/18/16    Additional preparation for conference with staff attorney, Randy
            Grice, Scott Vaughn and Kate Davidson, re: pending litigation,
            upcoming hearings, discovery and production of records.                2.20

05/18/16    Prepared draft of application to hire Brad Wooley as auctioneer to
            sell boat online.                                                       .60

05/18/16    Initial review of letter and documents received Tom Streetman,
            attorney, re: records received from Gavilon in response to discovery
            requests.                                                              1.80

05/18/16    Review of court files in preparation of upcoming conference with
            Kendal Grooms and Don Campbell, attorneys for Lonoke County
            Farmers in State Court and Bankruptcy Court actions.                   1.50

05/18/16    Additional review of records and documents on Gavalon transfers
            received from Tom Streetman.                                           2.90

05/19/16    Review proposed application to hire Tom Streetman as special
            counsel for estate. Submitted application to staff for filing.          .20

05/19/16    Conference with Kendal Grooms and Don Campbell, attorneys for
            Lonoke County Farmers in State Court and Bankruptcy Court
            actions.                                                               1.50

05/19/16    Additional review of records and documents on Gavalon transfers
            received from Tom Streetman.                                           3.80

05/19/16    Review exchange of emails between attorneys concerning the
            confidentiality of discovery documents.                                 .40

05/20/16    Review and analysis of records concerning the payments made by
            Turner Grain during the preferential period and non preferential in
            order to determine possible avoidance actions.                         4.60

05/21/16    Additional review of records and documents of Gavilon and Helena
            Bank, re: analysis of potential causes of actions on behalf of the
            estate.                                                                6.00

05/22/16    Review of email received from Kendel Grooms, attorney, re: analysis
            of bank account and potential pre petition claims.                      .80

05/23/16    Prepared order to hire Streetman and Meeks as special counsel and
            submitted to court.                                                     .60

05/23/16    Review exchange of emails between Grice and Streetman concerning
            discovery matters.                                                      .40

05/24/16    Telephone conference with Brad Wooley, re: application to hire
            auctioneer, special conditions.                                         .25



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05/25/16    Telephone conference with Kevin Keech, attorney, re: pending
            motion to distribute proceeds to Rabo.                                     .50

05/25/16    Review of exchange of emails between Gavilon’s counsel and Tom
            Streetman protective order concerning discovery on Gavilon.                .90

05/26/16    Review of email received from Tom Streetman motion to substitute
            Rice for Cox.                                                              .30

05/26/16    Review of letter and documents received from Randy Grice, attorney,
            re: several documents produced in response to my request at earlier
            conference.                                                               4.20

05/26/16    Review of email received from Kate Davidson pre-trial briefs
            submitted to court in ap 14-1115 Turner Grain v. KBX .                    1.30

05/26/16    Telephone conference with Brad Wooley, auctioneer, re: possible
            application to hire as auctioneer, administrative expenses may cause
            pro rata distribution.                                                     .40

05/26/16    Review of additional discovery from Kate Davidson forwarded to
            Tom Streetman, attorney, re: upcoming hearing in KBX v. Trustee
            et al ap. Also, additional review of brief.                               1.60

05/26/16    Telephone conference with Kevin Keech, attorney, re: ongoing scope
            of engagement.                                                             .50

05/27/16    Telephone conference with Greg Bevel, attorney, re: analysis of
            potential claim against parties receiving proceeds from debtor.            .50

05/27/16    Review of motion and proposed order submitted to court, re:
            substitution of parties - Rice for Cox.                                    .30

05/30/16    Review of files, pleadings and briefs in several matters scheduled for
            hearing tomorrow in pending adversary proceedings.                        3.20

05/31/16    Preparation for hearing and hearing on several matters, re: motion to
            dismiss interpleader complaint and responses, motion to dismiss
            complaint filed by trustee and responses, motion for leave to file
            amended interpleader complaint, motion to deposit funds.                  7.30

06/01/16    Review of proposed engagement letter, application for employment
            and affidavit received from Greg Bevel in efforts to retain special
            counsel for the estate. Noted proposed revisions. Also, additional
            review of pending litigation and other files in preparation for meeting
            tomorrow or 06/03/16.                                                     1.80

06/02/16    Conference with Bevel and Keech, special counsel, re: legal matters
            to be pursued (preferences, fraudulent conveyances, collections of
            accounts, other claims).                                                  1.80



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06/02/16    Reviewing legal records and documents received from numerous
            parties in preparation for further meetings tomorrow.                    3.00

06/03/16    Conference with Greg Bevel, attorney, re: possible fraudulent
            conveyances, possible preferences, revisions I made to proposed
            engagement letter and application, legal analysis on several other
            matters.                                                                 2.50

06/04/16    Telephone conference with Brad Wooley, re: explanation of legal
            impact of his administrative claim and others, confirm desire to be
            retained. Filed application.                                              .20

06/06/16    Review of correspondence (and related documents) between
            accountant and attorney for estate concerning possible fraudulent
            conveyance and possible defenses.                                         .75

06/06/16    Telephone conference with Kevin Keech, attorney, re: pending legal
            matters.                                                                  .10

06/07/16    Telephone conference with Kevin Keech, attorney, re: pending
            motion to pay Rabo, other pending litigation.                             .30

06/07/16    Exchange of emails with Tom Streetman, attorney, re: possible
            objection to discharge of Bartlett.                                       .40

06/07/16    Telephone conference with Tom Streetman, attorney, re: pending
            motion of Rabo, upcoming ruling on pending matters.                       .30

06/07/16    Telephone conference with Tom Streetman, attorney, re: several legal
            matters. Additional review of file and records, re: possible discharge
            objection of Bartlett.                                                    .90

06/08/16    Prepared and forwarded email to court, re: position on extending time
            to object to discharge.                                                   .30

06/08/16    Telephonic ruling on matters heard on 05/31/16. Court dismissed
            interpleader and denied KBX ’s motion to dismiss trustee’s
            complaint. Court will prepare order. Review of notes in effort to
            analyze claim.                                                           1.60

06/09/16    Reviewed documents from James Smith, attorney, re: calculation to
            support balance of alleged secured claim.                                 .80

06/10/16    Review and analysis of email from James Smith, attorney, re;
            pending proceeds.                                                         .25

06/11/16    Review and analysis of multiple pleadings filed in State Court,
            Lonoke County, re: Zero Grade Farms et al v. Agri-Pertoleum Sales,
            LLC et al, Lonoke Circuit No. 43-14-410.                                 6.30

06/13/16    Reviewed and revised proposed order from James Smith, attorney, re:


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            approving third distribution to Rabo. Forwarded proposed order to
            staff attorney for purpose of forwarding to counsel.                     .80

06/13/16    Final review of proposed application to retain Bevel and Firm as
            special counsel, affidavit and engagement letter. Emailed Bevel, re:
            documents approved, please file.                                        1.20

06/14/16    Review and analysis of payments made to creditors for preference
            letters to creditors demanding turnover.                                4.00

06/15/16    Additional review and analysis of payments made to creditors for
            preference letters to creditors demanding turnover. Finalized
            preparation of preference letters and forwarded to 47 creditors.        5.00

06/16/16    Revised proposed motion to sell party barge. Telephone conference
            with Brad Wooley additional information needed for drafting of
            motion to sell party barge.                                              .80

06/17/16    Review of pleadings filed by Greg Bevel, attorney, re: motion to
            appear pro hace vice filed on behalf of Bevel and a separate motion
            filed by Kerry Miller.                                                   .10

06/17/16    Review of email received from Harry Light, attorney, for T. Brown
            Farm re: receipt of preference demand, will review and contact me.       .10

06/17/16    Drafted letters to five creditors, re: preference received, demand
            refund of payments. Instructed staff to forward letter to Bevel for
            review.                                                                 1.40

06/17/16    Telephone conference with Bradley Benton, farmer, re: response to
            preference letter.                                                       .30

06/17/16    Reviewed and calendered order granting request for Bevel and Kerry
            Miller to appear pro hace vice in Turner case.                           .10

06/20/16    Telephone conference with Roger McNeil, attorney, re: response to
            preference demand.                                                       .25

06/20/16    Received call from Mike Fowler, former farmer, re: response to
            preference demand.                                                       .25

06/20/16    Review of file re: pending legal matters, pending motion to make
            third payment to Rabo. Also, reviewed claim of Rabo and other
            related documents. Conference with staff attorney, concerning
            matter. Prepared revision to proposed order approving payment to
            Rabo. Instructed staff to forward Order, with revisions to attorney
            for Rabo for possible approval and entry of record.                     1.00

06/21/16    Prepared final revisions to motion to sell party barge on line, filed
            motion. Also, prepared and forwarded notice of opportunity to object
            to motion.                                                              1.20


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06/21/16    Received letter from Lance Miller, attorney, re: discovery of Gavalon
            Grain production records. Emailed Tom Streetman request for copy
            of records.                                                                .30

06/21/16    Review of letter and documents received Nathan Gregory of Gregory
            Farms, re: response to preference demand.                                  .25

06/22/16    Review of email received from Scott Hunter, attorney, re:
            acknowledgment of representation. request that all correspondence
            be directed to him.                                                        .25

06/22/16    Review of letter from William Bridgforth, attorney, re: to turnover
            funds, allegations of course of business defense.                          .60

06/22/16    Review of letter from David Blair, attorney, re: refusal to turnover
            funds, allegations of course of business defense.                          .50

06/23/16    Review of email received from Douglas Noble, attorney, re: intent
            to respond after obtaining additional records, inquiry of documents
            of debtor.                                                                 .30

06/23/16    Review of correspondence from numerous other attorneys concerning
            response to preference letter demands.                                    4.30

06/24/16    Emailed Bruce Tidwell, attorney, re: agreeable to extension of time
            to respond to preference demand.                                           .25

06/24/16    Review of email received from Sam Medford, re: response to
            preference demand forthcoming from counsel.                                .20

06/24/16    Review of letter from Michael Fowler, re: response from preference
            letter.                                                                    .20

06/24/16    Additional review of letters and emails from numerous attorneys on
            behalf of clients in response to preference letters. Responding to
            request for additional time. Drafting reply to responses.                 4.30

06/24/16    Telephone conference with Charles Coleman, attorney, re: represent
            two parties. Requesting additional time, possible defenses.                .40

06/24/16    Telephone conference with Kevin Keech, attorney, re: preferences,
            meeting tomorrow or Monday.                                                .40

06/27/16    Review of email received from David Dowd, president of Cross
            County Bank, re: request of additional information in relation to
            preference demand upon numerous farmers.                                   .40

06/27/16    Telephone conference with Lyndsey Dilks, re: preference letter,
            proof of claim filed in Bartlett case, other possible causes of action.
                                                                                       .50



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06/27/16    Traveled to Kevin Keech’s office with paralegal, re: review of
            preference files, review of back up system of debtor.                    2.50

06/27/16    Review of records and documents of debtor, re: additional documents
            to support preference demands.                                           4.80

06/28/16    Review of filings on ECF, re: earlier turnover Orders, claims.           2.60

06/28/16    Review of records and documents received from Keech, re:
            preference documentation, other potential causes of actions.             4.90

06/28/16    Review of emails received from Robert Sergio, attorney, re:
            acknowledgment of representation of Calloway Farms and Benton
            Farming, intent to provide documents verifying defenses.                  .30

06/30/16    Review of correspondence between attorneys concerning setoff rights
            of creditor.                                                              .40

06/30/16    Review of letter and documents received Robert Sergio, attorney for
            Benton Farming, re: defenses to preferences. Also, review of file re:
            verification of authenticity of documents.                               1.10

07/01/16    Additional review of letter and documents received Sergio and
            Ballard, attorneys for farm creditors stating defenses to preferences.
            Also, review and analysis of records and documents in estate’s
            possession.                                                              1.80

07/01/16    Review of email from Kevin Keech, attorney, re: application to
            employ as special counsel.                                                .20

07/02/16    Review of email received from Harry Light, attorney, re: follow up
            on request for documentation of preference payment. Reviewed file
            and located documentation support preference allegation, forward
            documents to Light per request.                                           .80

07/05/16    Exchange of emails with Charles Coleman, attorney, re: extension of
            time to respond on behalf of Medford.                                     .50


07/06/16    Review of pleadings filed by Tom Streetman, attorney, re: motion for
            judgment on the pleadings, brief and supplemental brief. Also,
            reviewed file - notes on earlier court ruling.                            .90

07/07/16    Review of letter and documents received William Bridgforth,
            attorney for Walter Shepherd Farm, re: alleged documentation that
            payments are not preferential.                                            .80

07/07/16    Additional review of records and documents associated with
            payments made to Shepherd Farms in order to reply to response
            received on behalf of creditor alleging defenses to payment.             1.00



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07/07/16     Review of numerous bank records received from Keech, re: gathering
             documents and information to disprove affirmative defenses being
             asserted by creditors.                                                   2.50

07/07/16     Telephone conference with Kevin Keech, special counsel for estate.
             Re: preference actions and pending litigations against KBX .              .25

07/07/16     Review of letter and documents received Charles Coleman, attorney,
             re: response to preference demand, documentation to support
             ordinary course of business defense. Also, reviewed debtors
             documents.                                                               1.00

0707/016     Review of emails from CPA retrained by the estate, re: supporting
             documentation for preferences, pending application from services.
             Also responded to inquires concerning matters.                            .60

07/08/16     Review of revised application to retain Kevin Keech as special
             counsel on behalf of estate. Contacted Keech, re: application ok,
             please file.                                                              .30

07/08/16     Review of letter and documents received Roger McNeil, attorney for
             Rice Market Services, re: response to preference demand, documents
             to support allegation of ordinary course defense.                        1.40

07/08/16     Review of pleading filed by Randy Grice re: motion for leave to file
             amended answer in ap 16-1023. Also, reviewed earlier pleadings in
             ap and notes of court’s earlier ruling in ap.                             .80

07/09/16     Prepared and submitted proposed Order withdrawing earlier motion
             to sell party barge, by public sale, free and clear.                      .60

07/09/16     Additional review of records and documents received from McNeil.
             Also, reviewed records of debtor in order to respond to alleged
             preference defenses.                                                     2.00

07/10/16     Review of letter and documents received Charles Coleman, attorney,
             re: Big Creek defense to preference.                                     1.50

0711/16      Reviewed and calendered Order withdrawing motion to sell party
             barge by public sale.                                                     .10

07/12/16     Prepared letter to Keech, re: preference letter responses and response
             from Trustee.                                                            1.30

07/13/16     Review of pleadings filed by Tom Streetman, attorney, re: response
             and brief to KBX ’s motion for leave to amend answer in ap (trustee
             v KBX 16-1023).                                                           .75

07/14/16     Review of email received from Harry Light, attorney, re: update on
             status of providing preference defense documents to trustee.              .25



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07/14/16     Review of letter and documents received Velva Storey defense to
             preference payment.                                                      .90

07/14/16     Finalized motion to sell personal property (party barge) by private
             sale. Filed motion. Also, prepared and forwarded notice of
             opportunity to object to motion.                                        1.00

07/14/16     Review and responding to exchange of multiple emails between
             attorneys, re: responses to discovery, plan of action for proceeding
             with causes of actions.                                                 1.20

07/18/16     Review of email received from Bryant Marshall, attorney, re:
             ordinary course defense.                                                 .40

07/18/16     Exchange of emails with staff attorney and Michelle Baker, attorney,
             re: pending motion to sell party barge by private sale, titled
             ownership v. actual ownership.                                           .30

07/19/16     Prepared and forwarded letter to Marshall Bryant, Attorney, re:
             response to preference letter.                                           .50

07/19/16     Review of pleadings filed by Randy Grice, attorney, re: reply to
             response to motion for leave to amend complaint (Trustee v. KBX ).
             Also, reviewed original answer and cases cited by parties.               .80

07/20/16     Exchange of emails with Greg Bevel, special counsel, re: records and
             documents supporting claims and causes of actions against parties.       .90

0721/16     Telephone conference and subsequent conference Greg Bevel, special
            counsel, re: potential cause off action in case.                          .60

07/22/16     Review of letter and documents received Kim Tucker, attorney, re:
             response and defenses to preference payment.                            1.00

07/23/16     Review of file re: comparison of current records and documents in
             my possession to documents provided by creditors’ attorneys in
             preferences responses.                                                  4.20

07/25/16     Review of email received from Douglas C. Noble, attorney, re:
             working on documents to provide on behalf of Galloway Cotton
             Farms, new client is Gregory Farms.                                      .30

07/25/16     Review of email and affidavit received from Brooks Gill, attorney for
             Gerald Loyd asserting fraud by debtor and asserting multiple
             defenses.                                                               1.75

07/26/16     Review of email received from James F. Dowden, attorney for
             Fricken Farms, re: response to trustee’s demand to turnover proceeds
             alleged to be preferential payments, assertion of contemporaneous
             exchange and ordinary course defenses. Also, reviewed records
             debtor’s record in response to statement made.                           .90


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07/26/16     Telephone conference with Tom Streetman, attorney, re: possible
             notice to state of Arkansas concerning debtor’s name.                    .30

07/26/16     Review of email received from Tom Streetman, attorney, re:
             documents confirming debtor corporate structure in good standing.        .25

07/27/16     Review of correspondence from Stephen Joiner, attorney for
             Kennedy Rice Dryers, re: response to trustee’s demand to turnover
             proceeds alleged to be preferential payments, assertion of outside
             preferential period, new value and ordinary course defenses. Also,
             reviewed records debtor’s records for comparison to documents
             submitted by Joiner.                                                    1.20

07/30/16     Review of multiple responses from attorneys in analyzing estate’s
             position in relation to defenses asserted by alleged preferential
             creditors. Additional review of records of what appear to be
             payments to insiders.                                                   6.50

08/02/16     Review of proposed order submitted to court requesting approval of
             Keech and special counsel for estate. Notified court of approval.        .30

08/03/16     Review of email received from Charles Coleman, attorney, re:
             represents N & D Farms, will be submitting documents.                    .10

08/04/16     Review of letter and documents received Greg Ballard, attorney for
             Prislovsky, re: defense to trustee’s demand for turn over of
             preferential transfer.                                                   .60

08/08/15     Reviewed and calendared order to submit order on sale of party
             barge.                                                                   .10

08/08/16     Drafted and forwarded letter to Scott Hunter, attorney for Cache, re:
             request additional documents to support position of ordinary course
             defense.                                                                 .50

08/08/16     Review of letter and documents received from Harry Light, attorney,
             re: defenses to preferences asserted by Leslie T Brown Farms.           1.60

08/08/16     Prepared and submitted proposed order approving sale of party barge
             by private sale and approving payment of finder’s fee.                  1.30

08/09/16     Review of documentation from Scott Hunter, attorney, re: support for
             his client’s position of ordinary course defense.                       1.50

08/10/16     Review of email between attorneys, re: upcoming hearing, possible
             settlement negotiations.                                                 .25

08/11/16     Review of exchange of emails between attorneys, re: KBX ap,
             possible settlement, upcoming hearing.                                   .30

08/12/16     Review of letter and documents received Kendel Groom, attorney, re:


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             information concerning KBX litigation forwarded to special counsel
             and me (14 attachments).                                                   1.25

08/12/16     Review of exchange of emails between parties regarding continuing
             hearings on motion for judgment on pleadings, response to motion for
             judgment on pleadings, motion to abandon, response to motion to
             abandon, reply to response to motion to abandon set on 08/23/16.
             Also reviewed and calendared hearing reset to 09/23/16 (ap 16-1023).
                                                                                         .40

08/13/16     Review of email and documents sent to Lisa Ballard, attorney, by
             Tom Streetman, attorney, re: inquiries from Ballard about principal’s
             knowledge of KBX receipts and credits - pending complaint.                  .75

08/16/16     Review of letter and documents received Greg Bevel, manifold
             records of debtor and Bartlett, former principal of debtor.                2.60

08/16/16     Exchange of tolling agreement with signatures with Waddell.                 .20

08/24/16     Review of letter and documents received Grant Ballard, attorney for
             Prislovski, re: reply to trustee’s response to preference demand.           .75

08/29/16     Conference with staff attorney, re: filing preferences, possible tolling
             agreements.                                                                 .60

08/29/16     Review of exchange of emails between attorneys, re: possible
             settlement negotiations.                                                    .30

09/01/16     Prepared draft of proposed order limiting notice to 20 largest
             creditors.                                                                 1.20

09/01/16     Conference with staff attorney, re: pending demands for return of
             preference payments, status of claim of secured creditor (Rabo).            .30

09/01/16     Review and analysis of multiple correspondences between parties
             along with records and documents. Correspondence with staff
             attorney in developing strategy in proceed forward and preparing
             responses and demands in efforts to resolve alleged preferences.           1.00

09/02/16     Review of pleadings filed by Tom Streetman, attorney, re: motion to
             amend complaint in KBX ap. Also, reviewed proposed order
             approving motion to abandon complaint                                       .20

09/02/16     Review of numerous correspondence between staff attorney and
             attorneys for creditors at related to pending preference demands.
             Proposed revisions to draft of numerous settlement letters.                1.40

09/04/16     Continued review and analysis of preference demands and responses.
             Continued development of strategy in proceeding forward (draft
             complaint, draft tolling agreements, responses). Established office
             preference deadline on 10/05/16.                                           5.20


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09/05/16     Final revisions to proposed order limiting notice to 20 largest
             creditors. Submitted order to court for consideration.                   .60

09/06/16     Reviewed and calendared Order granting Plaintiff's Motion To File
             Second Amended Complaint (Related Doc # [42]).                           .10

09/06/16     Conference with staff attorney, re: upcoming preference complaints,
             replying to response from attorneys. Review and assistance with
             preparation of reply to responses.                                      2.50

09/07/16     Review and revisions to complaint against Minturn Grain.                2.00

09/07/16     Review of pleadings filed by Tom Streetman, attorney, re: second
             amended complaint in the trustee v. KBX case.                            .40

09/07/16     Conference with staff attorney, re: scheduling appointment with
             counsel for former principal of debtor, matters to be addressed.         .10

09/07/16     Review of file re: pending legal matters, appointment with counsel
             for former principal of debtor, matters to be addressed.                 .40

09/08/16     Review of email and documents received from Bryant Marshall,
             attorney for Delta Grain Marketing, LLC, re: defense to preference,
             documents to support.                                                    .50

09/08/16     Received letter from Linda Newkirk, Executive Director for FSA, re:
             deny payment to Commodity Credit Corporation is preference,
             decline to refund proceeds.                                              .40

09/08/16     Working with co-counsel in preparing replies to responses to demand
             for refund of preferences and in drafting complaints.                   4.20

09/09/16     Preparation and review of records and documents to support
             upcoming preference complaints. Review of proposed tolling
             agreement. Review of records and documents in preparation of
             meeting with special counsel.                                           3.60

09/10/16     Review and analysis of records and documents related to $128k funds
             interpled into registry of court claimed by Oakley Grain Inc., Helena
             Bank and other parties.                                                 2.60

09/13/16     Review and analysis of documents.         Preparation of drafts of
             preference complaints.                                                  4.20

09/14/16     Additional preparation for meeting with special counsel and other
             parties in reference to upcoming preferences.                           2.80

09/14/16     Received letter from Keith Wilkinson, former farmer, re: request for
             notice, response to preference demand.                                   .30

09/14/16     Travel to meeting with Kevin Keech, special counsel and other


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             parties, re: gatherings additional documents and information in
             preparation of preference complaints.                                      1.30

09/14/16     Review of email received from Kendel Groom, attorney, re:
             settlement offer on alleged preferential transfer.                          .30

09/14/16     Additional review and analysis of record and documents in
             preparation of preference litigation.                                      1.00

09/15/16     Review of letter and documents received Steve Joiner, attorney, re:
             tolling agreement. Signed tolling agreement, returned copy to Joiner.
                                                                                         .50

09/15/16     Correspondence between estate attorneys, re: settlement strategies on
             pending potential preferences.                                              .40

09/15/16     Review and analysis of potential trial exhibits.                            .60

09/15/16     Conference with estate attorneys, re: potential trial exhibits.             .30

09/15/16     Additional analysis of settlement offer, calculations to extend
             counteroffer.                                                              1.60

09/16/16     Review and analysis of numerous records and documents received
             from Kimberley Tucker, attorney for Hill & Hill Farms Partnership,
             in response to demand for refund of preference payment (145 pages).
                                                                                        2.80

09/16/16     Conference with staff attorney, re: analysis of facts and legal issues
             to be addressed in upcoming preference litigation.                         1.70

09/17/16     Continued review and analysis of numerous records and documents
             receive from Kimberley Tucker, attorney for Hill & Hill Farms
             Partnership, in response to demand for refund of preference payment.
                                                                                        3.40

09/20/16     Correspondence with staff attorney, re: efforts to settle preferences.
             Reviewed and analysis of documents and assisted in draft of letter to
             attorney for farming entities, re: reply to response, settlement offers.
                                                                                        2.60

09/20/19     Review of correspondence between attorneys concerning possible
             tolling agreement and ability to include third party.                       .30

09/20/16     Review of letter and documents received Linda Newkirk, Executive
             Director if Arkansas State Farm Service Agency on behalf of
             Commodity Credit Corporation, re: response to preference demand.
                                                                                         .80

09/20/16     Review of pleadings filed by Randy L. Grice on behalf of Defendant
             K.B.X., Inc., re: Answer to Complaint and Counterclaim.                    1.20


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09/20/16     Reviewed and calendared notice of hearing in adversary proceeding
             against KBX on motion for partial judgment on the pleadings
             hearing scheduled for 10/18/2016 at 09:30.                                .10

09/23/16     Conference with staff attorney, re: legal strategies, settlement
             negotiations.                                                             .30

09/23/16     Received letter from received from Kim Tucker, N & D, re: response
             to preference claim, assert normal course for business, normal course
             for parties. Also, reviewed case law cited in letter.                    1.60

09/23/16     Tom Streetman, attorney, re: answer to counterclaim of KBX in ap
             14-15687.                                                                 .25

09/26/16     Review of email received from Tom Streetman, attorney, re: KBX
             litigation, call to obtain information about email. Telephone
             conference with Streetman.                                                .20

09/26/16     Review letter received from Mike Dabney, attorney for Crystal
             Ainsworth, re: response to demand to refund preference.                   .75

09/27/16     Review of letter and documents received Douglas C. Noble, attorney
             for Gregory Farms, response to preferential transfer demand.             3.20

09/28/16     Conferences with staff attorney, re: upcoming preferences,
             affirmative defenses.                                                     .40

09/28/16     Review of correspondence between attorneys, re: tolling agreement,
             ordinary course of business analysis, other matters.                      .40

09/29/16     Conferred with staff attorney re: preference actions and related
             matters.                                                                  .30

09/29/16     Document review and additional review and analysis of records and
             documents in multiple cases and preparation of complaints, research
             of filing fee issue.                                                     5.80

09/29/16     Conference with staff attorney and paralegal, re: revising application
             to employ, assessing claims in order to proceed with filing
             preferences.                                                              .40

09/29/16     Additional conference with staff, re: tolling agreement, upcoming
             litigation.                                                               .30

09/29/16     Review and approval of proposed tolling agreement.                        .60

09/29/16     Drafted proposed assignment of litigation tasks.                          .90

09/29/16     Review and analysis of petition, schedules and other documents to
             ascertain the nature and extent of claims against parties listed on
             debtor’s bankruptcy schedules, documentation needed to pursue


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             claims, instruction on documents to obtain from earlier counsel and
             special counsel.                                                             1.40

09/29/16     Conference with staff attorney, re: claims against parties listed on
             debtor’s bankruptcy schedules, documentation needed to pursue
             claims, instruction on documents to obtain from earlier counsel and
             special counsel.                                                              .30

09/29/16     Review of exchange of emails between staff attorney and Richard
             Cox, former attorney for estate, re: response to inquiry of estate’s
             interest in assets listed on petition and the legal right to purse claims.
                                                                                           .30

10/04/16     Reviewed and calendared notice of change of address of Delta Grain
             Marketing.                                                                    .10

10/04/16     Reviewing, analyzing, revising complaints that will be filed this week
             or next week.                                                                5.50

10/04/16     Two telephone conference with Greg Bevel, special counsel, re:
             status of ap against specific creditor, complaint to be forwarded for
             review shortly.                                                               .30

10/04/16     Review of proposed tolling agreement with Delta Gain Marketing
             LLC, approved agreement.                                                      .75

10/05/16     Review of correspondence between attorneys for trustee, re:
             upcoming ap against creditor being filed this week.                           .50

10/05/16     Review of proposed complaint against AgHeritage Farm Credit
             Services. Also reviewed records and documents supporting lawsuit,
             prepared suggested revisions to complaint.                                   2.00

10/05/16     Review of email received from Tom Streetman, attorney, re: status of
             adversary proceedings, upcoming deadline to file, tolling agreements,
             proposed and substituted motion for partial summary judgment on the
             pleadings.                                                                    .60

10/05/16     Review of proposed settlement terms with one of the preference
             defendants, re: outline of settlement, draft proposed changes to
             settlement.                                                                   .40

10/05/16     Telephone conference with Streetman, re: status of adversary
             proceedings, upcoming deadline to file, tolling agreements, proposed
             and substituted motion for partial summary judgment on the
             pleadings.                                                                    .40

10/05/16     Additional review, analysis and revisions to preferences complaints,
             communication with counsels in preparation of upcoming filings.              2.00

10/06/16     Review of pleadings filed by Tom Streetman, attorney, re: Amended


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             Motion For Judgment on the Pleadings Plaintiffs Amended and
             Substituted Motion for Partial Judgment on the Pleadings against
             KBX Inc.                                                                   .25

10/06/16     Review of records and documents received from Kevin Keech,
             attorney, re: financial records of Ivory Rice and Agribusiness
             Properties LLC in reference to upcoming preference litigation.            4.40

10/06/16     Additional review, analysis, preparations and revisions to preferences
             complaints, commiunication with counsels in preparation of
             upcoming filings.                                                         6.80

10/07/16     Review, final revisions and filing of additional adversary
             proceedings. Adversary proceedings 16- 1096 through 16-1112.             10.60

10/07/16     Review of email to Court from Tom Streetman, attorney, re: proposed
             order approving attorney fees to himself and firm.                         .30

10/07/16     Office meeting with staff attorney and paralegals, re: determination
             of how to proceed forth with Adversary Proceedings and other case
             related matters.                                                         1.00

10/08/16     Drafting discovery to be submitted to defendants in adversary
             proceedings. Reviewing, revising final complaints for filing on
             11/11/16.                                                                 8.80

10/09/16     Review, revised and authorized filing of four (4) remaining adversary
             proceeding by this office tomorrow. Also, submitted language and
             style to prepare several amended complaints.                              6.00

10/10/16     Review of memo from staff attorney, re: serving summons upon
             parties, agents for service.                                               .30

10/10/16     Review and analysis of numerous complaints filed by Kevin Keech,
             special counsel.                                                          6.50

10/10/16     Review of correspondence from defense attorneys in response to
             complaints and amended complaints filed. Considered possible
             additional amendments.                                                     .75

10/11/16     Emailed Greg Bevel, special counsel, re: possible discussions with
             counsel for Gavalon.                                                       .25

10/11/16     Telephone conference with Greg Bevel, special counsel, re: possible
             meeting with potential defendant in ap.                                    .40

10/10/16     Prepared report of sale on party barge.                                   1.00

10/11/16     Telephone conference with Lisa Ballard, attorney, re: problems with
             pending fee application.                                                   .40



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10/11/16     Reviewed and calendared entry of appearance and request for notice
             filed by Charles Coleman and Kimberly Tucker, attorneys for Big
             Creed Rice Farms, Inc.                                                    .30

10/11/16     Review of file re: pending legal matters. Final preparation of Report
             of Sale of 28' Party Barge, by private sale, filed report.                .30

10/11/16     Telephone conference with Lance Miller, attorney, re: request a visit,
             request for information and records.                                      .25

10/11/16     Review of correspondence amongst attorneys on case, re: remaining
             preference complaints.                                                    .30

10/12/16     Telephone conference with Lance Miller, attorney for Gavilon, re;
             possible discussions, exchange of records and documents, tolling
             agreement.                                                                .25

10/12/16     Review and revisions to complaint against Bradley Benton,
             authorized for filing.                                                   1.30

10/12/16     Telephone conference with Greg Bevel, special counsel, re: pending
             claims against Gavilon, proposed tolling agreement, complaint.            .40

10/12/16     Conferences with staff attorney in development of proposed letter to
             preference defense attorney concerning ordinary course of business
             defense being asserted.                                                   .30

10/12/16     Working with staff attorney and paralegal in preparation of
             correspondence to preference defense attorney concerning ordinary
             course of business defense being asserted.                                .80

10/12/16     Working with staff attorney and paralegal in preparation of amended
             complaint against K & K Farm Service, Inc.                               1.00

10/12/16     Assisting with preparation of proposed agreed orders extending time
             for four defendants to respond to complaint.                             1.20

10/13/16     Review and proposed revisions to complaint against LTD Farms and
             Relyance Bank, provided directions to staff attorney concerning
             matters to direct to special counsel.                                    1.00

10/13/16     Numerous conferences with staff attorney, re: pending adversary
             proceedings, possible meeting with attorneys of defendants in
             adversary proceedings, possible tolling agreements.                      1.30

10/13/16     Review of numerous adversary proceedings filed, review of unfiled
             adversary proceedings and analysis of status - filing v. tolling.
             Review correspondence, re: status of tolling agreements.                 1.60

10/13/16     Review of pleadings filed by Randy Grice, attorney, re: Response to
             Plaintiff’s Amended And Substituted Motion for Partial Judgment on


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             the Pleadings and statement of no opposition to paying $354,882.85
             to the Debtor.                                                           .40

10/13/16     Reviewed and calendared notice of hearing on several matters in Rice
             v. KBX ap161023, re: motion for judgment of the pleadings filed by
             trustee, motion for leave to amend, and related responses. Matter set
             for 11/17/16.                                                            .20

10/13/16     Review of numerous correspondence between attorneys representing
             estate and attorneys for defendants in providing guidance on legal
             strategies in proceeding forward.                                        .80

10/13/16     Review of pleadings filed by staff attorney, re: Request for Re-
             Issuance of Summons K & K Farm Service, Inc., ap 16-1102.                .10

10/13/16     Review of answer filed by Kendal Grooms, attorney for K & K
             Farms Services Inc., re: answer to ap161102.                             .60

10/14/16     Review of email received from Streetman update on status of pending
             matters in Rice v. KBX ap. Additional review of latest pleadings
             filed in case.                                                           .75

10/14/16     Reviewed and calendared Orders entered extending time for
             defendants Hill and Hill Farms and Big Creek Rice Farms, to answer
             up and until December 7, 2016.                                           .10

10/14/16     Review of complaint against LTD Farms, re: conference with
             attorneys for LTD Farms and Relyance Bank about possible tolling
             agreement. Attempted telephone conference with attorney, re: status,
             legal position, possible tolling agreement.                              .60

10/14/16     Telephone conference with Kevin Keech, attorney, re: LTD Farms
             complaint.                                                               .25

10/16/16     Review of email received from Joe Strode, attorney, re: request for
             extension of time to file answer on behalf of defendants. Emailed
             response to Strode, please identify defendants.                          .25

10/17/16     Review of complaints filed against parties that are stating that they
             are not the correct defendants. Also, review of records and
             documents to determine what complaints should be dismissed or
             amended.                                                                2.80

10/1716      Telephone conference with Kevin Keech, attorney, re: remaining
             preference complaints.                                                   .40

10/17/16     Telephone conference with Joe Strode, attorney, re: request for
             extension of time to file answer to ap, forwarding documents.            .30

10/17/16     Telephone conference with Lance Miller, attorney, re: possible
             meeting between parties, not agreeable to tolling agreement.             .30


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10/17/16     Telephone conference with David Sims, attorney, re: possible tolling
             agreement.                                                                .10

10/23/16     Conference with staff attorney, re: report on meeetings with attorneys
             for creditor defendants, upcoming discovery, upcoing motions.            1.10

10/24/16     Telephone conference with Becky Vanderburg, J & B Farms, re:
             responding to ap.                                                        .30

10/24/16     Telephone conference with Ralph Waddell, attorney for Minturn
             Grain, re: pending adversary proceeding, answer, further discussions
             later.                                                                    .25

10/26/16     Review of files of pending legal matter, numerous preference
             complaints. Also, review and analysis of AP 15-1009 interpleader
             action, (funds paid to bankruptcy court).                                2.60

10/26/16     Telephone conference with David Vandergrift, attorney for Helena
             National Bank, re: AP 15-1009, banks interest in proceeds, other
             parties involved.                                                         .25

10/26/16     Review of complaint filed against Gavalon, re: upcoming conference
             with defendants attorney.                                                 .30

10/26/16     Telephone conference with Lance Miller, attorney for Gavalon, re:
             recently filed complaint, possible discussions, possible transfer of
             records.                                                                  .25

10/26/16     Telephone conference with Tom Streetman, attorney, re: proposed
             order authorizing turnover of funds in KBX adversary proceeding.          .25

10/26/16     Review of records and documents, re: discovery and prosecution of
             pending adversary proceedings.                                           2.80

10/26/16     Telephone conference with Bill Waddell, attorney for LTD Farms
             and Hargrove, re: pending ap 15-1009, request fo records.                 .60

10/27/16     Review and analysis of numerous files and records in continued
             efforts to collect on debts. Drafted and forwarded letter to Busch
             Agricultural Resources, LLC, re: demand accounting and turnover of
             proceeds.                                                                2.40

10/27/16     Review of correspondence between attorneys concerning extension
             of time to file answers or responsive pleadings.                          .30

10/27/16     Review and analysis of subpoena received from Kendel Grooms,
             attorney, re: discovery sought in state court litigation.                1.00

10/27/16     Prepared and forwarded Motion to Dismiss initial defendant (wrong
             party) in Rice v. Red River Farms LLC et al, 2:16-ap-01115.               .50



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10/27/16     Reviewed and calendared Order extending time for dependants to file
             answer in adversary proceeding Rice v. Leslie T. Brown Farms et al,
             ap 16-1104 to and including December 7, 2016.                           .25

10/27/16     Telephone conference with Bill Lewellen, attorney, re: settlement
             negotiations.                                                           .40

10/27/16     Emailed Bill Lewellen, attorney, re: confirmation of settlement
             negotiations.                                                           .30
10/27/16     Review and analysis of pleading filed by William Waddell Jr.,
             attorney for LTD Farms et al in ap 16-1140, re: answer to amended
             complaint and assertion of affirmative defenses.                       1.20

10/27/16     Review and analysis of pleading filed by Todd Williams, attorney for
             Ivory Rice, LLC et al in ap 16-1094, re: answer to amended
             complaint and assertion of affirmative defenses.                       1.30

10/28/16     Review of records and documents supporting complaints 16-1094
             and a16-1104 in order to confer with other counsel in proceeding for
             with prosecution of adversary proceedings.                             1.60

10/28/16     Reviewed and calendared order to submit order on pending motions
             to dismiss adversary proceedings 16-1115 and 16-1112, Red River
             Farms and J & B Farms.                                                  .10

10/28/16     Reviewed and calendared Notice of Appearance and Request for
             Notice and Service of Copies filed by Russell D. Berry on behalf of
             Farmers & Merchants Bank.                                               .10

10/28/16     Review of correspondence between attorneys, re: discovery in ap 16-
             1140, Rice v. LTD, proposed Order extending time for First National
             Bank of Eastern Arkansas to answer complaint in ap 16-1122,
             preparation for meeting and discussions with staff attorney
             concerning legal matters.                                              1.30

10/28/16     Additional review of subpoena received from Kendel Grooms.
             attorney, re: discovery requested in state court litigation. Also,
             reviewed and analyzed comments of staff attorney and special
             counsel of manner in which to respond to subpoena.                     1.50

10/28/16     Conference with staff attorney, re: legal strategy in proceeding
             forward with pending legal matters. Order granting partial summary
             judgement in KBX ap, multiple request for extensions from attorneys
             for defendants and your response, responding to subpoena of trustee
             from Grooms, attorney for Zero Farmers, several other legal matters.
                                                                                    1.10

10/29/16     Additional review and analysis of subpoena from Grooms. Also,
             review and analysis of comments from staff attorney and special
             counsel as it relates to responding to subpoena.                       1.00



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10/30/16     Review of letter and documents received Mike Cone, attorney for
             Fogleman Farms LLC, Fogleman Family LLC, Fogleman, Inc., Frank
             G. Fogleman, W. David Fogleman, R. Scott Fogleman, Franklin A.
             Folgleman, Billy Ray James, Donna James, Jon David James, Billy
             Ray James Land Co., LLC. request to dismiss parties, restatement
             amendments, crop forms.      Restated Joint Farm Partnership
             Agreements.                                                            2.40

10/31/16     Review and analysis of correspondence from defendant’s attorney, re:
             terms of proposed compromise settlement.                               1.00

10/31/16     Conference with staff attorney, re: pending negotiations on one of
             adversary proceedings. Terms of proposes compromise settlement.         .50

10/31/16     Review of correspondence between staff attorney and attorney for
             defendant in one of adversary proceedings, re: response to proposed
             changes in earlier settlement agreement.                                .30

10/31/16     Review of file re: pending legal matters. Prepared proposed order
             dismissing Red River Farms LLC as party to ap. Forwarded
             proposed order to staff attorney for review and submission to court.
                                                                                     .80

10/31/16     Prepared proposed order dismissing Jeremy and Brandon Lammers
             as parties to ap. Forwarded proposed order to staff attorney for
             review and submission to court.                                         .60

10/31/16     Review of additional correspondence from defendant’s attorney, re:
             terms of prosposed compromise settlement.                               .30

10/31/16     Reviewed and calendared Notice of Appearance and Request for
             Notice Filed by Harry A. Light on behalf of Defendants Judy L.
             Brown, Leslie T. Brown, Leslie T. Brown Farms, ap 16-1104, Billy
             Ray James, Donna James, Jon David James, Billy Ray James Land
             Co., LLC. Restated Joint Farm Partnership Agreement.                    .10

10/31/16     Review and analysis of answer to complaint filed by Paul Bennett,
             attorney on behalf of Andrew Shepherd, Walter C. Shepherd, and
             Walter Shepherd Farms, ap 16-1110.                                     1.00

10/31/16     Additional review and analysis of correspondence from one of
             preference defendants. Additional discussions of terms with staff
             attorney.                                                              1.00

11/01/16     Reviewed and calendared Order granting Motion to Dismiss Red
             River Farms, LLC in ap 16-0111.                                         .10

11/01/16     Reviewed and calendared Agreed Order extending Time for Cross
             County Bank to file Answer or Responsive Motion in ap 16-1125.          .10

11/01/16     Reviewed and calendared Order extending time for First National


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             Bank of Eastern Arkansas to respond in ap 16-1122.                      .10

11/01/16     Reviewed and calendared Order extending time until 12/07/16 for Ag
             Heritage and related defendants to respond in ap 16-1109.               .10

11/01/16     Reviewed and calendared Order extending time until 12/07/16 for
             Browns to respond in ap 16-1104.                                        .10

11/01/16     Reviewed and calendared Order extending time until 12/07/16 for
             FMB to respond in ap 16-1101.                                           .10

11/01/16     Reviewed and calendared Order dismissing Jammers in ap 16-1122.
                                                                                     .10

11/01/16     Review and analysis of email from staff attorney on ap 16-1109, re:
             proper party to lawsuit - Ag Heritage v. Midsouth FSC\PCA.
             Additional review of records and files in effort to determine or
             confirm proper defendant.                                               .80

11/01/16     Review of file re: records and documents on Big Creek Farms and
             Sam Medford, and request to dismiss by defendant’s attorney,
             Discussions with staff attorney, re: response to request, documents
             received and not received, proof needed in order to consider
             dismissal.                                                              .75

11/01/16     Review of email received from attorney, re: additional documents
             and information in support of request to dismiss ap against Hill &
             Hill.                                                                   .30

11/01/16     Review of revised document settlement agreement with ap
             defendant. Approved agreement, authorized distribution.                1.00

11/01/16     Conference with staff attorney concerning responses by defense
             attorneys and requests for possible dismissal. Review and analysis
             of draft responses.                                                     .80

11/01/16     Reviewed and prepared revisions to proposed interrogatories and
             request for production to be submitted to defendants answering
             complaints.                                                            2.30

11/01/16     Additional review and conference with staff attorney, re: responding
             to request by various defense counsel to dismiss parties and cases.    1.10

11/01/16     Review of email received from Harry Hurst, attorney for Cross
             County Bank in ap 16-1124, re: proposed Order extending time to
             respond until 12/07/16.                                                 .30

11/02/16     Review and analysis of numerous correspondence with attorneys
             involved in these proceeding, re: satisfaction of secured claim,
             entitlement to default interest, third party transferee.                .80



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11/02/16     Preparation for conference and telephone conference with Richard
             Cox, former attorney for estate, re: agreement with Rabo, responses
             to adversary proceedings and requests to dismiss adversary
             proceedings (numerous cases).                                             1.10

11/02/16     Telephone conference with defendant in pending ap, re: initial
             settlement negotiations, trustee to review file and call back to
             continue discussions.                                                      .30

11/02/16     Telephone conference with Kevin Keech, attorney, re: pending
             subpoena from attorney in state court litigation Zero Grade Farmers
             et al v. Agri-Petroleum Sales, et al., responding to subpoena,
             protective order, confidential information and work product
             documents.                                                                 .60

 11/02/16    Conference with staff attorney, re: responding to defense attorney’s
             request to dismiss parties. Review and revised proposed letters to
             attorney denying request to dismiss at this stage of proceeding.          1.20

11/02/16     Review and analysis of correspondence received from Kim Tucker,
             attorney, re: support for client’s assertion of contemporaneous
             exchange for new value and ordinary course defense (78 pages).            1.90

11/03/16     Conference with Richard Cox, former attorney for estate, re: pending
             adversary proceedings, partial summary judgment against KBX,
             possible strategies in proceeding forward.                                1.00

11/03/16     Exchange of correspondence with Tom Streetman, attorney, re:
             proposed strategies in proceeding forward on matters involving
             secured claims and preparation of continuous prosecution of
             preferences.                                                               .40

11/03/16     Reviewed and calendared Notice of appearance by David D. Tyler on
             behalf of Defendants Billy James Farms, Inc., Billy Ray & Edwina
             James LLC, Billy Ray James Land Co. LLC, Black River Farms,
             Inc., Billy Ray James, Donna James, Jon David James, James Farms
             JV, James Farms, Inc., Trails End Farms, Inc.                              .10

11/03/16     Review of proposed agreed order of protection to discovery from
             Zero Grade plaintiffs in state court litigation. Provided revisions to
             proposed order.                                                           1.25

11/03/16     Review of revised legal documents received from defense counsel.          1.20

11/03/16     Additional review and analysis of files, re: records to be produced per
             subpoena of Zero Grade parties in state court litigation, secured claim
             against estate, scheduling meeting with subpoenaing attorney,
             subpoena to bank concerning records requested by parties.                 2.30

11/03/16     Exchange of communications with staff attorney, special counsel
             (Keech, Streetman, Bevel) and various attorneys defending


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             preferences in proceeding forward with adversary proceedings.            1.10

11/04/16     Review of letter and documents received Mike Cone, attorney for
             Windmill Rice Co., LLC, re: stating that estate has no valid claim
             against his client, attached earlier correspondence sent to Keech when
             he was debtor in possession.                                              .50

11/04/16     Review and analysis of earlier correspondence forwarded to
             Windmill Rice Co., LLC, (My letter dated 10/27/16, files of
             representative of debtor in possession and other company records) in
             order to determine possible claims and rights of debtor against.         1.00

11/04/16     Review of exchange of correspondence between attorneys
             (Vandegrift, Mitchell, Bevel) request for documents between parties.
                                                                                       .40

11/04/16     Review of ecf filings for answers to complaints and other responsive
             pleadings filed by parties in pending adversary proceedings.              .80

11/04/16     Telephone conference with Lloyd Ward, attorney for M. Real Estate
             Inc, ap 16-1113, re: settlement negotiations, multiple defenses,
             answer will be filed shortly. Also, review of complaint and
             supporting documents in file in order to assess offer and possibly
             submit a follow up response.                                              .25

11/04/16     Review of file and preparation of settlement document to extend offer
             of settlement to ap defendant.                                           1.10

11/04/16     Telephone conference with ap defendant, re: settlement negotiations,
             settlement reached.                                                       .10

11/04/16     Emailed Kevin Keech, attorney, re: settlement negotiations
             proceeding on one of adversary proceedings, contact me before any
             additional legal steps taken on case.                                     .25

11/04/16     Telephone conference with Kendall Grooms, attorney for Zero Grade
             Farmers in State Court litigation, re: subpoena, scheduling dates to
             produce documents, protective order needs to entered prior to any
             before any discovery.                                                     .25

11/04/16     Conference with Charlie Coleman, attorney, re: documents requested
             in support of request to dismiss ap against clients.                      .30

11/04/16     Attempted telephone conference with Keech and Bevel, re: discovery
             request in state court litigation by Grooms, scheduling time,
             protective order. Emailed Grooms, re: attempting to comply with
             subpoena and arrange for discovery.                                       .20

11/04/16     Review and analysis of pleading filed by Mike Cone, attorney for
             James Farm Joint Venture, et al, ap 16-1103, re: answer denying
             complaint, assertion of affirmative defenses. Also, reviewed earlier


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             correspondence in determining procedures going forward with
             prosecution.                                                             .75

11/04/16     Review and analysis of pleading filed by David D. Tyler, attorney for
             Fogleman Farms, et al, ap 16-1109, re: answer denying complaint,
             assertion of affirmative defenses, answer to amended complaint and
             assertion of affirmative defenses.                                      1.00

11/04/16     Review and analysis of pleading filed by Ralph Waddell, attorney for
             AgHeritage Farm, et in ap 16-1098, re: Motion to dismiss complaint
             and brief in support of motion to dismiss. Also, Review and analysis
             of Federal Rules and cases cited in brief.                               .80
11/04/16     Review and analysis of pleading filed by Roger McNeil, attorney for
             Razorback Rice and Seed Company, ap 16-1099, re: answer denying
             complaint and assertion of affirmative defenses and corporate
             disclosure statement. Also, reviewed earlier correspondence in
             determining procedures going forward with prosecution.                   .80

11/05/16     Review and analysis of pleading filed by Joseph A Strode, attorney
             for AgHeritage Farm Credit Services, FBA et al, ap 16-1098 (docket
             number 13), re: answer denying complaint and assertion of
             affirmative defenses. Also, reviewed earlier correspondence in order
             to confer with special counsel in establishing procedures going
             forward with prosecution.                                                .80
11/05/16     Review and analysis of pleading filed by Michelle C. Huff, attorney
             on behalf of Defendant 384 Farms, ap 16-1111, re: Answer to
             Complaint, asserted affirmative defenses, asserted lack of ownership
             interest by debtor.                                                      .80

11/05/16     Review and analysis of pleading filed by Michelle C. Huff, attorney
             on behalf of Travis Mears Farms Inc, ap 16-1123, re: Answer to
             Complaint, asserted affirmative defenses, asserted lack of ownership
             interest by debtor.                                                      .50

11/05/16     Review and analysis of pleading filed by Ralph W. Waddell on
             behalf Agri Marketing, Inc., dba Minturn Grain,ap 16-1097, re:
             Answer to Complaint, asserted affirmative defenses, asserted lack of
             ownership interest by debtor.                                           1.00
11/06/16     Review and analysis of pleading filed by Kimberly Wood Tucker,
             attorney for JD McGregor Farms LLC, ap 16-1120, re: answer to
             complaint, assertion of affirmative defenses.                           1.00

11/06/16     Review and analysis of letters and documents received from Charles
             Coleman, attorney for Sam Medford and Jennifer Medford in pending
             ap, re: documents to support defense of new value through payment
             to Cross County Bank and in support of defense of ordinary course
             defense (notes, security agreements, financing statements, UCC
             statement, purported schedule of buyers). Compared documents to
             records of debtor.                                                      2.50

11/06/16     Review of email received from special counsel in relation to pending


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             subpoena to trustee.                                                    .50

11/06/16     Emailed special counsel Keech and Bevel, re: developing a method
             of production of documents in order to comply with subpoena.            .40

11/06/16     Review and analysis of pleading filed by David Blair, attorney, re:
             notice of appearance and request for notice in adversary proceedings
             16-1111 and 16-1123. Updated documents to comply.                       .10

11/07/16     Review and revised proposed agreement to disclose records to Zero
             Grade attorneys and proposed protective order. Additional
             discussions with attorneys concerning agreement and proposed order.
                                                                                     .75

11/07/16     Conference with staff attorney, re: pending requests to dismiss
             adversary proceedings, defects in documents received from attorneys.
                                                                                     .90

11/07/16     Review of pleadings filed by Ralph W. Waddell on behalf of
             Defendant Heritage Bank, N.A., ap 16-1111, re: answer to complaint
             and assertion of numerous affirmative defenses.                         .90

11/07/16     Review of pleadings filed by John P. Talbot, attorney for defendant
             Optimum Agriculture LLC, ap16-1130, re: answer to complaint with
             jury demand, assertion of affirmative defenses.                         .50

11/07/16     Review of pleadings filed by Lyndsey D. Dilks on behalf of
             Defendant Southern Rice & Cotton, ap 16-1095, re: Motion to
             Dismiss Adversary Proceeding or, In the Alternative, Answer with
             affirmative defenses. Also reviewed brief in support of motion to
             dismiss.                                                               1.00
10/07/16     Review of email from Streetman to Ballard concerning activity of
             debtor as it relates to KBX lawsuit.                                    .25

10/07/16     Telephone conference with Kevin Keech, attorney, re: subpoena in
             state court action from Grooms, protective order, possible 2004 exam
             and protective order in bankruptcy court.                               .30

10/07/16     Review and analysis of subpoena and other records. Telephone
             conference with Greg Bevel, subpoena in state court action from
             Grooms, protective order, possible 2004 exam and protective order
             in bankruptcy court, possible motion to enter protective order and
             possible agreed protective order.                                       .50

11/07/16     Review of exchange of emails between Doug Noble, attorney and
             Kevin Keech, special counsel, re: extend time to answer ap.             .25

11/07/16     Review of email received from Kendel Grooms, attorney, re:
             confirmation of meeting with special counsel to start review of
             records.                                                                .25



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11/08/16     Review of pleadings filed by John R. Eldridge, III, attorney for
             Gregory Farm ap 16-1132, re: notice of appearance.                        .10

11/08/16     Review of pleadings filed by John R. Eldridge III on behalf of
             Defendant Gregory Farm, ap 16-1132, re: Motion for Douglas C.
             Noble to Appear Pro Hac Vice and attached affidavit.                      .30

11/08/16     Review of pleadings filed by John R. Eldridge III on behalf of
             Defendant Watson Farm, ap 16-1145, re: notice of appearance motion
             for Douglas C. Noble to Appear Pro Hac Vice and attached affidavit.
                                                                                       .20

11/08/16     Review of pleadings filed by Barrett S. Moore, attorney for 384
             Farms Inc., ap 16-1111, re: Notice of appearance (docket number 8).
                                                                                       .10

11/08/16     Review of pleadings filed by Ralph Waddell, attorney for Heritage
             Bank, N.A. now Known as Bear State Bank N.A., ap 16-1123, re:
             answer to complaint, assertion of numerous affirmative defenses.         1.10

11/08/16     Review of pleadings filed by Lloyd Ward, attorney for M-Real Estate
             Inc., ap 16-1113, re: answer to complaint, assertion of numerous
             affirmative defenses.                                                    1.10

11/08/16     Review of pleadings filed by John R. Eldridge III on behalf of
             Defendant Galloway et al, ap 16-1127, re: notice of appearance
             motion for Douglas C. Noble to Appear Pro Hac Vice and attached
             affidavit.                                                                .20

11/08/16     Reviewed and calendared notice of hearing on Rice v. KBX ap 16-
             1023, re: pretrial hearing on amended complaint file by trustee.
             Matter set on 11/17/16 at 9:30.                                           .20

11/08/16     Conference with staff attorney concerning to request to dismiss
             adversary proceedings, answers filed, affirmative defenses asserted.
             Queried filing motions to strike. Review and commented on letter to
             attorneys declining to dismiss adversary proceedings as requested.        .80

11/08/16     Review of pleadings filed by Barrett S. Moore, attorney for Travis
             Mears Farms Inc., ap 16-1123, re: Notice of appearance (docket
             number 8).                                                                .10

11/08/16     Review of first draft of trustee’s response to motion to dismiss filed
             by SRC, ap 16-1095, prepared revisions to response for consideration
             in final draft.                                                          1.00

11/09/16     Review of email received from Joe Strode, attorney for agheritage,
             re: extension of time to file answer in trustee v caviness et al ap,
             request for dismissal, requested order to include all parties.            .30

11/09/16     Conference with staff attorney concern status of pending adversary

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             proceedings, legal strategies in proceeding forward, response to
             motion to dismiss filed in ap.                                           .50

11/09/16     Reviewed and revised trustee’s response to motion to dismiss filed by
             SRC in AP 16-1095. Review and analysis of cases cited in motion
             and in response. Additional review of case law located by law clerk.
             Final review and authorized for filing.                                 2.60

11/10/16     Additional review of proposed changes to earlier settlement
             agreement with first settlement creditor in order to respond to all
             requested changes. Review of documents and other issues raised in
             complaint.                                                              1.30

11/10/16     Review of letter and documents received from Tom Streetman,
             attorney, re: funds collected from order granting partial summary
             judgement against KBX, ap 16-1023, strategy in moving forward
             with remainder of case. (.50 ours split evenly with trustee time)        .25

11/10/16     Conference with staff attorney, re: answers that came in today on
             pending adversaries, additional affirmative defenses being asserted,
             discovery.                                                               .80

11/10/16     Review of pleadings filed by Brooks Gill, attorney for Turner
             Commodities Inc, ap 16-1096, re: answer and assertion of affirmative
             defenses.                                                                .80

11/10/16     Review of draft of discovery to be sent to LTD Farms, submitted
             additional discovery items and other changes, instructed forwwarding
             discovery to Keech for review prior to forwarding to defense counsel.
                                                                                     1.80

11/10/16     Review of email from Mitchell to Keech, re: Calloway Planting
             Company ap, pending motion to dismiss and brief to support. Legal
             response to be taken by trustee.                                         .30

11/10/16     Review of correspondence between Mitchell and Bevel concerning
             defenses raised by defendants in adversary proceedings and
             concerning litigation strategies to be pursued.                          .40

11/10/16     Review of pleadings filed by Grant Ballard, attorney for Stefan
             Calloway, re: special appearance for purpose of filing motion to
             dismiss ap16-1128. Also review and analysis of motion to dismiss
             defendant Calloway and brief in support of motion to dismiss filed by
             Ballard and cases cited in motion and brief.                             .50

11/10/16     Review of pleadings filed by Grant Ballard, attorney for Prairie Gold
             Farms et al, ap 16-1131, re: answer to complaint and assertion of
             numerous defenses, request for jury trial.                               .50

11/10/16     Review of pleading filed by Grant Ballard, attorney, re: answer to
             complaint filed against Calloway Planting Company and Jeffrey


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             Calloway, ap 16-1128, re: answer to complaint, assertion of
             affirmative defenses, request for jury trial.                            .50

11/10/16     Reviewed and calendared notice of hearings, re: pre-trial hearing
             scheduled in multiple adversary proceedings in Helena on 12/01/16.
             Cases involved are 1097, 1099, 1102, 1103, 1110, 1111, 1113,
             1120,1123,1131.                                                          .75

11/10/16     Review of pleading filed by Roger D. Rowe and Ralph D Scott, III,
             attorneys for Bradley Benton, re: Notice of appearance and entry of
             notice in Rice v. Benton, ap 16-1136.                                    .10

11/10/16     Review of pleadings filed by Barrett Moore, attorney for Travis
             Mears Farms, Inc., ap 16-1123, re: amended answer to complaint and
             assertion of affirmative defenses.                                       .50

11/11/16     Conference with staff attorney, re: legal strategies in pursuing
             preferences, asserting refund of setoffs.                                .40

11/11/16     Review of pleadings filed by Charles Coleman, attorney for Big
             Creek Rice Farms, Inc., re: answer to complaint and assertion of
             affirmative defenses.                                                    .80

11/11/16     Review of pleadings filed by Roger Rowe, attorney for Bradley
             Benton in ap 16-1136, re: Answer to complaint and amended
             complaint.                                                               .80

11/11/16     Reviewed and calendered seven (7) notices of appearances, requests
             for notice and corporate ownership statements filed in multiple APs.
                                                                                      .40
11/11/16     Telephone conference with Kevin Keech, attorney, re: documents
             associated with administrative claim.                                    .20

11/11/16     Review of email , received from Brad Moore, attorney, re: settlement
             negotiations, offers to settle 384 Farms, Inc., Travis Mears Farms,
             Inc., Mears Farms, Inc., Travis Mears, Scott Mears, and Scott Mears
             Farms, Inc.                                                              .25

11/12/16     Review of letter forwarded by Hamilton Mitchell to Charles Coleman
             on 11/11/16 in response to request to dismiss pending adversary
             proceedings against Hill & Hill Farms (ap 16-1101), Medford Farms
             (ap 16-1124) and N & D Farms (ap 16-1125).                               .80

11/14/16     Review of records, documents and order concerning the claim of
             secured creditor. Preparartion for conference with accountant
             concerning claim.                                                       1.00

11/14/16     Telephone conference with Brian Crisp, CPA. re: information to
             determine the validity of the balance alleged to be owed on the claim
             of Rabo.                                                                 .20



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11/14/16     Exchange of emails between attorneys for trustee, re: facts gathering
             to determine legal strategy to be taken to resolve pending secured
             claim.                                                                    .10

11/14/16     Review of pleadings filed by Douglas C. Noble on behalf of
             Defendant Watson Farms, Inc., in ap 16-1145, Gregory Farms in ap
             16-1132 and Galloway Cotton Farms et al in ap 16-1127, re: Motion
             to Extend Time to File Responsive Pleading. Calendared all three
             matters for responses. Reviewed and calendared order to submit
             order on three (3) motion to extend time to file responsive pleading
             above and agreed orders extending time to allow responsive
             pleadings.                                                                .40

11/14/16     Reviewed and calendared notice of hearing, re: PRE-TRIAL hearings
             on Complaint by M Randy Rice against Turner Commodities, Inc.)
             ap 16-1096, Complaint by M Randy Rice against Ivory Rice, LLC,
             Agribusiness Properties, LLC., ap 16-1094 and re: Hearings
             scheduled for 12/1/2016 at 10:00 AM at Helena Division.                   .30

11/14/16     Reviewed and calendared notice of hearings, re: Motion to Dismiss
             Party Filed by Joseph Grant Ballard on behalf of Defendant Stefan A
             Calloway, ap 16-1128 Motion to Dismiss Adversary Proceeding or,
             In the Alternative, Answer Filed by Southern Rice & Cotton, LLCap
             16-1197, and Motion to Dismiss Adversary Proceeding Filed on
             behalf of Defendant AgriBank, ap 16-1098. Hearings scheduled for
             12/1/2016 at 10:00 AM at Helena Division. Also, reviewed
             respective motions                                                       1.30

11/15/16     Review and analysis of documents received from Phil Hickey,
             attorney for First National Bank of Eastern Arkansas, re: support for
             reqeust for trustee to dismiss First National Bank of Eastern Arkansas
             as a defendndant. Also, reviewed bank records supporting bank’s
             position.                                                                 .75

11/15/16     Conference with staff attorney to discuss standard of proof needed in
             order to fully consider request of First National Bank of Eastern
             Arkansas to be dismissed as a party in J&B Farms ap.                      .30

11/15/16     Review of pleadings filed by defendants Billy Hill, Jeff Hill, ap 16-
             1101, re: Answer to Complaint As Amended, affirmative defenses.          1.00

11/15/16     Review of file re: pending legal matters. Prepared and forwarded
             motion to dismiss Ag Heritage Farm Credit Services of America,
             FLCA, Ag Heritage Farm Credit Services of America, FLBA, Ag
             Heritage Farm Credit Services of America, ACA, and Ag Heritage
             Farm Credit Services of America, PCA as parties in pending ap 16-
             1109.                                                                    1.25

11/15/16     Review and analysis of legal research provided by staff attorney, re:
             Rice v. Rice Market Services, ap 16-1099, setoff issues, amending
             complaint, proof of claim filed by creditor.                             1.30


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11/15/16     Review of email received from Joe Strode, attorney for AgHeritage,
             re: inquiriy in efforts to obtain dismissal of party.                     .30

11/15/16     Review of pleadings filed by Ralph Waddell, attorney for Bear State
             Bank, formerly Heritage Bank, re: Notice of appearance and request
             for notice in adversary proceedings 16-1123, 16-1111, 16-1130 and
             16-1097                                                                   .20

 11/15/16    Conference with staff attorney concerning request to dismiss
             AgHeritage from Fogleman ap, discovery in adversary proceedings.
                                                                                       .30

11/16/16     Additional review of and revisions to draft of discovery to LTD
             Farms in preparation for meeting with Mitchell and Keech tomorrow.
                                                                                      1.20

11/16/16     Conference with staff attorney concerning ap against Cash, possible
             settlement negotiations.                                                  .30

11/16/16     Telephone conference with staff attorney for court, re: pre-trial
             hearings set next month, hearings on motion to dismiss set next
             month.                                                                    .30

11/16/16     Review and analysis of pleading filed by Richard Cox, former
             attorney for estate, re: application for allowance of compensation and
             notice of opportunity to object. Also, Review and analysis of
             application to pay trustee fees and expenses to Cox.                     1.70

11/16/16     Review of pleadings filed by Charles T. Coleman on behalf of
             Defendants Caroline B. Lyle Trust, Valerie Lyle, ap 16-1143, re;
             Motion to Extend Time To File Its Responsive Pleading To The
             Complaint.                                                                .10

11/16/16     Review of pleadings filed by Charles T. Coleman on behalf of
             Defendant, Frances England, ap 16-1142, re; Motion to Extend Time
             To File Its Responsive Pleading To The Complaint.                         .20

11/16/16     Review and analysis of settlement offer presented by Cache River
             Valley Seed LLC, ap 16-1133.                                              .50

11/16/16     Review of letter from Steven Joiner, attorney for Kennedy Rice
             Dryers, re: request to dismiss ap against Kennedy, citations of
             Arkansas Statutes and case law to support reqeust.                       1.25

11/16/16     Review of file re: pre-trial hearing tomorrow on Rice v. KBX .            .50

11/17/16     Attended pre-trial hearing with Tom Streetman, attorney, re:
             upcoming trial on remaining matters.                                     1.00

11/17/16     Conference with Streetman, re: issues remaining in KBX litigation,
             claim of Rabo.                                                            .25


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11/17/16     Review of Rice v. Englund ap and Rice v. Caroline Lyle Trust ap and
             jurisdioctional issues associated with cases in preparation from
             meeting with Mitchell and Keech scheduled for tomorrow. Also,
             reviewed and fine tuned proposed discovery in LTD Farms ap in
             preparation for meeting.                                                  1.40

11/17/16     Review of pleadings filed by Michael Oxner, dba Red Rever Farms
             in ap 16-1115, re: answer to complaint, assertion of affirmative
             defenses, request for jury trial. Also, reviewed and calendared notice
             of appearance and request for notice filed by Grant Ballard, attorney
             for Michael Oxner.                                                        1.10

11/17/16     Review of pleadings filed by Ag Resource Management, LLC in ap
             16-1130, re: answer to complaint and assertion of affirmative
             defenses.                                                                  .80

11/17/16     Reviewed and calendared notice of hearing on motion to dismiss filed
             by Agri Bank in ap 16-1098. Matter reset to 12/15/16 at 1:00 in
             Little Rock.                                                               .20

11/17/16     Review of letter from Kristopher Riggs from legal department of
             Anheuser-Busch. Letter was in response to inquiry into contractual
             relationship between Busch Agricultural Resources Inc and the
             debtor.                                                                    .40

11/17/16     Review and approval of proposed order prepared by staff attorney
             extending the time of all defendants in the Rice v. Caviness Farms II
             et al ap to respond until 02/28/17.                                        .30

11/17/16     Reviewed and calendared order granting Motion for Admission Pro
             Hac Vice of Kathryn G. Reid, special litigation counsel in ap 16-
             1098.                                                                      .10

11/17/16     Preparation for meeting with attorneys tomorrow, re: legal strategies
             in proceeding forward, confirmation of effective filings, update on
             pending litigation, other potential causes of action.                     2.00

11/17/16     Reviewed and calendared notice of hearing on motion to dismiss filed
             by Agri Bank in ap 16-1098. Matter reset to 12/15/16 at 1:00 in
             Little Rock, Order extending Time For Defendant, Frances England
             To Respond To Complaint in ap 16-1142 until December 7, 2016,
             Order extending Time For Defendant The Caroline B. Lyle Trust and
             Valerie Lyle to Respond To Complaint in ap 16-1143 until December
             7, 2016.                                                                   .50

11/17/16     Reviewed and calendared Motion to approve Kathryn Reed, Pro Hac
             Vice as special litigation counsel for trustee in case in chief.           .10

11/17/16     Review of emails between counsels in the KBX ap concerning
             setting of trial dates. Telephone conference with Streetman, re: trial,
             discovery conference with Grice.                                           .10


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11/18/16     Review of proposed Response prepared by special counsel, Greg
             Bevel, to motion to dismiss filed (AFC) AgHeritage Farm Credit et
             al, ap 16-1098. Authorized special counsel to file the Response.           .90

11/18/16     Prepared draft of Trustee’s response to two (2) Motions filed by
             Richard Cox for Trustee and Attorney for fees and expenses.                .90

11/18/16     Meeting with Keech, Gladden, and Mitchell, attorneys, re: legal
             strategies in proceeding forward, confirmation of effective filings,
             update on pending litigation, other potential causes of action,
             assignment of tasks and duties.                                           1.80

11/18/16     Review of revised proposed Response prepared by special counsel,
             Greg Bevel, to motion to dismiss filed (AFC) AgHeritage Farm
             Credit et al, ap 16-1098.                                                  .25

11/18/16     Review of pleadings filed by Lance Miller, attorney for Gavilon
             Grain, LLC.,ap 16-1149, re: Corporate Ownership Statement, Motion
             to Appear Pro Hac Vice of James J. Niemeier, Motion to Appear Pro
             Hac Vice of James G. Powers, Motion to dismiss ap and compel
             arbitration, Brief in support of motion to dismiss.                       1.90

11/18/16     Reviewed Answer to Complaint as Amended Filed by Russell D.
             Berry on behalf of Defendant The Farmers & Merchants Bank, in
             Rice v. Hill & hill Partnership, et al, ap 16-1101.                        .80

11/18/16     Reviewed Answer to Complaint Filed by David L. Sims on behalf of
             Defendant Relyance Bank, N.A. in Rice v. LTD Farms Partnership,
             et al, ap 16-1140.                                                         .75

11/18/16     Review of email received from Kerry Mills, attorney, re: intent to file
             response to answer filed by AGHeritage entities in ap 16-1098
             (pleading called answer but request that complaint be dismissed.)
             Also, reviewed actual response filed docket # 16.                          .30

11/18/16     Reviewed and calendared order to submit order on motion to dismiss
             party filed by trustee in Rice v. Fogleman, ap 16-1019.                    .10

11/18/16     Review of pleadings filed by Todd Williams on behalf of Defendants
             Agribusiness Properties in Rice v. Ivory Rice, ap 16-1094, re:
             Corporate Ownership Statement.                                             .10

11/18/16     Reviewed and calendared Order extending time for defendants to
             answer complaint in Rice v. Caviness, ap 16-1134. Defendant
             granted until 12/07/16 to respond.                                         .10

11/18/16     Reviewed and calendared Order from court for plaintiff to submit
             order dismissing parties in Rice v. Fogleman Farms II et al, ap 16-
             1109.                                                                      .10

11/19/16     Additional review of Motion to dismiss ap and compel arbitration,


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             brief in support of motion to dismiss and cases and authority cited by
             Gavilon in ap 16-1149.                                                     2.10

11/19/16     Review of Response filed by special counsel to answer of AgHeritage
             Farm Credit Services, FLBA, AgHeritage Farm Credit Services,
             FLCA, AgHeritage Farm Credit Services, PCA, and AgHeritage
             Farm Credit Services, ACA, ap 16-1098.                                     1.00

11/19/16     Review of email received from Joe Strode, attorney for AgHeritage
             PCA, to Keech, special counsel, re: unopposed motion for extension
             of time to answer complaint in ap 16-1127 and proposed Order
             extending time to answer to 12/07/16.                                       .50

11/19/16     Additional review and revision to universal discovery in adversary
             proceedings.                                                                .80

11/19/16     Review and analysis of legislative history and case law, re: (1) trustee
             commission to separate trustees and (2) Administrative expenses,
             interim distributions, ability to pro rate filing fees.                    2.50

11/19/16     Additional review, analysis and consideration of settlement offer
             extended by 384 Farms, Inc., Travis Mears Farms, Inc. Notified
             attorney of declination of offer.                                           .60

11/21/16     Reviewed and calendared memorandum of document deficiency
             forwarded from Clerk to defendant in Rice v. LTD Farms
             Partnership, ap 16-1140, re: corporate ownership statement.                 .10

11/21/16     Reviewed and calendared memorandum of document deficiency
             forwarded from Clerk to defendant in Rice v. Hill Farms Partnership,
             ap 16-1101, re: corporate ownership statement.                              .10

11/21/16     Reviewed and calendared memorandum of document deficiency
             forwarded from Clerk to separate defendant, Relyance Bank in Rice
             v. LTD Farms Partnership, ap 16-1140, re: corporate ownership
             statement.                                                                  .10

11/21/16     Review of pleadings filed by Joseph A. Strode, attorney for
             AgHeritage Farm Credit Services, ACA, AgHeritage Farm Credit
             Services, FLBA, AgHeritage Farm Credit Services, FLCA,
             AgHeritage Farm Credit Services, PCA, AgriBank, F.B., in Rice v.
             Galloway et al, ap 16-1127, re: unopposed motion to extend time
             until 12/07/16 to file responsive pleading. Motion the same as one
             received on 11/19/16.                                                       .30

11/21/16     Review of claims filed in Bartlett case in order to determine legal
             steps to be taken to preserve the estate’s interest in its claim filed
             against Bartlett (14-14974). Priority claims filed, claims filed by
             parties sued by this estate.                                               2.00

11/21/16     Reviewed and calendared Notice of Appearance and Request for


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             Notice Filed by Stan D. Smith on behalf of Defendant Gavilon Grain,
             LLC in ap 16-1149.                                                        .10

11/21/16     Review of pleadings filed by William A. Waddell on behalf of
             Defendants Bayou Circle Farms, Inc., Lori Dabbs, Terry Dabbs, L7D,
             Inc., LTD Farms Partnership, Paydirt Planting Company, Tiki Farms,
             Inc., ap 16-1140, re: Corporate Ownership Statement.                      .10

11/21/16     Reviewed and calendared notice of hearing, re: pre-trial hearing
             continued - parties requested & agreed complaint by M Randy Rice
             against Prairie Gold Farms and Frank Prislovsky, ap 16-1131.
             Hearing scheduled for 12/15/2016 at 09:30 AM at Judge Jones' Little
             Rock Courtroom.                                                           .10

11/21/16     Review of file re: pending legal matters, outstanding order dismissing
             Ag Heritage entities in ap 16-1109, pretrials and hearings on motion
             to dismiss set for 12/01/16, discovery.                                   .70

11/21/16     Prepared and submitted proposed order dismissing Ag Heritage
             entities in ap 16-1109.                                                   .40

11/21/16     Review of pleadings filed by Charles Coleman, attorney for Jennifer
             Medford and Samuel Medford in Rice v. Medford et al, ap 16-1124,
             re: answer to complaint and assertion of affirmative defenses.            .80

11/21/16     Reviewed and calendared notice of hearing on trial of Rice v. KBX,
             ap 16-1023. Matter set on 2/8/2017 at 09:30 a.m. in Little Rock.          .10

11/21/16     Reviewed and calendared Order dismissing Ag Heritage entities in
             Rice v. Fogleman et al, ap 16-1109.                                       .10

11/21/16     Reviewed and calendared Order granting time for defendant to
             respond in Rice v. Galloway, ap 16-1127 until 12/07/16.                   .10

11/21/16     Review of pleadings filed by David L. Sims on behalf of Defendant
             Relyance Bank, N.A. Jefferson Bankshares, Inc. in Rice v. LTD
             Farms et al, ap 16-1140, re: Corporate Ownership Statement.               .10

11/22/16     Review of pleadings filed by Kevin Keech, attorney, re: Motion to
             Extend Time to Respond to Motion to Dismiss by Defendant Stefan
             A. Calloway in Rice v. Calloway, et al, ap 16-1128 until November
             30, 2016.                                                                 .30

11/22/16     Additional review and revisions to proposed discovery to Southern
             Rice and Cotton.                                                         1.00

11/22/16     Review of email from Mitchell to Keech, re: response to earlier
             conference concerning possible statue of limitation issues in regards
             to one possible defendant. Also, reviewed notes concerning matter.
                                                                                       .50



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11/22/16     Additional review and analysis of pleading filed by Joseph Grant
             Ballard, attorney for defendants Michael Alex Fowler, Shirley
             Fowler, Mike Fowler and Farms in Rice v. Fowler, re: notice of
             appearance and request for notice, answer to complaint and assertion
             of affirmative defenses.                                                 .50

11/22/16     Review of exchange of emails and documents provided by attorneys
             representing estate concerning preparation for upcoming trial against
             KBX . Also, review of analysis of claim of secured party and
             information being considered as it relates to all aspects of secured
             claim.                                                                   .60

11/23/16     Additional review and revisions to discovery to be submitted in Rice
             v. Southern Rice and Cotton. Review and analysis of FRCP and case
             law, re: partial motion to dismiss and alternative answer - mootness,
             legal impact.                                                           1.30

11/23/16     Review of Answer to Complaint and assertion of affirmative defenses
             filed by Separate Defendants Southern Bancorp, Inc. and Southern
             Bancorp Bank and Southern Bancorp, Inc. in Rice v. Fowler, et al, ap
             16-1144.                                                                 .50

11/23/16     Review of pleadings filed by John P. Talbot on behalf of Defendants
             AgHeritage Farm Credit Services, ACA, AgHeritage Farm Credit
             Services, FLBA, AgHeritage Farm Credit Services, FLCA,
             AgHeritage Farm Credit Services, PCA, AgriBank, in ap 16-1129, re:
             Answer to Complaint, assertion of affirmative defenses, Jury
             Demand, Cross claim by AgHeritage Farm Credit Services, PCA
             against Keith Wilkinson Farms Partnership and Keith Wilkinson.           .75

11/23/16     Working with staff attorney in finalizing discovery to be forwarded
             to Hill & Hill Farms Partnership, ap 16-1101 and Southern Rice and
             Cotton, ap 16-1095.                                                     2.20

11/23/16     Reviewed and calendared Order granting Motion to Extend Time to
             Respond to Motion to Dismiss by Defendant Stefan A. Calloway in
             Rice v. Calloway, ap 16-1128.                                            .10

11/23/16     Telephone conference with Scott Hunter, attorney, re: settlement
             negotiations.                                                            .25

11/24/16     (Thanksgiving Day ) Review and analysis of discovery received
             from Kim Tucker, attorney, on behalf of Hill and Hill Farms
             Partnership et al, ap 16-1101, Big Creek Farms, ap 16-1118, Medford
             Farms et al, ap 16-1124 and McGregor Farms, LLC et al, ap 16-1120,
             re: interrogatories and request for production of documents on each.
                                                                                     3.20

11/25/16     Additional review and drafting of responses to discovery in multiple
             adversary proceedings (Big Creek Farms, Medford). Also,
             additional drafting of discovery to be forwarded to defendants.         2.10


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11/25/16     Additional review and drafting of responses to discovery to
             McGregor. Also, additional drafting of discovery to be forwarded to
             defendant.                                                              1.00

11/25/16     Preparation for hearings set on 12/01/16, re: several pre-trials,
             responding to motion to dismiss filed by Southern Rice and Cotton.
                                                                                     1.30

11/25/16     Review of email between staff attorney and Scott Hunter, attorney for
             Cache River Valley Seed, LLC, re: settlement of ap.                      .25

11/25/16     Reviewed and calendared Order extending time for trustee to respond
             to motion to dismiss filed by separate defendant, Stefan Calloway in
             Rice v. Calloway et ap, ap 16-1128, until 11/30/16.                      .10

11/27/16     Review of file re: pending legal matters, emailed special counsel and
             accountant for estate, re: documents to support possible objection to
             claim.                                                                   .30

11/27/16     Made final revisions and filed Response to Application to approve
             payment of trustee commission and expenses to Richard Cox, former
             trustee. Also, finalized and filed Response to Application to approve
             payment of attorney fees and expenses to Richard Cox, former
             attorney for estate.                                                    1.90

11/27/16     Reviewed and made final revisions to discovery to be sent to Roger
             McNeil, attorney for Razorback Rice & Seed Co., Inc., dba Rice
             Market Services, in ap 16-1099. Forwarded to staff attorney for final
             review and submission.                                                   .80

11/27/16     Reviewed and made final revisions to discovery to be sent to Ralph
             Waddell, attorney for Agri Marketing Inc., dba Minturn Grain, in ap
             16-1097. Forwarded to staff attorney for final review and
             submission.                                                             1.60

11/28/16     Reviewed and calendared Memorandum of Document Deficiency
             from the Court to Separate Defendants Southern Bancorp, Inc. and
             Southern Bancorp Bank in Rice v. Fowler, ap 16-1044, re: Corporate
             Ownership Statement not filed.                                           .10

11/28/16     Review of pleadings filed by Russell D. Berry on behalf of Defendant
             The Farmers & Merchants Bank in Rice v. Hill and Hill Farms, et al,
             ap 16-1101, re: Corporate Ownership Statement.                           .10

11/28/16     Review of email received from Brian Crisp, CPA. re: documentation
             to support objection to claim of creditor, request additional
             information in order to complete trial exhibit.                          .10

11/28/16     Preparation of information and documentation for anticipated
             trustee’s objection to claim of secured creditor.                        .60



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11/28/16     Emailed Brian Crisp, CPA, re: additional documentation an
             information to assist in calculation and preparation of account
             balance to secured creditor.                                               .20

11/28/16     Reviewed and calendared Notice of Appearance and Request for
             Notice Filed by Charles T. Coleman on behalf of Separate defendants
             Southern Bancorp Bank, Southern Bancorp, Inc., ap 16-1144.                 .10

11/28/16     Reviewed and calendered notice of continuance of pre-trial hearing
             in Rice v. Razorback Rice & Seed Co., Inc., dba Rice Market
             Services., ap 16-1099. Hearing rescheduled to 2/16/2017 at 10:00
             AM at Helena.                                                              .10

11/29/16     Review of correspondence from Kevin Keech, attorney, re: responses
             to inquiries from attorney for Frances England, jurisdictional issues
             concerning amounts owed by defendants. Also, reviewed applicable
             Bankruptcy Code and USSC Code in effort to respond.                        .30

11/29/16     Review and analysis of Motion to Dismiss Adversary Proceeding or,
             In the Alternative, Answer Filed by Lyndsey D. Dilks on behalf of
             Separate Defendant Keith Wilkinson, in Rice v. Wilkinson et al, ap
             16-1129. Also Review and analysis of Brief and/or Memorandum of
             Law In Support of Motion to Dismiss Adversary Proceeding filed on
             behalf of Separate Defendant Keith Wilkinson.                              .80

11/29/16     Review and analysis of Motion to Dismiss Adversary Proceeding or,
             In the Alternative, Answer Filed by Lyndsey D. Dilks on behalf of
             Separate Defendant Roger Wilkinson, in Rice v. Wilkinson et al, ap
             16-1129. Also Review and analysis of Brief and/or Memorandum of
             Law In Support of Motion to Dismiss Adversary Proceeding filed on
             behalf of Separate Defendant Roger Wilkinson.                              .20

11/29/16     Review and analysis of email received from Brian Crisp, CPA. re:
             calculations of interest and balance owed on secured claim. Also,
             reviewed earlier documents received from secured creditor
             calculating claim.                                                         .80

11/29/16     Emailed estate’s accountant and special counsel, re: conference to
             discuss secured claim.                                                     .25

11/29/16     Preparation for conference with accountant and special counsel, re:
             possible objection to secured claim, possible demand for refund.
             Review of earlier calculations from secured creditor, secured
             contract, proof of claim.                                                 1.00

11/29/16     Telephone conference with accountant for estate and special counsel,
             secured claim and balance owed, possible objection to claim, possible
             motion for refund of overpayment, legal right to claim default interest
             in bankruptcy.                                                             .40




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11/29/16     Review of caselaw and other legal research conducted by staff
             attorney, re: contract interest (beyond regular interest) on secured
             claim, parties right to jury trial.                                         1.40

11/29/16     Two telephone conference with Kevin Keech, attorney, re: upcoming
             pretrials, scheduling order on two adversary proceedings in 12/01/16
             pre-trial, responding to attorney about possibly dismissing adversary
             proceedings.                                                                 .30

11/29/16     Reviewed and calendared Order to submit order in Motion to Appear
             Pro Hac Vice of James J. Niemeier Filed by Lance R. Miller on
             behalf of Defendant Gavilon Grain, LLC.                                      .10

11/29/16     Review and analysis of case law concerning aggregation of payments
             to determine whether statutory limits reached under §11 USC 547.            1.00

11/29/16     Reviewed and calendared notice of hearing on Motion to Dismiss
             Separate Defendant, Stefan A Calloway in Rice v. Calloway, ap 16-
             1128. Hearing motion rescheduled for 12/15/2016 at 09:30 in Little
             Rock.                                                                        .10

11/29/16     Review of exchange of emails between Keech and Ballard, attorney
             for defendant in Rice v. Galloway in ap 16-1129, re: resetting motion
             to dismiss to 12/15/16.                                                      .20

11/29/16     Review of Corporate Ownership Statement filed on behalf of
             Southern Bancorp, Southern Bancorp Bank, Southern Bancorp, Inc.
             in ap 16-1144                                                                .10

11/29/16     Additional review and analysis of case law concerning aggregate of
             payments to determine whether statutory limits reached under §11
             USC 547.                                                                     .50

11/29/16     Exchange of additional emails with staff attorney and special counsel
             attorney on various issues, re: interest claim, demand for arbitration,
             pre-trials schedules later this week.                                        .50

11/29/16     Telephone conference with Kevin Keech, attorney, re: Frances
             England and Carolyn Trust adversary proceedings, pretrials and
             motion to dismiss scheduled in Helena on 12/01/16.                           .40

11/30/16     Review of exchange of emails between attorneys for estate, re:
             several matters involved in pending litigation.                              .40

11/30/16     Telephone conference with staff attorney for court, re: pre-trial set for
             12/01/16, intent for Rice and Mitchell to appear, not Keech,
             anticipated time.                                                            .25

11/30/16     Preparation for pre-trials and motion to dismiss set for tomorrow.
             Conferences with attorneys in regards to matters.                           1.50



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11/30/16     Reviewed and calendared notice of hearing on Motion to Dismiss
             Adversary Proceeding Filed by Lyndsey D. Dilks on behalf of
             Defendant Southern Rice & Cotton, LLC, ap 16-1095. Hearing
             scheduled for 12/15/2016 at 09:30 AM at Judge Jones' Little Rock
             Courtroom.                                                                 .10

11/30/16     Preparation for telephone conference with Brooks Gill, attorney, and
             telephone conference with Gill, re: pretrial tomorrow on Rice v.
             Turner Commodities Inc., ap 16-1096.                                       .75

11/30/16     Preparation for telephone conference with Roger McNeil and
             telephone conference with Roger McNeil, attorney, re: pretrial
             tomorrow on Rice v. Razorback Rice and Seed, ap 16-1099, possible
             settlement negotiations, review of court docket to confirm matter
             reset to 02/16/17                                                          .80

11/30/16     Telephone calls with remaining defense attorneys in adversary
             proceedings, re: pre-trial scheduled for tomorrow.                        1.40

11/30/16     Reviewed and calendared Notice of rescheduling pre-trial hearing set
             on Rice v. McGregor Farms, ap 16-1120. Hearing scheduled for
             12/15/2016 at 09:30 AM at Judge Jones' Little Rock Courtroom.              .10

11/30/16     Review of motion filed by John R. Eldridge III on behalf of Watson
             Farms, for Sean R. Guy to Appear Pro Hac Vice in ap 16-1127.               .10

11/30/16     Reviewed and calendared Order authorizing James G. Powers of
             McGrath North admitted to appear and act as co-counsel for Gavilon
             Grain, LLC, in Rice v. Gavilon, ap 16/1149.                                .10

12/01/16     Traveled to Helena for pre-trial hearing and attended pre-trial hearing
             on multiple cases.                                                        7.00

12/01/16     Review and analysis of pleading filed by USDA, re: answer to
             complaint in Rice v. USDA, ap 16-1135.                                     .60

12/01/16     Review and analysis of Response to Motion to Dismiss by Defendant
             Stefan A. Calloway filed by Kevin P. Keech on behalf of Plaintiff in
             Rice v. Calloway et al, ap 16-1128.                                        .40

12/01/16     Reviewed and calendared Order authorizing Sean Gay to appear Pro
             Hace Vice in three adversary proceedings - Galloway, Watson
             Farms, Gregory Farms.                                                      .10

12/01/16     Review of multiple correspondences on different adversary
             proceedings following the pre-trial today.                                 .60

12/02/16     Review and analysis of documents received from Brooks Gill
             pleadings from Zero Grade Farm v Agri-Petroleum State court
             litigation (affidavit, motion for summary judgment, brief in support
             of motion for summary judgment).                                          1.50


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12/02/16     Review of Corporate Ownership Statement. Filed by David D. Tyler
             on behalf of Defendants Billy James Farms, Inc., Billy Ray &
             Edwina James LLC, Billy Ray James Land Co. LLC, Black River
             Farms, Inc., Billy Ray James, Donna James, Jon David James, James
             Farms JV, James Farms, Inc., Trails End Farms, Inc., in Rice v.
             James Farms et al, ap 16-1103 and Corporate Ownership Statement.
             Filed by David D. Tyler on behalf of Defendants FAF LLC, Frank G.
             Fogleman, Franklin A. Fogleman, R. Scott Fogleman, W. David
             Fogleman, Fogleman Family LLC, Fogleman Farms, Fogleman
             Farms II, Fogleman Farms LLC, Fogleman, Inc., KCF LLC, SSF
             LLC, WDF LLC. and Corporate Ownership Statement. Filed by
             David D. Tyler on behalf of Defendants FAF LLC, Frank G.
             Fogleman, Franklin A. Fogleman, R. Scott Fogleman, W. David
             Fogleman, Fogleman Family LLC, Fogleman Farms, Fogleman
             Farms II, Fogleman Farms in Rice v. Fogleman Farms et al, ap 16-
             1109                                                                        .25

12/02/16     Reviewed proposed Trustee’s Response in Opposition to Gavilon’s
             Motion to Dismiss Adversary Complaint and Compel Arbitration.
             (1.40 hours divided between trustee and attorney time).                     .70

12/02/16     Reviewed and calendared Order entered in response to pleading filed
             by First National Bank of Eastern Arkansas in Rice v. Vanderberg et
             al, ap 16-1122, re: Order extending time for First National Bank of
             Eastern Arkansas to respond to Original Complaint and the Amended
             Complaint until March 14, 2017.                                             .25

12/02/16     Telephone conference with Kathryn Reid, special counsel, re:
             proposed response to Gavilon’s motion to compel arbitration.                .30

12/02/16     Review of email received from Tom Streetman, attorney, re:
             documents from secured creditor’s attorney concerning alleged
             payoff.                                                                     .40

12/02/16     Review of email received from Kendell Grooms, attorney, re:
             demand for protective order. Also reviewed file and conference with
             staff attorney about response to demand.                                    .30

12/02/16     Review and analysis of Stern v. Marshall and related articles
             discussing the opinion in effort to determine the extent of jurisdiction
             of the court in jury trials and regular trials.                            2.40

12/02/16     Conference with staff attorney, re: Stern v Marshall, jury trial issue,
             pre-trial orders. Assisted with draft of email to special counsel
             concerning jury trial issue and content of pre-trial order.                 .80

12/04/16     Trial preparation, re: preparation of pre-trial orders and conferences
             with staff attorney concerning pre-trial orders.                            .50




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12/04/16     Additional conference with staff attorney concerning trial strategies,
             discovery and compliance with court’s instructions concerning pre-
             trial matters.                                                              .40

12/05/16     Trial preparation, re: reviewing and revising proposed pre-trial order
             in one of adversary proceedings, conference with staff attorney
             concerning pre-trial order.                                                 .80

12/05/16     Review and analysis of separate answers filed by Galloway Cotton
             Farms and Williams Galloway Jr. in Rice v. Galloway Farms, ap 16-
             1127.                                                                       .70

12/05/16     Revising proposed protective order to responding to subpoena served
             upon trustee in state court litigation.                                    1.00

12/05/16     Review of file re: pending legal matters, possible settlements.
             Telephone conference with Scott Hunter, attorney, re: status of
             payment in accordance with terms of settlement.                             .30

12/05/16     Conference with staff attorney, re: proposed protective order,
             discovery matters in bankruptcy adversary proceedings, other matters
             to advance cases forward.                                                   .40

12/05/16     Review and analysis of answer and defenses asserted filed by
             Gregory Farms Inc., in Rice v. Gregory Farms Inc, ap 16-1132.               .50

12/05/16     Review and analysis of answer and defenses asserted filed by Watson
             Farms Inc., in Rice v. Watson Farms Inc., ap 16-1145.                       .50

12/06/16     Review of correspondence between staff attorney and attorney for
             defendant in one of pending ap, re: jury trial - claim filed issue, pre-
             trial order.                                                                .75

12/06/16     Conference with staff attorney, re: jury trial - claim filed issue, pre-
             trial order.                                                                .25

12/06/16     Review of Answer to Complaint With Jury Demand Filed by John P.
             Talbot, attorney for Ag Heritage Farm Credit Services of America,
             ACA, Ag Heritage Farm Credit Services of America, FLBA,
             AgHeritage Farm Credit Services of America, FLCA, AgHeritage
             Farm Credit Services, FLCA, AgHeritage Farm Credit Services, PCA
             in Rice v. Leslie Farms et al, ap 16-1104.                                 1.00

12/06/16     Review of email received from Court staff, re: setting of hearing on
             fee applications filed by Cox and responses filed by Rice. Also,
             reviewed pleadings briefly.                                                 .25

12/06/16     Review of Answer and Affirmatives Defenses of Farm Credit
             Defendants Filed by Joseph A. Strode on behalf of Defendants
             AgHeritage Farm Credit Services, ACA, AgHeritage Farm Credit



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             Services, FLBA, AgHeritage Farm Credit Services, FLCA,
             AgHeritage Farm Credit Services, PCA, AgriBank, F.B.                    .60

12/06/16     Review of defendant’s Reply to Trustee’s Response to motion to
             dismiss filed on behalf of Stephen Calloway in ap 16-1128.              .50

12/06/16     Reviewed and calendared Memorandum of document deficiency
             (corporate resolution) sent by Court in Rice v. Watson Farms, ap 16-
             1145.                                                                   .10


12/06/16     Working with staff attorney in drafting pre-trial order in Rice v.
             James, ap 16-1103.                                                      .80

12/06/16     Review and analysis of Answer to Complaint on Behalf of Separate
             Defendants N & D Farms, Nickolas Jackson and Detra Jackson Filed
             by Charles T. Coleman on behalf of Defendants Detra Jackson,
             Nickolas Jackson, N & D Farms in Rice v. N & D Farms, ap
             16-1125.                                                               1.00

12/07/16     Reviewed and calendared comments by United States Trustee to fee
             application of Cox.                                                     .10

12/07/16     Telephone conference with Lance Miller, attorney, re: pending
             motion to compel arbitration, would like to file a reply, trustee’s
             position in that regard. Also, discussed possible meeting between
             parties.                                                                .25

12/07/16     Review of correspondence between parties concerning pre-trial order
             in Rice v. James, ap 16-1103.                                           .25

12/07/16     Review and analysis of Answer filed on behalf of Leslie T. Brown
             Farms (“Brown Farms”), Leslie T. Brown and Judy L. Brown (Brown
             Farms, Leslie T. Brown and Judy L. Brown by their undersigned
             counsel, Harry A. Light in Rice v. Leslie T. Brown Farms et al, ap
             16-1104.                                                               1.20

12/07/16     Review and analysis of Separate Answer to Complaint filed by
             Joseph A. Strode on behalf of Defendants Ag Heritage Farm Credit
             Services of America, ACA, Ag Heritage Farm Credit Services of
             America, FLBA, AgHeritage Farm Credit Services of America,
             FLCA, AgHeritage Farm Credit Services, PCA N &D Farms et al, ap
             16-1125.                                                                .80

12/07/16     Review and analysis of pleading filed by Kimberly Wood Tucker on
             behalf of Defendants Caroline B. Lyle Trust, Valerie Lyle in Rice v.
             Caroline Trust, ap 16-1143, re: Motion to Dismiss alleging improper
             venue. Also, review and analysis of brief in support of motion.         .60

12/07/16     Review and analysis of pleading filed by Kimberly Wood Tucker on
             behalf of Defendants Frances England, Frances England in Rice v.


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             England et al, ap 16-1142, re: Motion to Dismiss alleging improper
             venue. Also, review and analysis of brief in support of motion.         .25

12/07/16     Review and analysis of Corporate Ownership Statement filed by
             Ralph W. Waddell on behalf of Defendant Agri Marketing, Inc., dba
             Minturn Grain in Rice v. Agri Marketing, ap 16-1097.                    .10

12/07/16     Review of correspondence between        expert witnesses, pre-trial
             orders.                                                                 .60

12/07/16     Review of files in preparation for conference with staff attorney,
             Conference with staff attorney on legal strategies in proceeding
             forward on multiple adversarys.                                        2.60

12/07/16     Review and analysis of Answer to Complaint of Separate Defendant
             Cross County Bank Filed by Harry S. Hurst Jr. In Rice v. Medford et
             al, ap 16-1124.                                                        1.00

12/07/16     Review and analysis of Answers to Cross claim Filed by Lyndsey D.
             Dilks on behalf of Cross Defendant Keith Wilkinson and Defendant
             Keith Wilkinson Farms Partnership in Rice v. Wilkinson et al, ap 16-
             1129.                                                                   .80

12/08/16     Review of Memorandum of Document Deficiency Regarding
             Corporate Ownership Statement lacking information Answer to
             Complaint filed by Defendant Cross County Bank in Rice v.
             Medford, ap 16-1124.                                                    .10

12/08/16     Reviewed and calendared of Corporate Ownership Statement filed by
             Harry S. Hurst Jr. on behalf of Defendant Cross County Bank in Rice
             v. Medford, ap 16-1124.                                                 .10

12/08/16     Telephone conference with Lance Miller, attorney, re: pending
             motion to compel arbitration and response.                              .25

12/08/16     Review of Corporate Ownership Statement filed by Douglas C.
             Noble on behalf of Defendant Watson Farms in ap 16-1145.                .10

12/08/16     Review of Corporate Ownership Statement filed by Douglas C.
             Noble on behalf of Defendant Gregory Farms in ap 16-1132.               .10

12/08/16     Review of email received from Kendel Groom, attorney, re: proposed
             changes to protective order.                                            .80

12/09/16     Additional review and analysis of       proposed protective order
             submitted by Grooms.                                                   1.00

12/09/16     Conference with staff attorney concerning proposed protective order
             and proposed revisions.                                                 .50




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12/09/16     Review of file re: draft of unrelated protective order in efforts to
             obtain protective order in Grooms’ state court litigation.                .80

12/08/16     Telephone conference with Scott Hunter, attorney, re: settlement
             negotiations, pending ap 16-, Rice v. for Cache River Valley Seed,
             LLC.                                                                      .25

12/12/16     Review of correspondence between staff attorney and special counsel
             concerning proposed protective order, pending adversary
             proceedings, solvency of company.                                         .40

12/12/16     Review of pleadings filed by Kevin Keech, attorney, re: response to
             motion to dismiss filed by separate defendant, Keith Wilkinson Rice
             v. Wilkerson et al, ap 16-1129.                                           .30

12/12/16     Review of pleadings filed by Kevin Keech, attorney, re: response to
             motion to dismiss filed by separate defendant, Roger Wilkison and
             Keith Wilkinson Farms in Rice v. Wilkerson et al, ap 16-1129.             .30

12/12/16     Conference with staff attorney, re: proposed protective order in state
             court litigation, pre-trial orders with defendants in adversary
             proceedings, solvency issues in adversary proceedings, strategy in
             proceeding forward with defendants in adversary proceedings.              .40

12/13/16     Conference with staff attorney, re: moving forward on adversary
             proceedings, protective order in state court litigation of Zero Farms,
             settlement agreement on one of adversary proceedings, pre-trial order
             to Waddell on Rice v. Agri Market, ap 16-1097.                            .50

12/13/16     Review of correspondence between parties, re: protective order in
             state court litigation of Zero Farms, pre-trial order to Waddell on
             Rice v. Agri Market, ap 16-1097.                                          .40

12/13/16     Additional review of correspondence between parties, re: pre-trial
             order forwarded on Rice v. James et al, ap 16-1103.                       .25

12/13/16     Review of docket and review of matters scheduled for hearing on
             12/15/16, re: motion to dismiss is some adversary proceedings, pre-
             trial in some adversary proceedings. Preparation for pre-trials with
             staff attorney.                                                          1.30

12/13/16     Telephone conference with Greg Bevel, attorney, re: hearing on
             12/15/16 on motion to dismiss by Agri, possible meeting with
             counsel in Gavilon ap.                                                    .25

12/13/16     Review of proposed revisions to protective order by staff attorney
             and Kendel Grooms, attorney for Zero Grade plaintiffs in State Court
             proceeding.                                                              1.25




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12/13/16     Reviewed and calendared correspondence between special counsel
             and counsel for KBX, re: responding to discovery request, upcoming
             trial.                                                                     .10

12/14/16     Conference with staff attorney, re: pre-trial hearing and hearing on
             motion to dismiss tomorrow, discovery and responding to discovery,
             draft of response to discover in Hill & Hill adversary proceeding,
             request for interim distribution on administrative fees and expenses,
             general trial strategies.                                                 1.00

12/14/16     Review of files, pleadings and court docket in preparation for
             hearings tomorrow (adversary proceedings 16-1095, 16-1128, 16-
             1120, 16-1131, 16-1098). Consultation with all three attorneys that
             will be representing estate in matters.                                   1.80

12/14/16     Review and follow up on settlement negotiations with attorney re:
             possible turnover of settlement proceeds on 12/16/16. Telephone
             conference with attorney, re: possible meeting on 12/16/16 and
             possible resolution of ap.                                                 .60

12/14/16     Review of email received from Brian Crisp, CPA. re: update of
             balance owed, request to file application and make partial payment
             of $106,639.18 accountant fee owed. Review of file and multiple
             outstanding administrative fee and expenses accounts in order to
             respond to request to file application and make partial payment of
             administrative fees and expenses. (1.00 hours divided evenly
             between attorney and trustee).                                             .50

12/14/16     Telephone conference with Richard Cox, former attorney for estate,
             re: pending application for fees and expenses, request by accountant
             to file application for fees and expenses, Gavilon matter.                 .50

12/14/16     Cursory review of letter and 41 page attachment from Randy Grice,
             attorney for KBX attorney, re: outline of defense to trustee’s claim,
             right to setoff in Rice v. KBX, ap 16-1023.                               1.00

12/14/16     Review of pleadings filed by Lance Miller, attorney, re: request for
             leave to file reply to trustee’s response to Gavilon’s motion to compel
             arbitration.                                                               .30

12/14/16     Review of email received from Scott Hunter, attorney, re: settlement
             negotiations, proposed turnover of funds in accordance with terms of
             settlement, request for written agreement confirming terms of
             proposed compromise settlement be submitted on 12/16/16.                   .30

12/14/16     Prepared draft on proposed settlement agreement between trustee and
             Cache River Farms.                                                        1.60

12/14/16     Review of email received from Tom Streetman, attorney, re: update
             on status of resolving claim of Rabo, secured creditor’s intent to
             change terms of agreement if challenged. Review of file and order


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             entered concerning payment in response to secured creditor’s intent
             to alter terms.                                                          1.00

12/15/16     Attended hearings on motion to dismiss on Rice v. Calloway, ap
             16-1128 and Rice v. Southern Rice and Cotton, LLC, ap 16-1095 and
             conference with attorneys after hearing.                                 1.00

12/15/16     Conference with special counsel after hearing on Rice v. Agri Bank
             et al, ap 16-1098.                                                       1.00

12/15/16     Review of correspondence between staff attorney and Mike Cone,
             attorney representing defendant in ap. Also reviewed revised pre-
             trial order with proposed changes, ap 16-1103.                            .40

12/15/16     Additional review and revisions to proposed protective and
             authorized distribution to counsel for Zero Grade for possible
             approval.                                                                 .60

12/15/16     Additional review and analysis of fee applications filed, order
             awarding fees and other matters in order to respond to request to file
             fee application on behalf of professionals in estate. Emailed Brian
             Crisp, CPA. re: response to request to submit application for
             accountant fees and expenses, outline of administrative claims of
             estate and consideration to making a partial distribution.               1.00

12/15/16     Final revisions to proposed settlement agreement between trustee
             and Cache River Farms per parties.                                        .80

12/15/16     Conference with Kim Tucker on Lyle and Englund adversary
             proceedings, parties agreed to review and discuss further.                .30

12/15/16     Conference with Lisa Davis on KBX matters, re: upcoming trial in
             state court and upcoming trial on trustee’s adversary proceeding.         .30

12/15/16     Review of proposed order denying motion to dismiss filed Southern
             Rice and Cotton and granting motion to dismiss filed on behalf of
             Stephan Calloway.                                                         .40

12/15/16     Conference with staff attorney, re: pre-trial orders, discovery and
             work product issues that have developed, settlement offers extended,
             scheduling of meetings with parties in ap, general trial strategies.     1.00

12/16/16     Review of pleadings filed by Lloyd Ward, attorney, re: certificate of
             interested persons.                                                       .10

12/16/16     Review of numerous emails transpiring between staff attorney,
             special counsel, and counsels for Zero Grade defendants, re:
             concerning discovery, unauthorized photocopying and work product,
             pre-trial orders, other matters.                                         1.25




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12/16/16     Conference with David Tyler, attorney, re: upcoming pre-trials,
             possible settlement discussions.                                           .30

12/16/16     Conference with Scott Hunter, attorney, re: settlement negotiations,
             proposed settlement agreement, other legal matters.                        .25

12/16/16     Conference staff attorney, re: pre-trial orders, discovery and work
             product issues that have escalated, settlement offers extended,
             scheduling of meetings with parties in ap, general trial strategies.      1.00

12/16/16     Additional review of correspondence between staff attorney, special
             counsel and attorneys representing defendants in pending adversary
             proceedings concerning discovery matters, settlement matters, pre-
             trial matters and settlement discussions, pre-trial conferences.
             Scheduling matters related to cases.                                      1.20

12/17/16     Review of email received from between staff attorney and special
             counsel, re: pre-trial orders, Rule 26 requirements. Drafting outline
             of additional factors to consider in pre-trial to discuss with counsel.
                                                                                       1.40

12/17/16     Additional review and analysis of letter and 41 pages of documents
             from Randy Grice, attorney for KBX, to Tom Streetman, attorney, re:
             outline of defense to trustee’s claim, right to setoff in Rice v. KBX,
             ap 16-1023. Drafted outline of proposed reply to be forwarded to
             Streetman, special counsel.                                               3.80

12/17/16     Exchange of emails with Brian Crisp, accountant for estate, re:
             necessary information to file application for approval of interim fees,
             confirmed intent to file promptly.                                         .30

12/17/16     Prepared first draft of application to approve interim fees and
             expenses to Lain Faulkner, CPA or accounting services provided
             through 11/30/16.                                                          .70

12/18/16     Additional Review and analysis of 12/14/16 claim of Rabo, previous
             Orders entered, calculations of payments. Review of bankruptcy
             code, re: possible accounting and turnover complaint.                     2.20

12/18/16     Prepared draft correspondence to staff attorney, special counsel, and
             accountant for estate, re: analysis of overpayment to secured creditor,
             intent to proceed with turnover and accounting, instruction to
             accountant to analyze report and provide me with plausible
             explanation.                                                               .80

12/19/16     Reviewed and calendared order to submit order on Motion for
             Approval and for Leave to File a Reply to Trustee's Response in
             Opposition to Gavilon Grain, LLC's Motion to Dismiss Plaintiff's
             Adversary Complaint and Compel Arbitration.                                .10




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12/19/16     Morning conference with staff attorney on multiple matters in
             pending adversary proceedings, re: default interest paid to secured
             creditor per latest documents, settlement conferences with counsel on
             adversary proceedings, discovery matters.                               1.25

12/19/16     Review of Corporate Ownership Statement filed on behalf of J. D.
             McGregor Farms, LLC. by Kimberly Wood Tucker on behalf of
             Defendant JD McGregor Farms LLC, ap 16-1120.                             .10

12/19/16     Exchange of emails between staff attorney concerning discovery
             matters in adversary proceedings.                                        .50

12/19/16     Review of pleadings filed by Kevin Keech, attorney, re: motion for
             leave to amend complaint filed in Rice v. Wilkinson Farms et al, ap
             16-1129, amendment sought to correct the spelling of the name of the
             defendants.                                                              .30

12/19/16     Evening conference with staff attorney on multiple matters in
             pending adversary proceedings, re: default interest paid to secured
             creditor per latest documents, correspondence drafted by staff
             attorney and Randy Rice, attorney concerning charges by secured
             creditor, scheduled dates and times of settlement conferences with
             counsel on adversary proceedings, responding to request to extend
             time for discovery in Hill ap, other legal strategies in proceeding
             forward.                                                                1.30

12/19/16     Reviewed and calendared order denying motion to dismiss filed by
             Agri Bank in ap 16-1098.                                                 .10

12/19/16     Review of email received from Greg Bevel, special counsel, re: credit
             agreement received from Ag Heritage.                                     .40

12/20/16     Reviewed and calendared order to submit order on Motion to Amend
             Complaint filed by Kevin P. Keech, special counsel on behalf of
             trustee in Rice v. Wilkinson et al, ap 16-1129.                          .10

12/20/16     Review of complaint, file and earlier settlement negotiations with
             counsel for defendant in Rice v. Bickerstaff Revocable Trust, ap 16-
             1114.                                                                    .75

12/20/16     Attempted telephone conference with Bill Lewellan, attorney, re:
             settlement negotiations.                                                 .10

12/20/16     Reviewed and calendared notice of hearing on motion to dismiss ap
             and compel arbitration filed by Gavilon Grain, LLC, in ap 16-1149
             and response filed by trustee. Matter set for hearing on 01/27/17.       .10

12/20/16     Reviewed and calendared order granting Gavilon’s time to reply to
             trustee response to Gavilon’s motion to dismiss. Gavilon granted ten
             (10) days to reply.                                                      .10



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12/20/16     Review of first proposed order and proposed revised order denying
             motion to dismiss filed by Southern Rice in ap 16-1095.                   .30

12/20/16     Review and analysis of complaints, motion to dismiss, briefs in
             support of motion to dismiss, proof of claims and other records and
             documents related to Rice v. Lyle Trust and Rice v. Englund,
             adversary proceedings 16-1142 and 16-1143, re: venue issue,
             jurisdiction issue, aggregating funds issue.                             1.15

12/20/16     Two attempted telephone conference with Kevin Keech, attorney, re:
             discussion of Rice v. Lyle Trust and Rice v. England, adversary
             proceedings 16-1142 and 16-1143, and pending motion to dismiss in
             each.                                                                     .25

12/20/16     Reviewed for calendared notice of hearing on Rice v. Southern Rice,
             ap 16-1095. Pre-trial hearing scheduled on 01/27/16 at 9:30 in Little
             Rock.                                                                     .10

12/20/16     Review of pleadings filed by Bill Waddell, attorney, re: answer to
             complaint in Rice v. AgHeritage et al, ap 16-1098.                        .80

12/20/16     Conference staff attorney, re: continued discovery strategies, default
             interest and late charge issue involving secured creditor, upcoming
             pretrial issues, venue issues researched in two adversary proceedings,
             method of receiving discovery.                                            .80

12/20/16     Prepared and forwarded email to Tom Streetman, attorney, re: and
             Brian Crisp, CPA, re : request explanation of Rabo debt.                  .50

12/20/16     Additional work or preparation of application to pay Lain Faulkner,
             accountants.                                                              .50

12/21/16     Review of email received from Brian Crisp, CPA. re: calculations to
             support trustee’s contention that secured creditor may be overpaid.       .25

12/21/16     Telephone conference with Kevin Keech, attorney, re: pending
             adversary proceedings against Lyle Trust and Englund, 16-1142 and
             16-1143, venue issues, prior settlement negotiations, fee application
             for chapter 7 services.                                                  .40

12/21/16     Emailed Tom Streetman, attorney, re: pending litigation v. KBX,
             secured claim of Rabo.                                                    .25

12/21/16     Review of email received from Tom Streetman, attorney, re: second
             application for attorney fees and expenses on his behalf.                 .60

12/21/16     Review of pleading filed on behalf of Prairie Gold Farms, re: notice
             of change of address.                                                     .10




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12/21/16     Reviewed and calendared Memorandum of Document Deficiency
             issued by Court to AgriBank, in Rice v. AgriBank, ap 16-1098, re:
             Corporate Ownership Statement.                                             .10

12/21/16     Review of pleadings filed by Bill Waddle AgriBank, Corporate
             Ownership Statement on behalf of AgriBank in Rice v. AgriBank, ap
             16-1098.                                                                   .10

12/21/16     Conference with staff attorney, re: fee application of special counsel,
             discovery from ap defendant, meeting next week with ap defendant,
             inquiry about status of trustee responding to discovery subpoena from
             Zero Grade Farmers in state court action.                                  .90

12/22/16     Review and analysis of memo prepared by staff of conference with
             attorney for secured creditor in regards to interest issues. Also
             review of memo concerning conference with attorney in relation to
             work product issues.                                                       .80

12/22/16     Additional conference with staff attorney, re: interest issues on
             secured claim, work product issues resulting from discovery.               .60

12/22/16     Review of agreement between Rabo and debtor, re: analysis of late
             charges, event of default, interest.                                      1.30

12/22/16     Conferences with staff attorney, re: Rabo claim, subpoena served
             upon trustee by state court litigants.                                     .50

12/22/16     Review of correspondence between parties, re: extension of time to
             respond to discovery.                                                      .30

12/22/16     Telephone conference with Tom Streetman, attorney, re: attorney fee
             application, itemization in attorney fee application.                      .25

12/22/16     Additional review of secured agreement and note of claim. Revised
             draft of email to staff attorney, Crisp and Streetman concerning
             secured claim.                                                             .60

12/23/16     Review of pleadings filed by Kevin Keech, attorney, re: Response
             and brief in support of response to motion to dismiss filed in
             adversary proceedings against Lyle Trust and England, 16-1142, 16-
             1143.                                                                     1.10

12/27/16     Review of letter and documents received from Randy Grice, attorney,
             re: interrogatories and request for production in Rice v. KBX ap.         1.30

12/27/16     Review of discovery received from attorneys for Hills. Prepared
             draft response to interrogatories and request for production of
             documents.                                                                2.50




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12/28/16     Review of additional correspondence between attorneys concerning
             discovery. Conference with staff attorney, re: concerning pre-trial
             orders.                                                                   .40

12/28/16     Reviewed and calendared Motion to Dismiss filed on behalf of
             Frances England and Response to Motion to Dismiss filed on behalf
             of trustee in Rice v. England, ap 16-1142. Hearing set on 02/14/17.
                                                                                       .10

12/28/16     Reviewed and calendared Motion to Dismiss filed on behalf of
             Frances Caroline Lile Trust and Response to Motion to Dismiss filed
             on behalf of trustee in Rice v. Lile Trust, ap 16-1143. Hearing set on
             02/14/17.                                                                 .10

12/28/16     Reviewed and calendared PRE-TRIAL hearing in Rice against
             Calloway Planting Company, Jeffrey B. Calloway, Stefan A
             Calloway, ap 16-1128. Hearing scheduled for 2/14/2017 at 01:00
             pm.                                                                       .10

12/28/16     Reviewed and calendared PRE-TRIAL hearing in Rice against Agri
             Farms ap 16-1098. Hearing scheduled for 2/14/2017 at 01:00 pm.            .10

12/28/16     Review of email received from William Bridgeforth, attorney, re:
             postponement of meeting later this week.                                  .25

12/28/16     Review and analysis of correspondence from Brian Crisp, account for
             the estate, re: on account impact of applying funds to debt.              .75

12/29/16     Review of correspondence between parties, re: scheduling meetings
             for discovery conferences, scheduling meeting with special counsel
             and accountant for estate, responding to discovery issues.                .50

12/29/16     Conference with staff attorney, re: meeting rescheduled with one of
             defendants, actions to proceed on various adversary proceedings,
             upcoming hearings, meeting scheduled with special counsel and
             accountant for estate.                                                    .60

12/30/16     Preparation of first draft of response to second application for
             attorney fees filed by Tom Streetman.                                     .60

12/30/16     Conference with staff attorney, re: response to second application for
             payment of attorney fees and expenses.                                    .25

12/30/16     Prepared revisions to trustee’s response to second application for
             attorney fees filed by Tom Streetman, filed Response.                     .75

01/02/17     Review and analysis of Rabo documents, re: telephone conference
             with parties later this week. Possible ap.                               2.80

01/03/17     Reviewed for calendared notice of hearing on Second Application for
             Allowance of Compensation and expenses filed by Tom Streetman


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             and Response filed by trustee. Matter set on 01/27/17.                    .25

01/03/17     Conference with staff attorney, re: Rule 26 conference with attorney
             for Shepherd Farms, upcoming discovery, protection order for
             discovery, pre-trial order on Mears case.                                 .50

01/03/17     Review and analysis of documents associated with claim against JJC
             Farms and related entities, pending tolling order. Attempted
             telephone conference with Bill Waddell to discuss matter.                1.10

01/03/07     Review of file re: various adversary proceedings, re: proceed with
             discovery. Telephone conference with Lloyd Ward, attorney, re:
             settlement negotiations .                                                 .25

01/03/17     Additional review and analysis of Rule 26 in effort to comply with
             court order.                                                             1.20

01/03/17     Conference with staff attorney, re: secured claim, telephone
             conferences tomorrow, responses concerning pretrial order on Mears
             ap.                                                                       .60

01/04/17     Additional review and analysis of documents of secured creditor in
             preparation for telephone conference with parties this afternoon.        1.90

01/04/17     Conference with staff attorney, re: discussions concerning settlement
             offer to extend to secured creditor and to KBX .                          .40

01/04/17     Review of email sent by staff to special counsel outlining settlement
             offers to be extended to secured creditor and KBX .                       .25

01/04/17     Conference call with Staff Attorney, Tom Streetman, special counsel,
             and Brian Crisp, CPA, re: matters related to A) claim held by Rabo
             Agrifinance, Inc. (0.70), B) Rice v. KBX, Inc., 16-ap-1023, and C)
             pending applications for compensation to professionals; also,
             conferred with Staff Attorney before/after conference call.              1.30

01/04/17     Review of email received from Tom Streetman, attorney, re: citation
             of case involving issue discussed in teleconference earlier today.        .10

01/06/17     Reviewed and calendared Order authorizing trustee to filed amended
             complaint in Rice v. Wilkerson et al, ap 16-1129.                         .10

01/08/17     Review of correspondence between parties dated 01/05/17 through
             01/07/17, re: negotiations in resolution of to claim of rabo, proposed
             protective order with Zero Grade Farmers on pending State Court
             subpoena, possible conflict of interest by trustee. Also, reviewed
             multiple pleadings and documents associated with above.                  1.80

01/08/17     Reviewed and calendared email between parties, re: agreement to
             extend time for Southern Rice to respond to discovery until 01/13/17
             in ap 16-1095.                                                            .25


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01/08/17     Review and analysis of case cited by attorney for secured creditor
             asserting right to receive default interest.                             1.25

01/09/17     Conference with staff attorney, re: correspondence between parties
             concerning proposed protective order, possible ap against secured
             creditor, analysis of case cited by attorney for secured creditor,
             proposed pre-trial order in certain adversary proceedings.               1.00

01/09/17     Additional review of Local Rule 26.1 in efforts to proceed with pre-
             trial orders.                                                             .75

01/09/17     Review and analysis of complaint, answer and additional documents
             located in ap 16-1099 against Rice Market Services, re: additional
             claim against defendant, responses to new value defense.                 1.10

01/09/17     Cswa possible amendment of ap 16-1099 against Rice Market
             Services.                                                                 .25

01/09/17     Review and analysis of letter from Ralph Scott, attorney for Benton
             Farms, re: settlement negotiations, outline of defenses.                  .80

01/09/17     Conference with staff attorney, re: status of protective order and
             turnover of protected documents.                                          .30

01/09/17     Initial review and analysis of application for attorney fees and
             expenses submitted by Kevin Keech, special counsel of the estate.         .90

01/09/17     Reviewed and calendered Comments of the U. S. Trustee Re:
             Application for Allowance for Professional Fees and Expenses of
             Tom Streetman.                                                            .25

01/09/17     Review and analysis of brief memorandum prepared by staff attorney
             concerning case law involving default interest, payment of fees
             without applying to court and other legal matters.                       1.50

01/10/17     Additional review and analysis of Jack Kline case involving
             numerous related issues.                                                 1.80

01/10/17     Telephone conference with Lloyd Ward, attorney, re: settlement
             negotiations.                                                             .25

01/10/17     Review and analysis of email received from Kendel Grooms.
             attorney, re: position concerning discovery received, waivers of work
             product claim, other legal matters. Also, reviewed case cited in email
             and some of records copied by Grooms.                                    2.60

01/11/17     Reviewed and revised ap against Rabo, re: accounting, extent of lien,
             objection to claim.                                                      1.25

01/11/17     Review of email received from         Kendel Groom, attorney, re:
             proposed protective order.                                                .60


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01/11/17     Conference with staff attorney, re: proposed protective order, ap
             against Rabo.                                                              .50

01/12/17     Additional conference with staff attorney, re: settlement offer
             received on Benton ap, authorized counter offer. Reviewed letter to
             counsel authorizing counter offer.                                         .50

01/12/17     Review of email from Kevin Keech, special counsel, re: legal
             analysis of issues related to subpoena issued on Trustee and
             discovery done by parties in connection with Zero Grade Farms, et
             al, vs. Agribusiness Properties, et al, related matters.                   .60

01/12/17     Review of pleadings filed by Kevin Keech, attorney, re: amended
             complaint in Wilkinson ap 16-1129.                                         .30

01/12/17     Additional review, analysis and revisions to complaint against Rabo.
                                                                                       2.20
01/13/17     Additional work on correspondence between parties, re: Rabo
             complaint.                                                                1.40

01/13/17     Review and analysis of protective order, request for hearing in state
             court.                                                                     .75

01/13/17     Conference with staff attorney, re: legal strategies in moving forward
             on multiple matters.                                                       .80

 01/13/17    Review and analysis of pleading filed by Lyndsey Dilks, attorney,
             re: motion for extension of time to respond and for protective order.
             Also, reviewed and analyzed earlier discovery served upon
             defendant.                                                                 .90

01/13/17     Review of correspondence between Tom Streetman, attorney and
             Randy Grice, attorney, re: concerning discovery and possible
             settlement matters.                                                        .30

01/13/17     Additional conference with staff attorney, re: Motion for extension
             and for protective Order filed by Southern Rice, status and scope of
             discovery issued and received, correspondence with counsel for
             Rabo, other legal matters.                                                 .75

01/13/17     Review of correspondence between Charles Coleman, Kim Tucker
             and Kevin Keech in Rice v. Fowler ap, re: responses not fully
             completed, please amend.                                                   .40

01/16/17     Review of multiple emails between attorneys, special counsel and
             former trustee, re: pending application for fees and expenses, ap filed
             against Rabo.                                                              .50

01/16/17     Telephone conference with Richard Cox, former attorney for estate,
             re: pending applications for attorney fees, trustee fees and expenses
             and upcoming hearing.                                                      .25


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01/17/17     Review of email received from staff attorney for Court, motion for
             extension of time to respond granted, motion for protective order set
             for hearing, submit order.                                                   .25

01/17/17     Telephone conference with Kevin Keech, attorney, re: pending
             request from attorneys for Southern Bancorp Inc. to fully respond to
             requests for admission.                                                      .10

01/17/17     Review and analysis of Court Order granting in part defendant’s
             motion to extend time to respond to plaintiff’s first set of requests for
             admissions propounded to the defendant and plaintiff’s first set of
             interrogatories and requests for production of documents propounded
             to the defendant and request for protective Order for confidential
             information in Southern Rice ap 16-1095.                                     .25

01/17/17     Review of correspondence between attorneys concerning Mears
             adversary proceedings and Rule 26 (f) conferences, motion to
             consolidate cases.                                                           .30

01/17/17     Review and analysis of defendant’s demand for further responses to
             discovery in ap, answers by special counsel, proposed revisions to
             requests.                                                                   1.00

01/17/17     Reviewed and calendared notice of hearing on Request for protective
             order file by Southern Rice, in ap 16-1095. Matter set on 01/27/17.
                                                                                          .20

01/17/17     Conference with staff attorney, re: court’s ruling on motions filed by
             Southern Rice company, re: motion to extend time, motion for
             protective order.                                                            .30

01/17/17     Review of pleadings filed by Stan Smith, attorney for Gavilon, re:
             Reply to Trustee's Response in Opposition of its Motion to Dismiss
             Plaintiff's Complaint and Compel Arbitration.                               1.30

01/17/17     Telephone conference with Kevin Keech, attorney, re: responding to
             request to amend request for admission in Fowler ap 16-1144.                 .75

01/18/17     Close review of proposed plaintiff’s answers to defendant’s first set
             of discovery from KBX, ap 16-1023. Cursory review of some of
             pleadings in Answer.                                                        2.10

01/18/17     Completed review and approval of plaintiff’s answers to discovery
             from KBX in ap 16-1023. Signed answers, acquired notary and
             forwarded answers to special counsel, Streetman.                             .60

01/19/17     Review and analysis of proposed Trustee’s Responses to discovery
             in pending adversary proceedings against Big Creek Rice Farms,
             Medford et al, Hill & Hill Farms Partnership et al, and JD McGregor
             Farms, LLC, ap nos 16-1118, 16-1124, 16-1120 and 16-1101.                   2.80



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01/19/17     Conference with staff attorney, re: proposed Trustee’s Responses to
             discovery in pending adversary proceedings against Big Creek Rice
             Farms, Medford et al, Hill & Hill Farms Partnership et al, and JD
             McGregor Farms, LLC, ap nos 16-1118, 16-1124, 16-1120 and 16-
             1101. Revisions to proposed responses, documents to be produced.
             Document preservation.                                                   .75

01/19/17     Review of email from Keech to Coleman and Tucker on ap 16-1144,
             Rive v. Fowler, re: responding to discovery.                             .25

01/19/17     Additional in depth review of proposed protective order and proposed
             modification in preparation for meeting with staff attorney tomorrow
             and possible meeting with attorneys for zero grade.                     1.20

01/20/17     Conference with staff attorney, re: Review and analysis of proposed
             protective order, submitted multiple changes and conditions,
             contacted Grooms and Campbell about order and scheduling meeting.
                                                                                     2.50

01/20/17     Telephone conference with Kevin Keech, attorney, re: protective
             Order related to Gavilon.                                                .25


01/23/17     Review of records and pleadings in preparation for conference with
             Greg Bevel, re: hearings on 01/26/17.                                   1.00

01/23/17     Telephone conference with Greg Bevel, re: hearing on Friday on
             Gavilon’s motion to dismiss and compel arbitration, request of Agri
             to dismiss other related entities.                                       .40

01/23/17     Telephone conference with Bob Gibson, attorney, re: discovery
             forthcoming, attorney handling matter no longer with firm.               .25

01/23/17     Telephone conference with Tom Streetman, attorney, re: deposition
             being taken on 01/25/17, settlement discussions.                         .30

01/23/17     Two additional telephone conferences with Streetman, attorney, re:
             deposition, settlement offers, hearing on Friday.                        .40

01/23/17     Review and submission of proposed revisions to Pre-trial Order in ap
             against Mears et al, ap 16-1123. Conference with staff attorney, re:
             concerning order, discussed changes to order.                           1.00

01/23/17     First review of responses to discovery from Hill and Hill dependants,
             ap 16-1101.                                                             1.25

01/24/17     Additional review and analysis of responses to discovery from Hill
             and Hill dependants, ap 16-1101.                                        1.10

01/24/17     Preparation of proposed order approving second application for fees
             and expenses filed by Streetman, upon conditions.                       1.20


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01/24/17     Reviewed and calendared notice from court, re: KBX hearing
             cancelled, matter settled.                                                 .10

01/24/17     Additional email correspondence with Streetman, re: KBX
             settlement, second fee application.                                        .25

01/24/17     Exchange of emails with Randy Grice, attorney, re: confirmation of
             settlement of ap against KBX and that I will prepare motion and
             notice.                                                                    .30

01/24/17     Preparation for hearing on application for trustee fees filed by Cox
             and response filed by Rice.                                               1.20

01/24/17     Review of responses to discovery submitted by Keech to Waddell in
             Ltd Farms Partnership, et al, ap 16-1140.                                  .50

01/24/17     Telephone conference with Kevin Keech, attorney, re: protective
             order in state court v. bankruptcy court, chain of custody, property of
             estate.                                                                    .40

01/24/17     Telephone conference with Tom Streetman, attorney, re: settlement
             negotiations, deposition scheduled for tomorrow.                           .25

01/24/17     Emailed Tom Streetman, attorney, re: proposed order approving
             second application for attorney fees and expenses to him as special
             counsel.                                                                   .25

01/24/17     Telephone conference with Tom Streetman, attorney, re: follow up
             on proposed order approving attorney fees and expenses, upon
             conditions.                                                                .25

01/24/17     Emailed staff for Court, re: proposed order approving fees of
             Streetman.                                                                 .25

01/24/17     Review of file re: preparation for conference with Richard Cox,
             former Trustee, re: pending application for trustee fees and expenses,
             pending application for attorney fees and expenses.                        .60

01/24/17     Telephone conference with Richard Cox, former attorney for estate,
             re: settlement negotiations concerning pending application for trustee
             fee and expenses, pending ap against Rabo, basis for earlier orders
             involving Rabo.                                                            .40

01/24/17     Review of case law and trustee handbook in reference to trustee
             commissions paid and prorated in preparation for hearing on
             01/27/16.                                                                 1.00

01/25/17     Reviewed and calendared notice from court that hearing scheduled on
             second application for attorney fees and expenses filed by Streetman
             and response filed by Rice taken off docket.                               .10



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01/25/17     Drafted proposed order approving attorneys fees and expenses to
             Cox, upon conditions. Forwarded order to Cox for approval.               1.20

01/25/17     Review of email received from Richard Cox, former attorney for
             estate, re: agreeable to order approving attorney fees and expenses to
             him, authorized me to attach his /s/.                                     .20

01/25/17     Prepared and submitted email to Court, proposed order approving
             fees of Cox.                                                              .25

 01/25/17    Review of pleadings filed by John P. Talbot on behalf of Defendants
             AgHeritage Farm Credit Services, ACA, AgHeritage Farm Credit
             Services, FLBA, AgHeritage Farm Credit Services, FLCA,
             AgHeritage Farm Credit Services, PCA, AgriBank, F.B., ap 16- 1129
             re: Answer to Amended Complaint.                                          .50
01/25/17     Review of pleadings filed by Lyndsey D. Dilks on behalf of
             Defendant Keith Wilkinson Farms Partnership, ap 16- 1129 re:
             Answer to Amended Complaint.                                              .40

01/25/17     Review of pleadings filed by Lyndsey D. Dilks on behalf of
             Defendant Keith Wilkinson, re: Answer to Amended Complaint.               .30

01/26/17     Review of email received from Kendel Groom, attorney, re: ready to
             discuss protective order.                                                 .25

01/26/17     Additional legal research on issue of pro-ration of trustee fees.        1.40

01/26/17     Correspondence with Richard Cox, former Trustee, re: hearing on
             application for trustee fees and response filed by rice, agreement to
             continue.                                                                 .30

01/27/17     Reviewed and calendared Court’s Notice of Memorandum of
             Document Deficiency to John Talbot Regarding Corporate
             Ownership Statement (RE: related document(s) [49] Answer to
             Complaint Answer to Amended Complaint Filed by John P. Talbot
             on behalf of Defendants AgHeritage Farm Credit Services, ACA,
             AgHeritage Farm Credit Services, FLBA, AgHeritage Farm Credit
             Services, FLCA, AgHeritage Farm Credit Services, PCA, AgriBank,
             F.B. filed by Defendant AgHeritage Farm Credit Services, FLCA,
             Cross-Claimant AgHeritage Farm Credit Services, PCA, Defendant
             AgHeritage Farm Credit Services, PCA, Defendant AgHeritage Farm
             Credit Services, FLBA, Defendant AgHeritage Farm Credit Services,
             ACA, Defendant AgriBank, F.B.).                                           .10

01/26/17     Review of correspondence between parties scheduling meeting to
             discuss protective order.                                                 .25

01/27/16     Reviewed and calendared Agreed Order approving Application For
             Compensation To Richard L. Cox, Attorney, Upon Conditions
             (Related Doc # [511]) Granting for Richard L. Cox, fees awarded:


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             $61286.25, expenses awarded: $1008.45 .                                  .10

01/27/17     Conference with staff attorney and special counsel, re: hearing on
             motion to dismiss and compel arbitration argued earlier today,
             pending litigation with other parties.                                  1.00

01/27/17     Telephone conference with Greg Bevel, ruling on motion to dismiss
             and compel arbitration.                                                  .30

01/27/17     Review of correspondence between parties, re: protective order,
             attorney-client privilege claim, scheduling hearing in state court.      .80
01/27/17     Reviewed and calendared Corporate Ownership Statements filed by
             John P. Talbot on behalf of Defendant AgHeritage Farm Credit
             Services, entities.                                                      .10

01/27/17     Review and analysis of letter and responses to discovery request from
             Agri Marketing Inc. dba Minturn Grain, ap 16-1097. Also review
             and analysis of or responses to request for admissions and proposed
             stipulation and agreement for protective order.                         2.50

01/28/17     Prepared motion to confirm proposed compromise settlement
             between trustee and KBX, saved motion in folder to be filed on
             01/30/17.                                                               1.50

01/29/17     Review of revised proposed pre-trial order submitted to Mears Farms.
                                                                                      .80

01/29/17     Preparation for meeting with Don Campbell and Kendel Grooms
             tomorrow on protective order, discovery dispute and scheduling
             scope and date for hearing on dispute.                                  2.10

01/30/17     Prepared first draft of motion to confirm proposed compromise
             settlement between trustee and Cache Farms.                             1.00

01/30/17     Prepared first draft of motion to confirm proposed compromise
             settlement between trustee and Caviness Farms, et al.                   1.00

01/30/17     Review of email received from Kendel Grooms. attorney, re:
             documents being destroyed pursuant to agreement of parties,
             documents where privileges being waived pursuant to agreement.           .80

01/30/17     Conference with staff attorney, re: concerning meeting today with
             Zero Grade Farmers.                                                      .30

01/30/17     Emailed Kevin Keech, attorney, re: possible waiver of protective
             privileges to specific items.                                            .30

01/30/17     Review and analysis of email received from Kevin Keech, attorney,
             re: settlement negotiations, offer to settle received on Lile and
             Englund. Emailed response and counter offers.                            .40


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01/30/17     Review and exchange of correspondences with and between
             attorneys for estate and special counsel for estate on recent hearing,
             settlement offer and other legal matters.                                   .75

01/30/17     Conference with Staff Attorney, Kendel Grooms and Don Campbell,
             attorneys, re: matters related to Zero Grade Farms, et al, v. Agri
             Business Properties LLC, et al, Case No. 43CV-14-410.                      2.50


01/31/17     Review of correspondence between attorneys for estate, re: attorney-
             client privilege assertion, upcoming hearing on the matter, ability to
             waive, in part.                                                             .50

01/31/17     First review and analysis of draft of trustee answers to interrogatories
             and responses to request for production of documents received from
             Kathryn Reid, attorney(cursory review).                                     .80

02/01/17     Completed preparation of motion to confirm proposed compromise
             settlement with KBX, filed motion. Also prepared and forwarded
             notice of opportunity to object to to motion to confirm proposed
             compromise settlement.                                                      .50

02/01/17     Completed preparation of motion to confirm proposed compromise
             settlement with Caviness Farms II, et al, filed motion. Also prepared
             and forwarded notice of opportunity to object to to motion to
             confirm proposed compromise settlement.                                     .60

02/01/17     Completed preparation of motion to confirm proposed compromise
             settlement with Cache Farms, filed motion. Also prepared and
             forwarded notice of opportunity to object to to motion to confirm
             proposed compromise settlement.                                             .50

02/01/17     Additional review and analysis of discovery responses received from
             special counsel, that is to be submitted to Agribank. Emailed special
             counsel about responses.                                                   1.25

02/01/17     Conference with staff attorney, re: scheduling hearing on work
             product issue.                                                              .25

02/01/17     Review of email received from Joe Strode, attorney, re: just filed
             motion to confirm proposed compromise settlement with Caviness,
             dismissal of Agri Credit.                                                   .25

02/01/17     Review and analysis of recently filed motion, emailed response to Joe
             Strode, attorney, re: addressing concern is motion.                         .50

02/01/17     Review of email received from Kendel Grooms, attorney, re: work
             product issues, setting matter for hearing, protective order.               .30

02/01/17     Review of second email from Joe Strode, attorney, re: acceptance
             with language in motion to confirm proposed compromise settlement


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             with Caviness Farms.                                                    .20

02/01/17     Telephone conference with Kevin Keech, attorney, re: work product
             issues, setting matter for hearing, protective order.                   .75

02/02/17     Review of numerous documents forwarded from Keech in response
             to subpoena received from Zero Grade Farmers concerning
             documents produced prior to and after bankruptcy filing.               2.60

02/02/17     Review and analysis of proposed initial disclosures in Rice v. Mears
             ap 16-1123. Revised disclosures and forwarded to staff attorney to
             interpolate revisions and file.                                        1.00

02/02/17     Review of correspondence between parties concerning status of
             protective order in Zero Grade Farm litigation.                         .20

02/03/17     Review of correspondence from Kendel Grooms, attorney, re:
             identification of documents subject to and not subject to discovery.   1.40

02/03/17     Review of multiple adversary proceedings filed on behalf of debtor,
             re: follow up on outstanding pre-trial orders, status of discovery.    1.25

02/03/17     Review, and approval of draft of pre-trial Order to be forwarded to
             attorney for M-Real Estate, Inc, ap 16-1113.                            .80

02/03/17     Review, revisions to and approval of draft of pre-trial Order to be
             forwarded to attorney for K & K Farm Service et al, ap 16-1102.        1.00

02/03/17     Review of follow up correspondence to Waddell, Gibson and Baker,
             attorneys for Minturn Grain, ap 16-1097, re: pre-trial order,
             anticipation of return of documents in order to file.                   .30

02/06/17     Review and revisions to the proposed pre-trial order submitted to
             counsel for James Farms et al, ap 16-1103. Also, reviewed and
             revised to the proposed joint report for Rule 26 conference.           1.00

02/06/17     Review of email received from Kim Tucker, attorney, re: request
             copy of settlement agreements between trustee and parties where
             adversary proceedings have been settled (KBX, Cache Farms,
             Caviness Farms).                                                        .20

02/06/17     Conference with staff attorney, re: concerning disclosure of
             settlement agreements with defendants in other adversary
             proceedings.                                                            .25

02/07/17     Reviewed filed where settlement proposed for settlement documents
             and settlement notes in order to respond to request from Kim Tucker,
             attorney.                                                              1.00

02/07/17     Emailed Kim Tucker, attorney, re: copy of settlement agreement for
             Caviness Farms, no other agreements to forward.                         .30


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02/07/17     Review of final draft of pre-trial orders on adversary proceedings
             against Mears and 384 Farms before being forwarded to attorneys for
             approval.                                                                .90

02/07/17     Review of file re: preparation for meeting with Cox today concerning
             pending trustee fee application, pending litigation is case.            1.30

02/07/17     Conference with Richard Cox, former Trustee, re: settlement
             negotiations concerning pending application to pay trustee fee to
             Cox, upcoming hearing, pending settlement with KBX, other matters
             concerning case.                                                         .50

02/08/17     Conference with staff attorney, re: discovery on one of adversary
             proceedings, drafting letter to attorney to revise and amend answers
             to discovery.                                                            .30

02/08/17     Assisted in drafting letter to attorney for ap defendant request that
             discovery be amended and update or possible motion to compel.            .40

02/08/17     Trial preparation for hearing on 02/14/17 on application for trustee
             commission filed by cox and objection filed by Rice.                    1.20

02/08/17     Review of email received from Greg Bevel, attorney, re: affidavit
             received from Agribank, proposal to release Agribank from ap.            .75

02/08/17     Review of correspondence from Kathlyn Reid, special counsel, re:
             upcoming hearing on ap 16-1098, Rice v. Agheritage, nature of
             hearing.                                                                 .30

02/09/17     Review of calendar, re: hearings next week in Helena, re: pre-trial
             set on Rice v. Razorback Rice & Seed Co., Inc., dba Rice Market
             Services, ap 16-1099. Conference with staff attorney, re: early
             submission of pre-trial order, possible continuance - court in Little
             Rock on same date. Reviewed and calendared cancellation of pre-
             trial next week.                                                         .40

02/09/17     Reviewed and calendared Notification to Court of Purchase of
             Transcript by Mr. Lance Miller, attorney for Gavilon. Also
             calendared notice that transcript would be available on 05/27/17.        .10

02/09/17     Conference with staff attorney, re: pre-trial order on ap 16-1099,
             Razorback Rice & Seed, to be submitted to attorney, response to
             other matters that the parties have been conferring about.               .40

02/09/17     Reviewed and revised proposed letter to attorney, re: proposed pre-
             trial order, other matters concerning discovery and case.                .40

02/09/17     Two telephone conferences with Richard Cox, former attorney for
             estate, re: settlement negotiations, possible resolution of pending
             trustee fee application and objection filed by Rice.                     .25



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02/09/17     Additional preparation for hearing on 02/14/17, re: attorney fee and
             trustee fee application of Cox, objection by Rice.                       1.20

02/09/17     Review of Court’s Order denying Gavilon’s motion to compel
             arbitration and reserving motion to dismiss.                             1.00

02/09/07     Reviewed and calendared Status Report and joint report of rule 26(f)
             conference filed by Hamilton Moses Mitchell on behalf of Plaintiff
             M Randy Rice in James Farms, ap 16-1103, confirmed calendar
             dates.                                                                    .30

02/10/17     Reviewed and approved proposed stipulation and agreement for
             protective order in the Agri Marketing Inc., Minturn Grain case, ap
             16-1097.                                                                  .80

02/10/17     Reviewed and calendared filing of four (4) separate Corporate
             Ownership Statements by John P. Talbot on behalf of Defendant
             AgHeritage Farm Credit Services, ACA and related entities, ap 16-
             1098.                                                                     .10

02/10/17     Reviewed and calendared filing of four (4) separate Corporate
             Ownership Statements by John P. Talbot on behalf of AgHeritage
             Farm Credit Services, ACA and related entities, Leslie T. Brown
             Farms ap 16-1011.                                                         .10

02/10/17     Reviewed and calendared filing of four (4) separate Corporate
             Ownership Statements by John P. Talbot on behalf of Defendant
             AgHeritage Farm Credit Services, ACA and related entities, N&D
             Farms, ap 16-1124.                                                        .10

02/10/17     Reviewed and calendared filing of four (4) separate Corporate
             Ownership Statements by John P. Talbot on behalf of Defendant
             AgHeritage Farm Credit Services, ACA and related entities,
             Galloway Farms, ap 16-1126.                                               .10

02/10/17     Review and analysis of printed Court Order denying Gavilon’s
             motion to compel arbitration and reserving ruling on Gavilon’s
             motion to dismiss.                                                       2.10

02/10/17     Revised proposed interrogatories and request for production of
             documents to Big Creek Farms. Authorized forwarding discovery.           1.50

02/11/17     Review of legal status report of pending adversary proceedings filed
             in estate.                                                               1.20

02/11/17     Conference with staff attorney, re: legal status of all pending
             adversary proceedings filed directly by trustee, follow up status of
             pending tolling agreement, adversary proceedings where defendants
             are in default, discovery in cases where no pre-trial proceedings have
             begun, legal strategy in moving forward.                                  .90



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02/11/17     Assisted staff attorney in preparation of discovery to be sent to
             attorneys for Medford Farms, ap 16-1124 and JD Mcgregor Farms in
             ap 16-1120.                                                                1.50
02/13/17     Reviewed and calendared Notice of Appearance and Request for
             Notice Filed by S. Shane Baker on behalf of Defendant Agri
             Marketing, Inc., dba Minturn Grain, ap 16-1097.                             .10

02/13/17     Review of correspondence between special counsel and attorney for
             Privlosky & Gold Farms, re: pre-trial tomorrow, jury trial issue.           .25

02/13/17     Review of letter and documents received Roger McNeil, attorney for
             Razorback Rice a& Seeds, re: additional responses to discovery.            1.60

02/13/17     Additional review of discovery from McNeil in Rice v. Rice
             Marketing Services and Razorback, ap 16-1099.                              1.50

02/13/17     Review of pleadings filed by Lyndsey Dilks, attorney for Keith
             Wilkinson Farms et al, ap 16-1129, re motion to dismiss amended
             complaint against Roger Wilkison and brief in support of motion to
             sell amended complaint against Wilkison.                                   1.00

02/13/17     Two telephone conference with Greg Bevel, special counsel, re: legal
             strategy to proceed on Gavilon.                                             .30

02/13/17     Review of pleadings filed by Lyndsey Dilks, attorney for Southern
             Rice & Cotton, Inc., re: motion to extend time to respond to
             plaintiff’s first set of interrogatories and to plaintiff’s first set of
             requests for admissions in ap 16-1095.                                      .60

02/13/17     Final review of discovery to be sent to attorneys for Benton in ap 16-
             1136, authorized submission of discovery.                                   .75

02/14/17     Review and analysis of status of pending ap against James Farms and
             settlement negotiations.                                                    .40

02/14/17     Review and revisions to plaintiff’s first set of interrogatories and
             request for production of documents submitted by counsel in Rice v.
             Oxner, ap 16-1115 prior to serving.                                         .80

02/14/17     Telephone conference with Lisa Ballard, attorney, re: hearing in
             Lonoke County Circuit Court yesterday, matter taken under
             advisement.                                                                 .25

02/14/17     Conference with Kevin Keech, re: hearing this afternoon on motion
             to dismiss in multiple cases.                                               .30

02/14/17     Review of email from Mitchell to Court, re: proposed pre-trial order.
             Also, Reviewed and calendared Pre-Trial Order and Scheduling
             Order(and deadlines) in Rice v. James Farms, ap 16-1103. Discovery
             due by 5/25/2017.                                                           .25



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02/14/17     Review of email from Don Campbell to Kevin Keech, re: copy of
             subpoena, necessity for service. Also, review of documents
             requested in subpoena.                                                  .70

02/14/17     Conference with Greg Bevel, special counsel in Rice v. AgHeritage,
             re: outcome of pre-trial hearing, upcoming pre-trial order, possible
             mediation, possible motion for partial summary judgment.                .40

02/14/17     Additional conference with Greg Bevel, special counsel for Rice v.
             Gavilon, re: possible appeal, possible motion to stay discovery while
             appeal pending, BAP v. Federal District Court.                          .50

02/14/17     Reviewed and calendared outcome of matter set in Rice v. LTD
             Farms, ap 16-1119, re: Hearing on Notice of Removal Continued to
             3/9/2017 09:30 AM. Continued by court (request current ch 7
             trustee appear at status hearing.                                       .10

02/14/17     Reviewed and calendared outcome of pre-trial hearing on Rice v.
             AgHeritage Farms, ap 16-1098, matter resolved, parties to submit
             pre-trial order. Hearing attended by Joe Strode on behalf of
             Agheritage Farms and Greg Bevel on behalf of chapter 7 trustee.         .20

02/14/17     Review of email received from Katheryn Reid, special counsel, re:
             possible mediation in Rice v. Agheritage, possible mediators.           .20

02/14/17     Emailed staff attorney and special counsel, re: possible retention of
             mediator.                                                               .25

02/15/17     Review of email received from Joe Strode, attorney for AgHeritage
             Farm Credit Services, FLBA in ap 16-1098, re: proposed pre-trial
             order, dismissal of remaining parties.                                  .20

02/15/17     Telephone conference with staff for court, re: hearing in Helena on
             ap 15-1008 being continued.                                             .10

02/15/17     Review of file re: unaware of hearing, not really familiar with ap.     .50

02/15/17     Reviewed and calendared results of hearing on motion to dismiss in
             Rice v. Englund, ap 16-1102, Motion to Dismiss Adversary
             Proceeding Filed by Kimberly Wood Tucker on behalf of Defendants
             Frances England, Frances England denied upon conditions.                .10

02/15/17     Review of correspondence between Grooms, Keech, Mitchell,
             attorneys, re: protective order, files requested in discovery.          .40

02/15/17     Review of email received from Greg Bevel, special counsel, re: pre-
             trial order in agheritage, motions deadlines, trial date necessary.     .25

02/15/17     Conference with staff attorney, re: status of various adversary
             proceedings, pending discovery, follow up on demands from defense
             attorneys in adversary proceedings.                                     .75


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02/15/17     Reviewed and calendared Notice of Hearing Held on Motion to
             Dismiss Adversary Proceeding Filed by Kimberly Wood Tucker on
             behalf of Defendants Caroline B. Lyle Trust, Valerie Lyle, ap 16-
             1143. Motion denied in part, Keech to prepare order.                     .10

02/15/17     Review of defendants’ first set of interrogatories and requests for
             productions of documents submitted by counsel in Rice v. Oxner, ap
             16-1115.                                                                1.10

02/15/17     Review of proposed protective order submitted by Lyndsey Dilks in
             Southern Rice and Cotton, ap 16-1095, made suggested revisions.          .80

02/16/17     Review of letter and documents received Kathryn Reid, special
             counsel in Agriheritage cases, re: multiple proposed dismissals of
             parties resulting from affidavits and subject to tolling agreements.     .80

02/16/17     Telephone conference with Kevin Keech, special counsel on England
             and Lile Trust adversary proceedings, re: outcome of hearing on
             02/14/17, denied upon conditions, specified conditions. Other related
             legal matters.                                                           .30

02/16/17     Cursory Review of pleadings filed by Jim Smith, attorney, re: answer
             to complaint for declaratory judgment and accounting, Rice v. Rabo
             et al, ap 17-1004.                                                       .75

02/16/17     Reviewed and calendared an order to submit order on motion to
             extend time filed by Lyndsey D. Dilks on behalf of defendant
             Southern Rice & Cotton, LLC.                                             .10

02/17/17     Reviewed and calendared order entered by court extending time for
             Southern Rice & Cotton to respond to discovery in ap 16-1095 until
             30 days after a protective order has been entered.                       .10

02/17/17     Reviewed and calendared pre-trial orders and scheduling orders
             entered in Rice v. Agri Marketing, ap 16-1097 and Rice v. Walter
             Shepherd Farms, ap 16-1110.                                              .25

02/17/17     Review of email received from Greg Bevel, special counsel, re:
             initial disclosures and earlier disclosures by other parties.            .25

02/17/17     Conference with staff attorney, and staff pre-trial orders entered
             today, multiple adversary proceedings set for pre-trial hearing in
             Helena on March 7, 2016, steps to move forward in preparing for
             trials.                                                                  .60

02/17/17     Review of answer filed in Rice v. Ainsworth, ap 16-1105. Time has
             already expired.                                                         .80

02/17/17     Review of email received from staff attorney addressed to bevel, re:
             status of initial disclosures in other pending adversary proceedings,
             copy of disclosure about to be filed.                                    .30


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02/17/17     Additional correspondence with Bevel on disclosure statements.             .25

02/17/17     Review of correspondence between attorneys Mitchell and Bennett,
             re: preservation of records, Rule 26 (f) report due today.                 .20

02/17/17     Reviewed and calendared multiple pre-trials set in Helena on
             03/07/17. Re: Rice et al v. Wilkinson et al, 2:16-ap-01129, Rice v.
             Galloway et al, 2:16-ap-01127, Rice v. Optimum Agriculture LLC et
             al, 2:16-ap-01130, Rice v. Gregory Farm, 2:16-ap-01132, Rice v.
             United States of America et al, 2:16-ap-01135, Rice v. Benton,
             2:16-ap-01136, Rice v. LTD Farms Partnership et al, 2:16-ap-01140,
             Rice v. Fowler et al, 2:16-ap-01144, Rice v. Watson Farms, Inc.,
             2:16-ap-01145.                                                             .70

02/17/17     Review of additional correspondence between attorneys on Shepherd
             Farms ap, 16-1110 and review of proposed revised Rule 26 (f) report.
                                                                                        .75

02/17/17     Review of email received from Kendel Grooms, attorney, re: access
             to records for discovery.                                                  .20

02/18/17     Review of documents filed by staff attorney, re: Joint Report of Rule
             26(f) Conference in Rice v. Walter Shepherd Farms, ap 16-1110.             .10

02/20/17     Review of court’s docket of Rabo v. Turner Grain et al, ap 14-111,
             re: status conference missed earlier, status conference to be reset.      1.30

02/20/17     Review of letter and documents received from Kim Tucker, attorney
             for Hill & Hill Farms, ap 16-1101, re: response to trustee’s good faith
             request to produce documents not produced with earlier discovery
             (193 pages).                                                              1.00

02/20/17     Separate telephone conference with Keech and Grooms, re:
             confirmation that discovery and copying records on 02/21/17 and
             02/22/17.                                                                  .30

02/21/17     Reviewed and calendared hearing on trustee’s Motion to Strike
             Answer in Rice v. Ainsworth, ap 16-1105. Hearing scheduled for
             3/7/2017 at 10:00 AM at Helena Division.                                   .10

02/21/17     Reviewed and calendared pre-trial rescheduled on Rice v. Leslie
             Brown Farms, ap 16-1104. Matter rescheduled from 03/07/17 to
             04/13/17 in Little Rock.                                                   .10

02/21/17     Review of Court’s notice of Jury Demand by Andrew Shepherd,
             Walter C. Shepherd and Shepherd Farms in ap 16-1110.                       .10

02/21/17     Telephone conference with Kevin Keech, special counsel on multiple
             cases, re: pre-trials set in Helena on 03/07/17.                           .10

02/21/17     Telephone conference with James Smith, attorney, re: pending


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             adversary proceedings, 14-111 and 17-1004.                                .10

02/21/17     Review of proposed emails from staff attorney to creditor attorney
             that may be defending subsequently filed adversary proceedings, re:
             documents supporting preferences, possible settlement negotiations.
                                                                                       .20

02/20/17     Review of draft pleading of motion to strike answer in Rice v.
             Ainsworth, ap 16-1105, authorized filing.                                 .40

02/20/17     Reviewed and calendared motion to strike answer in Rice v.
             Ainsworth, ap 16-1105, authorized filing.                                 .10

02/20/17     Conference with staff attorney, re: additional discovery received from
             Hill & Hill ap 16-1101pursuant to good faith request, motion to strike
             on Ainsworth answer in ap 16-1105, discovery in Rabo ap 17-1004.
                                                                                       .75

02/21/17     Review of file re: status of pending adversary proceedings.               .40

02/21/17     Two telephone conference with Bill Lewellen, attorney, re:
             settlement negotiations .                                                 .30

02/21/17     Reviewed proposed interrogatories and request for production of
             documents submitted by staff attorney and revised discovery in Rice
             v. Rabo, ap 17-1004.                                                     1.00

02/21/17     Review of Defendants’s initial disclosures submitted in Rice v. James
             Farms et al, ap 16-1103. Also reviewed and revised Plaintiff’s First
             Set of Interrogatories and request for production of documents to be
             submitted to separate defendant James Farms JV.                          1.10

02/21/17     Conference with staff attorney, re: disclosure statement, proposed
             plaintiff’s First Set of Interrogatories and request for production of
             documents to be submitted to separate defendant James Farms JV.           .30

02/21/17     Reviewed and calendared resetting pre-trial on Rice v. Leslie Brown
             Farms, ap 16-1104. Matter reset to 04/13/17 in Little Rock.               .10

02/21/17     Reviewed, revised and approved several proposed discovery
             documents in multiple adversary proceedings.                             2.00

02/21/17     Review of email from Kate Reid, special counsel in Rice v.
             AgHeritage Farm Credit, ap 16-1098, re: affidavits signed by
             AgHeritage representative, proposed stipulation dismissing some of
             AgHeritage defendants, without prejudice. Forwarded email
             approving affidavits and stipulation.                                     .50

02/21/17     Reviewed and calendared numerous correspondence between staff
             attorney and attorneys for defendants in pending adversary
             proceedings related to pre-trial orders and discovery.                    .40


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02/22/17     Reviewed and calendared stipulated and approved dismissal of
             agheritage entities.                                                       .10

02/22/17     Reviewed and calendared notice of resetting numerous pre-trial
             hearing from 03/07/17 in Helena, to 04/13/17 in Little Rock, re: Rice
             v. N & D D farms, ap 16-1125, Rice v. Hill & Hill Farms, ap 16-
             1101, Rice v. Ainsworth, ap 16-1105.                                       .20

02/22/17     Review of revised pre-trial order in pending ap. Order circulated for
             approval.                                                                  .40

02/22/17     Review of discovery being forwarded to BJ Farms in Rice v. James
             Farms et al, ap 16-1103.                                                   .50

02/22/17     Conference with staff attorney, re: multiple pre-trial hearings set in
             Helena, possible rescheduling hearings to Little Rock. Review of
             emails between parties attempting to agree upon and obtain a
             rescheduling.                                                              .30

02/22/17     Review of multiple correspondence between parties and with Court
             in efforts to reschedule hearings and in efforts to proceed forward
             with final pre-trial orders.                                               .30

02/23/17     Review of letter being forwarded from staff attorney to attorney for
             counsel for defendant in one of adversary proceedings, re: responding
             to discovery, good faith effort to resolve discovery dispute, intent to
             file motion to compel.                                                     .25

02/23/17     Reviewed and revised proposed letter and proposed pre-trial order
             and scheduling order being submitted to counsel pending ap.                .50

02/23/17     Reviewed and made revisions to proposed discovery request to
             Travis Mears Farms. Also, reviewed and calendared dates responses
             due to Mears discovery.                                                    .75

02/23/17     Review and analysis of work product information on Rice v. LTD
             Farms et al ap.                                                           1.00

02/23/17     Meeting with Staff Attorney and paralegals re: status of adversary
             proceedings and other pending matters, strategies in proceeding
             forward.                                                                  3.50

02/23/17     Reviewed and calendered pre-trial hearings set on Rice v. Benton, ap
             16-1136, Rice v. Medford, ap 16-1124, Rice v. Oxner, ap 16-1115.
              Matters set on 041/13/17 in Little Rock.                                  .10

02/23/17     Reviewed and calendered Notice of Appeal by Gavilon to
             Bankruptcy Appellate Panel (BAP) in Rice v. Gavilon, ap 16-1149.
                                                                                        .10

02/23/17     Reviewed and calendered pre-trial hearings set on Rice v. Fowler, ap


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             16-1144. Matter set on 041/13/17 in Little Rock.                          .10

02/23/17     Reviewed and calendered Notice of Request for jury trial in the
             following adversary proceedings : Fowler 16-1144, Privlovsky 16-
             1131, Optimum 16-1130, Calloway 16-1128, Brown Farms 16-1104
             and Oxner 16-1115.                                                        .10

02/23/17     Review of additional notices of request for jury trials by defendants.
                                                                                       .20

02/23/17    Review of pleadings filed by Ralph Waddell, attorney for Steve and
            Beck Davis, Owl city Farms, Inc and Stephen R. Davis, re: objection
            to motion to confirm proposed compromise settlement between trustee
            and KBX Inc. Also, reviewed rules, creditor claims notice not
            sufficient.                                                                .70

02/23/17    Telephone conference with Bill Waddell, attorney for Minturn Grain,
            re: pending discovery, possible settlement discussions.                    .25

02/23/17    Reviewed and calendared order to submit order in adversary
            proceedings, re: Rice v. Cache Farms et al and Rice v. Caviness
            Farms, et al. Review of files, re: compliance with order.                  .25

02/24/17    Review of email received from Joseph Strode, attorney for
            AgHeritage entities, re: request to review and approve proposed
            precedent. Prepared initial rough draft to ensure compliance with
            request of Strode.                                                         .60

02/24/17    Telephone conference with Jim Smith pending adversary proceedings
            - Rabo v. Turner Grain, Bartlett and Coleman, Rice v. Rabo. Parties
            discussed positions. Settlement negotiations pursuant to Rule 408.         .30

02/24/17    Reviewed and calendered Notice of pre-trial hearing on Rice v. Rabo
            AgriFinance, Inc complaint, pre-trial hearing scheduled for 4/13/2017
            at 09:30. Also, reviewed and calendered status hearing on Rabo v
            Turner Grain et al, 15-1008 on same date.                                  .25

02/24/17    Reviewed and calendered trial on AgHeritage ap.           Trial set on
            02/13/18.                                                                  .10

02/24/17    Reviewing correspondence between Mitchell and Tyler concerning
            modifications and revisions to proposed pre-trial order in Fogleman
            ap.                                                                        .25

02/24/17    Reviewed, calendared and docketed of multiple correspondence with
            court staff and numerous attorneys for creditors, re: protective orders,
            pre-trial orders, trial dates.                                             .90

02/24/17    Conference with staff attorney, re: pending adversary proceedings
            involving Rabo, analysis of settlement discussions.                        .30



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02/24/17    Second telephone conference with Jim Smith, attorney, re: settlement
            negotiations, tentatively settled.                                      .25

02/24/17    Revised draft of proposed order confirming proposed compromise
            settlement between trustee and Caviness Farms. Forwarded order to
            Strode for review and approval.                                         .70

02/24/17    Review of Rice v. Vandeburg file, re: pending legal matters, moving
            forwarded with ap. Time to file answer extended to 03/17/17, bank’s
            claim of number of payments received.                                   .30

02/24/17    Reviewed and calendared notice of hearing on Rice v. Agri Marketing
            Inc, ap 16-1097. Trial set on 01/16/18.                                 .10

02/24/17    Reviewed and calendered order approving Stipulated Dismissal
            Without Prejudice and Tolling Agreement in Rice v. AgHeritage
            Farms, ap 16-1098.                                                      .10

02/24/17    Review of correspondence between parties concerning pre-trial order.
            Also, reviewed and approved pre-trial scheduling order in Fogleman
            ap.                                                                     .60

02/25/17    Emailed Jim Smith, attorney, re: confirmation of settlement of all
            adversary proceedings with Rabo.                                        .40

02/25/17    Review of email received from Joe Strode, attorney, re: proposed
            changes to order confirming proposed compromise settlement in
            Caviness ap.                                                            .25

02/26/17    Emailed Strode, re: agreeable to proposed language in order
            confirming proposed compromise settlement in Caviness, will be
            sending revised order.                                                  .25

02/26/17    Revised proposed order confirming proposed compromise settlement
            between trustee and defendants in Caviness ap. Forwarded revised
            order to Strode for approval.                                           .50

02/27/17    Review of multiple correspondence between staff attorney and counsel
            for defendants in pending adversary proceedings concerning
            discovery and pre-trial orders. Also review of initial disclosure
            statement forwarded to Walter Shepherd Farms, ap 16-1110.               .80

02/27/17    Prepared proposed motion for default judgment against defendant in
            Rice v. Story, ap 16-1112.                                             1.00

02/27/17    Review of discovery request about to be produced in Rice v. James
            Farms IV et al, ap 16-1103. Reviewed and approved discovery to Bill
            Ray & Edwina James LLC, Billy Ray James Land Co. LLC, Black
            River Farms Inc., James Farms Inc., Trails End Farms Inc., Bill Ray
            James, Jon David James, and Donna James .                              1.20



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02/27/17    Revised order to reflect approval of Strode, attorney for AgHeritage.
            Forwarded proposed order to court for possible approval and entry of
            record.                                                                   .30

02/27/17    Prepared draft of proposed Order confirming proposed compromise
            settlement between Cache Farms and trustee.                              1.00

02/27/17    Emailed Scott Hunter, attorney for Cache Farms, ap 16-1134, re:
            approve proposed compromise settlement.                                   .30

02/27/17    Review and preparation for status hearing on Rabo v TG, Bartlett and
            Coleman, ap 15-1008. Matter set on 04/13/17.                              .75

02/27/17    Emailed Jan Thomas, trustee for Dale Bartlett, and Lisa Ballard,
            attorney for Jason Coleman, re: possible dismissal of Rabo v. Turner
            Grain, Bartlett an Coleman ap 15-1008.                                    .20

02/27/17    Review of separate emails received from Jan Thomas and Lisa
            Ballard, re: okay to dismiss Rabo v. Turner Grain et al, ap 15-1008.      .20

02/27/17    Review and revisions to proposed first set of discovery to be
            forwarded to separate defendant, Travis Mears in Rice v. Mears Farms
            et al, ap 16-1123.                                                        .90

02/28/17    Review of pleadings filed by Kevin Keech, special counsel in Rice v.
            Wilkinson ap 16-1129, re: trustee’s response to defendants’ motion to
            dismiss amended complaint.                                               1.00

02/28/17    Review of Court’s docket of multiple for confirmation of all upcoming
            hearings and preparations for hearings.                                   .60

02/28/17    Telephone conference with Kevin Keech, special counsel on
            Galloway, LTD Farms, Watson, Wilkinson, Optimum adversary
            proceedings, re: pre-trial hearing on numerous cases set on 03/07/17
            in Helena. Also, hearing on motion to dismiss amended complaint in
            Wilkinson ap.                                                             .40

02/28/17    Review of correspondence to Court staff, re: proposed pre-trial order
            scheduling discovery deadlines on Rice v. Fogleman Farms, ap 16-
            1109.                                                                     .20

02/28/17    Review and proposed revisions to first set of discovery to be
            forwarded to separate defendant, Travis Mears in Rice v. Mears Farms
            et al, ap 16-1123. Also, reviewed and proposed revisions to other
            pleadings to be filed in this ap.                                         .90

02/28/17    Reviewed and calendered court’s notice that pre-trial hearing in Rice
            v. Fogleman Farms et al, ap 16-1109 cancelled. Pre-trial order already
            submitted and entered.                                                    .20

02/28/17    Reviewed and calendered hearing on Separate Defendant Roger


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            Wilkison's Motion to Dismiss Amended Complaint and Incorporated
            Brief in Support filed in Rice v. Wilkinson et al, ap 16-1129. Hearing
            scheduled for 3/7/2017 at 10:00 AM at Helena Division.                     .10

02/28/17    Review of Amended Complaint on behalf of trustee in M Randy Rice
            v. Frances Englund, Trustee of Caroline B. Lyle Trust et al, ap 16-
            1143. Also, review amended summons, calendar for service and
            calendared deadline to answer.                                             .25

02/28/17    Review and calendar of pre-trial order in Rice v. M Real Estate,
            approved by counsel and submitted to the Court.                            .10

02/28/17    Review of correspondence between attorneys in Fogleman ap, re: pre-
            trial order submitted, scheduling conference in accordance with Rule
            26.                                                                        .20

02/28/17    Additional review and revisions to proposed first set of discovery to
            be forwarded to Travis Mears in Rice v. Mears Farms et al, ap 16-
            1123.                                                                      .40

03/01/17    Reviewed and approved for submission to party defendants
            interrogatories and request for production of documents to Travis
            Mears, Scott Mears and Mears Farms Inc in Rice v. Mears Farms Inc,
            et al, ap 16-1123.                                                         .80

03/01/17    Final review and revision to interrogatories and request for production
            of documents that are to be submitted to Travis Mears in Rice v.
            Mears et al, ap 16-1123, authorized proceeding forward. Also,
            reviewed and calendared letter serving discovery upon Travis Mears.
                                                                                       .40

03/01/17    Review of email received from Jim Smith, attorney, er: confirmation
            of settlement of ap with Rabo.                                             .25

03/01/17    Reviewed and calendered notice of pre-trial hearings on Rice v.
            Galloway et al, ap 16-1127, and Rice v. Watson Farms, Inc. Et al, ap
            16-1145 ) Hearing scheduled for 4/13/2017 at 09:30 in Little Rock.         .25

03/01/17    Reviewed and calendered Order denying motion to dismiss ap 16-
            1142, Rice v. Englund. Also, Reviewed and calendered Order
            denying motion to dismiss ap 16-1143, Rice v. Caroline Trust, et al.       .20

03/01/17    Reviewed and calendered Pre-trial orders entered in Rice v. M Real
            Estate, ap 16-1113 and Rice v. Fogleman Farms, ap 16-1109.                 .25

03/01/17    Reviewed and calendered Pre-trial orders entered in Rice v. Gregory
            Farms, et al, ap 16-1132. Matter reset to 04/13/17 in Little Rock.         .10

03/01/17    Review of revised pre-trial order and scheduling order on Fogleman
            Farms (to correct earlier pre-trial order to list location of trial) and
            request for approval instead of earlier order. Also, reviewed and


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            calendered pre-trial order after entry of record.                         .30

03/02/17    Telephone conference with Richard Cox, former attorney for estate,
            re: issues involving discovery.                                           .25

03/02/17    Review of email received from Joe Strode, attorney for multiple
            AgHeritage Farms entities in Rice v. Caviness Farms II et al, ap 16-
            1134, re: basis for filing additional notice of proposed compromise
            settlement in matter.                                                     .25

03/02/17    Telephone conference with Greg Bevel, special counsel in two
            adversary proceedings, re: legal strategies in dealing with pending
            discovery issues, strategy in moving forward on one of his cases.         .40

03/02/17    Rice v. Oxner, ap 16-1115. Review of proposed objections to
            interrogatories, limited answers to discovery and answers to remaining
            interrogatories and request for production of documents drafted by
            staff attorney, Reviewed records and documents in confirming
            accuracy and completeness of responses and objection. Review of
            Federal Rules to ascertain compliance. Interpolated multiple revisions
            to proposed responses.                                                   1.00

03/02/17    Conference with staff attorney, re: proposed objections to
            interrogatories, limited answers to discovery and answers to remaining
            interrogatories and request for production of documents drafted by
            staff attorney. Additional discussions concerning efforts to confirm
            accuracy and completeness of responses and objection. Discussion of
            Federal Rules and how they relate to answers, objections and limited
            objections. Strategy in proceeding forward in responding.                1.10

03/02/17    Reviewed and revised of proposed motion to compel defendant to
            produce documents requested in discovery in Rice v. Hill & Hill,
            discussed motion with staff attorney, authorized filing of revised
            motion.                                                                  1.30

03/02/17    Review and analysis of objection to proposed compromise settlement
            with KBX that has been filed by two separate creditors.                   .80

03/02/17    Emailed Tom Streetman, attorney, re: pending motion to confirm
            proposed compromise settlement with KBX and objections filed by
            creditors.                                                                .50

03/02/17    Reviewed and revised proposed plaintiffs’s initial disclosures to
            defendant in Rice v. Agri Marketing (Minturn) ap, 16-1097.                .40

03/03/17    Preparation for meeting today with Hamilton Mitchell and Kevin
            Keech, sc, re: upcoming pre-trials on multiple adversary proceedings,
            strategies in moving forward.                                            1.00

03/03/17    Traveled to Keech’s office. Conference with Hamilton Mitchell and
            Kevin Keech, special counsel, re: upcoming pre-trials on multiple


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            adversary proceedings, legal strategies in moving forward. Additional
            conference with Mitchell after meeting with Keech to further develop
            strategy going forward.                                                    3.00

03/03/17    Reviewed final draft of proposed pre-trial order and letter to counsel
            for Razorback Rice & Seed prepared by staff attorney in ap 16-1099.
                                                                                        .30

03/03/17    Reviewed and calendered motion to compel production of documents
            in Hill & Hill, ap 16-1101.                                                 .10

03/03/17    Emailed Joe Strode, attorney, re: response to inquiry concerning
            renoticing of proposed compromise settlement with Caviness Farms
            II.                                                                         .25

03/03/17    Cursory review of pleadings filed by Stan Smith, attorney, re: motion
            to stay proceedings pending appeal and incorporated brief in support
            in the Rice v. Gavilon, ap-14-15687. Also, cursory review and
            analysis of cases cited in support.                                        1.00

03/03/17    Telephone conference with Tom Streetman, special counsel in KBX
             ap, re: pending motion to confirm proposed compromise settlement
            and objections set for hearing next month.                                  .25

03/03/17    Drafted and forwarded letter to Bill Lewellen, attorney for Bickerstaff,
            re: settlement negotiations.                                                .80

03/04/17    Review of first set of interrogatories and request for production
            received from Benton in Rice v. Benton, ap 16-1136.                         .75

03/04/17    Review of correspondence from Roger McNeil attorney, re: responses
            to discovery, attempted resolution to discovery disputes, agreeable to
            producing some of documents but not others. Also, further review of
            initial responses to ascertain extent of discovery proposed.                .50

03/04/17    Review of Rule 26 (a)(1)(A) initial disclosures made by defendants in
            Rice v. Walter Shepherd Farms et al, ap 16-1110.                            25

03/04/17    Review of last proposed Joint Report of Rule 26 conference with Agri
            Marketing Inc. in ap 16-1097.                                               .50

03/04/17    Reviewed and calendared notice of hearing on several matters to be
            held on 04/13/17 in Little Rock, re: pre-trial on Rice v. Big Creek
            Farms, ap 16-1118, motion to confirm proposed compromise
            settlement in KBX and objections to motion, ap 16-1023.                     .25

03/06/17    Reviewed and calendared notice of hearing on Motion to Dismiss on
            behalf of Defendant Keith Wilkinson Farms Partnership, Roger
            Wilkinson, Keith Wilkinson Farms Partnership, and Response to
            Motion to Dismiss filed on behalf of Plaintiff M Randy Rice in Rice
            v. Wilkinson et ap, ap 16-1129. Hearing scheduled for 4/13/2017 at


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            01:00 PM in Little Rock Courtroom. Also reviewed and calendered
            notice of pre-trial on this ap.                                             .20

03/06/17    Reviewed and calendared notice of hearing on pre-trial on Rice v.
            Optimum et al, ap 16-1130 and Rice v. USA, ap 16-1135. Matters set
            on 04/13/17.                                                                .10

03/06/17    Review of correspondence between parties, re: (Mitchell, Sims,
            Waddell), re: pre-trial hearing on Rice v. LTD Farms, ap 16-1140 and
            status conference on Rice v. ltd et al, ap 14-1119. Matters reset to
            03/09/17 in Little Rock. Also, reviewed and calendared notice of
            hearing on matters to be reset to 03/06/17.                                 .25

03/06/17    Review of email received from Kate Davidson, attorney, re:
            agreement of KBX to be bound by protective order.                           .20

03/06/17    Review of email received from Bobby Gibson, attorney, re: request
            for 60 days to conduct discovery to motion to confirm proposed
            compromise settlement with KBX and objection filed.                         .30

03/06/17    Reviewed and calendered notice of trial setting on Rice v. M-Real
            Estate LLC, ap 16-1113. Matter set on 09/20/17 in Little Rock.              .20

03/06/17    Reviewed and calendared notice of trial setting on Rice v. Fogleman
            Farms II et al, ap 16-1109. Matter set on 04/17/18 in Little Rock.          .20

03/06/17    Review of email received from Grant Ballard, attorney for several ap
            defendants, re: request for copy of motion to confirm proposed
            compromise settlement with Caviness Farms and Cache Farms.
            Forwarded motions to attorney as requested.                                 .30

03/06/17    Reviewed and calendared notice of hearing on pre-trial and motion to
            compel discovery in Rice v. Hill & Hill, ap 16-1101. Matter reset to
            04/13/17at 1:00 pm.                                                         .20

03/06/17    Telephone conference with William Waddell, attorney for LTD Farms
            and Jimel Farms, re: pre-trial and status conference on two LTD farms
            matters on 03/08/17, upcoming complaint and possible settlement
            conference with Jimel Farms entities.                                       .30

03/06/17    Notification to Court and parties of availability to attend hearing on
            motion to confirm proposed compromise settlement with KBX and
            objections filed.                                                           .20

03/06/17    Review of email received from Kendel Groom, attorney, re: discovery
            received from trustee, necessity of redaction, what about parties that
            have not agreed to be bound by protective order.                            .30

03/06/17    Conference with staff attorney, re: protective order in state court case,
            hearings on 03/08/17, complaint about to be filed against Jimel Farms
            et al, jury v non jury issue.                                               .60


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03/06/17    Review of correspondence between Kevin Keech, special counsel in
            multiple adversary proceedings, and attorneys for defendants, re:
            efforts to reschedule hearings in Helena on 03/07/19.                      .40

03/06/17    Correspondence between staff, special counsel and myself, re:
            responding to discovery and calendaring date to respond in Rice v.
            Benton, ap 16-1136, sensitive legal strategies in proceeding forward
            with litigation in multiple adversary proceedings.                         .50

03/06/17    Review of file re: pending legal matters in adversary proceedings,
            discovery due in Rice v. Razorback Rice, protective order needed in
            Rice v. Southern Rice. Conference with staff attorney, re: follow up
            on matters.                                                                .40

03/06/17    Review of correspondence between staff attorney and counsel for
            Minturn Grain and Southern Rice, re: discovery, protective order.          .30

03/06/17    Prepared motion to confirm proposed compromise settlement with
            Rabo, forwarded motion to Smith for review.                               2.10

03/07/17    Review of pleadings filed by Frances Englund, re: answer to
            complaint, Rice v. Englund, ap 16-1142.                                    .40

03/07/17    Review of pleadings filed by Frances Englund as trustee of Caroline
            Trust in Rice v. Englund et al, ap 16-1143, re: answer to complaint.       .30

03/07/17    Review and revised plaintiff’s first set of interrogatories and request
            for production of documents to separate defendant, Walter Sheppard
            in Rice v. Sheppard Farms et al, ap 16-1110.                               .50

03/07/17    Finalized motion to confirm proposed compromise settlement between
            trustee and Rabo, prepared notice of opportunity to object to to
            motion, filed pleadings in regular case and in ap.                         .30

03/07/17    Review of additional documents produced by staff attorney
            concerning parties affiliated with LTD Farms (articles of
            incorporation, farm subsidy recipients, etc).                              .30

03/07/17    Conference with staff attorney, re: request of counsel for LTD Farms
            to dismiss two of parties from ap, documents supporting retaining
            parties as defendants, possible dismissal with stipulation.                .40

03/07/17    Review and consideration of request from Grooms to specify
            restrictions on delivery of documents to KBX and others requesting
            discovery in Zero Farmers v. KBX state court litigation. Review of
            Protective Order in effort to respond.                                     .40

03/07/17    Review of email and copy of amended answer in Rice v. ltd farms et
            ap. 16-1140 in order to respond to request from attorney to consider
            dismissing some of parties. Also, reviewed proof of claim and other
            records utilized in determining parties to sue.                            .50


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03/07/17    Reviewed and calendered notice of pre-trial hearings on Rice v.
            Englund, ap 16-1142 and Rice v. Caroline trust, ap 16-1143. Matters
            set for 04/13/17 at 9:30.                                                 .10

03/07/17    Review of exchange of emails between attorneys concerning pre-trial
            order and discovery in Rice v. M-Real estate, ap 16-1113.                 .10

03/08/17    Review of correspondence between staff attorney and counsel for M-
            Real estate, re: discovery response, corrections to protection order.     .25

03/08/17    Preparation for hearings tomorrow, re: pretrial on LTD Farms, status
            on LTD Farms v Turner Grain, et al.                                       .50

03/08/17    Review of exchange of emails between special counsel in LTD Farms
            and counsel for LTD Farms, re: pre-trial order and proposed changes.
            Also, follow up review of proposed order to provide input.                .30

03/08/17    Emailed Keech and William Waddell, re: response to mediation
            request as part of pre-trial.                                             .30

03/08/17    Additional correspondence involved in LTD Farms ap, re: changes to
            proposed pre-trial order.                                                 .30

03/08/17    Additional inquiry from William Waddell, attorney, re: requesting
            that individuals be dismissed from Rice v. LTD Farms ap. Prepared
            and forwarded response to request - agreeable in part, upon conditions.
            Also, additional correspondence concerning pre-trial order and
            possible dismissal of parties.                                            .70

03/08/17    Exchange of emails with Jim Smith, attorney, re: motion to confirm
            proposed compromise settlement with Rabo AgriFinancial LLC,
            proposed corrections in order upon approval.                              .30

03/08/17    Additional review and revision to plaintiff’s answer to discovery in
            Rice v. Oxner, conference with staff attorney, re: about changes and
            strategies moving forward.                                                .90

03/08/17    Reviewed and calendared notice of cancellation of pre-trial hearing
            on Rice v. Rabo, re: motion to confirm proposed compromise
            settlement filed. Also, reviewed and calendered notice of cancellation
            of status conference on Rabo v. Turner Grain et al, ap 15-1008.           .25

03/08/17    Reviewed and calendered notice from attorney David A. Hodges
            stating that the matter filed on behalf of his client had been resolved
            and that he no longer required notification of any future action in the
            case.                                                                     .10

03/09/17    Review of email received from Lyndsey Dilks, attorney, re:
            unavailable for hearing on 05/11/17 on motion to confirm proposed
            compromise settlement between trustee and KBX .                           .20



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03/09/17    Conference with staff attorney, re: possible settlement negotiations on
            one of adversary proceedings.                                                  .30

03/09/17    Review of pleadings filed by David Sims, attorney for Relyance Bank,
            re: cross claim in Rice v. LTD Farm ap 16-1140. Relyance Bank
            asserting right to collect from other defendants if plaintiff is successful
            in ap.                                                                         .25

03/09/17    Prepared first draft of proposed Order dismissing count one of the
            Turner Grain v LTD Farms ap, 14-1119 and instructing clerk to close
            ap.                                                                           1.25

03/09/17    Review of correspondence parties and court (Glover, Dilks, Streetman,
            Court staff) on setting hearing on Rice v. KBX ap, calendaring event,
            re: May 11, 2017 potential date.                                               .30

03/09/17    Final review and approval of motion to compel discovery and attached
            exhibits in Rice v. Agri Marketing, ap 16-1097. Authorized filing of
            motion.                                                                        .50

03/09/17    Review of email from staff attorney to counsel in Rice v. Fogleman,
            ap 16-1109, re: draft of Rule 26(f) report, protective order entered in
            case.                                                                          .25

03/09/17    Attended hearing on status conference on Turner Grain v LTD Farms,
            ap 14-1119 and on pre-trial on Rice v. LTD Farms, ap 16-1140.
            Present were Keech, Sims, Waddell and Rice. 14-1119 (two counts
            remanded, third count to be dismissed.) Rice to review further and
            submit agreed order. Bench trial to be set in January, 2018.                  1.00

03/09/17    Reviewed and calendered answer to cross claim filed by LTD Farms
            Partnership, Terry Dabbs, Lori Dabbs, Paydirt Planting Company,
            Inc., L7D, Inc., Tiki Farms, Inc. and Bayou Circle Farms, Inc. (“cross
            defendants”), request dismissal and severance for jury trial.                  .25

03/09/17    Final review of complaint and conference with staff attorney before
            filing, re: Rice v. JJC Partners, Jimel Farms, Inc., and Swamp Poodle
            Farm, ap 17-1024.                                                              .60

03/09/17    Review of pleadings filed by Stan Smith, attorney, re; designation of
            record on statement of issues on appeal in Rice v Gavilon.                     .40

03/10/17    Review of pleadings filed by Mike, Dabney, attorney, re: defendant’s
            opposition to trustee’s motion to strike.                                      .50

03/10/17    Conference with staff attorney, re: pending ap, discovery received
            from ap defendants mirrored discovery from plaintiff, response to
            motion to strike in Ainsworth ap, upcoming discovery in KBX state
            court case.                                                                    .40

03/10/17    Prepared final draft of proposed Order dismissing count one of the


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            Turner Grain v LTD Farms ap, 14-1119 and instructing clerk to close
            ap. Forwarded order to counsel for defendant for approval.                 .30

03/10/17    Telephone conference with Roy Lewellen, attorney for Bickerstaff, re:
            settlement negotiations on pending Rice v. Bickerstaff et al, ap 16-
            1114.                                                                      .25

03/10/17    Review of letter and documents received Lloyd Ward, attorney, re:
            defendant’s first set of interrogatories and request for production of
            documents.                                                                1.00

03/10/17    Exchange of correspondence with counsel, re: revisions to proposed
            dismissing count one of the Turner Grain v LTD Farms ap, 14-1119
            and instructing clerk to close ap.                                         .30

03/10/17    Made revision requested by Waddell on proposed dismissing count
            one of the Turner Grain v LTD Farms ap, 14-1119 and instructing
            clerk to close ap. Forwarded revised order back to him for approval.
                                                                                       .30

03/10/17    Telephone conference with Nick Wooten, former counsel for
            creditors’ meeting in chapter 11 proceedings, re: pending ap, other
            legal matters.                                                             .25

03/11/17    Review of correspondence between Keech, special counsel, and Doug
            Noble, attorney, re: scheduling discovery conference.                      .25

03/11/17    Emailed Keech, re: confirmation of dates for conference, inquiring
            whether I should participate.                                              .25

03/13/17    Conference with staff attorney, re: pending ap, Rice v. JB Farms et al,
            First National Bank of Eastern Arkansas’s request to dismiss it as a
            party, affidavit and stipulation.                                          .20

03/13/17    Review of correspondence between staff attorney and counsel for First
            National Bank of Eastern Arkansas, re: tolling agreement, affidavit.       .20

03/13/17    Review of amended proof of claim filed on behalf of LTD Farms.
            Claim amended to reflect Terry Dabbs as authorized agent, not a
            partner.                                                                   .25

03/13/17    Reviewed and calendered order dismissing Turner Grain v. LTD
            Farms et al, ap 14-1119.                                                   .10

03/13/17    Reviewed and calendered service of summons on multiple defendants
            in Rice v. JJC Farms et al, ap 17-1024.                                    .25

03/14/17    Review of affidavit submitted by officer of First National Bank of
            Eastern Arkansas in support of proposed order dismissing bank,
            without prejudice. Also, reviewed and revised proposed stipulation
            agreement and proposed order dismissing First National Bank of


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            Eastern Arkansas as a party defendant in Rice v. Vandeberg et al, ap
            16-1122.                                                                   .70

03/14/17    Review and revisions to proposed protective order between trustee and
            Southern Rice & Cotton, LLC in ap 16-1095.                                 .50

03/14/17    Review of correspondence between parties in reference to the
            proposed protective order in Rice v. SRC, ap 16-1095 and concerning
            the proposed order dismissing First National Bank of Eastern
            Arkansas in Rice v. Vandebeg et al, ap 16-1122.                            .25

03/14/17    Drafted and forwarded letter to Jonathan Vandeberg of J & B Farms,
            settlement offer, deadline to accept terms, deadline to file answer.       .80

03/14/17    Reviewed and calendered filed Pre-Trial Order and Scheduling Order
            in Rice v. Travis Mears, ap-16-1123. Calendared all deadlines and
            other related and important dates outlined in order.                       .25

03/14/17    Review of newly discovered emails (evidence) of debtors. Analysis
            of some of emails.                                                        1.30

03/14/17    Reviewed and calendared notice of hearing on motion to compel
            discovery in Rice v. Agri Marketing. Matter set on 04/19/17. Also,
            reviewed correspondence between counsel about possibly
            rescheduling matter to 04/13/17.                                           .25

03/14/17    Exchange of emails with Kevin Keech, special counsel, re: scheduling
            conference in Watson Farms, ap 16-1145, Gregory Farms, ap 16-1132
            and Galloway Cotton Farms, ap 16-1127.                                     .25

03/15/17    Reviewed and calendered notice from bankruptcy court of judgment
            to have Federal District Court hear and consider appeal of Rice v.
            Gavilon.                                                                   .10

03/15/17    Reviewed and revised proposed motion for entry of protective order
            in Rice v. SRC, ap 16-0195.                                                .70

03/15/17    Review of Initial Disclosures Report by plaintiff prior to being
            submitted to defendants in Rice v. Agrimarketing.                          .75

03/15/17    Review of proposed motion to amend answer to amended complaint
            submitted by Bill Waddell on behalf of LTD Farms et al in ap 16-
            1140. Also, reviewed proposed amended complaint that would be
            filed by Waddell if motion is granted.         Finally, reviewed
            correspondence between parties concerning the proposed motion.             .70

03/15/17    Review of revisions to protection order and correspondence between
            staff attorney and Barrett Moore, re: proposed revised protection order
            in Rice v. Razorback, ap 16-1099.                                          .40

03/15/17    Review of 122 pages of documents that staff attorney proposes to


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            forward to counsel for Travis Mears in response to their request
            produce documents described in our initial Rule 26 disclosures.
            Conference with staff attorney, re: disclosures in this case and other
            adversary proceedings.                                                    1.20

03/15/17    Conference with staff attorney, re: newly discovered emails, possible
            retention of expert ediscovery person.                                     .30

03/16/17    Review of answer filed in Rice v. JJC.                                     .80

03/16/17    Reviewed and approved plaintiff’s responses to discovery to defendant
            in Rice v. Oxner. Signed responses and authorized serving upon
            defendants.                                                               1.00

03/16/17    Reviewed and calendered notice from clerk of defective pleading in
            Rice v. Ainsworth, re: signature missing.                                  .10

03/16/17    Review of correspondence between parties, re: possible operating
            agreement of the debtor, bylaws of debtor.                                 .40

03/16/17    Reviewed and revised proposed letter to Ralph Scott in Rice v.
            Benton, re: signature of defendant not on discovery responses,
            settlement offer.                                                          .30

03/16/17    Review of correspondence and proposed response to gavilon’s motion
            to stay proceedings in Rice v. Gavilon. Authorized filing.                 .50

03/16/17    Review of additional correspondence between staff attorney and
            special counsel involving responding to informal discovery request
            from Grooms.                                                               .25

03/16/17    Review of defendant’s response to first set of discovery in Rice v.
            Oxner.                                                                    1.25

03/17/17    Reviewed and calendered Request for jury demand filed by JJC in
            Rice v. JJC and the memorandum of document deficiency sent to
            defendants.                                                                .20

03/17/17    Reviewed and calendered Order authorizing trustee to hire Jason
            Bauer, CPA, as accountant for the estate.                                  .10

03/17/17    Reviewed and calendered Corporate Ownership Statement. Filed by
            William A. Waddell on behalf of Defendants JJC Partners, JRC
            Partners, Jimel Farms, Inc., Swamp Poodle Farms, Inc.                      .10

03/17/17    Review of correspondence between staff attorney counsel for
            defendants and court staff, re proposed amended pre trial order in Rice
            v. Fogleman.                                                               .25

03/17/17    Review of emails received from Kate Reid, special counsel, re: Rice
            v. Gavilon. Motion to stay discovery and opposition set for hearing.


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            Case assigned to Judge Marshall, scheduling order from Federal
            Court, proposed order staying proceeding submitted by Miller on
            behalf of Gavilon.                                                         .50

03/17/17    Review of joint report of Rule 26(f) conference filed in Rice v.
            Fogleman.                                                                  .30

03/17/17    Review of initial disclosures submitted on plaintiff’s behalf to
            defendants on 03/16/17 in Rice v. Fogleman.                                .30

03/17/17    Review of proposed letter to be forwarded to counsel in Rice v. Oxner,
            re: issues concerning responses to discovery, request for conference
            to work out discovery issues. Also, second review of discovery.            .50

03/17/16    Review of defendants’ 18 pages of responses to Plaintiff’s first set of
            discovery in Rice v. Benton.                                               .75

03/17/16    Review of Motion for leave to file amended answer to amended
            complaint filed by William Waddell in Rice v. LTD Farms. Also,
            reviewed second proposed amended complaint.                                .80

03/18/16    Review of discovery documents received on disc from defendants in
            Rice v. Benton.                                                           1.40

03/20/17    Exchange of correspondence between attorneys and court, re:
            scheduling hearing an trustee’s motion to confirm proposed
            compromise settlement with KBX and objections filed by Glover and
            Dilks.                                                                     .20

03/21/17    Received correspondence between parties, re: discovery issues
            possible motion for summary judgment in Rice v. Oxner, discovery in
            KBX v Zero.                                                                .25

03/21/17    Review of email received from Grant Ballard, re: Oxner settlement
            offer, intent to file motion for summary judgment.                         .25

03/21/17    Review of letter and documents forwarded to David Tyler, attorney
            re: response to request for initial disclosures.                           .40

03/21/17    Review, analysis and approval of latest proposed version of the
            Confidentiality Stipulation and Protective Order and Non Disclosure
            Declaration presented in the Rice v. Southern Rice ap.                     .50

03/22/17    Reviewed and calendared notice of hearing on Rice v. Razorback.
            Three day bench trial set on 10/24/17 in Little Rock. Instructed legal
            to update and calendar all deadline. Reviewed and approved updated
            calendars.                                                                 .40

03/22/17    Review of correspondence and document forwarded to staff attorney
            re: Initial Disclosures by plaintiff in Rice v. Razorback.                 .40



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03/22/17    Telephone conference with Lance Miller, attorney, re: hearing
            tomorrow on Gavilon’s motion to stay discovery in Rice v. Gavilon.           .25

03/22/17    Review and revisions to plaintiff’s proposed initial disclosures in Rice
            v. M-Real Estate, Inc. Also, preparation of work product and exhibits
            for trial later this year.                                                  1.10

03/23/17    Review of discovery responses of Minturn Grain in Rice v. Marketing.
             Conference with staff attorney, re: discovery responses, anticipated
            amendments to discovery from counsel for defendants, responses that
            need to be supplemented.                                                    1.00

03/23/17    Review and revisions to draft of plaintiff’s first set of interrogatories
            and request for production to defendant in Rice v. M-Real.                   .50

03/23/17    Reviewed and calendared notice of hearing on Rice v. JJC, pre-trial
            hearing set on 04/13/17 in Little Rock.                                      .10

03/23/17    Review of defendant’s initial disclosures in Rice v. M-Real.                 .25

03/23/17    Review of final draft of plaintiff’s first set of interrogatories and
            request for production to defendants in Rice v. Fogleman.                    .75

03/23/17    Conference with Greg Bevel, special counsel in Rice v. Gavilon, re:
            outcome of hearing on motion to stay proceedings. Agreement
            between parties granted in part, denied in part. Discovery moving
            forward.                                                                     .40

03/23/17    Reviewed and calendared notice of hearing on Trustee’s Motion to
            Compromise Controversy with KBX and objections filed Stephen R.
            Davis, Owl City Farms, Inc., Becky Davis, Steve Davis and other
            creditors. Hearing scheduled for 6/13/2017 at 09:30.                         .10

03/23/17    Telephone conference with Matt at Pivot legal Services, re: scanning
            records for Kendall Grooms for adversary.                                    .20

03/23/17    Telephone conference with Kendel Groom, attorney, re: cost for
            copying documents, possible problems with chain of custody when
            copying records.                                                             .20

03/23/17    Review and revisions to plaintiff’s proposed initial disclosures in Rice
            v. M-Real. Also, preparation of work product and exhibits for trial
            later this year.                                                            1.10

03/24/17    Review of file re: pending legal matters in multiple adversary
            proceedings, which includes AP 1133 & 1134. Prepared revised
            Order confirming proposed compromise settlement in Rice v. Cache.
            Submitted proposed order to court for possible approval and entry of
            record.                                                                     1.25

03/24/17    Prepared revised proposed order confirming proposed compromise


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            settlement in Rice v. Caviness ap. Forwarded proposed order to
            Strode for approval.                                                       .40

03/24/17    Review of email received from Joe Strode, attorney, re: approved
            order and authorized me to attach his /s/ in Rice v. Caviness ap.          .10

03/24/17    Emailed staff to court, re: proposed order confirming proposed
            compromise settlement in Rice v. Caviness ap.                              .20

03/24/17    Review of status of responding to discovery requests from KBX
            counsel, requested instructions from counsel on further compliance.
                                                                                       .25

003/27/17   Review of pleadings filed by Shannon S. Thomas, re: motion for
            admission pro hac vice to appear as special counsel on behalf of
            plaintiff. Also, reviewed and calendared Order granting request of
            Thomas to appear pro hace vice in case in chief.                           .10

03/27/17    Review of correspondence between Kendal Grooms, attorney for Zero
            Grade Farmers and Kevin Keech, special counsel, re: turning over
            discovery documents for state court litigation.                            .50

03/27/17    Review and approval of final version of protective order before being
            forwarded to court for approval in Rice v. Southern.                       .60

03/27/17    Review of responses to discovery and attached documents received
            from defense counsel in Rice v. Mears.                                    1.25

03/27/17    Review of correspondence between Mitchell, staff attorney and
            Barrett Moore, counsel for defendants, concerning discovery issues
            in Rice v. Mears.                                                          .50

03/27/17    Review of defendants answer to plaintiff’s first set of interrogatories
            and request for production in Rice v. Agrimarketing.                      1.00


03/27/17    Conference with staff attorney, re: discovery received in Rice v.
            Mears, discovery received in Rice v. Agrimarketing, negotiations
            between parties, discovery received in Rice v. James Farms.                .50

03/27/17    Review of newly discovered Gavilon documents and other records.           1.20

03/27/14    Reviewed and calendered Order Granting Application for
            Compromise Controversy and Dismissing Case in Rice v. Caviness ap.
                                                                                       .20

03/28/17    Conference with staff attorney, re: default status of turnover of
            discovery documents to Grooms, affirmative defenses being asserted
            in Rice v. Mears.                                                          .50

03/28/17    Review of email received from Lance Miller, attorney, re: proposed


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            order granting motion to compel in part and denying it in part in Rice
            v. Gavilon.                                                                .40

03/29/17    Reviewed and calendered order to submit order on Application for
            Compromise Controversy With Rabo Agrifinance, LLC and Rabo
            Agrifinance, Inc.                                                          .10

03/29/17    Reviewed, approved and signed proposed responses to defendants’
            first set of interrogatories and request for production in Rice v.
            Benton.                                                                   1.50

03/29/17    Reviewed correspondence between Miller and Bevel pertaining to
            proposed order granting motion to compel discovery in part and
            denying it in part in Rice v. Gavilon.                                     .25

03/29/17    Exchange of emails with Kevin Keech, re: filing fee app, resetting
            hearings on 04/13/17.                                                      .30

03/29/17    Reviewed and calendered Order Granting Application for
            Compromise Controversy and Dismissing Case in Rice v. Cash.                .10

03/30/17    Conference with Charlie Coleman, re: general conference about
            pending adversary proceedings.                                             .25

03/30/17    Conference with staff attorney, re: discovery disk that came in today
            on Rice v. Agri.                                                           .40

03/30/17    Review and approval of plaintiff’s proposed responses to defendants’
            first set of interrogatories and request for production of documents in
            Rice v. Agri.                                                             1.25

03/31/17    Review of correspondence between parties, re: proposed order and
            revisions to proposed order granting the motion to stay, in part and
            denying the motion, in part, in Rice v. Gavilon.                           .40

03/31/17    Review of plaintiff’s responses to interrogatories and request for
            production of documents in three separate adversary proceedings, re:
            Rice v. Calloway, Rice v. Prairie and Rice v. Fowler.                     1.80

03/31/17    Conference with staff attorney, re: concerning discovery issues and
            proceeding forward with attempted resolution of issues in Rice v.
            Mears. Also, reviewed and made suggested revisions to draft of letter
            to counsel for defendants.                                                 .60

03/31/17    Review of file re: pending legal matters. Prepared proposed Order
            confirming the proposed compromise settlement between parties in
            Rice v. Rabo. Forwarded order to counsel for approval.                    2.20

03/31/17    Review of email received from Jim Smith, attorney, re: suggested
            changes to order confirm proposed compromise settlement. Revised
            and resubmitted order to Smith for approval.                               .90


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03/31/17    Review of additional correspondence between counsel on proposed
            order in Rice v. Gavilon.                                                  .30

03/31/17    Review of additional correspondence between counsel on discovery
            issues in Rice v. Mears.                                                   .25

04/03/17    Reviewed and calendared notice of hearing, re: pre trail hearing on
            Rice v. Oxner. Hearing set on 05/11/17 at 1:00.                            .10

04/03/17    Review and approval of plaintiff’s response for interrogatories and
            request for production of documents in Rice v. -M-Real.                   1.20

04/03/17    Conference with staff attorney, re: plaintiff’s request for
            interrogatories and request for production of documents in Rice v. M-
            Real, legal strategies proceeding forward.                                 .40

04/03/17    Review of multiple correspondences between parties concerning the
            turnover of Go Daddy emails and clawback efforts. Instructed staff
            attorney on steps to be taken to demand clawback of certain matters.
                                                                                       .80

04/03/17    Review of correspondence and proposed pre-trial order submitted by
            Waddell to parties in the Rice v. LTD Farms case.                          .80

04/04/17    Review of correspondence between parties, re: trustee’s efforts to
            confirm no disclosures or copies of possible attorney client privileged
            information assimilated to parties.                                        .30

04/04/17    Review of motion to continue hearing set on 04/13/17 filed by Keech
            in Rice v. Wilkison.                                                       .30

04/04/17    Review and approval of final draft of proposed protective order in
            Rice v. Razorback.                                                         .75

04/05/17    Review of correspondence between parties, re: request for specific
            documents in discovery in Rice v. Agri.                                    .25

04/05/17    Review of several adversary proceedings, re: preparation for attorney
            status conference tomorrow.                                               1.50

04/05/17    Reviewed and calendered notice of cancellation of pre-trial hearing in
            Rice v. Benton. Order already submitted.                                   .10

04/07/17    Review of correspondence between parties, re: special counsel and
            other attorneys for estate, re: legal documents filed on behalf of
            debtor.                                                                    .40

04/07/17    Reviewed and calendered Order Stipulation And Agreement For
            Protective Order entered in Rice v. Razorback.                             .10

04/10/17    Review of correspondence between special counsel and attorneys for


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            defendants in Rice v. Galloway, re: proposed pre-trial order.             .80

04/10/17    Review of correspondence between special counsel and attorneys for
            defendants in Rice v. Englund, re: proposed pre-trial order.              .70

04/10/17    Review of correspondence between special counsel and attorneys for
            defendants in Rice v. Optimum, re: continuance on hearing, jury trials
            issues.                                                                   .50

04/10/17    Review of correspondence between special counsel and attorneys for
            defendants in Rice v. Turner, re: proposed pre-trial order.               .80

04/10/17    Review of correspondence between special counsel and attorneys for
            defendants in Rice v. Brown, Rice v. Ivory, re: proposed pre-trial
            order.                                                                    .80

04/10/17    Reviewed and calendered pre-trial hearing rescheduled to 06/08/17 in
            Rice v. Optimum, Rice v. Prislovsky, Rice v. Fowler and Rice v. USA.
                                                                                      .25

04/10/17    Reviewed and calendered pretrial hearing rescheduled to 06/08/17 in
            Rice v. Calloway.                                                         .10

04/10/17    Review of correspondence from Louis Etoch, former attorney for
            Keith Wilkinson, re: no longer representing, request to be removed
            from receiving notice.                                                    .10

04/11/17    Final review, approval and signing of plaintiff’s response for
            interrogatories and request for production of documents from
            defendants in Rice v. Agri.                                               .60

04/11/17    Reviewed and calendared notice of hearing continued on pre-trial
            matters on Rice v. Wilkinson. Hearing of pre-trial and also hearing on
            motion to dismiss rescheduled to 06/13/17.                                .10

04/11/17    Review of email received from staff attorney for court, re:
            instructions to revise pre-trial order on Rice v. Gregory. Also Review
            of email received from Doug Noble, attorney for separate defendant,
            re: no objection to court instructions.                                   .25

04/11/17    Reviewed and calendered order granting ten days for defendants to file
            amended answer in Rice v. LTD.                                            .10

04/11/17    Review and analysis of amended answer filed by all separate
            defendants except Relyance Bank in Rice v. LTD.                           .75

04/11/17    Review of docket sheet and matters scheduled for hearings on
            04/13/17, re: preparation.                                               1.25

04/11/17    Reviewed and approved drafts of pre-trial orders in Rice v. Leslie and
            Rice v. JJC.                                                             1.00


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04/11/17    Reviewed and calendered notice of pre-trial hearing set on 05/11/17
            in Rice v. LTD.                                                            .10

04/11/17    Reviewed and calendered Notice of Docketing Record on Appeal to
            District Court. Case Number: 0860217000400 (2:17-cv-00040) (RE:
            related document(s) [35] Notice of Appeal and Statement of Election
            filed by Defendant Gavilon Grain, LLC.                                     .10

04/12/17    Telephone conference with Keech, special counsel, re: pretrials set for
            tomorrow, request from defense counsel to dismiss Agri entities,
            strategies in moving forward on preferences, 30 day cutoff rule of
            court in all pre-trial orders.                                             .30

04/12/17    Emailed Laura Westbrook, re: response to instructions to amend pre-
            trial orders.                                                              .25

04/12/17    Reviewed and approved revisions to pre-trial order in Rice v. JJC prior
            to being submitted to defendant.                                           .50

04/12/17    Prepared proposed order confirming proposed compromise settlement
            between parties in Rice v. Bickerstaff.                                   1.00

04/12/17    Reviewed and calendered notice from Court of cancellation of pre-trial
            hearing and parties agreement to submit agreed pre-trial orders in Rice
            v. N&D, Rice v. Medford and Rice v. Big Creek.                             .25

04/12/17    Reviewed and calendered notice of telephonic conference hearing
            scheduled for 4/18/2017 at 10:00 am in Rice v. Calloway.                   .10

04/12/17    Reviewed and calendered notice of cancellations of pre-trial hearings
            on Rice v. Englund, Rice v.e Caroline and Rice v. Leslie. Parties to
            submit pre-trial orders.                                                   .25

04/12/17    Reviewed and calendered notice of cancellation of pre-trial hearing on
            Rice v. JJC. Parties to submit pre-trial order.                            .10

04/12/17    Review of trial preparation memo of staff attorney re: hearing
            tomorrow on motion to strike in Rice v. Ainsley and motion to compel
            discovery in Rice v. Hill.                                                1.20

04/12/17    Review of email received from Keech, special counsel, re: telephonic
            conference being set by court in Rice v. Calloway. Also, telephone
            conference with Keech concerning hearing.                                  .30

04/13/17    Additional exchange of correspondence with Keech, special counsel,
            re: telephonic conference set by court in Rice v. Calloway.                .30

04/13/17    Hearing on motion to strike in Rice v. Ainsley. Hearing on motion to
            compel discovery in Rice v. Hill.                                         3.70




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04/13/17    Conference with Rusty Berry, attorney for Farmers & Merchants Bank
            of Stuttgart, re: settlement negotiations, possible dismissal of party.     .25

04/13/17    Conference with Harry Light, attorney re: settlement negotiations in
            Rice v. Leslie.                                                             .25

04/15/17    Cursory review of correspondence between parties on 04/14/17
            concerning discovery and documents produced in Rice v. Hill.                .75

04/15/17    Review of written correspondence between parties on 04/14/17
            concerning discovery in Rice v. Oxner, re: conferring in good faith to
            turnover documents.                                                         .25

04/15/17    Review of correspondence between parties on 04/14/17 concerning
            proposed Joint report of Rule 26 (f) Conference in Rice v. Bradley.         .25

04/15/17    Review of documents turned over to counsel in state court litigation
            pursuant to subpoena in response from counsel to request from trustee
            to release documents to other parties. Attempting to confirm that no
            additional attorney-client privilege documents are amongst emails.         1.40

04/17/17    Final review of proposed order confirming proposed compromise
            settlement in Rice v. Bickerstaff, forwarded order to court for possible
            approval and entry of record.                                               .20

04/17/17    Reviewed and calendared notice of hearing on motion to compel
            discovery in Rice v. Agri. Matter set for 06/06/17 at 10:00 in Helena.
                                                                                        .10

04/18/17    Review of answers to discovery received from defense counsel in Rice
            v. Agri. Also, reviewed voluminous documents, attempted to
            ascertain information from redacted documents. Analysis of impact
            of redaction and adverse effect upon obtaining discoverable evidence.
                                                                                       1.60

04/18/17    Conference with staff attorney, re: discovery received in Rice v. Agri,
            necessity for redacted information. Review of correspondence
            between staff attorney and attorney for defendant, re: request to revise
            discovery and provide unredacted checks.                                    .40

04/18/17    Assistance to co-counsel in drafting and exchanging emails with
            defense counsel in addressing providing discovery in unredacted
            manner.                                                                     .80

04/18/17    Review of proposed pre-trial order in Rice v. Hill before being
            forwarded to counsel for defendants.                                        .75

04/18/17    Reviewed and calendered Order confirming proposed compromise
            settlement between Rice and Bickerstaff.                                    .10




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04/18/17    Review of exchange of correspondence between attorneys in Rice v.
            Hill, re: proposed pre-trial order and compliance with Rule 26.            .30

04/18/17    Reviewed and calendared notice of hearing on jury demand requested
            by defendants and refusal to consent to Bankruptcy Court hearing the
            case in Rice v. Calloway, Rice v. Oxner, Rice v. Privlovsky and Rice
            v. Fowler. Hearing set on 06/08/17.                                        .30

04/19/17    Telephone conference with Jim Smith, attorney for Rabo, re: turnover
            of proceeds in accordance with terms of proposed compromise
            settlement.                                                                .20

04/19/17    Review of amended answer submitted by Mike Dabney, attorney, in
            Rice v. Ainsworth. Also, review proposed order denying trustee’s
            motion to strike in ap.                                                    .50

04/19/17    Exchange of correspondence with Keech and Kate Davidson, attorney
            for KBX, re: discovery request for state court litigation.                 .30

04/19/17    Conference with staff attorney, re: discovery received in Rice v.
            Razorback, responding to discovery inquiries.         Review of
            correspondence between Mitchell and counsel for Razorback, re:
            status of discovery, multiple documents to be produced, other legal
            matters.                                                                   .60

04/19/17    Review of pleadings filed by Mike Dabney, attorney, re: answer to
            complaint in Rice v. Ainsworth.                                            .60

04/19/17    Review of correspondence between parties, re: discovery issues in
            state court litigation. Plaintiff demand for redacted correspondence of
            former principal (Coleman), plaintiff’s intent to file motion to compel
            against trustee.                                                           .40

04/19/17    Review of proposes request for admissions submitted to defense
            counsel in Rice v. Hill.                                                   .80

04/20/17    Review of correspondence between attorneys for various parties
            concerning discovery, re: redactions, demand for turnovers.                .40

04/20/17    Review of proposed pre-trial order and scheduling order in Rice v.
            Southern before being forwarded to court.                                  .40

04/20/17    Reviewed third Corrected Answer to Complaint with signatures third
            submission Filed by Michael B. Dabney on behalf of Defendant
            Crystal Ainsworth.                                                         .10

04/20/17    Review of letter and documents received Kimberly Tucker, attorney
            for Big Creek Rice Farms, Inc., re: responses to discovery, beta
            stamped documents.                                                        1.00




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04/20/17    Review of additional correspondence between Mitchell, Grooms and
            Ballard, attorneys, re: discovery issues resulting from subpoena issued
            upon trustee.                                                              .40

04/20/17    Review of trustee responses to discovery being forwarded to defense
            counsel in Rice v. Hill ap.                                                .60

04/20/17    Review of trustee responses to discovery being forwarded to defense
            counsel in Rice v. Big ap.                                                 .60

04/21/17    Review of correspondence between staff attorney and Andy Ballard,
            attorney in state court proceedings concerning subpoena documents,
            request from plaintiff’s and notification to defendant and principal of
            debtor (Campbell).                                                         .25

04/21/17    Review proposed letter prepared by Mitchell, re: response to defense
            counsel’s proposed method of handling emails and discovery to
            alleged attorney-client emails.                                            .30

04/21/17    Reviewed and calendered notice of closing of case, Turner Grain v
            LTD Farms, ap 14-1119.                                                     .10

04/21/17    Reviewed and calendered court approved pre-trial order entered in
            Rice v. Southern.                                                          .10

04/21/17    Final revisions to application to pay fees and expense to Lain
            Faulkner, CPA. Filed application. Also, prepared and forwarded
            Notice of Opportunity to Object to application.                            .40

04/21/17    Review of Joint Report of Rule 26(F) Conference approved and filed
            with court in Rice v. Benton.                                              .25

04/21/17    Review of additional correspondence between Mitchell and counsel
            for defendant in Rice v. Hill, re: proposed joint pre-trial order.         .25

04/21/17    Review of additional correspondence between Mitchell and counsel
            for defendant in Rice v. Hill, re: proposed joint pre-trial order.         .25

04/22/17    Reviewed and calendered Combined Motion to Quash Subpoena
            Duces Tecum and for Protective Order and Belated Motion in Limne
            to Exclude Any and All Evidence Received from Subpoena to Turner
            Grain Merchandising, Inc. and of Motion received from Lisa Ballard,
            attorney for Jason Coleman in state court litigation.                     1.30

04/22/17    Additional review of discovery received from Kim Tucker, attorney
            in Rice v. Big Creek, re: discovery documents on disk, closer review
            of responses.                                                             1.25

04/22/17    Conference with staff attorney, re: responding to subpoena, motion to
            quash.                                                                     .25



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04/22/17    Additional review of combined motion to quash subpoena and notice.
            Also, reviewed protective order entered by court concerning claw
            back, indemnification. Also, reviewed code and case law concerning
            assessment of sanctions, pleading sanctions. Prepared outline for first
            draft of response to motion.                                              2.50

04/22/17    Review of email from Kendel Groom, attorney, re: intent to impose
            sanctions if records are destroyed.                                        .25


04/22/17    Review of email from Kendel Groom, attorney, re:, re: copy of
            response that he is filing to motion to quash filed on behalf of Jason
            Coleman.                                                                  1.60

04/23/17    Review of email received from Kendel Groom, attorney, re: string of
            emails of communications with Greg Bevel concerning discoverable
            documents.                                                                 .80

04/24/17    Prepared first revision to initial draft of response to motion to quash
            and notice filed by Andy Ballard, attorney for Campbell in state court
            litigation.                                                               1.25

04/24/17    Conference with staff attorney, re: motion to quash and notice of
            request for sanctions filed by Andy Ballard, attorney for Jason
            Coleman and response filed by Grooms on behalf of Zero Grade
            Farmers (zgf). Response to be filed by trustee, notification of intent
            to indemnify.                                                              .40

04/24/17    Reviewed and calendared notice of hearing on several adversary
            proceedings, re: pre-trial hearing set in Little Rock on 03/12/18 in
            Rice v. Southern, pre-trial hearing set in Little Rock on 03/12/18 in
            Rice v. Fogleman, answer to cross claim filed by defendant in Rice v.
            LTD set on 05/11/17.                                                       .30

04/24/17    Review of initial disclosures prepared by staff attorney prior to
            delivery to defense counsel in Rice v. Benton.                             .30

04/24/17    Review of response to interrogatories and request for production of
            documents submitted by Ward in Rice v. M-Real.                            1.10

04/24/17    Review of letter and documents received Grant Ballard, attorney for
            Oxner, re: supplemental responses to earlier written discovery
            previously requested. Also, reviewed amended set of Rule 26
            disclosures.                                                               .60

04/24/17    Reviewed and calendered Amended Order entered by Court Limiting
            Notice and Governing procedure for noticing of compromise
            settlements.                                                               .30




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04/24/17    Revised Pleadings and Notices templates to reflect court’s ruling as to
            all parties entitled to receive notice of pleadings and notice of
            settlements.                                                                .75

04/25/17    Review of email received from Laura Westbrook, re: request for
            update on status of pre-trial orders in Rice v. Gregory, Rice v.
            Galloway and Rice v. Watson.                                                .10

04/25/17    Emailed Kevin Keech, attorney in multiple adversary proceedings, re:
            status of pre-trial orders in Rice v. Gregory, Rice v. Galloway and
            Rice v. Watson.                                                             .20

04/25/17    Reviewed and calendared notice of hearing on 10/17/17 in Helena,
            Arkansas in Rice v. Walter, re: pre-trial hearing.                          .10

04/25/17    Review of email from Keech to Court and defense counsel in Rice v.
            Gregory, Rice v. Galloway and Rice v. Watson, re: proposed pre-trial
            orders.                                                                     .25

04/25/17    Reviewed and calendared multiple notices of hearings for trials and
            pre trials.                                                                 .30

04/25/17    Review and revisions to staff attorney’s proposed trustee’s response
            to motion to quash subpoena and request for sanctions against trustee
            filed by Jason Coleman in state court litigation.                          1.00

04/25/17    Review of first set of interrogatories and request for production of
            documents prepared by staff attorney before being mailed to defense
            counsel.                                                                    .90

04/25/17    Review of correspondence between Mitchell and Coleman in Rice v.
            Hill as it relates to the pre-trial order and disclosures under Rule 26.
            Also, reviewed the proposed revised pre-trial order sent to Coleman.
                                                                                        .60

04/25/17    Additional review of supplemental responses to earlier written
            discovery previously received from defendant in Rice v. Oxner, re:
            insufficient. Outlined draft of letter to demand that discovery be fully
            supplemented.                                                              1.10

04/26/17    Review of some of discovery being submitted to defense counsel in
            Rice v. Hill and correspondence to counsel concerning discovery.            .40

04/26/17    Conference with staff attorney, re: discovery received in Rice v. M-
            Real, possible request for clarification and amendment to responses.        .30

04/26/17    Review of correspondence between attorneys in Rice v. M-Real, re:
            good faith effort to resolve discovery issues.                              .25

04/26/17    Review of proposed protective order submitted by counsel for
            defendants in Rice v. Mears.                                                .90


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04/26/17    Final revisions to trustee’s response to motion to quash subpoena and
            request for sanctions against trustee filed by Jason Coleman in state
            court litigation.                                                         1.25

04/26/17    Reviewed and calendared notice of hearing on 11/07/17 in Little
            Rock, Arkansas in Rice v. USA, re: trial                                   .10

04/26/17    Review of correspondence and proposed pre-trial orders submitted by
            special counsel, Kevin Keech and attorneys for defendants in Rice v.
            Ivory and in Rice v. Turner, re: proposed pre-trial orders revised to
            address concerns of court.                                                 .75

04/26/17    Reviewed and calendered pre-trial order entered in Rice v. USA.            .10

04/26/17    Review of correspondence between staff attorney and counsel for K
            & K, re: proposed pre-trial order setting matter for trial.                .20

04/26/17    Review of correspondence between Mitchell and counsel for K&K, re:
            additional changes and revisions to proposed pre-trial order in Rice v.
            K&K.                                                                       .25

04/27/17    Conference with Randy Rice, attorney, re: discovery issues, methods
            to proceed forward in Rice v. Oxner.                                       .30

04/27/17    Conference with staff attorney, re: discovery issues, methods to
            proceed forward in Rice v. Oxner.                                          .30

04/27/17    Review of email received from Brooks Gill, attorney, re: approval of
            pre trail order in Rice v. Turner.                                         .10

04/27/17    Review of proposed discovery prepared by Mitchell, re: second set of
            interrogatories and requests for admission in Rice v. Oxner. Also
            reviewed proposed correspondence to counsel for defendant in
            reference to failure to provide discovery.                                 .60


04/27/17    Review of email received from Kendel Groom, attorney, re:
            scheduling order for motions in state court proceeding on 04/30/17.
            Proposed order includes hearing on motion to quash and responses
            filed. Also telephone call with Grooms concerning scheduling order.
                                                                                       .40

04/27/17    Reviewed and calendered pre-trial order entered in ap Rice v.
            Galloway, Rice v. Gregory and Rice v. Watson.                              .25

04/27/17    Review of additional correspondence between parties in Zero Grade
            litigation in state court concerning hearings on motions on 04/30/17.
                                                                                       .25

04/27/17    Review of responses to discovery received from counsel for defense
            in Rice v. McGregor.                                                       .80


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04/27/17    Reviewed and calendered correspondence with court, re: submission
            of pre-trial order on Rice v. K&K.                                          .10

04/27/17    Review of revised pre-trial order submitted to parties in Rice v. Hill.
                                                                                        .20

04/27/17    Review of order granting motion to compel in part and denying it in
            part in Rice v. Hill.                                                       .80

04/28/17    Review of documents received from Paul Bennett in responding to
            discovery request in Rice v. Walter. Also, review of correspondence
            between Mitchell and Paul Bennett in exchanging discovery in
            pending ap of Rice v. Walter.                                              1.00

04/28/17    Review of correspondence forwarded to Ralph Waddell and Shane
            Baker, attorneys, in efforts to resolve discovery disputes in Rice v.
            Rice.                                                                       .25

04/28/17    Review of responses to discovery received from Lyndsey Dilks,
            attorney, in pending ap, Rice v. Southern. Discovery received on
            three (3) separate defendants.                                             1.20

04/28/17    Review of correspondence between Barrett Moore, attorney and
            Mitchell, re: efforts to work through discovery issues in Rice v. Mears.
                                                                                        .25

04/28/17    Review of pleadings filed by Brooks Gill, attorney, motion to
            withdraw as attorney of record for Gerald Lloyd.                            .25

04/28/17    Reviewed and calendared notice of hearing on 04/18/18 in Little
            Rock, Arkansas in Rice v. Bradley W Benton, re: trial                       .10

04/28/17    Reviewed multiple additional correspondence between parties in state
            court litigation in scheduling hearing on numerous pending motions
            and responses (including trustee’s response to motion to quash
            subpoena and instruct trustee to destroy records).                          .40

04/28/17    Review of yet another barrage of emails between parties in state court
            litigation in scheduling hearing on numerous pending motions and
            responses (including trustee’s response to motion to quash subpoena
            and instruct trustee to destroy records).                                   .30

04/28/17    Reviewed and calendered two (2) day jury trial scheduled in Rice v.
            James Farms JV, et al. Jury trial to begin 2/27/2018 at 10:00 AM at
            Helena Division. Pre-trial hearing scheduled for 12/19/2017 at 10:00
            AM at Helena Division. Telephonic pre-trial hearing on 02/20/18 at
            10:00 (instructions on notice).                                             .25

04/29/17    Additional review of discovery received from Lyndsey Dilks,
            attorney, in pending ap, Rice v. Southern. Discovery received on
            three (3) separate defendants.                                             1.40


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04/29/17    Review of correspondence between Mitchell and attorney for
            defendants in Rice v. Southern, re: discovery disputes, opposition to
            designation of virtually discovery and confidential.                        .30

04/29/17    Review and suggestions to second set of interrogatories and first set
            of requests for admission in Rice v. Oxner.                                 .50

04/29/17    Review of letter and initial disclosures of defendant in Rice v. Benton.
                                                                                        .60

04/29/17    Review of discovery responses received in Rice v. Mears.                   1.80

05/01/17    Review of correspondences between parties, re: setting hearings on
            multiple motions in state court proceedings.                                .30

05/01/17    Reviewed and calendared notice of hearing on telephonic final pre-
            trial hearing set on 02/20/18 in Rice v. James.                             .10

05/02/17    Conference with staff attorney, re: amendment to complaint in Rice v.
            Oxner.                                                                      .30

 05/02/17   Review and revisions to proposed motion to amend complaint to add
            Red River Farms Partnership in Rice v. Oxner.                               .75

05/02/17    Review of plaintiff’s second set of requests for admission propounded
            to defendant in Rice v. Southern. Conference with staff attorney, re:
            concerning discovery. Proposed revisions to discovery before
            forwarding to defendant.                                                    .90

05/03/17    Review of revised pre-trial order and review of correspondence
            between Jack Talbott, Harry Light and Mitchell, attorneys, re:
            proposed revised pre-trial order in Rice v. Brown.                          .40

05/03/17    Review of email received from Kate Davidson, attorney, re: subpoena
            attached, request to accept service in upcoming trial in state court
            litigation.                                                                 .25

05/03/17    Emailed Kate Davidson, attorney, re: confirmed subpoena received
            and service accepted.                                                       .20

05/03/17    Review of email received from Kendel Groom, attorney, re: request
            to accept service of subpoena in upcoming trial in state court
            litigation.                                                                 .10

05/03/17    Emailed Kendel Grooms, attorney, re: will accept service of subpoena
            by email.                                                                   .20

05/04/17    Additional review of discovery received from Lyndsey Dilks in Rice
            v. Southern ap., additional preparation for possible motion to summary
            judgment and upcoming trial.                                               2.00



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05/05/17    Review of answers to interrogatories and request for production along
            with voluminous documents received from defense counsel in Rice v.
            Fogleman.                                                                   1.30

05/05/17    Review and analysis of letter received from Shane Baker, attorney to
            Mitchell, re: response to request to unredact discovery documents, in
            part in Rice v. Agri ap.                                                     .40

05/06/17    Review and revisions to proposed plaintiff’s first set of interrogatories
            and plaintiff’s first set of requests for admission in Rice v. JJC.         1.80

05/06/17    Additional review of discovery documents received from Daniel Tyler
            in Rice v. Fogleman.                                                        1.60

05/07/17    Review of discovery received from defendants in Rice v. Medford, re:
            Medfords responses to interrogatories and rpd, documents produces
            with responses.                                                             1.25

05/07/17    Closely reviewed applicable case law and analyzed records from
            defendants in assessing ordinary course defense in Medford case.            1.00

05/08/17    Reviewed and calendared notice of hearing in Rice v. Galloway, Rice
            v. Watson and Rice v. Gregory. Pre-trial hearing set on 10/19/17.
            Trial set on 10/30/17.                                                       .20

05/06/17    Reviewed matrix and Amended Order Limiting Notice and Governing
            Procedures on Compromise Settlement to be certain all required
            parties are on mailing list (matrix).                                        .30

05/09/17    Review letter from Hannah Wood, attorney for KBX, re: trial
            continued, will apprise trustee of resetting.                                .10

05/10/17    Reviewed and suggested revisions to proposed letter concerning
            discovery issues in Rice v. Mears.                                           .25

05/10/17    Conference with staff attorney, re: status of multiple ap. Discovery
            issues in Rice v. Agri and possible responses. Affirmative defenses
            asserted in Rice v. Medford. Status conference hearing in Rice v.
            LTD set for tomorrow - cover if Keech not available. Pending
            interpleader action in Oakley Grain v HNB. Other matters set on
            06/06/17.                                                                   .50

05/10/17    Preparation for upcoming status conference on Oakley Grain Inc et al
            v. USA et al, ap 15-1009. Review of pleadings.                              1.25

05/10/17    Attempted telephone conference with David Vandegrift, attorney for
            Helena National Bank, re: upcoming status conference, possible
            settlement negotiations.                                                     .10

05/10/17    Telephone conference with staff attorney for court, re: pre-trial
            hearing tomorrow on Rice v. LTD, severance issue, jury trial issue,


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            jury trial in which action(s).Additional review of files and adversary
            proceedings set for pre-trial hearings and status conferences hearings.
                                                                                       .75

05/10/17    Telephone conference with Kevin Keech, special counsel, re:
            confirmation of attendance at hearing tomorrow at 1:00 on Rice v.
            LTD, matters covered, trustee will not be present.                         .25

05/10/17    Review of email received from Laura Westbrook, re; subject matter of
            pre-trial hearing on Rice v. LTD that is set for 05/11/17.                 .25

05/10/17    Reviewed and calendered comments to trustee’s application to pay
            accountant fees to Lain Faulkner. No objection.                            .10

05/11/17    Telephone conference with Shannon of Etoch Law Firm, re: show
            cause hearing set on 06/10/17, information regarding pro se plaintiffs.
                                                                                       .30
05/11/17    Reviewed email received from Etoch Law Firm, re: information on
            pro se defendants.                                                         .30

05/11/17    Reviewed and calendared multiple notice of hearing on amended
            complaint, cross claim and answer to cross claim filed in Rice v. LTD
            Farms. Matters reset to 06/08/17 at 1:00 in little rock.                   .20

05/11/17    Prepared and forwarded letter to Lance Gray, Wilkison, et al, re: Order
            issued to show cause why the pending lawsuit should not be
            dismissed, hearing set.                                                    .40

05/13/17    Review of proposed appellee’s responsive brief to Gavilon’s appeal
            in Rice v. Gavilon.                                                       1.50

05/13/17    Review of letter, notice of subpoena and subpoenas received from
            Lindsey Dilks, attorney, re: upcoming hearing on motion to confirm
            proposed compromise settlement with KBX Inc. Also, reviewed file
            in order to discuss with attorneys.                                       .70

05/13/17    Review of letter and documents received from Kevin Keech, attorney,
            re: correspondence from defense attorney concerning ordinary course
            defense in Rice v. Galloway. Also, reviewed charts and diagram.           1.00

05/13/17    Review of correspondence between parties, re: comments and
            proposed changes to appellee’s brief in Rice v. Gavilon.                   .40

05/13/17    Conference with Hamilton Mitchell, attorney in pending adversary
            proceedings, re: discovery conducted in Jonesboro on minturn grain
            case, necessity to pursue motion to compel.                                .40

05/13/17    Conference with Hamilton Mitchell, attorney in pending adversary
            proceedings, re: assessment on one of pending adversary proceedings,
            possible motion to dismiss, possible nuisance settlement.                  .70



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05/15/17    Review of final version of proposed appellee’s response brief in Rice
            v. Gavilon, approved response and brief.                                   .90

05/15/17    Telephone conference with special counsel in Rice v. Gavilon, re:
            comments and approval to file appellee response brief.                     .30

05/15/17    Review of correspondence between Barrett Moore and Hamilton
            Mitchell, re: discovery issues, efforts to resolve disputes, protective
            order in Rice v. Mears.                                                    .80

05/16/17    Review of pleadings filed by Kim Tucker, attorney, re: notice of
            service of responses to requests for admission in Rice v. Hill Farms.      .10

05/16/17    Review of plaintiff first set of requests for admission propounded
            upon defendants prepared by Hamilton Mitchell in Rice v. 384.              .75

05/16/17    Review of responses of separate Hill defendants to requests for
            admission submitted by plaintiff in Rice v. Hill Farms.                   1.10

05/17/17    Review of proposed pre-trial order submitted to court for approval and
            entry of record in Rice v. Big Creek Farms.                                .40

05/18/17    Telephone conference with Kevin Keech, special counsel in Rice v.
            Galloway, re: settlement proposal. Also discussed upcoming status
            conference hearings in Oakley Grain v. United States et al
            (interpleader action).                                                     .50

05/18/17    Telephone conference with Randy Grice, attorney for KBX Inc,, re:
            subpoena issued by southern rice (Dilks), upcoming hearing on
            proposed compromise settlement.                                            .30

05/18/17    Review of file, re: pending legal matters, Order to submit order on fee
            application of Lain Faulkner. Reviewed court order concerning notice
            and determined that fee application needed to be re-noticed. Prepared
            and filed amended notice of pending fee application of Lain Faulkner.
                                                                                       .75

05/18/17    Additional work on Motion for entry of default judgment in Rice v.
            Story.                                                                     .80

05/18/17    Prepared and submitted proposed order approving allowance of fees
            and expenses to Lain Faulkner, CPA.                                        .50

05/18/17    Revisions to Motion for entry of default judgment and supporting
            affidavit prepared and filed by Hamilton Mitchell in Rice v. Sauer.        .50

05/18/17    Review and provided additional discovery request to staff attorney in
            preparation of requests for admission submitted to separate defendant,
            Walter Shepherd in Rice v. Shepherd.                                       .80




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05/18/17    Prepared and forwarded email to Kevin Keech, attorney, re: request
            for call regarding adversary proceedings coming up for hearing.          .30

05/19/17    Review of plaintiff’s first set of requests for admission to separate
            defendant, Jimel Farms in Rice v. JJC Partners Farms.                    .75

05/19/17    Telephone conference with Tom Streetman, special counsel for estate
            in Rice v. KBX Inc, re: preparation by rice for upcoming hearing,
            possibility of re-noticing motion to confirm proposed compromise
            settlement.                                                              .25

05/19/17    Review of pleadings filed by S. Pointer, attorney, re: notice of
            appearance and request for notice in Rice v. KBX Inc.                    .10

05/19/17    Reviewed and calendared Agreed Protective Order.                         .10

05/19/17    Reviewed email received from Tom Streetman, special counsel for
            estate in Rice v. KBX Inc, re: upcoming testimony, shortened notice
            list.                                                                    .30

05/20/17    Review of discovery schedule and proposed pre-trial order submitted
            to court in Rice v. Medford.                                             .40

05/22/17    Revised application to confirming proposed compromise settlement
            with KBX Inc. to comply with court order concerning notice. Filed
            amended application to confirm proposed compromise settlement and
            notice of opportunity to object in case in chief and in adversary
            proceeding.                                                             1.00

05/22/17    Review of email received from Harry Light, attorney, re: request
            justification of settlement proposal.                                    .25

05/22/17    Began draft of outline of basis for settlement to submit to Light per
            request.                                                                1.00

05/23/17    Review of proposed plaintiff’s first set of requests for admission
            submitted to James Farms IV in Rice v. James.                            .75

05/23/17    Conference with Hamilton Mitchell, attorney in pending adversary
            proceedings, re: efforts to get pre-trial order entered in Rice v.
            Ainsworth.                                                               .25

05/23/17    Telephone conference with Tom Streetman, special counsel for estate
            in Rice v. KBX Inc, re: pending motion to confirm proposed
            compromise settlement between KBX Inc. and trustee, inquiry by
            Harry Light, attorney for creditor. Responding to inquiry.               .25

05/23/17    Reviewed and calendared Order granting in part, denying in part
            Motion for Compensation for Richard Cox, former Trustee.                 .20




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05/24/17    Reviewed and partially responded to discovery received from David
            Tyler, attorney, in Rice v. James, re: first set of interrogatories and
            request for production of documents.                                       1.20

05/24/17    Review of discovery prepared by staff attorney in Rice v. Agri
            Marketing, re: plaintiff’s second set of interrogatories and request for
            production of documents, plaintiff’s second set of requests for
            admission.                                                                  .80

05/25/17    Review of proposed discovery in Rice v. Razorback, re: plaintiff’s
            second set of interrogatories and request for production of documents
            and first set of requests for admission.                                    .75

05/25/17    Reviewed and calendared final pre-trial hearing and trial dates in
            pending adversary proceedings, re: Rice v. Big Creek Farms, Rice v.
            JJC Partners Farms, Rice v. Medford, Rice v. K & K Farming. Also
            Reviewed and calendared upcoming hearing on motion for default
            judgment in Rice v. Story.                                                  .35

05/25/17    Additional preparation for upcoming hearing set on 06/06/17 and
            06/08/17 on multiple pending adversary proceedings.                        1.10

05/25/17    Telephone conference with Chad Owens, attorney working with Todd
            Williams, re: pending interpleader adversary proceeding, upcoming
            status conference hearing.                                                  .25

05/25/17    Review and calendar of “Entry of Default” filed by clerk of court in
            Rice v. Sauer.                                                              .10

05/25/17    Reviewed and calendared final pre-trial hearing, re: Rice v. K & K
            Farms (AP 16-1102, Notice of Pre-trial hearing, Rice, and Notice of
            Final Telephone hearing, Rice v. JJC Partners Farms Partners).              .20

05/26/17    Review of plaintiff’s first set of requests for admission submitted in
            Rice v. Big Creek Farms.                                                    .60

05/26/17    Review of letter and documents received from Shane Baker, attorney,
            in resolution of discovery dispute in Rice v. Minturn Grain, re:
            unredacted bank records, 2013 and 2014 tax returns, multiple records
            and documents (1,100 pages - not all reviewed).                            2.60

05/27/17    Review and revisions to proposed motion for default judgment and
            supporting affidavit in Rice v. Sauer.                                      .75

05/28/17    Review of letter and first set of requests for admission sent to defense
            counsel in Rice v. Big Creek Farms. Discovery reviewed earlier.             .25

05/29/17    Review of trustee’s responses to interrogatories and request for
            production of documents in Rice v. James. Noted proposed revisions
            to responses.                                                              1.30



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05/29/17    Additional review of motion for default judgment in Rice v. Sauer.
            Noted matters to discuss with staff attorney.                              .50

05/29/17    Review of motion to amend complaint in Rice v. Oxner and attached
            proposed amended complaint.                                                .70

05/30/17    Conference with Hamilton Mitchell, attorney in pending adversary
            proceedings, re: discovery received in Rice v. Agri Marketing,
            withdrawal of motion to compel discovery. Also, cursory review of
            correspondence to defense counsel, re: proposed order.                     .30

05/31/17    Review of letter and documents received from Grant Ballard, attorney,
            defendant’s responses to plaintiff’s first set of interrogatories and
            request for production of documents, responses to plaintiff’s first set
            of requests for admission in Rice v. Oxner.                               1.50

05/31/17    Review of plaintiff’s second set of requests for admission forwarded
            to Coleman and Tucker in Rice v. Hill Farms.                               .60

05/31/17    Review of separate letter to Coleman and tucker in Rice v. Hill Farms,
            re: compliance with court order compelling discovery, intent to
            comply. Also, cursory review of order.                                     .40

05/31/17    Reviewed discovery schedule and pretrial Order (Rive v JD Mcgregor
            Farms).                                                                    .20

06/01/17    Review of pleadings filed by Joseph Grant Ballard, attorney, re:
            Motion for jury trial in Rice v. Fowler, Rice v. Oxner, Rice v.
            Galloway and Rice v. Prislovsky.                                           .60

06/01/17    Review of email from Randy McNeil of Poinsett Rice and Grain, Inc.,
            re: pending proposed compromise settlement with KBX Inc..
            Requested explanation of why he should not file an objection.              .20

06/02/17    Review of records and documents in preparing response to creditor’s
            justification of trustee’s proposed compromise settlement with KBX
            Inc.. Emailed Randy McNeil of Poinsett Rice and Grain, Inc., re:
            explanation for justification of proposed compromise settlement.           .80

06/02/17    Initial Review of file, re: preparation for hearings next week.            .30

06/02/17    Attempted telephone conference with Todd Williams and Kevin
            Keech, attorneys, re: hearing in Oakley grain v. USA, et al, ap 15-
            1009, possible resolution of interpleader funds.                           .20

06/02/17    Reviewed and calendared notices from Court, re: request to reset
            hearing on motion to confirm proposed compromise settlement
            between trustee and KBX Inc. and pending objections, notices of jury
            demands made in Rice v. Galloway, Rice v. Prislovsky, Rice v. Oxner
            and Rice v. Fowler.                                                        .25



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06/02/17    Telephone conference with Williams status conference on Oakley
            adversary proceeding.                                                       .50


06/02/17    Review of proposed pre-trial order and scheduling order in Rice v.
            Brown Farming.                                                              .60

06/02/17    Additional review of records, documents, state court filings and
            bankruptcy court filings in preparation for conferences with attorneys
            and in preparation for hearing in Oakley Grain adversary proceeding.
                                                                                       1.60

06/02/17    Telephone conference with David Vandegrift, attorney, re: hearing in
            Oakley adversary proceeding, opposition to turnover unless Helena
            National Bank is dismissed, with prejudice, action proceeding in state
            court litigation.                                                           .30

06/02/17    Telephone conference with Kevin Keech, sc, re: upcoming Oakley
            hearing.                                                                    .40

06/02/17    Review of proposed protective order in Rice v. James. Also, reviewed
            and discussed proposed interrogatories, request for production of
            documents and requests for admission in Rice v. James. Discussed
            proposed order and discovery with Hamilton Mitchell. Also discussed
            hearing on 06/06/17 in Helena in Oakley Grain v USDA et al -
            possible continuance.                                                      1.50

06/02/17    Conference with Hamilton Mitchell, attorney in pending adversary
            proceedings, re: discovery received in Rice v. Minturn Grain                .30

06/05/17    Reviewed nine (9) Notices of attorney substitution filed by Lindsey
            Dilks, Attorney.                                                            .30

06/05/17    Reviewed Notice of Filing Supplemental Declaration of Gregory H.
            Bevel, special counsel.                                                     .30

06/05/17    Review and calendared notice of hearing scheduled for 7/18/2017 at
            01:00 PM on Motion for Default Judgment filed by Plaintiff M Randy
            Rice, plaintiff in Rice v. Story, Rice v. McClain and Rice v. James,
            Rice v. J&B, Rice v. Brinkley and Rice v. Dover.                            .25

06/05/17    Review of correspondence between court staff and sc, re: scheduling
            hearing on motion to confirm proposed compromise settlement and
            objection in Rice v. KBX Inc..                                              .15

06/05/17    Review of correspondence between Jack Talbot and Kevin Keech,
            attorneys, re: jury trial issues.                                           .20

06/05/17    Review of motion for abstention and remand filed by Lindsey Dilks,
            attorney, re: in Turner Grain v. Gray, ap 14-1116. Also, review of file,
            re: status of matters.                                                     1.00


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06/06/17    Prepared and submitted proposed order authorizing plaintiff leave to
            file amended complaint in Rice v. Oxner. Presented to staff attorney
            for review and submission to court.                                       .90

06/06/17    Review of pleadings filed by R. Bryant Marshall, attorney for Delta
            Grain Marketing, LLC (DGM), re: objection to trustee’s motion to
            confirm proposed compromise settlement in Rice v. KBX Inc..               .50

06/06/17    Review of pleadings filed by David Simms, attorney, re: motion for
            jury trial and brief in support of motion in Rice v. LTD Farms.           .50

06/06/17    Review of correspondence between Talbot and Keech, re: waiver of
            jury trial, discovery time line.                                          .25

06/06/17    Reviewed and calendared order to submit order on pending motion to
            amend complaint in Rice v. Oxner.                                         .10

06/06/17    Review and analysis of article in Arkansas Business concerning state
            court proceedings between Zero Grade Farmers and KBX Inc., re:
            deleted text messages on cell phones, inference to jury.                  .25

06/06/17    Review of memorandum in support of motion for jury trial filed by
            William Waddell on behalf of defendants in Rice v. LTD Farms.             .50

06/06/17    Reviewed correspondence and enclosed documents received from
            Lindsey Dilks, attorney for Wilkison, Lance Gray and High Road
            Farms, re: entry of appearance and Motion for Abstention and Remand
            and Brief in Support (34 pages)                                           .30

06/06/17    Reviewed Objection to Amended Application to Confirm proposed
            Compromise Settlement between KBX, Inc and Trustee. filed on
            behalf of Delta Grain Marketing.                                          .50

06/07/17    Additional review and analysis of letter from Doug Noble to Kevin
            Keech, sc, in Rice v. Galloway, re: request to dismiss adversary
            proceeding. Also reviewed proposed response prepared by staff
            attorney. Conference with staff attorney, re: responses to affirmative
            defenses, revisions to response.                                          .50

06/07/17    Review and analysis of legal work product of staff attorney on matters
            to prosecute one of preferences.                                          .80

06/07/17    Review of proposed stipulation and agreement for protective order to
            be forwarded to court for possible approval and entry of record in Rice
            v. James.                                                                 .50

06/07/17    Initial review and analysis of defendant’s response to plaintiff’s
            motion for leave to file second amended complaint in Rice v. Oxner.
                                                                                      .80




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06/07/17    Additional review and analysis of defendant’s response to plaintiff’s
            motion for leave to file second amended complaint in Rice v. Oxner.
            Drafted outlined of response to defense . Conference with Hamilton
            Mitchell, attorney in pending adversary proceedings, re: reply to
            response.                                                                 1.20

06/07/17    Additional review and trial preparation in Rice v. Medford, re:
            ordinary course of business defense asserted, other defenses asserted,
            case law concerning ordinary course and normal business standards.
            Conference with Hamilton Mitchell, attorney in pending adversary
            proceedings, re: on strategy proceeding forward.                          1.25

06/08/17    Review of defendant’s responses to requests for admission received
            in Rice v. Big Creek Farms.                                                .75

06/08/17    Review and revisions to proposed letter to attorney in Rice v.
            Galloway, re: response to motion to dismiss adversary proceeding,
            settlement negotiations.                                                   .30

06/08/17    Review of pleadings filed by Charles Coleman, attorney, re: notice of
            service of responses to requests for admission in Rice v. Big Creek
            Farms.                                                                     .10

06/08/17    Reviewed Stipulation Agreement for Protective Order in Rice v.
            James Farms JV, et al (AP No. 16-1103).                                    .10

06/08/17    Telephone conference with Roger McNeil, attorney, re: pending
            outstanding discovery, intent to discuss further with Hamilton
            Mitchell tomorrow, settlement negotiations.                                .25

06/09/17    Review of order denying motion for jury trial on amended complaint
            and granting motion for jury trial on cross-claim in Rice v. LTD
            Farms.                                                                     .10

06/09/17    Reviewed and calendared notice of hearing on Motion to amend (Rice
            v. Oxner).                                                                 .10

06/12/17    Reviewed and calendared objection to trustee’s motion to confirm
            proposed compromise settlement in Rice v. KBX Inc. Objection filed
            by Steve and Becky Davis, Owl City Farms and Stephen R. Davis.             .40

06/12/17    Review of notice from Court of Order Due on pending application to
            pay acct fees to Lain Faulkner. Review of file, re: earlier application
            filed, notice of application, re-notice of application. Prepared and
            submitted proposed order approving acct fees of Lain Faulkner.             .90

06/12/17    Reviewed and calendared Order approving Motion for Compensation
            to Lain Faulkner, accountant.                                              .10




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06/12/17    Review of pleadings filed by Lindsey Dilks, on behalf of Penn Farms,
            re: objection to trustee’s motion to confirm proposed compromise
            settlement with KBX Inc..                                                 .60

06/12/17    Review of Corporate Ownership Statement. Filed by John P. Talbot
            on behalf of Defendant Optimum Agriculture LLC.                           .10

06/12/17    Telephone conference with Richard Cox, former attorney for the
            estate, re: pending preferences claims and affirmative defenses being
            asserted by parties.                                                      .30

06/12/17    Reviewed and calendared status hearing scheduled in Rice v. J B
            Farms.. Matter set on 07/18/2017 at 01:00 pm.                             .10

06/12/17    Review of proposed letter to attorney concerning settlement of
            discovery dispute in Rice v. Oxner. Conference with Hamilton
            Mitchell, attorney in pending adversary proceedings, re: concerning
            proceeding forward with resolution of dispute.                            .70

06/12/17    Final review and revisions to plaintiff’s Reply to Response of
            defendant to motion for leave to amend complaint in Rice v. Oxner.        .60

06/12/17    Review of additional documents received on cd from counsel for
            defendants in response to discovery in Rice v. Hill Farms.               1.60

06/13/17    Review and calendared notice of hearing on motion to confirm
            proposed compromise settlement with KBX Inc. filed by trustee and
            objections filed by Delta Grain Marketing, LLC, Davis and Davis
            Farms and Penn Farms.                                                     .10

06/14/17    Reviewed first set of discovery from defendants in Rice v. Brown
            Farming. Also, reviewed draft of responses prepared by staff attorney.
                                                                                      .75

06/14/17    Review and revisions to proposed draft of statement of facts in Rice
            v. Southern.                                                              .90

06/14/17    Reviewed and calendared plaintiff’s Reply to Response of defendant
            to motion for leave to amend complaint in Rice v. Oxner.                  .10

06/14/17    Exchange of correspondence with Tom Streetman, separate defendant,
            re: trial on 06/22/17, preparation of documents and exhibits.             .30

06/14/17    Additional preparation for hearing on trustee’s motion to confirm
            proposed compromise settlement with KBX Inc. and objections filed
            by creditors that is set for hearing on 06/22/17. Preparation of
            exhibits.                                                                1.10

06/12/17    Filed plaintiff’s Reply to Response of defendant to motion for leave
            to amend complaint in Rice v. Oxner.                                      .10



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06/16/17    Trial preparation for hearing on 06/22/17 on trustee’s motion to
            confirm proposed compromise settlement with KBX Inc. and
            objections filed by multiple creditors. Drafted documents and possible
            exhibits for hearing. Additional review of pleadings, exhibits,
            Arkansas Code and case law, Bankruptcy Code.                                2.10

06/16/17    Reviewed email received from Tom Streetman, special counsel for
            estate in Rice v. KBX Inc, re: memo for upcoming KBX hearing.                .30

06/16/17    Emailed Tom Streetman, special counsel for estate in Rice v. KBX
            Inc, re: info to prepare for hearing on 06/22/17.                            .25

06/16/17    Review of letter and discovery forwarded to defense counsel in Rice
            v. Ainsworth.                                                                .60

06/16/17    Review of motion to set aside default judgment entered against
            Guenter Sauer in Rice v. Sauer.                                              .50

06/16/17    Review of letter received from David Tyler, attorney for James Farms
            entities, re: designation of confidential documents per protective order.
                                                                                         .30

06/16/17    Review of three defendants separate responses to plaintiff requests for
            admission in Rice v. JJC Partners Farms.                                     .90

06/19/17    Telephone conference with Roger McNeil, attorney, re: settlement
            negotiations, pending discovery, intent to depose potential witnesses.
                                                                                         .40

06/19/17    Review of email received from Kathryn Reid, special counsel, re:
            proposed responses to discovery from AgHeritage - answers to
            interrogatory and to request for production of documents.                   1.00

06/19/17    Review and proposed revisions to plaintiff’s responses to
            interrogatories and request for production of documents in Rice v.
            James.                                                                      1.00

06/19/17    Review of responses to discovery from separate defendant, Walter
            Shepherd in Rice v. Shepherd.                                                .90

06/19/17    Review and calendared notice of hearing on motion to vacate default
            judgement and response to motion in Rice v. Guenter. Matter set on
            08/15/17.                                                                    .10

06/19/17    Reviewed email received from Tom Streetman, special counsel for
            estate in Rice v. KBX Inc, re: unpaid fees and expenses.                     .20

06/16/17    Reviewed letter and documents received from Ralph Scott, attorney
            for Bradley Benton, re: demand declined, offer to settle dispute.            .40




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06/20/17    Review of proposed initial disclosures to defense counsel in Rice v.
            JJC Partners Farms.                                                       .50

06/20/17    Additional consideration of settlement offers between parties in Rice
            v. Razorback, Conference with Hamilton Mitchell, attorney in pending
            adversary proceedings, re: analyzing and responding to offers, review
            and discussion of proposed counteroffer.                                 .60

06/20/17    Review of correspondence from defense counsel in Rice v. Benton, re:
            response to settlement offer.                                             .30

06/20/17    Additional trial preparation for hearing on 06/22/17 on motion to
            confirm proposed compromise settlement with KBX, Inc, and
            objections filed by parties.                                             2.80

06/20/17    Conferences with Streetman and Lindsey Dilks, re: request for
            continuance by Lindsey Dilks.                                             .30

06/20/17    Reviewed Motion to continue hearing filed by Lindsey Dilks on
            behalf of Penn Farms.(KBX Inc. Ap).                                      .20

06/20/17    Review of correspondence between parties, re: extension of time to
            respond to discovery in Rice v. Brown Farming.                            .15

06/21/17    Cursory review of Third Application for Compensation for Kevin P.
            Keech, Attorney, fee: $104440.00, expenses: $7582.80. Filed by
            Kevin P. Keech (docket #589).(1.00 hour evenly split between trustee
            and attorney.)                                                            .50

 06/21/17   Final review of plaintiff’s objections, answers and responses to first
            set of discovery received from defendants in Rice v. James, signed
            and verified responses.                                                   .50

06/21/17    Review and calendared notice of hearing on trustee motion to confirm
            proposed compromise settlement with KBX Inc. Matter reset to
            07/26/17 at 9:30 a. m.                                                    .10

06/21/17    Conference with Hamilton Mitchell, attorney in pending adversary
            proceedings, re: pending adversary proceedings, possible methods of
            proceeding forward with discovery and settlement discussions.
            Review of outline prepared concerning several adversary proceedings
            and methods of proceeding forward.                                        .50

06/22/17    Review of correspondence between parties, re: issues involving
            discovery in Rice v. JJC Partners Farms.                                  .25

06/22/17    Final review of Amended Third Application for Compensation for
            Kevin P. Keech, Attorney, fee: $104440.00, expenses: $7582.80. Filed
            by Kevin P. Keech with attached 128 page itemization (docket #590).
            (1.90 hours evenly divided between attorney time and trustee time.)       .95



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06/22/17    Review of earlier notes taken in Oakley v. Turner Grain, re: upcoming
            status conference hearing, Conference with Hamilton Mitchell,
            attorney in pending adversary proceedings, re: about matters and
            discussions on proceeding forward with litigation and preparation for
            hearing.                                                                   .30

06/23/17    Prepared and forwarded email to Roger McNeil, attorney, re:
            settlement negotiations, Rice v. Razorback.                                .30

06/23/17    Reviewed and calendared notice of appearance and request for notice
            filed by Lindsey Dilks, attorney for Randle Foran.                         .15

06/23/17    Review of James Farms JV’s responses to plaintiff’s requests for
            admission in Rice v. James.                                               1.00

06/23/17    Review of pleadings filed by Charles Coleman, attorney, re: notice of
            service of responses to requests for admission in Rice v. Hill Farms.      .10

06/23/17    Review of memo prepared by Hamilton Mitchell, re: earlier
            discussions about possible motion for summary judgment being filed
            in particular adversary proceeding. Conference with Hamilton
            Mitchell, attorney in pending adversary proceedings, re: consideration
            of whether to proceed forward with motion for summary judgment.            .75

06/23/17    Additional review of discovery received and preparation for
            Additional discovery. Also, drafting outline for settlement offer in
            specific adversary proceeding. Emailed defense counsel, re: extended
            offer.                                                                     .80

06/23/17    Review of motion for abstention and remand filed on behalf of Stanley
            Bartlett, Bartlett Farms, Foran Farms and Randle Foran in Turner
            Grain v. Gray. Also review and considered brief in support of motion.
                                                                                       .90

06/23/17    Reviewed Notice of Service Regarding Responses to Requests for
            Admission filed by Kimberly Tucker, (Rice v. Hill).                        .10

06/24/17    Review of letter and responses to trustee’s second requests for
            admission from Hill and Hill Farm Partnership in Rice v. Hill Farms.
                                                                                       .60

06/24/17    Review of email received from roger mcneil, attorney, re: receipt of
            proposed settlement offer, intent to discuss with client and respond in
            Rice v. Razorback.                                                         .15

06/26/17    Reviewed and calendared Notice that on June 23, 2017, Hill & Hill
            Farms Partnership, Jeff Hill, Tanya Hill and Billy Hill served
            responses to the second set of requests for admissions upon rice,
            trustee in Rice v. Hill Farms.                                             .10




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06/27/17    Additional review of motion to abstain and remand filed by Lindsey
            Dilks, attorney, in Gray v. Turner Grain. Drafted comments to staff
            attorney concerning response and proceeding forward in adversary
            proceeding.                                                                 .40

06/28/17    Review of letter received from Ralph Waddell, attorney, re: response
            to request from trustee to complete discovery and turnover requested
            records in Rice v. JJC Partners Farms. Request for further explanation
            for basis or justification for discovery. Also, review of earlier
            correspondence concerning discovery issues.                                 .40

06/28/17    Prepared and forwarded letter to William Waddell, attorney, re:
            response to request for further explanation for need to discover records
            and documents of defendants in Rice v. JJC Partners Farms.
            Forwarded letter to Waddell.                                               1.00

06/28/17    Reviewing and analyzing interrogatories and request for production of
            documents received from Roger McNeil, attorney and proposed
            responses prepared by staff attorney. Prepared outline of comments
            to draft response and objections to discovery to be discussed with staff
            attorney.                                                                  1.10

06/28/17    Review of amended responses for each defendant to requests for
            admission received from William Waddell, attorney, re: in Rice v. JJC
            Partners Farms.                                                            1.00

06/29/17    Conference with Hamilton Mitchell, attorney in pending adversary
            proceedings, re: proposed Response to motion for abstention and
            remand filed by Lindsey Dilks, attorney, re: in Turner Grain v. Gray,
            two separate motion and distinction in interest of parties. Also, review
            of revised Trustee’s Response to motion for abstention and remand.
                                                                                        .50

06/29/17    Review and analysis of responses to plaintiffs’ second set of
            interrogatories and responses to first set of requests for admission
            received from defendant in Rice v. Razorback.                              1.00

06/30/17    Review of letter and documents received from Doug Noble, attorney,
            re: clarification of earlier position in regards to affirmative defenses
            asserted, extension of settlement offer in Rice v. Galloway, Rice v.
            Gregory and Rice v. Watson.                                                 .75

06/30/17    Conference with Hamilton Mitchell, attorney in pending adversary
            proceedings, re: settlement offer extended, discussion of defendant’s
            assertion of affirmative defenses and likelihood of success, possibly
            extending counteroffer.                                                     .25

06/30/17    Telephone conference with Kim Tucker, attorney, re: scheduling time
            to discuss multiple pending cases.                                          .20




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07/03/17    Review of proposed order granting discovery in part and denying
            discovery in part in Rice v. Gavilon.                                        .60

07/03/17    Review of memo from staff attorney and review of cases cited in
            memo, re: issues affecting case.                                            1.00

07/03/17    Review of email received from William Waddell, attorney, re:
            possible protective order, still determining whether to produce
            discovery in lien of motion to compel discovery in Rice v. JJC
            Partners Farms.                                                              .25

07/03/17    Review and analysis of Bankruptcy Court order finding that
            defendant(s) are entitled to jury trial in Federal District Court in Rice
            v. Oxner.                                                                    .30

07/03/17    Review and analysis of Bankruptcy Court order finding that
            defendant(s) are entitled to jury trial in Federal District Court and
            calendared follow up of withdrawal in Rice v. Galloway, Rice v.
            Prislovsky, Rice v. Galloway and Rice v. Fowler.                             .25

07/03/17    Located protective order per request of defendant. Emailed William
            Waddell, attorney, re: response to request for propose draft of
            protective order or copy of protective order previously entered in some
            other adversary proceeding for purpose of consideration in Rice v. JJC
            Partners Farms.                                                              .30

07/03/17    Reviewed email received from Lance Miller, attorney, re: Order
            granting Motion to Stay Discovery in Part and Denying Motion in
            Part.                                                                        .30

07/05/17    Review of correspondence between attorneys for estate and response
            to correspondence concerning legal matters in Rice v. Gavilon.               .40

07/05/17    Review of correspondence between Hamilton Mitchell, attorney for
            estate and Grant Ballard, attorney, re: re: possible resolution of
            discovery issues in Rice v. Oxner.                                           .40

07/05/17    Review of email received from William Waddell, attorney, re:
            proposed protective order and request for Additional time to respond
            in Rice v. JJC Partners Farms.                                               50

07/06/17    Review of letter and responses to interrogatories and request for
            production of documents received from attorney for JJC Partners and
            Jimel Farms and attached exhibits in Rice v. JJC Partners Farms.            1.60

07/07/17    Review and calendared notice of hearing on separate motions for
            abstention and remand filed on behalf of multiple by Lindsey Dilks,
            attorney, re: Turner Grain v. Gray and responses filed by trustee.
            Matters set on 09/15/17 in Little Rock.                                      .10




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07/07/17    Conference with Hamilton Mitchell, attorney in pending adversary
            proceedings, re: proposed compromise settlement in one Rice v. Rice
            Marketing Services, settlement agreement v. motion to confirm
            proposed compromise settlement. Provided draft to present to counsel
            for defendant.                                                             .30

07/07/17    Review of letter and documents received from William Waddell,
            attorney, re: supplemental responses of JRC Partners to interrogatories
            and request for production of documents and documents in Rice v. JJC
            Partners Farms.                                                           1.00

07/07/17    Conference with Hamilton Mitchell, attorney in pending adversary
            proceedings, re: defendants’ intent to amend complaints in Rice v.
            Fogleman and Rice v. James, upcoming conferences with tucker and
            Coleman, defenses asserted by landlords in multiple adversary
            proceedings, terms of proposed compromise settlement in Rice v. Rice
            Marketing Services.                                                        .60

07/10/17    Reviewed email received from Doug Noble, attorney, re: possible
            extension of deadlines.                                                    .20

07/10/17    Conference with Hamilton Mitchell, attorney in pending adversary
            proceedings, re: settlement negotiations, assessment of likelihood of
            success on pending adversary proceeding and likely amount of
            judgement, if successful. Responding to pending settlement offers,
            developing possible counter. Also, review of proposed counter offer
            extended in Rice v. Galloway. Prepared first draft of counteroffer.        .90

07/13/17    Reviewed and calendared comments by United States Trustee on
            application for attorney fees filed on behalf of Kevin Keech, special
            counsel.                                                                   .10

07/13/17    Calendar court’s pre-trial order on Rice v. Hill Farms. Also,
            reviewed email received from Kendall Grooms concerning Rice v.
            K&K.                                                                       .30

07/13/17    Review of pleadings filed by Grant Ballard, attorney, re: motion to
            withdraw reference in bankruptcy court and proceed in Federal
            District Court in Rice v. Fowler, Rice v. Oxner, Rice v. Prislovsky
            and Rice v. Galloway.                                                      .30

07/13/17    Reviewed and calendared Notice of hearing on Motion to set aside
            judgment and response filed by Trustee. Rice v. Sauer).                    .10

07/14/17    Review of proposed order approving attorney fees and expenses to
            Kevin Keech, special counsel. Also, review earlier entered orders.
            Prepared proposed revised order approving fees and limiting payment
            on administrative claims.                                                 1.00




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07/14/17      Review of acknowledgment by Federal District Court of receipt of
              transmittal of reference in Rice v. Galloway, Rice v. Fowler, Rice v.
              Oxner and Rice v. Privlovsky. Cases assigned to Judge Marshall.               .25

07/14/17      Review of email received from Kendal Grooms,. attorney, re: reply to
              manner in which to resolve discovery dispute in state court matter and
              other legal matters.                                                          .40

07/14/17      Conference with Hamilton Mitchell, attorney in pending adversary
              proceedings, re: responding to settlement overtures from defendants
              in pending adversary proceedings, reviewing and commenting on
              proposed responses to settlement overtures.                                   .40

07/16/17      Review of correspondence between parties, re: revising scheduling
              order, possible mediation, possible pre-trial order in Rice v. Brown
              Farming.                                                                      .30

07/16/17      Review and analysis of memo prepared by staff attorney in regards to
              ongoing discussions with defense counsel in Rice v. Oxner, Rice v.
              Galloway, Rice v. Fowler, and Rice v. Privlovsky. Outline legal
              strategy in moving forward.                                                   .60

07/17/17      Prepared and forwarded email to Kevin Keech, attorney, re: proposed
              changes to Order approving fees and expenses.                                 .40


Total hours                                                                            1,090.45




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               ITEMIZATION OF LEGAL SERVICES PERFORMED
                       BY HAMILTON M. MITCHELL


05/04/16    Telephone conference with Brian Crisp, CPA, re: issues related to
            funds in estate and other matters.                                        .30

05/12/16    Telephone conference with Jessica Fiallos-Flores, Case Administrator
            for Bankruptcy Court, re: 341(a) Meeting.                                 .20

05/13/16    Telephone conference with Laura Westbrook, staff attorney to Judge
            Jones, re: hearings scheduled for May 31, 2016.                           .20

05/13/16    Meeting with Trustee, Richard Cox, Former Trustee, re: hearings set
            for May 31, 2016, and other matters related to bankruptcy proceeding;
            also, cursory review of file and Conferred with Randy Rice, attorney,
            in preparation for meeting.                                              3.00

05/13/16    Reviewed documents related to estate’s interest in party barge stored
            in Heber Springs; also, cursory review of files turned over by Richard
            Cox, former attorney for estate, and cursory review of pleadings set
            for hearing on May 31.                                                    .70

05/13/16    Telephone conference with Kendel Grooms, attorney, re: hearings set
            for May 31, 2016, and other matters related to bankruptcy proceeding.
                                                                                      .30

05/16/16    Review of emails exchanged between trustee and attorneys; also,
            Conferred with Randy Rice, attorney, re: pending legal matters.           .40

05/18/16    Telephone conference with Kendel Grooms, attorney, re: scheduling
            meeting to discuss matters set for hearing on May 31, 2016, and other
            matters related to bankruptcy proceeding and parallel state court
            litigation.                                                               .20

05/18/16    Telephone conference with Kerry Cone, UST, re: matters related to
            preparing Form 1 and other administrative issues.                         .30

05/18/16    Meeting with Randy Grice, Kate Davidson, and Scott Vaughn,
            attorneys for KBX Inc., re: upcoming hearings, background of case,
            and other matters related to bankruptcy proceeding and parallel
            litigation in state court.                                               1.70

05/18/16    Conferred with paralegal re: matters related to preference demand
            letters to various creditors/transferees.                                 .10

05/18/16    Conferred with Randy Rice, attorney, re: importing assets to Form 1,
            having Richard Cox, Former Trustee, wire funds to estate, and
            retaining auctioneer to sell boat, and other matters related to
            administration of estate.                                                 .30



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05/18/16    Cursory review of Complaint filed by Zero Grade, et al, against KBX,
            et al, in Lonoke County Circuit Court re: preparation for meeting with
            Kendel Grooms and Don Campbell, attorneys, re: hearings set for May
            31, 2016.                                                                 .50

05/19/16    Meeting with Randy Rice, attorney and Kendell Grooms and Don
            Campbell, attorneys for Lonoke Farmers, re: hearings set for May 31,
            parallel state court ligation, and other matters related to bankruptcy
            proceeding; also, conferred with trustee before and after meeting.       2.00

05/19/16    Conferred with Trustee and paralegal re: potential preference actions,
            ownership of unscheduled boat, and other matters related to estate;
            also, reviewed Motion/Order for Abandonment filed in case of
            debtor’s principal re: ownership of boat.                                1.00

05/24/16    Telephone conference with Kevin Keech, attorney, re: pending Motion
            to Distribute proceeds to secured creditor (Rabo Agrifinance) and
            other matters related to case.                                            .20

05/20/16    Conferred with paralegal re: draft of preference demand letter form
            and other matters related to estate.                                      .50

05/23/16    Conferred with Randy Rice, attorney, re: status of preference demand
            letters, meeting with special counsel, and other matters related to
            estate.                                                                   .30

05/23/16    Reviewed Motion and Order related to sale of unscheduled grain
            trailer; also, Conferred with Randy Rice, attorney, re: necessity of
            filing report of sale.                                                    .50

05/24/16    Reviewed current lien and title report re: 2003 Timpte trailer sold
            during tenure of Chapter 11; also, reviewed docket for monthly
            operating report(s) and Chapter 11 final report (None Filed).             .20

06/02/16    Telephone conference with Kevin Keech, attorney, re: matters related
            to backed up files of debtor and related entities; also, scheduling
            meeting to discuss pending matters in case.                               .20

06/02/16    Conferred with Randy Rice, attorney, re: possible avoidance actions
            and other matters related to estate.                                      .10

06/06/16    Review of email from Richard Cox, former attorney for estate, re:
            deadline to object to discharge of Dale Bartlett, former principal.       .10

06/07/16    Telephone conference with Brian Crisp, accountant, re: matters related
            to Rabo Agrifinance’s pending Motion for Distribution.                    .30

 06/07/16   Telephone conference with Tom Streetman, attorney, re: matters
            related to Rabo Agrifinance’s pending Motion for Distribution.            .20




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06/08/16    Telephone conference with Jim Smith, attorney, settlement
            negotiation, re: pending Motion to make Third Distribution on Rabo’s
            secured claim.                                                               .20

06/07/16    Conferred with Randy Rice, attorney, re: matters related to pending
            Motion to Make Third Distribution filed by James Smith, attorney, on
            behalf of Rabo Agrifinance; also, status of preference demand letters,
            Court ruling on matters heard on May 31, and other pending matters.
                                                                                         .80

06/07/16    Reviewed Proof of Claim filed by Rabo Agrifinance, First and Second
            Distribution Motion/Order, and pending Third Motion re: effort to
            determine remaining balance of claim; also, reviewed email and
            attached work papers on matter received from Brian Crisp, accountant.
                                                                                        1.00

06/09/16    Review of emails from James Smith, attorney, settlement negotiation,
            re: matters related to pending Third Motion to make distribution on
            Rabo’s claim.                                                                .30

06/13/16    Telephone conference with Jim Smith, attorney, settlement
            negotiations, re: Third Motion to Make Distribution on Rabo’s Claim.
                                                                                         .20


06/13/16    Cursory review of proposed Order provided by Jim Smith, attorney,
            re: Third Distribution on Rabo’s secured claim and conferred with
            trustee on matter; also, emails to/from Tom Streetman, attorney, re:
            possible settlement of claim.                                               1.00

06/15/16    Telephone conference with Brad Wooley, auctioneer, re: Motion to
            sell party barge by public sale.                                             .10

06/15/16    Prepared draft of Motion to sell party barge, free and clear of liens, by
            public sale.                                                                 .80

06/20/16    Telephone conference with Thomas Streetman, attorney, re: matters
            related to payment of Rabo’s claim.                                          .30

06/20/16    Reviewed and suggested revisions to proposed Order granting Motion
            to Authorize Third Distribution on Rabo’s Secured Claim.                     .30

06/21/16    Emails to/from Jim Smith, attorney, re: approval of Order granting
            Motion to Authorize Third Distribution to Rabo.                              .20

06/21/16    Prepared final drafts of Sale Motion and Notice re: party barge.             .30

06/27/16    Telephone conference with Brad Wooley, auctioneer, re: issues related
            to Motion to Sell party barge.                                               .30




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06/27/16    Emails to/from Jim Smith, attorney, re: payment to Rabo per Order;
            also, drafted letter and enclosed check for pick up by Williams and
            Anderson.                                                                   .30

06/28/16    Telephone conference with Don Harris re: matters related to potential
            sale of party barge located at Gregg Orr Marine.                            .40

07/01/16    Telephone conference with Brad Wooley, Auctioneer, re: issues
            related to pending Motion to Sell.                                          .20

07/05/16    Telephone conference with Don Harris re: matters related to potential
            sale of party barge located at Gregg Orr Marine.                            .20

07/05/16    Email to Don Harris re: matters related to potential sale of party barge
            located at Gregg Orr Marine.                                                .40

07/06/16    Telephone conference with and email to Monty Dyer, Gregg Orr
            Marine, re: matters related to sale of party barge.                         .30
07/07/16    Telephone conference with Doug Noble, attorney, settlement
            negotiations, re: matters related to preference demand letters
            concerning Galloway Farms and Ag Heritage.                                  .30

07/08/16    Telephone conference with Robert Sergio, attorney, settlement
            negotiations, re: explanation of documents produced by Calloway
            Planting in response to preference demand letter.                           .30

07/07/16    Conferred with paralegal re: preferential payments made by debtor to
            insiders within one year before petition date; also, reviewed and
            suggested revisions to form demand letter to insiders.                      .50

07/07/16    Reviewed letter and enclosures from Robert Serio, attorney, re:
            preference demand letter to Calloway Planting Company.                      .50

07/08/16    Emails to/from Greg Bevel, special counsel, and Tom Streetman,
            special counsel, re: matters related to potential cause of action against
            Ag Heritage.                                                                .40

07/08/16    Telephone conference with and email to Huey Smith, Gregg Orr
            Marine, re: disposition of party barge owned by boat.                       .60

07/11/16    Emails to/from Tom Streetman and Greg Bevel, special counsel, re:
            scheduling conference call to discuss issues related to potential
            avoidance action against Ag Heritage.                                       .20

07/12/16    Conference call with Greg Bevel and Tom Streetman, special counsel,
            re: matters related to potential avoidance action against Ag Heritage.
                                                                                        .80

07/15/16    Review of email from Tom Streetman, attorney, re: issues related to
            Gavalon.                                                                    .20



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07/18/16    Emails to/from Michelle Baker, attorney, re: authority for selling boat
            by private sale.                                                            .40

07/20/16    Revised draft of letter to Kevin Keech, attorney, re: matters related to
            creditors’ responses to preference demand letters; also, reviewed
            emails from Greg Bevel, attorney, re: matters related to review of
            debtor’s records concerning pre-petition transfers.                         .30

07/20/16    Telephone conference with Richard Cox, former attorney for estate,
            re: pending Motion to Sell Private Boat and administrative claim of
            Don Harris.                                                                 .20

07/21/16    Telephone conference with Richard Cox, former attorney for estate,
            re: pending Motion to Sell Private Boat and administrative claim of
            Don Harris.                                                                 .10

07/25/16    Telephone conference with Brooks Gill, attorney, settlement
            negotiations, re: preference demand letter Turner Commodities.              .30

07/25/16    Reviewed email and attached affidavit of Gerald Loyd received from
            Brooks Gill, attorney, settlement negotiations, re: preference demand
            letter Turner Commodities.                                                 1.40

08/08/16    Telephone conference with William Waddell, attorney, settlement
            negotiations, re: preference demand letters sent to JJC Partners, JRC
            Partners, Swamp Poodle Farms, and Jimel Farms.                              .30

08/08/16    Telephone conference with Brian Crisp, Lain Faulkner & Co., re:
            matters related to KBX, Gavilon, et al.                                     .30

08/08/16    Drafted bill of sale and letters to Matthew Sarver, buyer, and Don
            Harris, auctioneer, re: 2008 Party Barge sold by private sale.              .80

08/08/16    Reviewed file and Conferred with Randy Rice, attorney, re: responses
            by parties to preference demand letters.                                    .50

08/09/16    Reviewed letter and enclosures from Scott Hunter, attorney, settlement
            negotiations, re: response to preference demand letter sent to Cache
            River Valley Seed; also, conferred with trustee about strategy going
            forward with various preference actions.                                   1.00

08/10/16    Telephone conference with Kevin Keech, attorney, re: documents to
            support 90 day preferences and defenses raised by creditors.                .30

08/12/16    Emails to/from Kevin Keech, special counsel, re: scheduling time to
            meet and confer about pending legal matters; also, reviewed file and
            conferred with trustee in preparation for meeting.                         1.40

08/13/16    Met and conferred with Kevin Keech, special counsel, re: responsive
            letters and materials received from entities on 90 day preference list;



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            also, re: potential avoidance actions and other claims against outsiders
            and insiders/related entities.                                             4.00

08/15/16    Email to Kevin Keech, special counsel, re: turning over records for
            trustee’s file.                                                             .20

08/15/16    Reviewed claim form and attachments filed by debtor in bankruptcy
            case of Dale C. Bartlett; also, reviewed claims register and claims
            filed by farmers in same case.                                             1.00

08/15/16    Reviewed responsive documents, proofs of claims, and related
            materials re: analysis of payments and other transfers made to
            creditors within 90 days of petition date; also, Conferred with Randy
            Rice, attorney, re: matters.                                               2.80

08/16/16    Telephone conference with Brian Crisp, CPA, re: payments made to
            Southern Rice & Cotton within 90 days before petition date.                 .30

08/16/16    Telephone conference with Lyndsey Dilks, attorney, settlement
            negotiations, re: payments made to Southern Rice & Cotton LLC
            before petition date.                                                       .30

08/16/16    Reviewed proof of claim and supporting documentation filed by
            Southern Rice & Cotton LLC in bankruptcy case re: effort to assess
            basis for payments made by debtor to creditor within 90 days of
            petition date.                                                             2.50

08/18/16    Letter to Mike Cone, attorney, settlement negotiations, re: payments
            made to James Farm JV and Fogleman Farms within 90 days of
            bankruptcy filing.                                                          .50

08/18/16    Reviewed check register, bank statement, and related materials, and
            drafted letter to Velva Jean Storey, settlement negotiations, re:
            payment made by debtor within 90 days of bankruptcy filing.                1.00

08/19/16    Telephone conference with Seth Hyder, attorney, re: payments made
            to Southern Rice & Cotton LLC within 90 days of petition date.              .20

08/19/16    Telephone conference with Lisa Ballard, attorney, payments made to
            Southern Rice & Cotton LLC within 90 days of petition date.                 .20

08/19/16    Letter to Robert Serio, attorney, settlement negotiations, re: payments
            made to Calloway Planting Company within 90 days of bankruptcy
            filing.                                                                    1.00

08/19/16    Further review of documents related to Debtor’s dealings and
            transactions with Southern Rice & Cotton LLC.                               .70

08/22/16    Telephone conference with Lisa Ballard, attorney, re: payments made
            to Southern Rice & Cotton LLC within 90 days of petition date.              .20



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08/22/16    Email to Kevin Keech, special counsel, re: transactions between
            Debtor and Southern Rice & Cotton LLC.                                    .20

08/22/16    Reviewed letter from Harry Light, attorney, settlement negotiations,
            and related records re: payment made by debtor to Leslie T. Brown
            Farms within 90 days before petition date; also, Conferred with Randy
            Rice, attorney, re: matter.                                               . 70

08/23/16    Drafted letter to Harry Light, attorney, settlement negotiations, re:
            payment made by Debtor to Leslie T. Brown Farms within 90 days
            before petition date; also, Conferred with Randy Rice, attorney, re:
            matter.                                                                  1.00

08/23/16    Reviewed file re: responses by Kennedy Rice Dryers, Fogleman
            Farms, et al, to preference demand letters; also, reviewed proofs of
            claim filed by same creditors.                                           2.00

08/24/16    Telephone conference with Kevin Keech, attorney, re: potential
            avoidance actions against creditors and other pending matters.            .40

08/24/16    Telephone conference with and email to/from David Blair, attorney,
            settlement negotiations, re: payment made by debtor to Travis Mears
            Farms within 90 days of bankruptcy.                                       .80

08/24/16    Telephone conference with and email to/from Bryant Marshall,
            attorney, settlement negotiations, re: payment made by debtor to Delta
            Marketing within 90 days of bankruptcy.                                   .40

08/24/16    Reviewed letter from Steve Joiner, attorney, and related documents re:
            payment made by debtor to Kennedy Rice Dryers within 90 days of
            bankruptcy; also, drafted reply letter.                                  1.00

08/24/16    Reviewed letter from Grant Ballard, attorney, settlement negotiations,
            re: payment made to Prislovsky Brothers within 90 days of
            bankruptcy.                                                               .50

08/25/16    Drafted email to Lisa Ballard, attorney, re: Southern Rice & Cotton
            LLC.                                                                      .30

08/25/16    Drafted subpoena to Southern Rice & Cotton LLC re: payments made
            within 90 days before bankruptcy.                                         .80

08/25/16    Reviewed contents of hard drive produced by Kevin Keech, special
            counsel, re: settlement sheets, grain tickets, emails, and other files
            backed up from debtor’s servers.                                         2.00

08/26/16    Email to Kevin Keech, special counsel, re: issues related to payments
            made by Debtor to Minturn within 90 days before petition date.            .30




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08/26/16    Completed review of contents of hard drive produced by Kevin Keech,
            special counsel, re: settlement sheets, grain tickets, emails, and other
            files backed up from debtor’s servers.                                      2.50

08/26/16    Reviewed letter and enclosures from David Blair, attorney, re:
            documents related to transactions between Debtor and Travis Mears
            Farms.                                                                      1.00

08/29/16    Letter to Robert Serio, attorney, settlement negotiations, re: payment
            made by Debtor to Benton Farming.                                            .70

08/29/16    Reviewed email from David Blair, attorney, re: documents produced
            by Travis Mears Farms.                                                       .10

08/31/16    Telephone conference with Don Campbell, attorney, settlement
            negotiations, re: preferential payment made by Debtor to K&K Farms.
                                                                                         .30

08/31/16    Telephone conference with Ralph Waddell, attorney, settlement
            negotiations, re: claims against Minturn Grain.                              .30

08/30/16    Letter to Steve Joiner, attorney, settlement negotiations, re: preference
            claim against Kennedy Rice Dryers.                                          1.00

08/30/16    Prepared rough draft of Complaint against Southern Rice & Cotton
            LLC.                                                                        3.00

08/30/16    Reviewed file re: effort to determine status of pending preference
            demand letters.                                                              .50

09/01/16    Telephone conference with Jim Smith, attorney, re: balance of secured
            claim owed to Rabo and pending matters in case.                              .30

09/02/16    Reviewed letter and enclosures from William Bridgforth, attorney,
            settlement negotiations, re: defenses to preference claim against
            Walter Shepherd Farms; also, drafted and forwarded reply letter.            1.50

09/02/16    Telephone conference with and email to Lyndsey Lorence, attorney,
            re: preference letter previously sent to Credit Commodity Corporation.
                                                                                         .30

09/02/16    Email to/from Kevin Keech, special counsel, re: matters related to
            potential causes of action against Southern Rice & Cotton LLC and
            Minturn Grain.                                                               .30

09/02/16    Reviewed email and attachments from David Blair, attorney, re:
            documents related to preference claim against 384 Farms.                     .50

09/02/16    Reviewed letters from David Cone, attorney, settlement negotiations,
            re: defenses to preference claim against Fogleman Farms; also, drafted
            and forwarded reply letter.                                                 1.50


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09/04/16    Reviewed letter and enclosures from Mike Cone, attorney, settlement
            negotiations, re: James Farms Joint Ventures defenses to preference
            claim; also, drafted reply letter.                                         1.50

09/04/16    Email to Charlie Coleman and Kim Tucker, attorneys, settlement
            negotiations, re: request for production of source documents to support
            defenses of Hill & Hill Farms, Big Creek Rice, et al, to preference
            claims.                                                                     .50

09/04/16    Completed review of documents produced by David Blair, attorney,
            re: preference defenses of Mears Farms and 384 Farms; also, drafted
            and sent response letter.                                                  2.50

09/04/16    Reviewed file re: status of preference actions; also, Conferred with
            Randy Rice, attorney, re: matter.                                           .50

09/06/16    Reviewed email from Bill Bridgforth, attorney, settlement
            negotiations, re: preference claim against Walter Shepherd Farms.           .30

09/06/16    Email to/from Greg Bevel and Kevin Keech, attorney, re: matters
            related to preference actions against various creditors.                    .50

09/06/16    Email to Bruce Tidwell, attorneys, re: status of providing documents
            to support defense to preference claim against Optimum Ag.                  .20

09/06/16    Email to Kendel Grooms, attorney, re: preference claim against K&K
            Farms.                                                                      .30

09/06/16    Drafted Complaint against Minturn Grain; also, reviewed proofs of
            claims, settlement sheets, and other materials in connection with
            drafting Complaint.                                                        3.70

09/07/16    Email to/from Lisa Ballard, attorney, re: rescheduling meeting with
            client to discuss issues related to potential causes of action.             .30

09/07/16    Telephone conference with and email to Bill Bridgforth, attorney,
            settlement negotiations, re: defenses to preference action against
            Walter Shepherd Farms.                                                      .50

09/07/16    Email to/from Greg Bevel and Kevin Keech, special counsel, re:
            documents related to potential avoidance action.                            .20

09/07/16    Prepared rough draft of Form Complaint re: anticipation of filing
            multiple actions to avoid preferential transfers; also, reviewed proofs
            of claims and related materials in file re: actions against K & K Farms,
            LTD Farms, et al.                                                          2.00

09/08/16    Legal research and additional review of documents produced by
            Kennedy Rice Dryers re: analysis of subsequent new value defense;
            also, emailed Kevin Keech, special counsel, for input on related legal
            issue.                                                                     1.00


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09/08/16    Reviewed email from Bryant Marshall, attorney, settlement
            negotiations, re: documents to support defenses to preference claim
            against Delta Grain Marketing LLC; also, drafted and mailed reply
            letter.                                                                  1.00

09/08/16    Met and conferred with Kevin Keech, attorney, re: matters related to
            preference claims, interpleader (Oakley Grain), pending Complaint
            against KBX , and other legal issues concerning estate.                   .80

09/08/16    Letter to/from Linda Newkirk, USDA-FSA, re: defenses to preference
            claim against Commodity Credit Corporation.                               .50

09/08/16    Revised draft of tolling agreement with Kennedy Rice Dryers; also,
            drafted email to Steve Joiner, attorney, re: additional documents
            related to defenses against preference claim.                             .50


09/09/16    Telephone conference with Kendel Grooms, attorney, re: preference
            claim against K & K Farm Services, Inc.                                   .30

09/09/16    Email to/from Greg Bevel, attorney, re: turning over documents
            related to preference actions.                                            .20

09/09/16    Email to Kendel Grooms, attorney, re: preference claim against K &
            K Farm Services, Inc.                                                     .30

09/09/16    Reviewed pleadings filed in Oakley Grain v. Debtor, et al,
            2:15-ap-01009; also, Conferred with Randy Rice, attorney, re: issues
            related to balance of interpleader funds.                                1.00

09/10/16    Reviewed work file of Kevin Keech, special counsel, re: issues related
            to preference claims against creditors who received payments within
            90 days of petition date.                                                2.50

09/12/16    Cursory review of documents turned over by Greg Bevel, special
            counsel, re: debtor’s records on preferential payments made within 90
            days before petition date.                                               1.00

09/12/16    Reviewed email from Steve Joiner, attorney, re: status of signing
            tolling agreement with KRD.                                               .20

09/12/16    Reviewed email from Bryant Marshall, attorney, settlement
            negotiations, re: settlement offer concerning preference claim against
            Delta Grain Marketing.                                                    .20

09/13/16    Reviewed documents in debtor’s files re: preparation for meeting with
            special counsel, et al, concerning preference claims against Southern
            Rice & Cotton LLC and Minturn Grain.                                     2.00




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09/13/16    Reviewed documents in debtor’s files re: effort to asserts affirmative
            defenses to preference claims raised by Calloway Planting Company,
            Kennedy Rice Dryers, et al.                                              2.00

09/15/16    Legal research re: issues related to preference claim defense; also,
            email to/from special counsel re: matter.                                2.70

09/15/16    Email to/from Steve Joiner, attorney, re: signed tolling agreement
            between trustee and Kennedy Rice Dryers.                                  .30

09/15/16    Conferred with Randy Rice, attorney, re: settlement offer received on
            one of the aps.                                                           .30

09/16/16    Telephone conference with and email to Kim Tucker, attorney, re:
            preference claim against N&D Farms.                                       .20

09/16/16    Review of email from Bryant Marshall, attorney, re: preference claim
            against Delta Grain Marketing LLC.                                        .40

09/16/16    Conferred with Randy Rice, attorney, re: legal issues concerning avoid
            ability of preference payments.                                          1.60

09/16/16    Completed legal research re: issues concerning avoid ability of
            preference payments; also, summarized findings for trustee review.       2.40

09/16/16    Conference with trustee re: analysis of facts and legal issues to be
            addressed in upcoming preference litigation.                             1.70

09/18/16    Prepared revised draft of Complaint against Southern Rice & Cotton
            LLC.                                                                      .40

09/19/16    Reviewed letter and enclosures from Charlie Coleman, attorney,
            settlement negotiations, re: documents to support defenses to
            preference claims against Hill & Hill Partnership, Big Creek Rice
            Farms, and Medford.                                                      1.00

09/19/16    Conferred with Randy Rice, attorney, re: issues related to preference
            claims against Hill & Hill Partnership, Big Creek Rice Farms, and
            Medford.                                                                  .50

09/19/16    Drafted email to Kendel Grooms, attorney, re: response to counter
            offer to settle claim against K & K Farm Services, Inc.                   .20

09/20/16    Telephone conference with Stephanie Mazzanti, Assistant US
            Attorney, re: legal status of bankruptcy case.                            .20

09/20/16    Completed review of back-up documentation re: defenses to
            preference claims against Hill & Hill, Big Creek Rice, and Medford;
            also, drafted reply letter to Charlie Coleman and Kim Tucker,
            attorneys, re: preference claims.                                        2.00



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09/20/16    Telephone conference with Stephanie Mazzanti, Assistant US
            Attorney, re: legal status of bankruptcy case.                              .20

09/20/16    Reviewed letter and enclosures from Linda Newkirk, USDA-FSA, re:
            defenses to preference claim against Commodity Credit Corporation.
                                                                                       1.00

09/21/16    Telephone conference with Mike Dabney, attorney, settlement
            negotiations, re: potential claim against Crystal Ainsworth.                .30

09/21/16    Email to Mike Dabney, attorney, settlement negotiations, re: potential
            claim against Crystal Ainsworth.                                            .30

09/21/16    Conferred with Randy Rice, attorney, re: matters related to pursuing
            potential avoidance actions against various entities.                       .20

09/21/16    Email to Brian Crisp, CPA, re: entities who received payments within
            preference period after receiving dishonored check from debtor.             .10

09/22/16    Prepared revised draft of Complaint against SRC LLC; also, prepared
            revised draft of form Complaint against various entities.                  1.00

09/23/16    Reviewed letter from Kim Tucker, attorney, re: defenses to preference
            claim against N&D Farms; also, sent reply email.                            .50

09/23/16    Email to/from Harry Light, attorney, settlement negotiations, re:
            Leslie T Brown Farms.                                                       .30

09/23/16    Email to/from Bill Bridgforth, attorney, settlement negotiations, re:
            Walter Shepherd Farms.                                                      .30

09/23/16    Prepared rough draft of Complaint against insiders and related entities.
                                                                                        .30

09/26/16    Drafted Complaint against Minturn Grain; also, reviewed proofs of
            claim filed by Minturn Grain and related materials in debtor’s file
            concerning subject transfer.                                               2.00

09/26/16    Reviewed email from Charlie Coleman, attorney, settlement
            negotiations, re: defenses to preference claims against Hill & Hill, Big
            Creek, Medford, and N&D Farms.                                              .20

09/26/16    Reviewed letter from Mike Dabney, attorney, settlement negotiations,
            re: defenses to preference claim against Crystal Ainsworth.                 .30

09/26/16    Email to/from Rachel Hampton, special counsel, re: scheduling time
            to confer about issues related to preference claims against various
            entities.                                                                   .20

09/27/16    Telephone conference with Rachel Hampton, special counsel, re:
            issues related to preference claims against various creditors.              .50


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09/27/16    Email to Mike Dabney, attorney, settlement negotiations, re: defenses
            to preference claim against Crystal Ainsworth.                             .30

09/27/16    Conferred with Randy Rice, attorney, re: litigation strategy with
            respect to avoidance actions against various entities.                     .20

09/27/16    Drafted Complaint against Velva Jean Storey.                              2.00

09/27/16    Email to Charlie Coleman, attorney, settlement negotiations, re:
            defenses to avoidance actions against Hill & Hill, Big Creek Rice,
            N&D Farms, and Medford; also, further review of supporting
            documentation.                                                             .70

09/27/16    Further review of files on Debtor’s server and accounts payable files
            re: anticipation of filing avoidance actions against various creditors;
            also, reviewed transcript from Rule 2004 Examination of Chris Taylor,
            former employee of Debtor.                                                1.50

09/28/16    Telephone conference with attorneys for several creditors re: possible
            causes of action.                                                          .70

09/28/16    Emails to/from Charles Coleman, attorney, settlement negotiations, re:
            possible causes of action against Hill & Hill Farms, Big Creek Rice,
            N&D Farms, and Medford.                                                    .50

09/28/16    Letter to Kevin Keech and Greg Bevel, special counsel, re: matters
            related to litigation strategy concerning Chapter 5 causes of action
            against various creditors and entities; also, conferred with trustee
            about matters.                                                            1.20

09/28/16    Reviewed documents in file regarding possible cause of action against
            Travis Mears Farms, Inc., and 384 Farms, Inc., in anticipation of
            drafting Complaint.                                                       1.00

09/28/16    Completed review of transcript from Rule 2004 Examination of
            Christopher Taylor, former employee of the Debtor.                        1.00

09/29/16    Conferred with trustee re: preference actions and related matters.         .30

09/29/16    Telephone conference with Greg Bevel, special counsel, re: litigation
            strategy against various creditors.                                        .30

09/30/16    Telephone conference with Mike Dabney, attorney, re: matters related
            to payments made to Angie James and CA before petition date.               .20

09/30/16    Telephone conference with and emails to/from Kendel Grooms,
            attorney, settlement negotiations, re: claim against creditor; also,
            conferred with trustee about matter.                                       .60




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09/30/16    Completed review and analysis of back-up documentation in debtor’s
            files regarding transactions with Jimel Farms, JJC/JRC Partners, and
            Swamp Poodle Farms before and during preference period.                   1.60

09/30/16    Email to/from Charlie Coleman, attorney, settlement negotiations, re:
            possible avoidance actions against Hill & Hill, N & D Farms, Big
            Creek Rice, and Jennifer and Sam Medford; also, further review of
            back-up documentation regarding transactions between Debtor and
            Hill & Hill Farms and drafted analysis of transactions.                   2.80

10/01/16    Conferred with Kevin Keech, special counsel, re: matters related to
            preference claims against various entities.                                .50

10/02/16    Email to/from Kevin Keech, special counsel, re: matters related to
            preference claims against various entities.                                .20

10/02/16    Drafted Complaints against James Farms JV, Rice Market Services,
            et al; also, reviewed and analyzed back-up data/documentation in
            connection with preparing pleadings.                                      5.50

10/03/16    Drafted Complaints against Hill & Hill, Red River Farms, Dial Creek,
            et al; also, reviewed and analyzed back-up data/documentation in
            connection with preparing pleadings.                                      4.00

10/03/16    Telephone conference with and email to/from Kevin Keech, special
            counsel, re: matters related to preference claims against various
            entities.                                                                  .70

10/03/16    Reviewed email from Charlie Coleman, attorney, settlement
            negotiations, re: offer to settle claim against creditor.                  .30

10/03/16    Reviewed emails from Harry Light, attorney, and Bill Bridgforth,
            attorney, settlement negotiations, re: claims against creditors.           .30

10/04/16    Prepared revised drafts of preference complaints against numerous
            creditors, assembled exhibits, and prepared cover sheets; also, further
            review and analysis of back-up documentation on transactional
            histories with creditors.                                                 5.00

10/04/16    Reviewed emails from Charlie Coleman, attorney, settlement
            negotiations, re: offers to settle preference claims against creditors;
            also, conferred with trustee about matters.                                .50

10/04/16    Emails to/from Kendel Grooms, attorney, settlement negotiations, re:
            preference claim against creditor; also, conferred with trustee about
            matter.                                                                    .50

10/04/16    Telephone conference with and emails to/from Kevin Keech, special
            counsel, and Greg Bevel, special counsel, re: matters related to
            upcoming avoidance litigation against various creditors.                  1.00



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10/05/16    Prepared revised drafts of preference complaints against numerous
            creditors, assembled exhibits, and prepared cover sheets; also, final
            review and analysis of back-up documentation on transactional
            histories with creditors.                                                 5.00

10/05/16    Emails to/from Kendel Grooms, attorney, settlement negotiations, re:
            preference claim against creditor; also, conferred with trustee about
            matter.                                                                   1.10

10/05/16    Telephone conference with and emails to/from Kevin Keech, special
            counsel, and Greg Bevel, special counsel, re: matters related to
            upcoming avoidance litigation against various creditors.                  1.00

10/05/16    Reviewed email from Roger McNeil, attorney, settlement
            negotiations, re: preference claim against creditor; also, reviewed
            attached back-up documentation regarding history of creditor’s
            transactions with debtor.                                                 1.00

10/05/16    Conferred with Randy Rice, attorney, re: matters related to upcoming
            avoidance litigation against various creditors.                            .80

10/06/16    Prepared final draft (incl. exhibits and cover sheets) of and filed
            Complaint, Rice v. Southern Rice & Cotton LLC, 16-ap-1095.                 .50

10/06/16    Prepared final draft (incl. exhibits and cover sheets) of and filed
            Complaint, Rice v. Agri Marketing Inc. dba Minturn Grain, 16-ap-
            1097.                                                                      .50

10/06/16    Prepared revised drafts of preference Complaints against various
            creditors; also, reviewed and analyzed back-up documentation and
            related materials in connection with drafting Complaints                  5.00

10/06/16    Further review and analysis of back-up documentation re: prior
            transactions between debtor and Hill & Hill concerning possible
            additional cause of action.                                               1.00

10/07/16    Prepared final draft (incl. exhibits and cover sheets) of and filed
            Complaint, Rice v. Razorback Rice & Seed Co., Inc., dba Rice Market
            Services, 16-ap-1099.                                                      .50

10/07/16    Prepared final draft (incl. exhibits and cover sheets) of and filed
            Complaint, Rice v. Hill & Hill Farms, et al, 16-ap-1101; also, prepared
            and filed Amended Complaint to add Defendant.                             1.00

10/07/16    Prepared final draft (incl. exhibits and cover sheets) of and filed
            Complaint, Rice v. Leslie T. Brown Farms, et al, 16-ap-1104; also,
            prepared and filed Amended Complaint to add Defendant.                    1.00

10/07/16    Prepared final draft (incl. exhibits and cover sheets) of and filed
            Complaint, Rice v. K & K Farm Services, Inc., 16-ap-1102.                  .50



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10/07/16    Prepared final draft (incl. exhibits and cover sheets) of and filed
            Complaint, Rice v. James Farms JV, et al, 16-ap-1103.                     .50

10/07/16    Prepared revised/final drafts (incl. exhibits and cover sheet) of and
            filed Complaint, Rice v. Fogleman Farms, et al, 16-ap-1109.              1.00

10/07/16    Prepared final draft (incl. exhibits and cover sheets) of and filed
            Complaint, Rice v. Ainsworth, 16-ap-1105.                                 .25

10/07/16    Prepared final draft (incl. exhibits and cover sheets) of and filed
            Complaint, Rice v. 384 Farms Inc., 16-ap-1111.                            .25

10/07/16    Prepared final draft (incl. exhibits and cover sheets) of and filed
            Complaint, Rice v. Walter Shepherd Farms, et al, 16-ap-1110.              .25

10/07/16    Prepared final draft (incl. exhibits and cover sheets) of and filed
            Complaint, Rice v. Storey, 16-ap-1112.                                    .25

10/07/16    Reviewed and analyzed back-up documentation and prepared revised
            drafts of Complaint against Travis Mears Farms, Inc., et al; also
            conferred with trustee about matters.                                    2.00

10/07/16    Emails to/from Mike Cone, attorney, re: matters related to Complaints
            filed against James Farms JV and Fogleman Farms II; also, conferred
            with Trustee about matters.                                               .50

10/07/16    Email to/from Kendel Grooms, attorney, re: matters related to
            Complaint filed against K & K Farm Services, Inc.                         .20

10/07/16    Office meeting with Trustee, Donna Poullos and Brandi Evans,
            paralegals re: determination of how to proceed forth with Adversary
            Proceedings and other case related matters.                              1.00

 10/08/16   Prepared revised drafts of Complaints against Travis Mears Farms; N
            & D Farms; Jennifer and Samuel Medford; and J & B Farms.                 2.00

10/08/16    Prepared and filed Certificate of Service, Rice v. Razorback Rice &
            Seed Co., Inc., dba Rice Market Services, 16-ap-1099; also, mailed
            Complaint and Summons to Defendant and attorney of record.                .30

10/08/16    Prepared and filed Certificate of Service, Rice v. Rice v. Southern
            Rice & Cotton LLC, 16-ap-1095; also, mailed Complaint and
            Summons to Defendant and attorney of record.                              .30

10/08/16    Prepared and filed Certificate of Service, Rice v. Agri Marketing Inc.
            dba Minturn Grain, 16-ap-1097; also, mailed Complaint and Summons
            to Defendant and attorney of record.                                      .30

10/08/16    Prepared Certificate of Service, Rice v. Fogleman Farms, et al, 16-ap-
            1109.                                                                     .30



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10/08/16    Email to/from Charlie Coleman, attorney, re: Rice v. Hill & Hill
            Farms, et al, 16-ap-1101, and Rice v. Big Creek Rice Farms, 16-ap-
            1118; also, intent to file suit against Medford, N & D Farms.               .30

10/08/16    Conferred with Kevin Keech, special counsel, re: matters related to
            filing 90 day preference complaints.                                        .30

10/09/16    Reviewed Secretary of State and other public records re: effort to
            serve Complaints and Summons.                                              2.00

10/10/16    Prepared final draft (incl. exhibits and cover sheets) of and filed
            Complaint, Rice v. J & B Farms, 16-ap-1122.                                 .25

10/10/16    Prepared final draft (incl. exhibits and cover sheets) of and filed
            Complaint, Rice v. Travis Mears Farms, Inc., et al, 16-ap-1123.             .25

10/10/16    Prepared final draft (incl. exhibits and cover sheets) of and filed
            Complaint, Rice v. Medford, et al, 16-ap-1124.                              .25

10/10/16    Prepared final draft (incl. exhibits and cover sheets) of and filed
            Complaint, Rice v. N & D Farms, 16-ap-1125.                                 .25

10/10/16    Conferred with and instructed paralegals re: service of Summons and
            Complaints in multiple adversary proceedings.                               .50

10/10/16    Prepared and filed Certificate of Service re: Rice v. Hill & Hill Farms,
            et al, 16-ap-1101.                                                          .25

10/10/16    Prepared and filed Certificate of Service re: Rice v. K & K Farm
            Services, 16-ap-1102.                                                       .25

10/10/16    Prepared and filed Certificate of Service re: Rice v. James Farms, et
            al, 16-ap-1103.                                                             .25

10/10/16    Prepared and filed Certificate of Service re: Rice v. Leslie T Brown
            Farms, et al, 16-ap-1104. Prepared and filed Amended Complaint to
            add/change names of FCS Defendants; also, prepared and filed
            corrected certificate of service.                                           .40

10/10/16    Prepared and filed Certificate of Service re: Rice v. Ainsworth, 16-ap-
            1105.                                                                       .25

10/10/16    Prepared and filed Certificate of Service re: Rice v. Fogleman Farms,
            et al, 16-ap-1109.Prepared and filed Amended Complaint to
            add/change names of FCS Defendants; also, prepared and filed
            corrected certificate of service.                                           .40

10/10/16    Prepared and filed Certificate of Service re: Rice v. Walter Shepherd
            Farms, et al, 16-ap-1110.                                                   .25




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10/10/16    Prepared and filed Certificate of Service re: Rice v. 384 Farms, Inc.,
            et al, 16-ap-1111.                                                          .25

10/10/16    Prepared and filed Certificate of Service re: Rice v. Storey, 16-ap-
            1112.                                                                       .25

10/10/16    Prepared and filed Certificate of Service re: Rice v. M-Real Estate
            LLC, 16-ap-1113.                                                            .25

10/10/16    Prepared and filed Certificate of Service re: Rice v. JN Bickerstaff, 16-
            ap-1114.                                                                    .25

10/10/16    Prepared and filed Certificate of Service re: Rice v. Red River Farms
            LLC, 16-ap-1115.                                                            .25

10/10/16    Prepared and filed Certificate of Service re: Rice v. Mclain, 16-ap-
            1116.                                                                       .25

10/10/16    Prepared and filed Certificate of Service re: Rice v. James, 16-ap-
            1117.                                                                       .25

10/10/16    Prepared and filed Certificate of Service re: Rice v. Big Creek Rice
            Farms, Inc., 16-ap-1118.                                                    .25

10/10/16    Prepared and filed Certificate of Service re: Rice v. Sauer dba Dial
            Creek Farms, 16-ap-1119.                                                    .25

10/10/16    Prepared and filed Certificate of Service re: Rice v. JD McGregor
            Farms LLC, 16-ap-1120.                                                      .25

10/10/16    Prepared and filed Certificate of Service re: Rice v. J & B Farms, et al,
            16-ap-1122.                                                                 .25

10/10/16    Prepared and filed Certificate of Service re: Rice v. Travis Mears
            Farms, Inc., et al, 16-ap-1123.                                             .25

10/10/16    Prepared and filed Certificate of Service re: Rice v. Medford, et al, 16-
            ap-1124.                                                                    .25

10/10/16    Prepared and filed Certificate of Service re: Rice v. N & D Farms, et
            al, 16-ap-1125. Prepared and filed Amended Complaint to add/change
            names of FCS Defendants; also, prepared and filed corrected
            certificate of service.                                                     .40

10/11/16    Prepared and filed additional certificate of service re: Rice v. Brown
            Farms, et al, 16-ap-1104.                                                   .25

10/11/16    Prepared and file certificate of service re: Rice v. James, 16-ap-1117;
            also, researched public records to determine current address for
            service of Summons and Complaint.                                           .25



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10/11/16    Reviewed file re: efforts to confirm filing of all necessary complaints,
            certificates of service, and related papers.                               1.00

10/11/16    Reviewed Notice of Appearance filed by Charles Coleman and Kim
            Tucker, attorneys, on behalf of Defendant in Rice v. Big Creek Rice
            Farms, Inc., 16-ap-1118.                                                    .10

10/11/16    Conferred with Kevin Keech, special counsel, re: matters related to
            pending preference litigation.                                              .30

10/11/16    Drafted Complaint against Bradley Benton/Benton Farming; also,
            reviewed materials in Debtor’s file in connection with drafting
            Complaint.                                                                 1.50

10/11/16    Reviewed and analyzed materials related to payments made to Jimel
            Farms, et al, within 90 day preference period.                             1.00

10/12/16    Conferred with Kevin Keech, special counsel, re: preference litigation.
                                                                                        .30

10/12/16    Finalized and filed Complaint - Rice v. Benton, 16-ap-1136; also,
            prepared and filed Certificate of Service.                                  .50

10/12/16    Conferred with Randy Rice, attorney, re: matters related to Rice v.
            Hill & Hill, 16-ap-1104; Rice v. Big Creek, 16-ap-1118; Rice v.
            Medford, 16-ap-1124; and Rice v. N&D Farms, 16-ap-1125.                     .30

10/12/16    Telephone conference with and email to/from Kendel Grooms,
            attorney, re: Rice v. K & K Farm Service, Inc., 16-ap-1102; also,
            drafted and filed Amended Complaint.                                        .40

10/12/16    Drafted Settlement Agreement in one of the aps.                            1.50

10/12/16    Telephone conference with and email to/from Charlie Coleman,
            attorney, settlement negotiations, re: Rice v. Hill & Hill Farms, et al,
            16-ap-1101, Rice v. Big Creek Rice Farms, Inc., 16-ap-1118, Rice v.
            N & D Farms, et al, 16-ap-1125, and Rice v. Medford, et al, 16-ap-
            1124; also, drafted and proposed Agreed Orders extending time to
            answer and forwarded to Charlie Coleman, attorney, for review and
            approval.                                                                   .40

10/13/16    Email to/from Charlie Coleman, attorney, settlement negotiations, re:
            Rice v. Hill & Hill Farms, et al, 16-ap-1101, Rice v. Big Creek Rice
            Farms, Inc., 16-ap-1118, Rice v. N & D Farms, et al, 16-ap-1125, and
            Rice v. Medford, et al, 16-ap-1124; also, finalized and submitted
            proposed Agreed Orders extending time to answer.                            .40

10/13/16    Conferred with Randy Rice, attorney, re: matters related to pending
            preference litigation; also, disposition of other estate property.          .20




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10/13/16    Letter to Bill Waddell, attorney, re: matters related to 90 day payments
            to creditors.                                                               .50

10/13/16    Drafted and filed Amended Complaint re: Rice v. K & K Farm
            Service, Inc., 16-ap-1102; also, docketed request for re-issuance of
            summons and filed corrected certificate of service.                         .50

10/13/16    Prepared revised draft of Complaint against LTD Farms, et al; also,
            reviewed related materials in debtor’s file in connection with revising
            draft of Complaint.                                                         .40

10/13/16    Emails to/from William Waddell, attorney, re: matters related to
            possible cause of action against creditor and potential tolling
            agreement; also, reviewed and revised draft of Tolling Agreement.           .20

10/13/16    Telephone conference with William Waddell, attorney, settlement
            negotiations, re: possible cause of action against creditor.                .40

10/13/16    Telephone conference with Kevin Keech, attorney, re: matters related
            to pending preference litigation.                                           .20

10/13/16    Telephone conference with David Sims, attorney, re: matters related
            to payment to LTD Farms and Relyance Bank.                                  .20

10/18/16    Met and conferred with Kim Tucker and Charles Coleman, attorneys,
            re: Rice v. Hill & Hill, et al, 16-ap-1101; Rice v. Big Creek Rice, 16-
            ap-1118; Rice v. N & D Farms, et al, 16-ap-1125; and Rice v.
            Medford, et al, 16-ap-1124.                                                1.50

10/18/16    Reviewed notes from paralegals Telephone conference with parties
            named in Rice v. J & B Farms, et al, and Rice v. Red River Farms.           .30

10/18/16    Prepared and filed Amended Complaints in Rice v. Red River Farms
            and Rice v. J & B Farms, et al; also, docketed request for reissuance
            of summons and prepared and filed Certificates of Service.                 1.00

10/18/16    Telephone conference with and emails to/from David Sims, attorney,
            and Bill Waddell, attorney, settlement negotiations, re: cause of action
            against LTD Farms and Relyance Bank NA.                                    1.00

10/18/16    Prepared final draft of Complaint against LTD Farms and Relyance
            Bank NA; also, forwarded to Kevin Keech, special counsel, with
            directions to file.                                                        1.00

10/21/16    Reviewed draft of Complaint against Gavilon Grain LLC drafted by
            special counsel; also, Telephone conference with Trustee and emails
            to/from special counsel re: matter.                                        1.00

10/21/16    Email to/from paralegals re: preparing and filing certificate of service
            re: Rice v. LTD Farms, et al, 16-ap-1140.                                   .30



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10/21/16    Drafted letters to misnamed defendants in Rice v. Red River Farms,
            16-ap-1115, and Rice v. J & B Farms, et al, 16-ap-1122.                     .80

10/21/16    Email to/from Harry Light, attorney, settlement negotiations, re:
            matters related to Rice v. Leslie T. Brown Farms, et al, 16-ap-1104.        .40

10/21/16    Legal research re: issues related to release of security interest as new
            value in connection with pending preference litigation; also, cursory
            research re: UCC filings. (Rice v. 384 Farms Inc., et al, 16-ap-1111;
            Rice v. Hill & Hill Farms, et al, 16-ap-1101, Rice v. Fogleman Farms,
            et al, 16-ap-1109; Rice v. Leslie T. Brown Farms, et al, 16-ap-1104;
            Rice v. N & D Farms, et al, 16-ap-1125)                                    1.00

10/23/16    Drafted email to Joe Stroud, attorney, settlement negotiations, re:
            matters related to Rice v. N & D Farms, 16-ap-1125; also, re: matters
            related to Rice v. Leslie T Brown Farms, et al, 16-ap-1104.                 .80

10/23/16    Conferred with Randy Rice, attorney, re: matters related to pending
            litigation in bankruptcy case; also, updated trustee on related matters.
                                                                                        .50

10/23/16    Conference with managing attorney, re: report on meetings with
            attorneys ford creditor defendants, upcoming discovery, upcoming
            motions.                                                                   1.10

10/24/16    Telephone conference with Phil Hickey, attorney, re: matters related
            to Rice v. J & B Farms, et al, 16-ap-1122.                                  .20

10/24/16    Telephone conference with and email to Brooks Gill, attorney, re:
            matters related to Rice v. Hill & Hill Farms, et al, 16-ap-1104.            .30

10/24/16    Email to/from David Vandergriff, attorney, requesting copy of check
            at issue in Rice v. J & B Farms, et al, 16-ap-1122; also, reviewed front
            and back of check produced by Helena National Bank.                         .30

10/24/16    Conferred with Randy Rice, attorney, re: matters related to preference
            litigation.                                                                 .40

10/25/16    Email to/from Lyndsey Dilks, attorney, settlement negotiations, re:
            request for extension of time to answer Complaint in Rice v. Southern
            Rice & Cotton LLC, 16-ap-1097.                                              .30

10/25/16    Drafted Motion to Dismiss Party re: Rice v. Red River Farms LLC,
            16-ap-1115.                                                                 .50

10/25/16    Drafted Motion to Dismiss Party re: Rice v. J & B Farms, et al, 16-ap-
            1122.                                                                       .50

10/25/16    Email to/from David Blair, attorney, settlement negotiations, re: Rice
            v. 384 Farms, Inc., et al, 16-ap-1111, and Rice v. Travis Mears Farms,
            Inc., et al, 16-ap-1123.                                                    .30


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10/25/16    Reviewed Notice of Appearance filed by Joseph Strode, attorney, on
            behalf of Ag Heritage FCS PCA, et al, in Rice v. Leslie T Brown
            Farms, et al, 16-ap-1104.                                                    .20

10/25/16    Email to Kendel Grooms, attorney, re: Rice v. K & K Farm Service,
            Inc., 16-ap-1102.                                                            .20

10/25/16    Email to/from Greg Bevel, special counsel, re: matters related to Rice
            v. Gavilon Grain LLC, 16-ap-1149.                                            .30

10/26/16    Telephone conference with Kendel Grooms, attorney, re: matters
            related to bankruptcy case and related litigation pending in state court.
                                                                                         .30

10/26/16    Email to/from Jack Talbot, attorney, re: matters related to Rice v.
            Leslie T Brown Farms, et al, 16-ap-1104.                                     .50

10/26/16    Email to/from Harry Hurst, attorney, re: matters related to Rice v.
            Medford, et al, 16-ap-1124.                                                  .30

10/26/16    Emails to/from Phil Hicky, attorney, settlement negotiations, re:
            matters related to Rice v. J&B Farms, et al, 16-ap-1122.                     .50

10/26/16    Reviewed emails and attachments from Mike Cone, attorney, re:
            matters related to Rice v. James Farms JV, et al, 16-ap-1103, and Rice
            v. Fogleman Farms, et al, 16-ap-1109.                                       1.00

10/26/16    Conferred with Randy Rice, attorney, re: matters related to pending
            preference litigation; also, drafted form set of discovery requests.        1.20

10/26/16    Email to/from Greg Bevel, special counsel, re: matters related to
            pending litigation in bankruptcy case.                                       .40

10/26/16    Email to/from Kevin Keech, attorney, re: matters related to pending
            litigation in bankruptcy case and disposition of estate assets.              .40

10/27/16    Telephone conference with Bill Lewellen, attorney, settlement
            negotiations, re: Rice v. Bickerstaff, et al, 16-ap-1114.                    .30


10/27/16    Reviewed bankruptcy schedules and other information re: updating
            Form 1 for interim report; also, Conferred with Randy Rice, attorney,
            re: actions to take concerning certain unadministered property of
            estate. Time (0.80) split evenly between legal and non-legal.                .40

10/27/16    Drafted and forwarded letters to Busch Agricultural Resources LLC,
            Windmill Rice Co. LLC, and Carlson Mills, Inc., re: disposition of
            grain receivables listed in debtor’s schedules.                              .80

10/27/16    Reviewed draft of subpoena issued by Kendel Grooms, attorney, on
            Trustee in connection with Zero Grade Farms, et al, vs. Agri-


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            petroleum Sales, et al, 43CV-14-410; also, conferred with Trustee and
            Special Counsel about matter.                                             1.20

10/27/16    Email to/from Lyndsey Dilks, attorney, re: matters related to Rice v.
            Southern Rice & Cotton LLC, 16-ap-1095.                                    .20

10/27/16    Emails to/from Joseph Strode and Jack Talbot, attorneys, re: matters
            related to Rice v. Fogleman Farms, et al, 16-ap-1109; also, reviewed
            Entries of Appearances filed in proceeding by attorneys on behalf of
            Ag Heritage Defendants.                                                    .50

10/27/16    Conferred with Randy Rice, attorney, re: matters related to Rice v.
            Bickerstaff, et al, 16-ap-1114, and other pending litigation associated
            with bankruptcy case.                                                      .40

10/28/16    Telephone conference with Kendel Grooms, attorney, re: matters
            related to subpoena issued on trustee in connection with state court
            litigation.                                                                .50

10/28/16    Telephone conference with Lyndsey Dilks, attorney, re: matters
            related to Rice v. Southern Rice & Cotton LLC, 16-ap-1095; also,
            Rice v. Wilkison, et al, 16-ap-1129.                                       .30

10/28/16    Telephone conference with and email to/from Phil Hicky, attorney,
            settlement negotiations, re: matters related to Rice v. J & B Farms, et
            al, 16-ap-1122; also, approved proposed Agreed Order extending time
            for First National Bank of Eastern Arkansas to answer Complaint.           .40

10/28/16    Emails to/from Joe Strode, attorney, re: matters related to Rice v.
            Fogleman Farms, et al, 16-ap-1109; also, reviewed attachments to
            email concerning Ag Heritage Defendants.                                   .80

10/28/16    Further review of proposed changes to settlement agreement
            concerning pending adversary proceeding; also, outlined proposed
            changes for Trustee’s review and conferred with Trustee about
            matters.                                                                   .80

10/28/16    Reviewed final version of subpoena issued by Kendel Grooms,
            attorney, on Trustee in connection with Zero Grade Farms, et al, vs.
            Agri-petroleum Sales, et al, 43CV-14-410; also, conferred with
            Trustee about matter.                                                      .60

10/28/16    Telephone conference with Kendel Grooms, attorney, re: matters
            related to subpoena issued on trustee in connection with state court
            litigation.                                                                .50

10/28/16    Telephone conference with Lyndsey Dilks, attorney, re: matters
            related to Rice v. Southern Rice & Cotton LLC, 16-ap-1095; also,
            Rice v. Wilkison, et al, 16-ap-1129.                                       .30




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10/28/16    Telephone conference with and email to/from Rusty Berry, attorney,
            re: proposed Order extending time for F&M Bank to answer
            Complaint filed in Rice v. Hill & Hill, et al, 16-ap-1101.                 .50

10/28/16    Further review of back-up documentation re: Rice v. Hill & Hill, et al,
            16-ap-1101.                                                                .50

10/28/16    Email to/from Greg Bevel, special counsel, re: matters related to
            pending litigation.                                                        .50

10/28/16    Reviewed Answer filed by LTD Defendants to Complaint filed in Rice
            v. LTD Farms, et al, 16-ap-1140; also, conferred with Kevin Keech,
            special counsel, about conducting discovery.                              1.00

10/28/16    Reviewed Answer filed by Ivory Rice and Agri Business Properties in
            Rice v. Ivory Rice LLC, et al, 16-ap-1094.                                 .50

10/28/16    Conference with lead counsel, re: legal strategy in proceeding forward
            with pending legal matters. Order granting partial summary
            judgement in KBX ap, multiple request for extensions from attorneys
            for defendants and wour response, responding to subpoena of trustee
            from Grooms, attorney for Zero Farmers, several other legal matters.
                                                                                      1.10

10/31/16    Telephone conference with Jim Smith, attorney, re: matters related to
            Consent Order entered in Rice v. KBX , Inc., 16-ap-1023.                   .20

10/31/16    Telephone conference with Nathan Cook, Purchasing
            Agent/Merchandiser, re: letter sent to Windmill Rice Co. LLC
            concerning receivable on debtor’s bankruptcy schedules.                    .20

10/31/16    Email to/from Kendel Grooms, attorney, re: Rice v. K & K Farm
            Service Inc., 16-ap-1102; also, conferred with trustee about matter.      1.00

10/31/16    Email to/from Kendel Grooms, attorney, re: subpoena issued on
            Trustee in connection with state court litigation.                         .50

10/31/16    Email to Lyndsey Dilks, attorney, re: matters related to Rice v.
            Southern Rice & Cotton LLC, 16-ap-1095, and Rice v. Wilkison, et al,
            16-ap-1129.                                                                .30

10/31/16    Finalized and submitted proposed Orders dismissing parties re: Rice
            v. Red River Farms, 16-ap-1115, and Rice v. J & B Farms, et al, 16-
            ap-1122.                                                                   .30

10/31/16    Conference with lead counsel, re: pending negotiations on one of
            adversary proceedings. Terms of proposes compromise settlement.
            Response to be forwarded to defendant’s attorney.                          .50




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10/31/16    Telephone conference with Nathan Cook, Purchasing
            Agent/Merchandiser, re: letter sent to Windmill Rice Co. LLC
            concerning receivable on debtor’s bankruptcy schedules.                    .20

10/31/16    Telephone conference with and email to Baxter Sharp, attorney,
            requesting copies of front and back of specific checks drawn on
            debtor’s account at The Merchants & Planters Bank.                         .30

10/31/16    Reviewed Answer filed in Rice v. Walter Shepherd Farms, et al, 16-
            ap-1110.                                                                  1.00

10/31/16    Email to/from Jack Talbot, attorney, re: matters related to Rice v. N
            & D Farms, et al, 16-ap-1125; also, reviewed and approved proposed
            Agreed Order extending time for Ag Heritage Defendants.                    .30

11/01/16    Conference with trustee concerning responses by defense attorneys
            and requests for possible dismissal. Prepared draft responses.             .75

11/01/16    Additional review and conference with Randy Rice, attorney, re:
            responding to request by defense counsels to dismiss parties and cases.
                                                                                      1.10

11/01/16    Completed review of letter and enclosures from Mike Cone, attorney,
            re: matters related to Rice v. James Farms JV, et al, 16-ap-1103, and
            Rice v. Fogleman Farms, et al, 16-ap-1109; also, conferred with
            Trustee about matters and formulating response.                           1.00

11/01/16    Prepared revised draft of Settlement Agreement on one of aps and
            conferred with Trustee about matter.                                       .40

11/01/16    Conferred with Trustee about matters related to subpoena issued by
            Kendel Grooms, attorney, on Trustee in connection with Lonoke
            County Lawsuit.                                                            .30

11/01/16    Emails to/from Kim Tucker, attorney, re: additional documents
            concerning transactions between Debtor and Hill & Hill Farms
            Partnership; also, reviewed additional documents received by courier
            from attorney.                                                            1.00

11/01/16    Email to/from Charlie Coleman, attorney, settlement negotiations, re:
            Rice v. Hill & Hill Farms, et al, 16-ap-1101, Rice v. Big Creek Rice
            Farms, Inc., 16-ap-1118, Rice v. Medford, et al, 16-ap-1124, and Rice
            v. N & D Farms, et al, 16-ap-1125.                                        1.00

11/01/16    Email to/from Harry Horst, attorney, settlement negotiations, re:
            matters related to Rice v. Medford, et al, 16-ap-1124; also, approved
            Order extending time for Cross County Bank to answer Complaint.            .20

11/01/16    Review of emails from Kevin Keech, special counsel, re: matters
            related to Rice v. Wilkinson, et al, and Rice v. Fowler.                   .30



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11/01/16    Conferred with Randy Rice, attorney, re: disposition of secured claim
            held by Rabo Agrifinance; also, conducted legal research re: issues
            relates to secured claim and reviewed Orders authorizing interim
            distributions to Rabo Agrifinance.                                        1.00

11/02/16    Conferred with Randy Rice, attorney, re: subpoena issued by Kendel
            Grooms, attorney, on Trustee in connection with Lonoke County
            Lawsuit; also, re: matters Rice v. K & K Farm Service, Inc., 16-ap-
            1102.                                                                      .30

11/02/16    Letter and emails to/from Mike Cone, attorney, re: Rice v. James
            Farms JV, et al, 16-ap-1103.                                              1.00

11/02/16    Letter and emails to/from Mike Cone, attorney, re: Rice v. Fogleman
            Farms, et al, 16-ap-1109.                                                  .50

11/02/16    Conferred with Randy Rice, attorney, re: matters related to Rice v.
            James Farms, et al, 16-ap-1103, and Rice v. Fogleman Farms, et al,
            16-ap-1109; also, conducted cursory legal research re: issues raised by
            Mike Cone, attorney, in connection with matters.                           .70

11/02/16    Email to/from Phil Hickey, attorney, settlement negotiations, re:
            matters related to Rice v. J & B Farms, et al, 16-ap-1122.                 .30

11/02/16    Email to/from Tom Streetman, special counsel, re: matters related to
            partial judgment entered in Rice v. KBX Inc., 16-ap-1023, and
            disposition of Rabo’s secured claim; also, conferred with Trustee
            about matters.                                                             .30

11/02/16    Completed review of back-up documentation to additional transactions
            produced by Kim Tucker, attorney, in connection with Rice v. Hill &
            Hill Farms, et al, 16-ap-1101; also, conferred with trustee about
            matters.                                                                   .30

11/02/16    Prepared draft of Protective Order re: subpoena issued on Trustee by
            Kendel Grooms, attorney, in connection with state court action.           1.20

11/02/16    Reviewed email from Baxter Sharp, attorney, re: request for canceled
            check images (2) on debtor’s account at M&P Bank.                          .20

11/02/16    Telephone conference with Kate Reed, special counsel, re: issues
            related to Rice v. KBX Inc., 16-ap-1023, and secured claim of Rabo
            Agri Finance.                                                              .30

11/02/16    Conference with attorney\trustee, re: responding to defense attorney’s
            request to dismiss parties.                                                .80

11/03/16    Email to Kendel Grooms, attorney, re: Rice v. K & K Service Inc., 16-
            ap-1102.                                                                   .20




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11/03/16    Email to Greg Bevel and Kevin Keech, special counsel, re: subpoena
            issued on Trustee in connection with state court action; also conferred
            with trustee about matters.                                                .50

11/03/16    Reviewed email from Charlie Coleman, attorney, re: Rice v. Hill &
            Hill, et al, 16-ap-1101; also, analyzed back-up documentation and
            conducted legal research re: asserted defense.                            3.00

11/03/16    Email to Baxter Sharpe, attorney, requesting copies of canceled
            checks drawn on debtor’s accounts at M&P Bank.                             .20

11/04/16    Reviewed Answer filed on behalf of Minturn Grain re: Rice v.
            Agrimarketing Services Inc. dba Minturn Grain, 16-ap-1097.                 .50

11/04/16    Reviewed Answer filed on behalf of Rice Market Services re: Rice v.
            Razorback Rice & Seed Co., 16-ap-1099.                                     .50

11/04/16    Reviewed Answer filed on behalf of the James Defendants re: Rice v.
            James Farms JV, et al, 16-ap-1103.                                         .50

11/04/16    Reviewed Answer filed on behalf of the Fogleman Defendants re:
            Rice v. Fogleman Farms, et al, 16-ap-1109.                                 .50

11/04/16    Reviewed answer filed on behalf of 384 Farms, Inc., re: Rice v. 384
            Farms, Inc., et al, 16-ap-1111.                                            .50

11/04/16    Reviewed Answer filed on behalf of Mears Defendants re: Rice v.
            Travis Mears Farms, Inc., 16-ap-1123.                                      .50

11/04/16    Reviewed Answer filed on behalf of JD McGregor Farms LLC re:
            Rice v. JD McGregor Farms LLC, 16-ap-1120.                                 .50

11/07/16    Conference with lead attorney, re: pending requests to dismiss
            adversary proceedings, defects in documents received from attorneys.
                                                                                       .90

11/07/16    Telephone conference with Charlie Coleman, attorney, re: matters
            related to Rice v. Hill & Hill, et al, 16-ap-1101, and Rice v. Medford,
            et al, 16-ap-1124.                                                         .30

11/07/16    Reviewed Motion to Dismiss/Answer filed by Lyndsey Dilks,
            attorney, on behalf of Defendant in Rice v. Southern Rice & Cotton
            LLC, 16-ap-1095; also, reviewed statutes and cases cited in Brief.        1.00

11/07/16    Reviewed back-up documents provided by Charlie Coleman, attorney,
            re: contemporaneous-exchange-for-new-value defense re: Rice v.
            Medford, et al, 16-ap-1124.                                               1.00

11/07/16    Conferred with Randy Rice, attorney, re: matters related to Rice v.
            Hill & Hill, et al, 16-ap-1101, and Rice v. Medford, et al, 16-ap-1124.
                                                                                       .80


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11/07/16    Prepared revised drafts of Protective Order and Non-Disclosure
            Agreement re: Subpoena issued to Trustee by Kendel Grooms,
            attorney, in connection with state court action; also, forwarded drafts
            to Special Counsel and conferred with Trustee and about matters.          2.00

11/08/16    Conference with staff attorney concerning to request to dismiss
            adversary proceedings, answers filed, affirmative defenses asserted.
            Queried filing motions to strike.                                          .30

11/08/16    Drafted First Set of Discovery Requests re Rice v. LTD Farms, et al,
            16-ap-1140.                                                               2.80

11/08/16    Drafted Response to Motion to Dismiss and Brief filed by Defendant
            in re Rice v. Southern Rice & Cotton LLC, 16-ap-1095.                      .50

11/08/16    Reviewed Answer filed by Lloyd Ward, attorney, on behalf of
            Defendant in Rice v. M-Real Estate LLC, 16-ap-1113.                        .70

11/08/16    Reviewed Answers filed by Ralph Waddell, attorney, on behalf of
            Defendant Bear State Bank (fka Heritage Bank, NA) in Rice v. Mears
            Farms, et al, 16-ap-1123, and Rice v. 384 Farms, et al, 16-ap-1111.       1.20

11/08/16    Email to/from Kendel Grooms, attorney, re: production under
            subpoena issued to Trustee; also, conferred with Trustee and special
            counsel about matter.                                                      .50


11/09/16    Conference with lead attorney concern status of pending adversary
            proceedings, legal strategies in proceeding forward, response to
            motion to dismiss filed in ap.                                             .50

11/09/16    Prepared draft of First Discovery Requests to Defendant re: Rice v.
            Rice Market Services, 16-ap-1099; also, reviewed Complaint, Answer,
            and related materials in connection with drafting interrogatories and
            requests for production.                                                  1.00

11/09/16    Reviewed Proof of Claim No. 47-1 filed by Rice Market Services;
            also, email to Kevin Keech, special counsel, re: possible cause of
            action for turnover of property of estate.                                 .50

11/09/16    Prepared revised drafts of First Discovery Requests to LTD
            Defendants re: Rice v. LTD Farms, et al, 16-ap-1140; also, forwarded
            to Kevin Keech, special counsel, for review and comments.                 1.00

11/09/16    Reviewed email from Joe Strode, attorney, re: matters related to
            preference litigation in which AG Heritage Entities are named as
            separate defendants.                                                       .30

11/10/16    Reviewed Answer filed by Grant Ballard, attorney, on behalf of
            Defendants in Rice v. Calloway, et al, 16-ap-1128; also, reviewed
            Motion to Dismiss and Brief filed by Grant Ballard, attorney, on


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            behalf of Separate Defendant in proceeding and conferred with Kevin
            Keech, special counsel, about responding.                                  1.20

11/10/16    Reviewed Answer filed by Grant Ballard, attorney, on behalf of
            Defendants in Rice v. Prislovsky, et al, 16-ap-1131.                        .60

11/10/16    Conferred with Randy Rice, attorney, re: matters related to Rice v. K
            & K Farm Service, Inc., 16-ap-1102.                                         .20

11/10/16    Reviewed Answer filed by Brooks Gill, attorney, on behalf of
            Separate Defendant (TCI) in Rice v. Turner Grain Commodities, Inc.,
            et al, 16-ap-1096.                                                          .50

11/10/16    Reviewed Answer filed by Charles Coleman, attorney, on behalf of
            Defendant in Rice v. Big Creek Rice Farms, 16-ap-1118.                      .50

11/10/16    Drafted SA re: Rice v. Caviness, et al, 16-ap-1134; also, drafted
            proposed Order extending time for defendants to answer or otherwise
            respond to Complaint.                                                       .50

11/10/16    Conference with Randy Rice, attorney, re: answers that came in today
            on pending adversaries, additional affirmative defenses being asserted,
            discovery.                                                                  .80

11/11/16    Conference with staff lead counsel, re: legal strategies in pursuing
            preferences, asserting refund of setoffs.                                   .40

11/11/16    Further review of Proof of Claim No. 47-1 (RMS) and related
            materials in debtor’s file; also, conducted legal research re: potential
            additional cause of action in Rice v. Razorback Rice & Seed Co., 16-
            ap-1099, and conferred with trustee about matter.                          2.00

11/11/16    Reviewed Answer filed by Roger Rowe, attorney, on behalf of
            Defendant in Rice v. Benton, et al, 16-ap-1136.                             .50

11/11/16    Reviewed Complaint and Answer filed in Rice v. Minturn Grain, 16-
            ap-1096, re: effort to outline discovery requests; also, reviewed
            materials in debtor’s file.                                                1.50

11/14/16    Telephone conference with Laura Westbrook, staff attorney, re: pre-
            trial hearings set for December 1, 2016.                                    .20

11/14/16    Telephone conference with Kevin Keech, special counsel, re: matters
            related to pending bankruptcy litigation and state court litigation.        .40

11/14/16    Telephone conference with Jim Smith, attorney, re: matters related to
            claim of Rabo Agrifinance.                                                  .20

11/14/16    Telephone conference with Roger McNeil, attorney, re: pre-trial
            hearing set in Rice v. Rice Market Services, 16-ap-1099.                    .20



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11/14/16    Telephone conference with Paul Bennett, attorney, re: pre-trial hearing
            set in Rice v. Walter Shepherd Farms, et al, 16-ap-1110.                   .20

11/14/16    Telephone conference with Tom Streetman, attorney, re: matters
            related to asserting setoff in bankruptcy case.                            .20

11/14/16    Reviewed and analyzed issues re: potential additional cause of action
            in re Rice v. Rice Market Services, 16-ap-1099; also, summarized
            issues for trustee review.                                                2.00

11/14/16    Conferred with Randy Rice, attorney, re: pre-trial hearings set for
            12/01 in multiple adversary proceedings.                                   .40

11/14/16    Email to/from Special Counsel and Trustee re: disposition of secured
            claim held by Rabo Agrifinance.                                            .40

11/14/16    Reviewed dockets in multiple adversary proceedings to determine
            whether defendant(s) in default.                                           .50


11/15/16    Conference with rice canceling request to dismiss AgHeritage from
            Fogleman ap, discovery in adversary proceedings.                           .30
11/15/16    Reviewed Answer filed by Charlie Coleman, attorney, on behalf of
            Hill Defendants in Rice v. Hill & Hill, et al, 16-ap-1101.                1.00

11/15/16    Conferred with Randy Rice, attorney, re: preference cases where
            defendant(s) is in default; also, drafted form Motion for Default
            Judgment.                                                                 1.00

11/15/16    Conferred with Randy Rice, attorney, re: litigation strategy concerning
            preference lawsuits.                                                       .50

11/15/16    Reviewed pleadings filed by Southern Rice & Cotton LLC in state
            court litigation, bankruptcy case, and bankruptcy case of debtor’s
            principal and other materials in file re: preparation of discovery
            requests in re Rice v. Southern Rice & Cotton LLC, 16-ap-1095.            1.50

11/15/16    Email to/from Joe Strode, attorney, re: matters related to Rice v.
            Fogleman Farms, et al, 16-ap-1109; also, conferred with trustee about
            matter.                                                                    .30

11/16/16    Telephone conference with Scott Hunter, attorney, re: matters related
            to Rice v. Cache River Valley Seed LLC, 16-ap-1133.                        .20

11/16/16    Conferred with Randy Rice, attorney, re: matters related to pending
            preference litigation.                                                     .50

11/16/16    Review of email from Joseph Strode, attorney, re: matters related to
            Rice v. Fogleman Farms, et al, 16-ap-1109.                                 .40




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11/16/16    Review of email from Phillip Hickey, attorney, re: matters related to
            Rice v. J&B Farms, et al, 16-ap-1122; also, conferred with trustee
            about matter.                                                              .80

11/16/16    Email to William Waddell, attorney, re: status of producing regarding
            re: possible claim against creditors.                                      .30

11/16/16    Reviewed records in debtor’s files, related materials, and pleadings in
            connection with identifying documents and records to discover in
            regards to preference cases.                                              1.00


11/16/16    Conference with lead counsel concerning ap against Cash, possible
            settlement negotiations.                                                   .30

11/17/16    Telephone conference with Joseph Strode, attorney, settlement
            negotiations, re: Rice v. Caviness, et al, 16-ap-1134.                     .30

11/17/16    Drafted proposed Order extending time for Defendants to answer in
            Rice v. Caviness, et al, 16-ap-1134.                                       .30

11/17/16    Reviewed Answer to Complaint filed by Grant Ballard, attorney, on
            behalf of Defendants in Rice v. Red River Farms/Oxner, et al, 16-ap-
            1115.                                                                     1.00

11/17/16    Drafted Discovery Requests to Defendant in re: Rice v. Southern Rice
            & Cotton LLC, 16-ap-1095; also, reviewed records in debtor’s file and
            related materials in connection with drafting requests.                   2.00

11/17/16    Reviewed Proof of Claim and attachments (state court complaint) filed
            LTD Farms and related materials re: effort to prepare discovery
            requests re: Rice v. LTD Farms, et al, 16-ap-1140; also, analyzed
            attachments to identify possible inconsistent positions, admissions,
            and/or statements against interest.                                       1.00

11/17/16    Email to/from Ralph Waddell, attorney, re: matters related to Rice v.
            Fogleman Farms, et al, 16-ap-1109.                                         .20

11/18/16    Met and conferred with Trustee and Special Counsel re: preference
            litigation; also, reviewed file in preparation for meeting.               4.00

11/18/16    Reviewed draft prepared by Special Counsel of Trustee’s Response to
            Agri Bank’s Motion to dismiss in Rice v. Ag Heritage, et al, 16-ap-
            1098; also, conferred with Trustee about matter.                           .30

11/18/16    Cursory review of Motion to Dismiss and Brief in Support filed by
            Defendant in Rice v. Gavilon Grain LLC, 16-ap-1149.                        .30

11/18/16    Reviewed Answer filed by Relyance Bank in Rice v. LTD Farms, et
            al, 16-ap-1140.                                                            .70



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11/18/16    Reviewed Answer filed by F&M Bank in Rice v. Hill & Hill Farms,
            et al, 16-ap-1101.                                                         .70

11/11/16    Email to/from Barrett Moore, attorney, settlement negotiations, re:
            Rice v. 384 Farms Inc., et al, 16-ap-1111, and Rice v. Mears Farms
            Inc., et al, 16-ap-1123; also, conferred with Trustee about matters.       .30

11/21/16    Prepared revised draft of First Set of Interrogatories and Requests for
            Production and drafted First Set of Requests for Admissions re: Rice
            v. Southern Rice & Cotton LLC, 16-ap-1095; also, reviewed pleadings
            and other materials in connection with preparing discovery requests.
                                                                                      3.50

11/21/16    Reviewed Complaint, Answer, and related materials in file re:
            anticipation of preparing discovery in Rice v. Agri Marketing, Inc.,
            dba Minturn Grain, 16-ap-1097, and Rice v. Rice Market Services, 16-
            ap-1099.                                                                  2.00

11/21/16    Reviewed Answer filed by Charlie Coleman, attorney, in Rice v.
            Medford, et al, 16-ap-1124.                                                .50

11/22/16    Conferred with Randy Rice, attorney, re: pre-trial hearings set for
            12/01, pending Motions to Dismiss, and other matters related to
            avoidance actions and other pending litigation; also, re: conducting
            discovery on litigant parties.                                            1.00

11/22/16    Revised First Set of Interrogatories and Requests for Production of
            Documents to Defendant in re: Rice v. SRC LLC, 16-ap-1095.                1.00

11/22/16    Reviewed Complaints, Answers, and related materials in connection
            with efforts to formulate discovery re: preference litigation.            1.50

11/23/16    Telephone conference with Scott Hunter, attorney, settlement
            negotiations, re: matters related to case.                                 .20

11/23/16    Telephone conference with Paul Bennett, attorney, re: pre-trial hearing
            set for 12/01 in Rice v. Shepherd Farms, et al, 16-ap-1110.                .20

11/23/16    Finalized and served discovery requests on Defendant in re: Rice v.
            Southern Rice & Cotton LLC, 16-ap-1095.                                   2.00

11/23/16    Reviewed docket and pleadings re: hearings set for 12/01 in multiple
            adversary proceedings; also, conferred with Trustee about hearings
            and underlying claims in litigation.                                      1.00

11/23/16    Drafted and served discovery requests on Hill Defendants in re: Rice
            v. Hill & Hill Farms, et al, 16-ap-1101; also, reviewed discovery
            requests to trustee from Hill Defendants.                                 2.00

11/23/16    Reviewed letter and enclosed discovery requests to Trustee from
            Charlie Coleman, attorney, re: Rice v. Medford, et al, 16-ap-1124.         .30


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11/23/16    Reviewed letter and enclosed discovery requests to Trustee from
            Charlie Coleman, attorney, re: Rice v. Big Creek Rice Farms, 16-ap-
            1118.                                                                     .30

11/23/16    Reviewed letter and enclosed discovery requests to Trustee from
            Charlie Coleman, attorney, re: Rice v. JD McGregor Farms, 16-ap-
            1120.                                                                     .30

11/26/16    Reviewed pleadings and related materials in file re: anticipation of
            drafting discovery requests in Rice v. Rice Market Services, 16-ap-
            1099.                                                                    1.50

11/26/16    Reviewed pleadings and related materials in file re: anticipation of
            drafting discovery requests in Rice v. Minturn Grain, 16-ap-1097.        1.50

11/28/16    Telephone conference with Roger McNeil, attorney, re: pre-trial set
            for 12/01 in Rice v. Rice Market Services, 16-ap-1099.                    .20

11/28/16    Finalized and served (1) First Set of Interrogatories & RFPs and (2)
            Requests for Admissions on Defendant via Ralph Waddell, attorney,
            in connection with Rice v. Minturn Grain, 16-ap-1097.                     .50

11/28/16    Finalized and served First Set of Interrogatories & RFPs on Defendant
            via Roger McNeil, attorney, in connection with Rice v. Rice Market
            Services, 16-ap-1099.                                                     .40

11/28/16    Cursory review of emails between Trustee, Special Counsel, and CPA
            re: matters related to secured claim of Rabo Agrifinance.                 .20

11/28/16    Cursory review of motion to dismiss/answer & Brief filed by Lyndsey
            Dilks, attorney, in Rice v. Wilkinson, et al, 16-ap-1129.                 .40

11/29/16    Email to/from Barrett Moore, attorney, re: discovery and other matters
            related to pre-trial hearings set for 12/01 in Rice v. Travis Mears
            Farms, 16-ap-1123, and Rice v. 384 Farms, 16-ap-1111.                     .40

11/29/16    Drafted First Set of Interrogatories and RFPs to Defendants in Rice v.
            Travis Mears Farms, 16-ap-1123, and Rice v. 384 Farms, 16-ap-1111.
                                                                                     1.50

11/29/16    Conferred with Randy Rice, attorney, re: matters related to hearings
            set for 12/01 in multiple adversary proceedings.                          .50

11/29/16    Legal research concerning allowance of post-petition interest at
            default rate re: secured claim of Rabo Agrifinance; also, prepared
            short memo on issues and forwarded to special counsel.                   1.50

11/29/16    Legal research concerning right to jury trial re: preference cases.      1.00




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11/29/16    Reviewed Answer filed by Defendant in Rice v. JD McGregor Farms
            re: preparation for pre-trial hearing set for 12/01; also, in anticipation
            of drafting discovery requests.                                              1.00

11/30/16    Drafted discovery requests to lead defendant in Rice v. Walter
            Shepherd Farms, et al, 16-ap-1110.                                            .80


11/30/16    Drafted discovery requests to lead defendant in Rice v. James Farms
            JV, et al, 16-ap-1103.                                                        .80

11/29/16    Telephone conference with Paul Bennett, attorney, re: pre-trial hearing
            set for 12/01 in Rice v. Walter Shepherd Farms, 16-ap-1110.                   .20

11/30/16    Telephone conference with Don Campbell, attorney, re: pre-trial
            hearing set for 12/01 in Rice v. K & K Farm Service, Inc., 16-ap-1102.
                                                                                          .20

11/30/16    Telephone conference with David Blair, attorney, re: pre-trial hearings
            set for 12/01 in Rice v. 384 Farms, et al, 16-ap-1111, and Rice v.
            Travis Mears Farms, et al, 16-ap-1123.                                        .20

11/30/16    Telephone conference with Bob Gibson, attorney, re: pre-trial hearing
            set for 12/01 in Rice v. Agrimarketing Inc. dba Minturn Grain, 16-ap-
            1097.                                                                         .30

11/30/16    Email to/from Tom Streetman, special counsel, re: issues related to
            secured claim of Rabo Agrifinance.                                            .20

11/30/16    Email to Greg Bevel, special counsel, re: issues related to pending
            adversary proceedings.                                                        .30

11/30/16    Conferred with Randy Rice, attorney, re: pre-trial hearings set for
            12/01 in multiple adversary proceedings.                                     1.00

11/30/16    Prepared draft of discovery requests to Defendant in re: Rice v. JD
            McGregor Farms, 16-ap-1120.                                                  1.00

11/30/16    Drafted Trustee’s Responses to Discovery Requests propounded by
            Hill Defendants re: Rice v. Hill & Hill Farms Partnership, et al, 16-ap-
            1101.                                                                        2.00

11/30/16    Reviewed article on grain merchandising industry re: effort to analyze
            ordinary business terms defense asserted in multiple adversary
            proceedings.                                                                  .50

11/30/16    Telephone conference with and email from Lyndsey Dilks, attorney,
            re: pre-trial hearing set for 12/01 in Rice v. SRC LLC, 16-ap-1095.           .40

11/30/16    Email to/from Bill Waddell, attorney, re: status of Jimel Farms, et al,
            providing back-up documentation re: transactions with debtor.                 .20


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12/01/16    Traveled to/from Bankruptcy Court, Helena Division, for pre-trial
            hearings on multiple adversary proceedings; also, conferred with
            attorneys for defendants before and after hearings.                        7.00

12/01/16    Reviewed FRCP 26 and Local Rules 26.1 and 26.2 and Conferred with
            Randy Rice, attorney, re: drafting pre-trial orders in multiple
            adversary proceedings; also, reviewed materials in file re:
            claims/defenses asserted in adversary proceedings with respect to
            which pre-trial hearings were held.                                        1.00

12/01/16    Email to/from Kendel Grooms, attorney, re: pre-trial hearing
            conducted in Rice v. K & K Farm Service, Inc., 16-ap-1102.                  .20

12/02/16    Telephone conference with Paul Bennett, attorney, re: pre-trial order
            in Rice v. Walter Shepherd Farms, et al, 16-ap-1110.                        .20

12/02/16    Telephone conference with Kevin Keech and Allison Gladden, special
            counsel, re: matters related to pre-trial hearings conducted on 12/01 in
            multiple adversary proceedings associated with case.                        .40

12/02/16    Prepared rough draft of form pre-trial order re: multiple adversary
            proceedings.                                                               1.00

12/02/16    Legal research concerning preference litigation re: right to jury trial
            and authority of bankruptcy court to enter final order; also, conferred
            with trustee and sent email to special counsel about matter.               2.20

12/02/16    Reviewed email from Kendel Grooms, attorney, re: issues related to
            subpoena served on Trustee.                                                 .30

12/02/16    Prepared and submitted Order granting First National Bank of Eastern
            Arkansas extension of time to respond to Rice v. Vanderburg, et al,
            16-ap-1122.                                                                 .30

12/02/16    Reviewed and approved Response prepared by Greg Bevel, special
            counsel, to Motion to Dismiss filed in Rice v. Gavilon Grain LLC, 16-
            ap-1149.                                                                    .50

12/04/16    Reviewed back-up documentation concerning portion of preferential
            transfers made by Debtor to Minturn Grain; also, reviewed debtor’s
            file in attempt to locate back-up documentation concerning balance of
            preferential transfers. Trial prep re: Rice v. Agrimarketing Inc. dba
            Minturn Grain, 16-ap-1097.                                                 1.20

12/04/16    Drafted subpoena to M&P Bank for production of money orders
            issued by Debtor to creditors within preference period; also, forwarded
            subpoena to Baxter Sharpe, attorney for bank.                               .30

12/04/16    Conferred with Randy Rice, attorney, re: matters related to pre-trial
            hearings conducted on 12/01 in various adversary proceedings.               .50



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12/05/16    Forwarded draft of pre-trial order to Paul Bennett, attorney, re: Rice
            v. Walter Shepherd Farms, et al, 16-ap-1110.                                .10

12/05/16    Reviewed Answers filed by Defendants in (1) Rice v. Gregory Farms,
            16-ap-1132, and (2) Rice v. Galloway, et al, 16-ap-1127.                   1.30

12/05/16    Conferred with Randy Rice, attorney, re: matters related to pre-trial
            hearings conducted in preference actions on 12/01; also, re: subpoena
            issued by Kendel Grooms, attorney, in connection with state court
            action.                                                                     .60

12/05/16    Revised draft of Protective Order re: subpoena issued by Kendel
            Grooms, attorney, in connection with state court action; also,
            forwarded to attorney for comments.                                         .50

12/05/16    Reviewed pleadings and notes from pre-trial hearing conducted on
            12/01 in Helena; also, drafted pre-trial order.                            1.00

12/06/16    Telephone conference with Barrett Moore, attorney, re: pre-trial
            hearings conducted in Rice v. 384 Farms, Inc., et al, 16-ap-1111, and
            Rice v. Travis Mears Farms, Inc., et al, 16-ap-1123.                        .30

12/06/16    Telephone conference with Mike Cone, attorney, re: pre-trial order in
            Rice v. James Farms JV, et al, 16-ap-1103.                                  .30

12/06/16    Telephone conference with Barrett Moore, attorney, re: pre-trial
            hearings conducted in Rice v. 384 Farms, Inc., et al, 16-ap-1111, and
            Rice v. Travis Mears Farms, Inc., et al, 16-ap-1123.                        .30

12/06/16    Email to Barrett Moore, attorney, re: pre-trial hearings conducted in
            Rice v. 384 Farms, Inc., et al, 16-ap-1111, and Rice v. Travis Mears
            Farms, Inc., et al, 16-ap-1123.                                             .30

12/06/16    Email to Ralph Waddell, attorney, re: pre-trial order in Rice v.
            Agrimarketing Inc. dba Minturn Grain, 16-ap-1097.                           .20

12/06/16    Drafted Pre-Trial Order and forwarded to Mike Cone, attorney, re:
            Rice v. James Farms JV, et al, 16-ap-1103.                                  .30

12/06/16    Reviewed Answer filed by Charlie Coleman, attorney, in Rice v. N&D
            Farms, et al, 16-ap-1125.                                                   .60

12/06/16    Conferred with Randy Rice, attorney, re: matters related to Rice v. 384
            Farms, Inc., et al, 16-ap-1111, Rice v. Travis Mears Farms, Inc., et al,
            16-ap-1123, Rice v. Agrimarketing Inc. dba Minturn Grain, 16-ap-
            1097, and Rice v. James Farms JV, et al, 16-ap-1103.                       .30

12/07/16    Telephone conference with Roger McNeil, attorney, re: matters related
            to pre-trial hearing set for 02/16/2017 in Rice v. Razorback Rice &
            Seed Co., 16-ap-1099.                                                       .30



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12/07/16    Conferred with Randy Rice, attorney, re: legal issues and litigation
            strategy related to pending preference cases.                              .60

12/07/16    Review of email from Tom Streetman, special counsel, re: litigation
            strategy related to pending preference cases.                              .30


12/09/16    Reviewed revisions made by Kendel Grooms, attorney, to Protective
            order re: subpoena issued on Trustee in state court action; also,
            conferred with Trustee and Special Counsel about matter.                  2.00

12/12/16    Telephone conference with Greg Bevel and Kate Reed, special
            counsel, re: matters related to state court subpoena issued to Trustee;
            also, re: Rice v. Gavilon Grain LLC, 16-ap-1049.                           .40

12/12/16    Telephone conference with Paul Bennett, attorney, re: matters related
            to Rice v. Shepherd Farms, et al, 16-ap-1110.                              .20

12/12/16    Email to Greg Bevel and Kate Reed, special counsel, re: matters
            related to Rice v. Gavilon Grain LLC, 16-ap-1049; also, reviewed and
            forwarded requested documents to special counsel.                          .40

12/12/16    Email to Kendel Grooms, attorney, re: pre-trial order in Rice v. K &
            K Farm Service, Inc., 16-ap-1102; also, re: draft of Protective Order
            re: subpoena issued to Trustee in connection with state court action
            pending in Lonoke County.                                                  .30

12/12/16    Email to Ralph Waddell, attorney, re: draft of Pre-Trial Order related
            to Rice v. Minturn Grain, 16-ap-1097.                                      .20

12/12/16    Emails to/from Special Counsel and Accountant re: accessing debtor’s
            quickbook files.                                                           .10

12/12/16    Review of Complaint, Answer, and Motion to Dismiss re: preparation
            for hearing set for 12/15 in Rice v. Southern Rice & Cotton LLC, 16-
            ap-1095.                                                                  1.20

12/12/16    Review of Complaint and Answer re: preparation for hearing set for
            12/15 in Rice v. JD McGregor Farms, 16-ap-1120.                            .50

12/12/16    Completed review of proposed revisions made by Kendel Grooms,
            attorney, re: Protective Order related to state court action; also,
            conferred with Trustee about matters.                                      .50

12/13/16    Reviewed Subpoena, drafts of Protective Order, and related materials
            in file re: preparation for Telephone conference with Kendel Grooms,
            attorney, re: matters related subpoena issued to Trustee in connection
            with state court action.                                                   .30

12/13/16    Telephone conference with Kendel Grooms, attorney, re: matters
            related subpoena issued to Trustee in connection with state court


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            action; also, re: matters related to Rice v. K & K Farm Service, Inc.,
            16-ap-1102.                                                                .50

12/13/16    Memorialized notes from Telephone conference with Kendel Grooms,
            attorney, re: matters related subpoena issued to Trustee in connection
            with state court action and Protective Order.                              .30

12/13/16    Email to/from Kendel Grooms, attorney, re: Protective Order related
            to subpoena issued to Trustee in connection with state court action.       .10

12/13/16    Email to/from Kevin Keech, special counsel, re: matters related to
            hearings set for 12/15.                                                    .10

12/13/16    Prepared revised draft of discovery requests propounded by Hill
            Defendants to Trustee re: Rice v. Hill & Hill Farms, et al, 16-ap-1101.
                                                                                      2.20

12/13/16    Reviewed email and attachments from Baxter Sharp, attorney for
            M&P Bank, re: transfer documents re: Rice v. Southern Rice & Cotton
            LLC, 16-ap-1095, and Rice v. Minturn Grain, 16-ap-1097.                    .10

12/13/16    Telephone conference with Kendel Grooms, attorney, re: matters
            related subpoena issued to Trustee in connection with state court
            action; also, re: matters related to Rice v. K & K Farm Service, Inc.,
            16-ap-1102.                                                                .50

12/14/16    Telephone conference with Kim Tucker, attorney, re: pre-trial hearing
            set for 12/08 in Rice v. JD McGregor Farms LLC, 16-ap-1120.                .30

12/14/16    Conference with Randy Rice, attorney, re: pre-trial hearing and
            hearing on motion to dismiss tomorrow, discovery and responding to
            discovery, draft of response to discover in Hill & Hill ap, request for
            interim distribution on administrative fees and expenses, general trial
            strategies.                                                               1.00

12/14/16    Reviewed pleadings, case authority, and prepared trial outline re:
            preparation for hearing on Motion to dismiss in Rice v. Southern Rice
            & Cotton LLC, 16-ap-1095.                                                 1.00

12/14/16    Completed draft of Trustee’s objections, answers, and responses to
            Hill Defendant’s First Set of Interrogatories and Requests for
            Production of Documents re: Rice v. Hill & Hill Farms Partnership,
            et al, 16-ap-1101.                                                        2.00

12/14/16    Drafted settlement agreement re: pending avoidance action.                 .50

12/14/16    Conferred with Randy Rice, attorney, re: hearings set for 12/15 in
            multiple adversary proceedings; also, re: issues and strategies related
            to pending avoidance actions.                                             1.00




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12/14/16    Email to/from Mike Cone, attorney, re: Rice v. James Farms, et al, 16-
            ap-1103; also, reviewed proposed revisions to Pre-Trial Order.            .30

12/14/16    Email to/from Kendel Grooms, attorney, re: status of forwarding
            copies of documents produced per subpoena.                                .20

12/15/16    Attended hearings on (1) Motion to Dismiss filed by Defendant in
            Rice v. Southern Rice & Cotton LLC, 16-ap-1095 (Motion denied,
            Trustee to submit Order) and (2) Pre-Trial Conference in Rice v. JD
            McGregor Farms LLC, 16-ap-1120); also, conferred with opposing
            counsel before and after hearings.                                       3.00

12/15/16    Prepared and submitted proposed Order denying Motion to Dismiss
            filed by Defendant in Rice v. Southern Rice & Cotton LLC, 16-ap-
            1095.                                                                     .50

12/15/16    Conferred with Kevin Keech, special counsel, re: matters related to
            pending preference actions associated with case.                          .70

12/15/16    Reviewed documents received from Kendel Grooms, attorney, in
            connection with subpoena served on Trustee.                              1.00

12/15/16    Conference with Rice, trustee, general counsel, re: pre-trial orders,
            discovery and work product issues that have developed, settlement
            offers extended, scheduling of meetings with parties in ap, general
            trial strategies.                                                        1.00

12/16/16    Telephone conference with Ralph Scott, attorney, re: Rice v. Benton,
            16-ap-1136.                                                               .30

12/16/16    Conference with Randy Rice, attorney re: pre-trial orders, discovery
            and work product issues that have escalated, settlement offers
            extended, scheduling of meetings with parties in ap, general trial
            strategies.                                                              1.00

12/16/16    Completed review of documents produced by Kendel Grooms,
            attorney, re: inspection of debtor’s records per subpoena issued on
            trustee; also, email to Kevin Keech, special counsel, re: matter, and
            reviewed emails between special counsel and attorney.                    1.50

12/16/16    Reviewed Debtor’s Quickbook data in connection with pending
            preference litigation.                                                    .50

12/16/16    Drafted Pre-Trial Order and forwarded to Kimberly Tucker, attorney,
            re: Rice v. JD McGregor Farms LLC, 16-ap-1120; also, Telephone
            conference with and email to/from Kimberly Tucker, attorney, re:
            provisions of Pre-Trial Order.                                            .50

12/16/16    Draft of email to Ralph Scott, attorney, re: Rice v. Benton, 16-ap-
            1136; also, reviewed Complaint, Answer, and back-up documentation
            re: preferential transfer.                                               .30


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12/16/16    Email to Barrett Moore, attorney, re: pre-trial orders in Rice v. 384
            Farms, et al, 16-ap-1111, and Rice v. Travis Mears Farms, et al, 16-
            ap-1123; also, drafted and forwarded proposed Agreed Order.                 .30

12/16/16    Conferred with special counsel re: litigation strategy related to
            avoidance actions.                                                          .50

12/16/16    Telephone conference with and email to/from Paul Bennett, attorney,
            re: matters related to Rice v. Walter Shepherd Farms, et al, 16-ap-
            1110.                                                                       .30

12/16/16    Conferred with Randy Rice, attorney, re: pending legal matters.             .50

12/19/16    Telephone conference with and email to/from Kim Tucker, attorney,
            re: Pre-Trial Order in Rice v. JD McGregor Farms LLC, 16-ap-1120.
                                                                                        .30

12/19/16    Revised draft of Protective Order re: subpoena issued on Trustee in
            connection with state court action; also, conferred with Kevin Keech,
            special counsel, about matter.                                             1.00

12/19/16    Reviewed email and attachment from Tom Streetman, special counsel,
            re: issues related to secured claim of Rabo Agrifinance; also, reviewed
            pleadings, orders, and claim documents, conducted legal research re:
            allowance of default interest and charges, and drafted response email
            to special counsel about matters.                                          2.20

12/19/16    Conferred with Randy Rice, attorney, re: matters related to litigation
            strategy re: pending preference actions.                                    .30

12/19/16    Emails to/from Bill Bridgforth, attorney, re: Rice v. Walter Shepherd
            Farms, et al, 16-ap-1110.                                                   .30

12/19/16    Morning conference with Randy Rice, attorney on multiple matters in
            pending adversary proceedings, re: default interest paid to secured
            creditor per latest documents, settlement conferences with counsel on
            adversary proceedings, discovery matters.                                  1.25

12/19/16    Evening conference with staff attorney on multiple matters in pending
            adversary proceedings, re: default interest paid to secured creditor per
            latest documents, correspondence drafted by staff attorney and Randy
            Rice, attorney concerning charges by secured creditor, scheduled dates
            and times of settlement conferences with counsel on adversary
            proceedings, responding to request to extend time for discovery in Hill
            ap, other legal strategies in proceeding forward.                          1.30

12/20/16    Conference with Randy Rice, re: continued discovery strategies,
            default interest and late charge issue involving secured creditor,
            upcoming pretrial issues, venue issues researched in two adversary
            proceedings, method of receiving discovery.                                 .80



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12/20/16    Completed draft of response email to Tom Streetman, special counsel,
            re: matters related to claim of Rabo Agrifinance; also, completed
            review of credit agreement and research and conferred with trustee
            about matters.                                                            1.00

12/20/16    Telephone conference with and email to/from Lyndsey Dilks,
            attorney, re: matters related to discovery in Rice v. Southern Rice &
            Cotton LLC, 16-ap-1095.                                                    .30

12/21/16    Telephone conference with Barrett Deacon, attorney, re: matters
            related to Rice v. Agrimarketing Inc. dba Minturn Grain, 16-ap-1097.
                                                                                       .20

12/21/16    Reviewed, analyzed, and summarized Complaint and Answer in Rice
            v. Walter Shepherd Farms, et al, 16-ap-1110, and related materials in
            file in anticipation of meeting with Defendant and attorney.              1.00

12/21/16    Email to/from Kim Tucker, attorney, re: discovery requests pending
            in Rice v. Hill & Hill Farms Partnership, et al, 16-ap-11101, and other
            avoidance actions associated with bankruptcy case.                         .20

12/21/16    Reviewed email from Ralph Scott, attorney, re: Rice v. Bradley
            Benton dba Benton Farming, 16-ap-1136.                                     .10

12/21/16    Cursory review of time sheets attached to Application for
            Compensation filed by Streetman & Gibson; also, conferred with
            Trustee about matters.                                                     .30

12/21/16    Cursory review of materials and information related to secured claim
            of Rabo Agrifinance and payments to date on claim; also, conferred
            with Trustee about matter.                                                 .30

12/21/16    Conference with Randy Rice, attorney, re: fee application of special
            counsel, discovery from ap defendant, meeting next week with ap
            defendant, inquiry about status of trustee responding to discovery
            subpoena from Zero Grade Farmers in state court action.                    .90

12/22/16    Additional conference with Randy Rice, attorney, re: interest issues on
            secured claim, work product issues resulting from discovery.               .60

12/22/16    Telephone conference with Jim Smith, attorney, settlement
            negotiations, re: matters related to balance of secured claim owed to
            Rabo Agrifinance.                                                          .40

12/22/16    Telephone conference with Kendel Grooms, attorney, re: matters
            related to documents inspected and copied under subpoena issued to
            Trustee.                                                                   .30

12/22/16    Conferences with Randy Rice, attorney, re: Rabo claim, subpoena
            served upon trustee by state court litigants.                              .50



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12/22/16    Telephone conference with Bobby Gibson, attorney, re: matters
            related to Rice v. Minturn Grain, 16-ap-1097.                              .40

12/22/16    Completed review of loan statements, payoffs, credit agreement and
            other materials related to claim of Rabo Agrifinance; also, Conferred
            with Randy Rice, attorney, re: intent going forward with claim.           1.00

12/22/16    Conferred with Trustee and Special Counsel re: matters related to
            Oakley Grain, Inc. et al v. U.S. Dept. of Agriculture et al, 2:16-ap-
            1009.                                                                      .20

12/27/16    Revised draft of Protective Order re: subpoena issued on Trustee in
            connection with state court action.                                       1.50

12/27/16    Reviewed case files of pending adversary proceedings; also, updated
            case spreadsheet to reflect disposition/status of actions.                1.00

12/28/16    Emails to/from Barrett Moore, attorney, re: Rice v. 384 Farms Inc., et
            al, 16-ap-1111, and Rice v. Travis Mears Farms Inc., et al, 16-ap-
            1123; also, reviewed and commented on proposed revisions to Pre-
            Trial Order for Trustee’s review and drafted responsive email to
            Barrett Moore, attorney, re: matters.                                     1.20

12/28/16    Conferred with Randy Rice, attorney, re: matters related to Rice v. 384
            Farms Inc., et al, 16-ap-1111, and Rice v. Travis Mears Farms Inc., et
            al, 16-ap-1123; also, reviewed provisions of Rule 26 in connection
            with analyzing Pre-Trial Order.                                            .80

12/28/16    Drafted Memo re: issues related to secured claim held by Rabo
            Agrifinance, Inc.; also, reviewed loan documents, proof of claim,
            pleadings, and other items in file in connection with drafting Memo,
            and conferred with Trustee about matter.                                  3.00

12/28/16    Cursory review of Defendant’s responses to Trustee’s Discovery
            Requests in Rice v. Razorback Rice & Seed Co. dba Rice Market
            Services, 16-ap-1099.                                                     1.00

12/28/16    Email to/from Bill Bridgforth, attorney, re: meeting set for 12/30
            (Canceled) re: Rice v. Walter Shepherd Farms, et al, 16-ap-1110; also,
            email to/from Paul Bennett, attorney, re: matters related to Pre-Trial
            Order and scheduling Rule 26(f) Conference.                                .40

12/29/16    Completed Memo re: issues related to secured claim held by Rabo
            Agrifinance, Inc., and forwarded to Brian Crisp, CPA, and Tom
            Streetman, special counsel, for review; also, confirmed date and time
            of conference call with Crisp and Streetman.                              1.00

12/29/16    Completed review of Defendant’s responses to Trustee’s Discovery
            Requests in Rice v. Razorback Rice & Seed Co. dba Rice Market
            Services, 16-ap-1099; also, email to Roger McNeil, attorney, re:
            questions about discovery and supplementing responses; also,


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            reviewed and analyzed back-up documentation produced by
            Defendant prior to litigation.                                            1.50

12/29/16    Conference with Randy Rice, attorney, re: meeting rescheduled with
            one of defendants, actions to proceed on various adversary
            proceedings, upcoming hearings, meeting scheduled with special
            counsel and accountant for estate.                                         .60

12/30/16    Conference with Randy Rice, attorney, re: Response to second
            application for payment of attorney fees and expenses.                     .25

12/30/16    Further review and analysis of back-up documentation to transactions
            re: Rice v. Razorback Rice & Seed Co. dba Rice Market Services, 16-
            ap-1099.                                                                  2.40

12/30/16    Conferred with Trustee concerning issues related to tolling agreements
            with four parties re: preference claims.                                   .40

01/03/17    Met and conferred with Paul Bennett, attorney, re: Rule 26(f)
            Conference and other matters related to Walter Shepherd Farms, et al,
            16-ap-1110.                                                               1.00

01/03/17    Further review of materials related to claim held by Rabo Agrifinance,
            Inc., in preparation for upcoming conference with special counsel and
            accountant; also, Conferred with Randy Rice, attorney, re: matters.        .50

01/03/17    Drafted Joint Rule 26(f) Report re: Walter Shepherd Farms, et al, 16-
            ap-1110.                                                                  2.00

01/03/17    Conference with Randy Rice, attorney, re: secured claim, telephone
            conferences tomorrow, responses concerning pretrial order on Mears
            ap.                                                                        .60

01/03/17    Telephone conference with Jim Smith, attorney, re: matters related
            balance of claim held by Rabo Agrifinance, Inc.                            .30

01/04/17    Email to Tom Streetman, special counsel, re: issues related to A) claim
            held by Rabo Agrifinance, Inc. and B) Rice v. KBX , Inc., 16-ap-
            1023.                                                                      .30

01/04/17    Further review and analysis of Loan Documents re: prep for
            Telephone conference with Jim Smith, attorney, settlement
            negotiations, re: claim held by Rabo Agrifinance, Inc.                     .40

01/05/17    Reviewed case law cited by Tom Streetman, special counsel, in
            relation to issues pending in Rice v. KBX Inc., 16-ap-1023.                .50

01/05/17    Reviewed Loan Documents and conducted additional legal research
            in anticipation of filing action to determine claim and recover
            overpayments made on claim to Rabo Agrifinance, Inc.                      3.00



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01/05/17    Reviewed case files of numerous adversary proceedings re: effort to
            determine status of actions, entry of pre-trial orders, and other matters
            related to prosecution of claims.                                           1.00

01/05/17    Telephone conference with and email to Lyndsey Dilks, attorney, re:
            extension of time to respond to discovery in Rice v. Southern Rice &
            Cotton LLC, 16-ap-1095.                                                      .50

01/04/17    Conference with Randy Rice, attorney, re: discussions concerning
            settlement offer to extend to secured creditor and to KBX .                  .40

01/04/17    Conference call with Trustee, Tom Streetman, special counsel, and
            Brian Crisp, CPA, re: matters related to A) claim held by Rabo
            Agrifinance, Inc. (0.70), B) Rice v. KBX , Inc., 16-ap-1023, and C)
            pending applications for compensation to professionals; also,
            conferred with Trustee before/after conference call.                        1.30

01/06/17    Telephone conference with and email to/from Jim Smith, attorney,
            settlement negotiations, re: matters related to claim of Rabo
            Agrifinance, Inc.; also, reviewed BAP (8th Cir) decision cited by
            Smith.                                                                      1.00

01/06/17    Emails to/from Tom Streetman, special counsel, and Greg Bevel,
            special counsel, re: issues raised by Jim Smith, attorney, in regards to
            claim of Rabo Agrifinance, Inc.                                              .70

01/06/17    Reviewed proof of claim and related materials re: possible additional
            cause(s) of action re: Rice v. Rice Market Services, 16-ap-1099.             .50

01/06/17    Prepared rough drafts of (1) Objection to Proof of Claim No. 9-1
            (Rabo Agrifinance, Inc.) And (2) Objection to Proof of Claim No. 47-
            1 (Razorback Rice & Seed Co. dba Rice Market Services).                     2.00

01/09/17    Conferred with Randy Rice, attorney, re: additional cause of action in
            Rice v. Rice Market Services, 16-ap-1099; also, email to Roger
            McNeil, attorney, requesting consent to file amended complaint.              .50

01/09/17    Reviewed, summarized, and analyzed additional case authority re:
            effort to determine allowance and amount of claim held by Rabo
            Agrifinance, Inc.                                                           1.50

01/09/17    Telephone conference with Kevin Keech, special counsel, re: matters
            related to (1) Protective Order concerning subpoena issued on Trustee
            in connection with Zero Grade Farms, et al, vs. Agribusiness
            Properties, et al, CASE NO. 43CV-14-410, and (2) claim held by
            Rabo Agrifinance, Inc.                                                       .90

01/09/17    Review of letter from Ralph D. Scott, attorney, settlement
            negotiations, re: Rice v. Benton, 16-ap-1136.                               1.00




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01/09/17    Conferred with Randy Rice, attorney, re: (1) Rice v. Mears Farms,
            Inc., 16-ap-1123, and Rice v. 384 Farms, Inc., 16-ap-1111; and (2)
            Protective Order concerning subpoena issued on Trustee in connection
            with Zero Grade Farms, et al, vs. Agribusiness Properties, et al, CASE
            NO. 43CV-14-410.                                                         1.00

01/09/17    Conference with Randy Rice, attorney, re: correspondence between
            parties concerning proposed protective order, possible ap against
            secured creditor, analysis of case cited by attorney for secured
            creditor, proposed pre-trial order in certain adversary proceedings.     1.00

01/09/17    Conference with Randy Rice, attorney, re: status of protective order
            and turnover of protected documents.                                      .30

01/09/17    Telephone conference with Kendel Grooms and Don Campbell,
            attorneys, re: matters related to draft of Protective order concerning
            subpoena issued on Trustee in connection with Zero Grade Farms, et
            al, vs. Agribusiness Properties, et al, CASE NO. 43CV-14-410.            1.50

01/09/17    Telephone conference with Kevin Keech, special counsel, re: matters
            related to (1) Protective Order concerning subpoena issued on Trustee
            in connection with Zero Grade Farms, et al, vs. Agribusiness
            Properties, et al, CASE NO. 43CV-14-410, and (2) claim held by
            Rabo Agrifinance, Inc.                                                    .90

01/10/17    Drafted letter to Ralph Scott, attorney, settlement negotiations, re:
            Rice v. Benton, 16-ap-1136; also, reviewed back-up data in Debtor’s
            file in connection with drafting response.                               1.00

01/10/17    Email to Barrett Moore, attorney, re: matters related to Rice v. Mears
            Farms, Inc., 16-ap-1123, and Rice v. 384 Farms, Inc., 16-ap-1111.         .30

01/10/17    Drafted Complaint against Rabo Agrifinance, Inc.                         3.50

01/11/17    Email to Greg Bevel, special counsel, re: matters related to Rice v.
            Gavilon Grain LLC, 16-ap-1149.                                            .30

01/11/17    Review of email from Kendel Grooms, attorney, re: issues related to
            subpoena issued on Trustee in connection with Zero Grade Farms, et
            al, vs. Agribusiness Properties, et al, CASE NO. 43CV-14-410; also,
            reviewed attached proposed Protective Order(4th Draft).                  1.20

01/11/17    Reviewed email from Barrett Moore, attorney, re: matters related to
            Rice v. Mears Farms, Inc., et al, 16-ap-1123, and Rice v. 384 Farms,
            Inc., et al, 16-ap-1111.                                                  .30

01/11/17    Prepared revised draft of Complaint against Rabo Agrifinance, Inc.,
            in regards to claim; also, additional review of loan documents and
            related materials and legal research.                                    5.50




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01/11/17    Conference with Randy Rice, attorney, re: proposed protective order,
            ap against Rabo.                                                          .50

01/12/17    Additional conference with Randy Rice, attorney, re: settlement offer
            received on Benton ap, authorized counter offer. Drafted letter to
            counsel authorizing counter offer.                                        .50

01/12/17    Telephone conference with Tom Streetman, special counsel, re: issues
            related to over-secured claim held by Rabo Agrifinance, Inc.              .30

01/12/17    Telephone conference with Darwin England re: Rice v. England, 16-
            ap-1142; also, email to Kevin Keech, special counsel, re: matter.         .30

01/12/17    Prepared revised and final drafts of Complaint against Rabo
            Agrifinance, Inc.; also, reviewed Loan Documents, pleadings, and
            other materials in file in connection with finalizing Complaint; also,
            Conferred with Randy Rice, attorney, re: proposed revisions to
            Complaint and other matters related to causes of action.                 4.50

01/12/17    Review of email from Kevin Keech, special counsel, re: issues related
            to subpoena issued on Trustee in connection with Zero Grade Farms,
            et al, vs. Agribusiness Properties, et al, CASE NO. 43CV-14-410;
            also, reviewed attached proposed Protective Order(4th Draft).             .40

01/12/17    Reviewed emails between Kim Tucker and Charles Coleman,
            attorneys, and Kevin Keech, special counsel, re: issues related to
            Trustee’s discovery responses in Rice v. Fowler, 16-ap-1144; also,
            requested copy of discovery responses from special counsel.               .40

01/12/17    Email to/from Mike Cone, attorney, re: matters related to Rice v.
            James Farms JV, et al, 16-ap-1103.                                        .10

01/13/17    Finalized Complaint against Rabo Agrifinance; also, prepared cover
            sheet, assembled exhibits, and filed Complaint and cover sheet.          3.30

01/13/17    Emails to Richard Cox, former attorney for estate, and Tom
            Streetman, special counsel, re: hearings set for 01/27 on pending
            applications for compensation filed by Special Counsel and Former
            Trustee.                                                                  .20

01/13/17    Telephone conference with Jim Smith, attorney, settlement
            negotiations, re: matters related to claim held by Rabo Agrifinance,
            Inc.                                                                      .20

01/13/17    Telephone conference with and email to/from Tom Streetman,
            attorney, re: initiating action against Rabo Agrifinance.                 .30

01/13/17    Email to/from Kendel Grooms, attorney, re: issues related to subpoena
            issued on Trustee in connection with Zero Grade Farms, et al, vs.
            Agribusiness Properties, et al, CASE NO. 43CV-14-410; also,



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            reviewed attached letter from attorney to state court judge requesting
            hearing on work-product issues.                                            .50

01/13/17    Telephone conference with and email to/from Lyndsey Dilks,
            attorney, re: matters related to discovery requests in Rice v. Southern
            Rice & Cotton LLC, 16-ap-1095; also, reviewed Motion to Extend
            Time/Protective Order filed by attorney in case.                          1.50

01/13/17    Conference with Randy Rice, attorney, re: legal strategies in moving
            forward on multiple matters.                                               .80

01/13/17    Additional conference with Randy Rice, attorney, re: motion for
            extension and for protective Order filed by Southern Rice, status and
            scope of discovery issued and received, correspondence with counsel
            for Rabo, other legal matters.                                             .75

01/13/17    Telephone conference with Jim Smith, attorney, settlement
            negotiations, re: matters related to claim held by Rabo Agrifinance,
            Inc.                                                                       .20

01/16/17    Drafted Response to Motion for Extension/Protective Order filed by
            Defendant in Rice v. Southern Rice & Cotton LLC, 16-ap-1095; also,
            further review of pleadings, communications in file, and applicable
            provisions of discovery rules in connection with drafting Response.       2.00

01/16/17    Email to/from Richard Cox, former attorney for estate, and Thomas
            Streetman, special counsel, re: issues related to (1) Rice v. Rabo
            Agrifinance, 17-ap-1004, and (2) pending applications for
            compensation.                                                              .30

01/16/17    Telephone conference with Roger McNeil, attorney, settlement
            negotiations, re: pending actions.                                         .40

01/17/17    Conference with Randy Rice, attorney, re: court’s ruling on motions
            filed by Southern Rice company, re: motion to extend time, motion for
            protective order.                                                          .30

01/18/17    Prepared revised draft of Trustee’s Objections, Answers, and
            Responses to First Set of Interrogatories & RFPs propounded in Rice
            v. Hill & Hill Farms, et al, 16-ap-1101; also, prepared drafts of
            Trustee’s Objections, Answers, and Responses to First Set of
            Interrogatories & RFPs propounded in 1) Rice v. Big Creek Rice
            Farms, Inc., 16-ap-1118; 2) Rice v. JD McGregor Farms LLC,
            16-ap-1120; and 3) Rice v. Medford, et al, 16-ap-1124; reviewed
            Complaints, Answers, and other items in file in connection with
            drafting responses.                                                       5.50

01/18/17    Email to/from Paul Bennett, attorney, re: drafts of Pre-Trial Order and
            Rule 26(f) Report in Rice v. Walter Shepherd Farms, et al, 16-ap-
            1110.                                                                      .20



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01/18/17    Conferred with Kevin Keech, special counsel, re: matters related to
            Rice v. Rabo Agrifinance, 17-ap-1004.                                        .20

01/19/17    Prepared revised drafts of 1) Trustee’s Objections, Answers, and
            Responses to First Set of Interrogatories & RFPs propounded in Rice
            v. Hill & Hill Farms, et al, 16-ap-1101; 2) Rice v. Big Creek Rice
            Farms, Inc., 16-ap-1118; 3) Rice v. JD McGregor Farms LLC,
            16-ap-1120; and 4) Rice v. Medford, et al, 16-ap-1124; reviewed
            Complaints, Answers, and other items in file in connection with
            drafting responses.                                                         2.50

01/19/17    Email to/from Kendel Grooms, attorney, settlement negotiations, re:
            matters related to Protective Order in Zero Grade Farms, et al, vs.
            Agribusiness Properties, et al, CASE NO. 43CV-14-410.                        .20

01/19/17    Conferred with Randy Rice, attorney, re: discovery in pending
            adversary proceeding; also, preservation of discoverable materials.          .30

01/19/17    Conference with Randy Rice, attorney, re: proposed Trustee’s
            Responses to discovery in pending adversary proceedings against Big
            Creek Rice Farms, Medford et al, Hill & Hill Farms Partnership et al,
            and JD McGregor Farms, LLC, ap nos 16-1118, 16-1124, 16-1120 and
            16-1101. Revisions to proposed responses, documents to be produced.
            Document preservation.                                                       .75

01/20/17    Conference with Randy Rice, attorney, re: Review and analysis of
            proposed protective order, submitted multiple changes and conditions,
            contacted Grooms and Campbell about order and scheduling meeting.
                                                                                        2.50
01/20/17    Conferred with Randy Rice, attorney, re: draft of Protective Order in
            Zero Grade Farms, et al, vs. Agribusiness Properties, et al, CASE NO.
            43CV-14-410; also, Telephone conference with Don Campbell,
            attorney, re: scheduling time to meet and confer about matters.             2.00

01/20/17    Finalized and served Trustee’s Objections, Answers, and Responses
            to First Set of Interrogatories & RFPs in (1) Rice v. Hill & Hill, et al,
            16-ap-1101; (2) Rice v. Big Creek Rice Farms, 16-ap-1118; (3) Rice
            v. JD McGregor Farms LLC, 16-ap-1120; and (4) Rice v. Medford, et
            al, 16-ap-1124.                                                             1.00

01/20/17    Email to/from David Tyler, attorney, re: scheduling Rule 26(f)
            Conference in Rice v. James Farms JV, et al, 16-ap-1103.                     .10

01/20/17    Prepared and filed Certificate of Service re: Rice v. Rabo Agrifinance,
            Inc., and Rice v. Rabo Agrifinance, LLC, 17-ap-1004.                         .30

01/20/17    Further review of documents and assessed claim of privilege or other
            protection.                                                                  .50

01/20/17    Reviewed Hill Defendants’ Responses to Trustee’s First Set of
            Interrogatories & RFPs.                                                     2.00


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01/23/17    Telephone conference with Barrett Moore, attorney, re: Rule 26(f)
            Conference and Pre-Trial Order in Rice v. 384 Farms, et al, 16-ap-
            1111, and Rice v. Travis Mears Farms, et al, 16-ap-1123.                     .50

01/24/17    Legal research re: calculating and pro-rating trustee fees earned by
            initial trustee and successor trustee re: preparation for hearing on
            Motion for Interim Compensation/Distribution filed by Richard Cox,
            Former Trustee.                                                              .50

01/24/17    Reviewed Motion for Protective Order, Discovery Requests, and
            related items in file re: preparation for hearings set on Motion and Pre-
            Trial in Rice v. Southern Rice & Cotton LLC, 16-ap-1095.                    1.00

01/24/17    Reviewed drafts of Trustee’s Discovery Responses prepared by Kevin
            Keech, special counsel, re: Rice v. LTD Farms, et al, 16-ap-1140.            .50

01/23/17    Completed review of Hill Defendants’ Responses to Trustee’s First
            Set of Interrogatories & RFPs; also, reviewed documents (Bates
            Labeled Hill & Hill 1-243) attached to discovery.                           1.50

01/26/17    Telephone conference with Shane Baker, attorney, re: matters related
            to Rice v. Minturn Grain, 16-ap-1097.                                        .20

01/26/17    Reviewed (1) Defendant’s Objections and Responses to First Set of
            requests for admissions, (2) Defendant’s Objections to Interrogatories
            & First Set of RFPs, and (3) draft of proposed Protective Order in Rice
            v. Minturn Grain, 16-ap-1097.                                               1.80

01/26/17    Emails to/from Kendel Grooms, attorney, re: matters related to
            subpoena issued on Trustee in connection with Zero Grade Farms, et
            al, v. Agri Business Properties LLC, et al, Case No. 43CV-14-410.            .30

01/26/17    Reviewed Complaint, Answer, discovery requests, and pleading re:
            preparation for hearings in Rice v. SRC LLC, 16-ap-1095.                    1.00

01/27/17    Attended hearings in Rice v. Southern Rice & Cotton LLC, 16-ap-
            1095; also, conferred with Lyndsey Dilks, attorney, before and after
            hearings re: discovery process and related matters.                         2.00

01/27/17    Attended/observed hearing on Motion to Compel Arbitration in Rice
            v. Gavilon Grain LLC, 16-ap-1149; also, conferred with Greg Bevel,
            special counsel, after hearing.                                             1.00

01/29/17    Prepared draft of Motion for Proposed compromise settlement re: Rice
            v. Caviness, et al, 16-ap-1134.                                              .50

01/29/17    Revised draft of Pre-Trial Order and forwarded to Barrett Moore,
            attorney, re: Rice v. Travis Mears Farms, Inc., et al, 16-ap-1123.           .50




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01/30/17    Conferred with Trustee and Kendel Grooms and Don Campbell,
            attorneys, re: matters related to Zero Grade Farms, et al, v. Agri
            Business Properties LLC, et al, Case No. 43CV-14-410.                     2.50

01/31/17    Prepared revised draft of Protective Order re: Zero Grade Farms, et al,
            v. Agri Business Properties LLC, et al, Case No. 43CV-14-410.             1.00

01/31/17    Telephone conference with Kevin Keech, special counsel, re: issues
            related to Zero Grade Farms, et al, v. Agri Business Properties LLC,
            et al, Case No. 43CV-14-410.                                               .50

01/31/17    Revised draft of Protective Order re: Zero Grade Farms, et al, v. Agri
            Business Properties LLC, et al, Case No. 43CV-14-410, and
            forwarded to Kendel Grooms, attorney, for review and approval; also,
            email to/from attorney approving order and re: other matters.              .50

01/31/17    Review of email from Paul Bennett, attorney, re: matters related to
            Rice v. Walter Shepherd Farms, et al, 16-ap-1110.                          .20

01/31/17    Conferred with Randy Rice, attorney, re: matters related to pending
            litigation and parallel litigation.                                        .20

02/01/17    Conference with Randy Rice, attorney, re: scheduling hearing on work
            product issue.                                                             .25

02/03/17    Forwarded Pre-Trial Order to Lloyd Ward, attorney, for review and
            approval re: Rice v. M-Real Estate LLC, 16-ap-1113.                        .30

02/03/17    Forwarded Pre-Trial Order to Kendel Grooms, attorney, for review
            and approval re: Rice v. K&K Farm, 16-ap-1102.                             .30

02/03/17    Forwarded Pre-Trial Order to Paul Bennett, attorney, for review and
            approval re: Rice v. Walter Shepherd Farms, et al, 16-ap-1111.             .30

02/03/17    Forwarded Pre-Trial Order to Ralph Waddell, attorney, for review and
            approval re: Rice v. Minturn Grain, 16-ap-1111.                            .30

02/03/17    Conferred with Randy Rice, attorney, re: disposition of various
            adversary proceedings.                                                     .20

02/03/17    Drafted and forwarded Pre-Trial Order to Lloyd Ward, attorney, for
            review and approval re: Rice v. M-Real Estate LLC, 16-ap-1113.             .50

02/03/17    Drafted and forwarded Pre-Trial Order to Kendel Grooms, attorney,
            for review and approval re: Rice v. K&K Farm, 16-ap-1102.                  .50

02/03/17    Forwarded Pre-Trial Order to Paul Bennett, attorney, for review and
            approval re: Rice v. Walter Shepherd Farms, et al, 16-ap-1111.             .30

02/03/17    Forwarded Pre-Trial Order to Ralph Waddell, attorney, for review and
            approval re: Rice v. Minturn Grain, 16-ap-1111.                            .30


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02/03/17    Conferred with Randy Rice, attorney, re: disposition of various
            adversary proceedings.                                                     .20

02/06/17    Revised and sent Pre-Trial Order to Paul Bennett, attorney, for review
            and final approval re: Rice v. Walter Shepherd Farms, et al, 16-ap-
            1110.                                                                      .20

02/06/17    Reviewed email from Kim Tucker, attorney, re: pending Motions to
            confirm settlements of Rice v. Caviness, 16-ap-1134, Rice v. CRVS
            LLC, 16-ap-1133, and Rice v. KBX , 16-ap-1023.                             .20

02/06/17    Conducted Rule 26(f) Conference re: Rice v. James Farms JV, et al,
            16-ap-1103; also, forwarded drafts of Pre-Trial Order and Rule 26(f)
            Report to counsel.                                                        1.20

02/06/17    Telephone conference with and email to/from Roger McNeil, attorney,
            settlement negotiations, re: Rice v. Rice Market Services, 16-ap-1099;
            also, reviewed pleadings and related materials in file in effort to
            analyze offer.                                                             .70

02/06/17    Further review of documents produced in discovery re: Rice v. Hill &
            Hill, et al, 16-ap-1101; also, cross-referenced documents against
            materials in debtor’s file.                                                .70

02/06/17    Conference with Randy Rice, attorney, re: concerning disclosure of
            settlement agreements with defendants in other adversary proceedings.
                                                                                       .25

02/07/17    Completed review and analysis of pleadings and discovery materials
            re: effort to assess offer made in Rice v. Rice Market Services, 16-ap-
            1099; also, conferred with Trustee about matter.                          1.00

02/07/17    Conferred with Randy Rice, attorney, re: matters related to discovery
            made in Rice v. Hill & Hill, et al, 16-ap-1101.                            .50

02/07/17    Reviewed information related to relationship between former
            employee of Debtor and company owned and controlled by preference
            defendant.                                                                 .50

02/07/17    Reviewed email from Paul Bennett, attorney, re: final approval of Pre-
            Trial Order in re: Rice v. Walter Shepherd Farms, et al, 16-ap-1110.      .10

02/07/17    Emails to/from Barrett Moore, attorney, re: Rice v. 384 Farms, et al,
            16-ap-1111, and Rice v. Travis Mears Farms, et al, 16-ap-1123; also,
            finalized Pre-Trial Orders in cases.                                       .50

02/07/17    Reviewed pleadings and Debtor’s paper and electronic file re: effort
            to identify records and information for making initial disclosures in
            Rice v. James Farms JV, et al, 16-ap-1103.                                2.00




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02/07/17    Reviewed pleadings and Debtor’s paper and electronic file re: effort
            to identify records and information for making initial disclosures in
            Rice v. Walter Shepherd Farms, et al, 16-ap-1110.                          1.00

02/08/17    Email to/from David Tyler, attorney, re: Pre-Trial Order and Rule 26
            Report in Rice v. James Farms JV, et al, 16-ap-1103; also, forwarded
            Order to Court.                                                             .50

02/08/17    Letter to Kim Tucker, attorney, re: matters related to discovery
            responses in Rice v. Hill & Hill, et al, 16-ap-1101.                       1.20

02/08/17    Conferred with Randy Rice, attorney, re: legal issues and litigation
            strategy related to Rice v. Hill & Hill, et al, 16-ap-1101.                 .50

02/08/17    Conferred with Randy Rice, attorney, re: discovery, litigation strategy,
            and other matters related to pending adversary proceedings against
            various parties.                                                           1.00

02/08/17    Email to/from Paul Bennett, attorney, re: Pre-Trial Order in Rice v.
            Walter Shepherd Farms, et al, 16-ap-1110; also, finalized and
            forwarded Order to Court.                                                   .20

02/08/17    Reviewed pleadings and paper and electronic records in Debtor’s file
            re: effort to identify information for initial disclosures in connection
            with Rice v. 384 Farms, et al, 16-ap-1111, and Rice v. Mears Farms,
            et al, 16-ap-1123.                                                         1.40

02/08/17    Conference with Randy Rice, attorney, re: discovery on one of
            adversary proceedings, drafting letter to attorney to revise and amend
            answers to discovery.                                                       .30

02/09/17    Conference with Randy Rice, attorney, re: pre-trial order on ap 16-
            1099, Razorback Rice & Seed, to be submitted to attorney, response
            to other matters that the parties have been conferring about.               .40

02/09/17    Drafted First Set of Interrogatories & RFPs to Defendant in Rice v.
            Big Creek Rice Farms, Inc., 16-ap-1118.                                    3.20

02/09/17    Reviewed file and updated litigation spreadsheet to reflect status of
            multiple pending adversary proceedings; also, conferred with Trustee
            about litigation strategies.                                                .30

02/09/17    Letter to Roger McNeil, attorney, settlement negotiations, re: Rice v.
            Razorback Rice & Seed Co., dba Rice Market Services, 16-ap-1099;
            also, drafted and forwarded proposed Pre-Trial Order.                       .50

02/10/17    Telephone conference with and email to/from Shane Baker, attorney,
            re: matters related to Rice v. Minturn Grain, 16-ap-1097; also, revised
            and forwarded Pre-Trial Order to attorney.                                  .50




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02/10/17    Reviewed email from Laura Westbrook, staff attorney, re: minor
            revisions to Pre-Trial Order in Rice v. James Farms JV, et al, 16-ap-
            1103; also, revised Order and forwarded to attorney for review and
            approval.                                                                  .40

02/10/17    Reviewed email from Laura Westbrook, staff attorney, re: minor
            revisions to Pre-Trial Order in Rice v. Walter Shepherd Farms, et al,
            16-ap-1110; also, revised Order and forwarded to attorney for review
            and approval.                                                              .40

02/10/17    Finalized and forwarded Trustee’s First Set of Interrogatories & RFPs
            to Defendant in Rice v. Big Creek Rice Farms, Inc., 16-ap-1118.            .80

02/10/17    Prepared draft of Trustee’s First Set of Interrogatories & RFPs to
            Defendant in Rice v. Medford, et al, 16-ap-1123.                           .40

02/10/17    Email to/from Barrett Moore, attorney, re: minor revisions to Pre-Trial
            Orders in Rice v. 384 Farms, et al, 16-ap-1111, and Rice v. Travis
            Mears Farms, et al, 16-ap-1123; also, revised and forwarded Order to
            attorney for review.                                                       .30

02/11/17    Conference with Randy Rice, attorney, re: legal status of all pending
            adversary proceedings filed directly by trustee, follow up status of
            pending tolling agreement, adversary proceedings where defendants
            are in default, discovery in cases where no pre-trial proceedings have
            begun, legal strategy in moving forward.                                   .90

02/11/17    Finalized and forwarded Trustee’s First Set of Interrogatories & RFPs
            to Medford Defendant in Rice v. Medford, et al, 16-ap-1124.               1.00

02/11/17    Drafted and forwarded Trustee’s First Set of Interrogatories & RFPs
            to Defendant in Rice v. JD McGregor Farms LLC, 16-ap-1120; also,
            reviewed Complaint and Answer and related materials in file               1.80

02/11/17    Conferred with Randy Rice, attorney, re: matters related to status of
            pending adversary proceedings.                                             .50

02/13/17    Telephone conference with David Tyler, attorney, settlement
            negotiations, re: Rice v. James Farms JV, et al, 16-ap-1103.               .20

02/13/17    Drafted and served First Set of Interrogatories & RFPs to Defendant
            in Rice v. Benton, 16-ap-1136.                                            1.80

02/13/17    Reviewed Motion to Extend Time filed by Defendant in Rice v.
            Southern Rice & Cotton LLC, 16-ap-1095; also, reviewed email from
            Lyndsey Dilks, attorney, and attachments, (1) Draft Order on Motion
            and (2) Draft Protective Order.                                           1.00

02/13/17    Telephone conference with David Tyler, attorney, settlement
            negotiations, re: Rice v. James Farms JV, et al, 16-ap-1103.               .20



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02/13/17    Reviewed and analyzed back-up documentation to transactions in
            effort to assess offer made in re: Rice v. James Farms JV, et al, 16-ap-
            1103.                                                                       .20

02/13/17    Revised and forwarded Pre-Trial Order/Scheduling Order to Court in
            re: Rice v. James Farms JV, et al, 16-ap-1103.                              .30

02/13/17    Email to/from Shane Baker, attorney, re: final changes to and approval
            of Pre-Trial Order/Scheduling Order to Court in re: Rice v. Minturn
            Grain, 16-ap-1097.                                                          .40

02/13/17    Emails to/from Kevin Keech, special counsel, re: matters related to
            preservation of electronic records.                                         .30

02/14/17    Letter to Grant Ballard, attorney, settlement negotiations, re: Rice v.
            Oxner, 16-ap-1115.                                                          .20

02/14/17    Drafted letter to Roger McNeil, attorney, re: discovery issues in Rice
            v. Rice Market Services, 16-ap-1099.                                        .40

02/14/17    Finalized and submitted Pre-Trial Order/Scheduling Order to Court in
            Rice v. Walter Shepherd Farms, et al, 16-ap-1110.                           .30

02/14/17    Finalized and submitted Pre-Trial Order/Scheduling Order to Court in
            Rice v. Minturn Grain, 16-ap-1097.                                          .30

02/14/17    Letter to Grant Ballard, attorney, settlement negotiations, re: Rice v.
            Oxner, 16-ap-1115.                                                          .20

02/14/17    Drafted letter to Roger McNeil, attorney, re: discovery issues in Rice
            v. Rice Market Services, 16-ap-1099.                                        .40

02/14/17    Finalized and submitted Pre-Trial Order/Scheduling Order to Court in
            Rice v. Walter Shepherd Farms, et al, 16-ap-1110.                           .30

02/14/17    Finalized and submitted Pre-Trial Order/Scheduling Order to Court in
            Rice v. Minturn Grain, 16-ap-1097.                                          .30

02/14/17    Letter to David Tyler, attorney, settlement negotiations, re: Rice v.
            James Farms JV, et al, 16-ap-1103.                                          .30

02/14/17    Further review of Protective Order furnished by Lyndsey Dilks,
            attorney, re: Rice v. Southern Rice & Cotton LLC, 16-ap-1095; also,
            conferred with Trustee about matter.                                       1.00

02/14/17    Letter to David Tyler, attorney, settlement negotiations, re: Rice v.
            James Farms JV, et al, 16-ap-1103.                                          .30

02/14/17    Further review of Protective Order furnished by Lyndsey Dilks,
            attorney, re: Rice v. Southern Rice & Cotton LLC, 16-ap-1095; also,
            conferred with Trustee about matter.                                       1.00


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02/15/17    Telephone conference with Kim Tucker, attorney, re: matters related
            to Rice v. Hill & Hill Farms, et al, 16-ap-1101.                           .20

02/15/17    Conference with Randy Rice, attorney, re: status of various adversary
            proceedings, pending discovery, follow up on demands from defense
            attorneys in adversary proceedings.                                        .75

02/15/17    Cursory review of Protective Order entered in Zero Grade Farms, et
            al, v. Agri Business Properties LLC, et al, Case No. 43CV-14-410.          .30

02/15/17    Email to Roger McNeil, attorney, re: issues related to discovery in
            Rice v. RMS, 16-ap-1099.                                                   .40

02/15/17    Emails to/from Lyndsey Dilks, attorney, re: discovery in Rice v.
            Southern Rice & Cotton LLC, 16-ap-1095; also, drafted and
            forwarded alternative version of Protective Order to attorney for
            review.                                                                   1.00

02/15/17    Emails to/from Shane Banker, attorney, re: discovery in Rice v.
            Minturn Grain, 16-ap-1097; also, revised draft of Protective Order and
            forwarded to attorney for review.                                          .60

02/16/17    Reviewed Answer filed by Jim Smith, attorney, on behalf of
            Defendants in Rice v. Rabo Agrifinance, 17-ap-1004; also, reviewed
            pleadings cited in Answer and conferred with Trustee.                     1.20

02/16/17    Email to Jim Smith, attorney, settlement negotiations, re: Rice v. Rabo
            Agrifinance, 17-ap-1004.                                                   .10

02/16/17    Further review and analysis of documents produced in discovery by
            Defendant in Rice v. Rice Market Services, 16-ap-1099; also, prepared
            ordinary course of business spreadsheet and directed paralegal to
            complete.                                                                 2.20

02/17/17    Reviewed Order extending deadline to respond to discovery in Rice
            v. Southern Rice & Cotton LLC, 16-ap-1095.                                 .30

02/17/17    Reviewed and calendared pre-trial hearings set for 03/07 in multiple
            adversary proceedings associated with case.                                .50

02/17/17    Reviewed answer filed by Mike Dabney, attorney, on behalf of
            Defendant in Rice v. Ainsworth, 16-ap-1105; also, cursory legal
            research re: FRCP 12(f) and Bankruptcy Rule 9011.                          .40

02/17/17    Reviewed letter from Kim Tucker, attorney, re: supplemental
            discovery in Rice v. Hill & Hill, et al, 16-ap-1101.                       .80

02/17/17    Email to/from Paul Bennett, attorney, re: Rule 26(f) Report in Rice v.
            Walter Shepherd Farms, et al, 16-ap-1110.                                  .20




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02/18/17    Finalized and filed Rule 26(f) Report in Rice v. Walter Shepherd
            Farms, et al, 16-ap-1110.                                                   .20

02/18/17    Further review of documents produced in discovery by Hill
            Defendants re: Rice v. Hill & Hill Farms, et al, 16-ap-1101.               1.80

02/20/17    Prepared and filed Motion to Strike Answer filed by Defendant in Rice
            v. Ainsworth, 16-ap-1105.                                                   .50

02/20/17    Reviewed email from David Tyler, attorney, re: matters related to Rice
            v. Fogleman Farms, et al, 16-ap-1109.                                       .30

02/20/17    Reviewed docket and Conferred with Randy Rice, attorney, re: matters
            set for Pre-Trial Hearings in Helena on March 7, 2017; also, reviewed
            emails from Kim Tucker, attorney, and Harry Light, attorney, re:
            hearings.                                                                   .50

02/20/17    Letter to Kim Tucker, attorney, re: matters related to discovery in Rice
            v. Hill & Hill, et al, 16-ap-1101.                                          .30

02/20/17    Reviewed supplemental documents produced by defendant in
            discovery re: Rice v. Hill & Hill, et al, 16-ap-1101.                      2.00

02/20/17    Reviewed email from Bill Waddell, attorney, settlement negotiations,
            re: matters related to preference defendants and tolling agreement.         .30

02/20/17    Finalized and served Trustee’s initial disclosures in Rice v. James
            Farms JV, et al, 16-ap-1103; also, reviewed initial disclosures made
            by Defendants.                                                              .50

02/20/17    Email to/from Harry Light, attorney, re: re-scheduling Pre-Trial
            Hearing in Rice v. Leslie T Brown Farms, et al, 16-ap-1104.                 .10

02/20/17    Reviewed email from Kim Tucker, attorney, re: re-scheduling Pre-
            Trial Hearings in multiple adversary proceedings.                           .10

02/20/17    Conference with Randy Rice, attorney, re: additional discovery
            received from Hill & Hill ap 16-1101pursuant to good faith request,
            motion to strike on Ainsworth answer in ap 16-1105, discovery in
            Rabo ap 17-1004.                                                            .75

02/21/17    Prepared drafts of First Set of Interrogatories & RFPs to Defendant in
            Rice v. Rabo Agrifinance, et al, 17-ap-1004; also, reviewed pleadings
            and related materials in connection with drafting discovery requests.
                                                                                       2.50

02/21/17    Email to Bill Waddell, attorney, settlement negotiations, re: matters
            related to preference defendants and tolling agreement.                     .30

02/21/17    Prepared draft of First Set of Interrogatories & RFPs to James Farms
            JV in Rice v. James Farms JV, et al, 16-ap-1103; also, reviewed


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            pleadings and related materials in connection with drafting discovery
            requests and Conferred with Randy Rice, attorney, re: matters related
            to conducting discovery on remaining defendants.                           2.00

02/21/17    Finalized Trustee’s initial disclosures in Rice v. 384 Farms, et al, 16-
            ap-1111, and Rice v. Travis Mears Farms, et al, 16-ap-1123; also,
            email to opposing counsel re: status of approving Pre-Trial Orders in
            cases.                                                                      .40

02/21/17    Email to/from Shane Baker, attorney, re: matters related to protective
            order, discovery conference, and discovery responses re: Rice v.
            Agrimarketing Inc. dba Minturn Grain, 16-ap-1097.                           .20

02/21/17    Reviewed initial disclosures made by lead defendants in (1) Rice v.
            384 Farms, et al, 16-ap-1111, and (2) Rice v. Travis Mears Farms, et
            al, 16-ap-1123.                                                             .80

02/22/17    Telephone conference with Mike Dabney, attorney, re: continuing
            hearing on Motion to Strike in Rice v. Ainsworth, 16-ap-1105                .20

02/22/17    Telephone conference with Trey Scott, attorney, re: continuing pre-
            trial hearing in Rice v. Benton, 16-ap-1136.                                .20

02/22/17    Finalized and served First Set of Interrogatories & RFPs to Defendant
            in Rice v. Rabo, 17-ap-1004.                                                .20

02/22/17    Finalized and served First Set of Interrogatories & RFPs to James
            Farms in re: Rice v. James Farms JV, et al, 16-ap-1103; also, drafted
            and served discovery requests on BJ Farms Inc., and drafted discovery
            requests to Bill Ray James.                                                2.00

02/22/17    Reviewed initial disclosures and accompanying documents made by
            defendants in Rice v. 384 Farms, et al, 16-ap-1111 and Rice v. Travis
            Mears Farms, et al, 16-ap-1123; also, finalized and served Trustee’s
            initial disclosures in same cases, and started assembling and
            organizing documents for production to Mears Defendants; also, email
            to/from Shane Baker and Barrett Moore, attorneys, re: finalizing Pre-
            Trial Orders in cases.                                                     2.40

02/22/17    Conducted Rule 26(f) Conference with Shane Baker, attorney, re: Rice
            v. Agrimarketing Inc., dba Minturn Grain, 16-ap-1097; also, drafted
            and forwarded Rule 26(f) Report to attorney for review and approval.
                                                                                        .80

02/22/17    Emails to/from attorneys and Court re: continuing adversary
            proceeding hearings set for 03/07 in Helena to 04/13 in Little Rock        1.00

02/22/17    Reviewed Objections filed by creditors to Motion for PROPOSED
            COMPROMISE SETTLEMENT re: Rice v. KBX , 16-ap-1023.                         .30




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02/22/17    Drafted proposed Pre-Trial Order& Scheduling Order in re: Rice v.
            Fogleman Farms II, et al, 16-ap-1109.                                        .50

02/23/17    Meeting with Trustee, Brandi Evans and Donna Poullos, re: status of
            adversary proceedings and other pending matters, strategies in
            proceeding forward.                                                         3.50

02/23/17    Status meeting with Randy Rice, attorney and staff re: pending
            avoidance actions; also, developed case strategies and delegated tasks
            to paralegals.                                                              3.20

02/23/17    Letter to Roger McNeil, attorney, re: Pre-Trial Order and discovery in
            Rice v. Rice Market Services, 16-ap-1099.                                    .80

02/23/17    Letter to Lloyd Ward, attorney, re: Pre-Trial Order in Rice v. M-Real
            Estate LLC, 16-ap-1113.                                                      .40

02/23/17    Reviewed pleadings and related materials in file and Conferred with
            Randy Rice, attorney, re: Rice v. LTD Farms, et al, 16-ap-1140.             1.00

02/23/17    Email to/from Shane Baker, attorney, re: matters related to Rice v.
            Minturn Grain, 16-ap-1097.                                                   .10

02/23/17    Email to/from Kevin Keech, special counsel, re: matters related to
            preservation of estate records.                                              .10

02/24/17    Drafted First Set of Interrogatories & requests for production to TMFI
            in connection with Rice v. Travis Mears Farms, Inc., et al, 16-ap-
            1123; also, reviewed pleadings and related materials in connection
            with drafting discovery requests.                                           2.80

02/24/17    Completed review of initial disclosures made by defendants in Rice v.
            Travis Mears Farms, Inc., et al, 16-ap-1123, and Rice v. 384 Farms,
            Inc., et al, 16-ap-1111; also, email to/from Barrett Moore, attorney, re:
            production of documents identified by Trustee in initial disclosures.       1.20

02/24/17    Email to/from Roger McNeil, attorney, re: matters related to Rice v.
            Rice Market Services, 16-ap-1099.                                            .20

02/24/17    Reviewed and calendared pre-trial hearing set in Rice v. Rabo
            Agrifinance, 17-ap-1004; also, conferred with Trustee.                       .10

02/24/17    Traveled to/from office of Kevin Keech, special counsel, re:
            inspection and copying of records in connection with parallel state
            court litigation; also, conferred with Don Campbell, attorney, re:
            pending matters.                                                             .80

02/24/17    Reviewed file and drafted initial disclosures re: Rice v. Walter
            Shepherd Farms, et al, 16-ap-1110.                                           .90




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02/27/17    Drafted, finalized, and served First Set of Interrogatories and RFPs on
            remaining Defendants (8) in Rice v. James Farms JV, et al, 16-ap-
            1103.                                                                      2.00

02/27/17    Email to/from Lyndsey Dilks, attorney, re: matters related to Rice v.
            Southern Rice & Cotton LLC, 16-ap-1095.                                     .20


02/27/17    Drafted First Set of Interrogatories and RFPs to Separate Defendant
            (Travis Mears) in connection with Rice v. Travis Mears Farms, Inc.,
            et al, 16-ap-1123.                                                         1.00

02/27/17    Drafted Motion for Default Judgment re: Rice v. Storey, 16-ap-1112;
            also, conferred with Trustee about cases where defendant is in default.
                                                                                       1.00

02/27/17    Finalized and submitted Trustee’s initial disclosures re: Rice v. Walter
            Shepherd Farms, et al, 16-ap-1110; also, assembled documents
            identified in disclosures for production.                                  1.00

02/28/17    Reviewed First Set of Interrogatories & RFPs propounded by
            Defendant to Trustee in Rice v. Benton, 16-ap-1136; also, prepared
            rough draft of Objections/Responses.                                       1.50

02/28/17    Email to/from Lloyd Ward, attorney, re: Rice v. M-Real Estate LLC,
            16-ap-1113; also, submitted Pre-Trial Order& Scheduling Order.              .30

02/28/17    Email to/from David Tyler, attorney, re: Rice v. Fogleman Farms II,
            et al, 16-ap-1109; also, submitted Pre-Trial Order& Scheduling Order.
                                                                                        .30

02/28/17    Drafted Trustee’s Objections/Responses to First Set of Interrogatories
            & RFPs propounded by Defendant in Rice v. Oxner, 16-ap-1115.               1.50

02/28/17    Reviewed Debtor’s email server re: effort to identify and analyze
            records and communications relevant to claims and defenses at issue
            in Rice v. Agrimarketing, Inc., dba Minturn Grain, 16-ap-1097.             1.50

03/01/17    Telephone conference with Laura Westbrook, staff attorney, re:
            pending Motions for Proposed compromise settlement in Rice v.
            Caviness, et al, and Rice v. Cache River Valley Seed LLC.                   .30

03/01/17    Drafted Complaint against JJC Partners, JRC Partners, Jimel Farms,
            and Swamp Poodle Farms; also, reviewed related materials in file in
            connection with drafting Complaint                                         1.00

03/01/17    Finalized and served First Set of Interrogatories & RFPs on (1) Travis
            Mears, (2) Scott Mears, and (3) Mears Farms, Inc., in connection with
            Rice v. Travis Mears Farms, Inc., et al, 16-ap-1123.                       2.00




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03/01/17    Email to/from David Tyler, attorney, concerning revision suggested
            by Court re: Pre-Trial Order in Rice v. Fogleman Farms II, et al, 16-
            ap-1109; also, revised and submitted corrected Pre-Trial Order to
            Court.                                                                      .30

03/02/17    Telephone conference with Kim Tucker, attorney, re: matters related
            to discovery and pre-trial conferences set in Hill & Hill, et al, 16-ap-
            1101, and other preference actions.                                         .30

03/02/17    Telephone conference with Tom Streetman, attorney, re: matters
            related to discovery.                                                       .30

03/02/17    Email to/from Shane Baker, attorney, re: Rule 26(f) Report and
            discovery in Rice v. Agrimarketing, Inc., dba Minturn Grain, 16-ap-
            1097; also, finalized and filed Rule 26(f) Report.                          .40

03/02/17    Conference with Randy Rice, attorney, re: proposed objections to
            interrogatories, limited answers to discovery and answers to remaining
            interrogatories and request for production of documents. Additional
            discussions concerning efforts to confirm accuracy and completeness
            of responses and objection. Discussion of Federal Rules and how they
            relate to answers, objections and limited objections. Strategy in
            proceeding forward in responding.                                          1.10
03/02/17    Drafted Trustee’s initial disclosures under Rule 26(a)(1) re: Rice v.
            Agrimarketing, Inc., dba Minturn Grain, 16-ap-1097.                         .40

03/02/17    Email to/from Lyndsey Dilks, attorney, re: scheduling time to confer
            about protective order, Rule 26(f) Report, and other matters related to
            Rice v. Southern Rice & Cotton LLC, 16-ap-1095.                             .10

03/02/17    Finalized Notices of Opportunity to Object/Respond (Additional) re:
            Motions for Proposed compromise settlement filed in Rice v. Cache,
            16-ap-1133, and Rice v. Caviness, 16-ap-1134; also, reviewed docket
            to confirm that appropriate creditors listed in notice per Court’s
            instructions.                                                               .60

03/02/17    Conferred with Randy Rice, attorney, re: answering discovery in Rice
            v. Oxner, 16-ap-1115; also, re: matters related to discovery in other
            adversary proceeding associated with Debtor’s case.                         .80

03/02/17    Drafted Motion to Compel Discovery (Hill & Hill) in re: Rice v. Hill
            & Hill Farms Partnership, et al, 16-ap-1101; also, drafted
            accompanying Declaration.                                                  2.00

03/02/17    Review of email from Roger McNeil, attorney, re: matters related to
            discovery in Rice v. Rice Market Services, 16-ap-1099.                      .20

03/03/17    Finalized and filed Motion to Compel Discovery and accompanying
            Declaration re: Rice v. Hill & Hill Farms Partnership, et al, 16-ap-
            1101.                                                                       .80



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03/03/17    Meeting with Randy Rice, attorney and Kevin Keech, special counsel,
            re: pending adversary proceedings, discovery, pre-trials, and other
            matters related to bankruptcy estate.                                   3.00

03/03/17    Reviewed Defendants’ Initial Disclosures re: Rice v. Walter Shepherd
            Farms, et al, 16-ap-1110.                                                .20

03/03/17    Email to/from Roger McNeil, attorney, re: matters related to Rice v.
            Razorback Rice & Seed dba Rice Market Services, 16-ap-1099.              .40

03/03/17    Telephone conference with Lyndsey Dilks, attorney, re: (1) matters
            related to Rice v. Southern Rice & Cotton LLC, 16-ap-1095, and (2)
            Rice v. KBX Inc., 16-ap-1023.                                            .50

03/06/17    Conference with Randy Rice, attorney, re: protective order in state
            court case, hearings on 03/08/17, complaint about to be filed against
            Jimel Farms et al, jury v non jury issue.                                .60

03/06/17    Drafted First Set of Interrogatories & RFPs to Defendant (WS) in re:
            Rice v. Walter Shepherd Farms, et al, 16-ap-1110.                       1.00

03/06/17    Email to/from Kendel Grooms, attorney, re: production of documents
            under Protective Order in state court action; also, cursory review of
            documents shared by attorney.                                           1.00

03/06/17    Email to/from Kevin Keech, special counsel, re: possible legal bases
            for striking jury demand in multiple preference cases; also, reviewed
            opinion cited by special counsel.                                        .50

03/07/17    Conference with Randy Rice, attorney, re: request of counsel for LTD
            Farms to dismiss two of parties from ap, documents supporting
            retaining parties as defendants, possible dismissal with stipulation.    .40

03/07/17    Completed and served First Set of Interrogatories & RFPs to
            Defendant (WS) in re: Rice v. Walter Shepherd Farms, et al, 16-ap-
            1110.                                                                    .20

03/07/17    Email to Bill Waddell, attorney, settlement negotiations, re: matters
            related to Rice v. LTD Farms, et al, 16-ap-1140; also, reviewed
            pleadings and related materials in file.                                 .30

03/07/17    Email to Shane Baker, attorney, re: discovery status in Rice v.
            Agrimarketing, Inc., dba Minturn Grain, 16-ap-1097.                      .10

03/07/17    Email Lyndsey Dilks, attorney, re: Protective Order, Rule 26(f)
            Report, and other matters related to Rice v. Southern Rice & Cotton
            LLC, 16-ap-1095.                                                         .10

03/07/17    Emails to/from Lloyd Ward,, attorney, re: scheduling discovery
            conference and other matters related to Rice v. M-Real Estate LLC,
            16-ap-1113; also, reviewed discovery requests propounded by


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            Defendant to Trustee and reviewed pleadings and related materials in
            file in connection with preparing for discovery conference.              1.00

03/07/17    Submitted Pre-Trial Orders to Court in re: Rice v. 384 Farms, Inc., et
            al, 16-ap-1111, and Rice v. Travis Mears Farms, Inc., et al, 16-ap-
            1123.                                                                     .10

03/07/17    Prepared revised drafts of Trustee’s Responses to Defendant’s First
            Set of Interrogatories & RFPs re: Rice v. Oxner, 16-ap-1115.              .30

03/08/17    Telephone conference with Phil Hickey, attorney, re: matters related
            to Rice v. J&B Farms, et al, 16-ap-1122.                                  .10

03/08/17    Conducted Rule 26(f) Conference re: Rice v. Fogleman Farms II, et al,
            16-ap-1109; also, drafted and forwarded Rule 26(f) Report to attorney
            for review and approval.                                                  .50

03/08/17    Conducted Rule 26(f) Conference re: Rice v. M-Real Estate LLC 16-
            ap-1113; also, drafted and forwarded Rule 26(f) Report to attorney for
            review and approval.                                                      .50

03/08/17    Prepared drafts of Motion to Compel Discovery and accompanying
            Declaration re: Rice v. Agrimarketing, Inc., dba Minturn Grain, 2:16-
            ap-1097.                                                                 2.00

03/08/17    Reviewed email from Roger McNeil, attorney, re: Rice v. Razorback
            Rice & Seed Co. dba Rice Market Services, 16-ap-1099.                     .20

03/09/17    Telephone conference with Grant Ballard, attorney, settlement
            negotiations, re: Rice v. Oxner, 16-ap-1115.                              .20

03/09/17    Finalized and filed Motion to Compel Discovery and accompanying
            Declaration re: Rice v. Agrimarketing, Inc., dba Minturn Grain, 2:16-
            ap-1097.                                                                 1.20

03/09/17    Conferred with Randy Rice, attorney, re: pre-trial hearing in Rice v.
            LTD Farms, et al, 16-ap-1140; also, drafted proposed Agreed Order
            of Dismissal re: Turner Grain v. LTD Farms, et al, 14-ap-1119.            .50

03/09/17    Finalized and filed Complaint and Cover Sheet re: Rice v. JJC
            Partners, et al, 2:17-ap-1024; also, forwarded courtesy copy of
            Complaint to Bill Waddell, attorney.                                     1.00

03/09/17    Conference with Randy Rice, attorney, re: possible settlement
            negotiations on one of adversary proceedings.                             .30

03/10/17    Conference with Randy Rice, attorney, re: pending ap, discovery
            received from ap defendants mirrored discovery from plaintiff,
            response to motion to strike in Ainsworth ap, upcoming discovery in
            KBX state court case.                                                     .40



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03/10/17    Reviewed discovery requests propounded to Trustee in Rice v.
            Agrimarketing, Inc., dba Minturn Grain, 16-ap-1097.                          1.00

03/13/17    Conference with Randy Rice, attorney, re: pending ap, Rice v. JB
            Farms et al, FNBA’s request to dismiss it as a party, affidavit and
            stipulation.                                                                  .20

03/13/17    Telephone conference with and email to/from Phillip Hickey, attorney,
            settlement negotiations, re: matters related to Rice v. J&B Farms, et
            al, 16-ap-1122; also, reviewed Bank’s Affidavit and drafted
            Stipulation of Dismissal, Tolling Agreement, and Order                        .80

03/13/17    Drafted and filed Certificates of Service re: Rice v. JJC Partners, et al,
            17-ap-1024; also, instructed paralegal re: service of complaint and
            summons on defendants.                                                        .50

03/13/17    Email to/from Lyndsey Dilks, attorney, re: Rice v. Southern Rice &
            Cotton LLC, 16-ap-1095; also, reviewed revised draft of Protective
            Order.                                                                        .80

03/14/17    Telephone conference with Phil Hicky, attorney, settlement
            negotiations, re: matters related to Rice v. J&B Farms, et al, 16-ap-
            1122.                                                                         .20

03/14/17    Email to Lyndsey Dilks, attorney, re: issues related to draft of
            Protective Order in Rice v. Southern Rice & Cotton LLC, 16-ap-1095.
                                                                                          .50

03/14/17    Reviewed and calendared hearing set for 04/19 in Helena re: Motion
            to Compel Discovery filed in Rice v. Agrimarketing, Inc., dba Minturn
            Grain, 16-ap-1097; also, email to Shane Baker and Ralph Waddell,
            attorneys, re: possible continuance to LR Docket.                             .10

03/14/17    Drafted Motion for Protective Order re: Rice v. Southern Rice &
            Cotton LLC, 16-ap-1095.                                                       .50

03/14/17    Email to/from Kendel Grooms, attorney, re: matters related to
            Debtor’s cloud storage account; also, changed login credentials to
            account and reviewed records and communications saved to account,
            and drafted letter to account service.                                       1.00

 03/15/17   Finalized and served Trustee’s Initial Disclosures in re: Rice v.
            Agrimarketing, Inc., dba Minturn Grain, 16-ap-1097; also, reviewed
            Defendant’s Initial Disclosures.                                              .50

03/15/17    Reviewed records of emails, text messages, and phone calls between
            Debtor, Travis Mears, and Scott Mears re: facts related to claims and
            defenses in Rice v. 384 Farms, Inc., et al, 16-ap-1111, and Rice v.
            Travis Mears Farms, Inc., et al, 16-ap-1123; also, PDF’d items and
            saved to case file.                                                           .80



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03/15/17    Email to/from Roger McNeil, attorney, re: Rice v. Razorback Rice &
            Seed Co., dba Rice Market Services, 16-ap-1099.                             .30

03/15/17    Reviewed Defendant’s answers, responses, and objections to Trustee’s
            First Set of Interrogatories & RFPs re: Rice v. Benton, 16-ap-1136.        1.00

03/15/17    Conference with Randy Rice, attorney, re: newly discovered emails,
            possible retention of expert ediscovery person.                             .30

03/16/17    Finalized and served Trustee’s Objections, Answers, and Responses
            to Defendant’s First Set of Interrogatories and Requests for Production
            of Documents re: Rice v. Oxner, 16-ap-1115; also, reviewed
            Defendant’s Objections, Answers, and Responses to Trustee’s First
            Set of Interrogatories and Requests for Production of Documents.           1.00

03/16/17    Letter to Trey Scott, attorney, settlement negotiations, re: Defendant’s
            Objections and Responses to Trustee’s First Set of Interrogatories and
            Requests for Production of Documents; also, cursory review of
            documents produced in discovery by Defendant.                               .40

03/17/17    Prepared revised drafts of Trustee’s discovery responses in Rice v.
            Benton, 16-ap-1136.                                                         .50

03/17/17    Letter to Grant Ballard, attorney, settlement negotiations, re:
            Defendant’s discovery responses in Rice v. Oxner, 16-ap-1115.               .50

03/17/17    Email to/from David Tyler, attorney, re: revisions to Pre-Trial Order
            and Rule 26(f) Report in re: Rice v. Fogleman Farms II, et al, 16-ap-
            1109; also, revised and submitted Order to Court and revised and filed
            Report in case.                                                             .50

03/17/17    Drafted initial disclosures of Trustee re: Rice v. Fogleman Farms II,
            et al, 16-ap-1109.                                                          .50

03/17/17    Prepared revised drafts of Trustee’s discovery responses in Rice v.
            Benton, 16-ap-1136.                                                         .50

03/17/17    Letter to Grant Ballard, attorney, settlement negotiations, re:
            Defendant’s discovery responses in Rice v. Oxner, 16-ap-1115.               .50

03/17/17    Email to/from David Tyler, attorney, re: revisions to Pre-Trial Order
            and Rule 26(f) Report in re: Rice v. Fogleman Farms II, et al, 16-ap-
            1109; also, revised and submitted Order to Court and revised and filed
            Report in case.                                                             .50

03/17/17    Drafted initial disclosures of Trustee re: Rice v. Fogleman Farms II,
            et al, 16-ap-1109.                                                          .50

03/20/17    Finalized and sent letter to Grant Ballard, attorney, settlement
            negotiations, re: Defendant’s discovery responses in Rice v. Oxner,
            16-ap-1115; also, reviewed response email from attorney.                    .50


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03/20/17    Drafted letter to Barrett Moore, attorney, re: initial disclosures made
            by Trustee in Rice v. Travis Mears Farms, Inc., et al, 16-ap-1123; also,
            assembled and reviewed documents identified in disclosures for
            production to Mears Defendants.                                            1.00

03/20/17    Reviewed email from Roger McNeil, attorney, approving Pre-Trial
            Order re: Rice v. Razorback Rice & Seed Co., dba Rice Market
            Services, 2:16-ap-1099; also, finalized and submitted Order to Court
            and reviewed and calendared deadlines.                                      .30

03/20/17    Reviewed email from Lyndsey Dilks, attorney, re: Protective Order in
            Rice v. Southern Rice & Cotton LLC, 16-ap-1095.                             .30

03/20/17    Reviewed email from Shane Baker, attorney, and initial disclosures
            made by Bear State Bank fka Heritage Bank, N.A., in connection with
            Rice v. Travis Mears Farms, Inc., et al, 16-ap-1123, and Rice v. 384
            Farms, Inc., et al, 16-ap-1111.                                             .50

03/20/17    Email to/from Kendel Grooms, attorney, re: production of additional
            documents under subpoena issued in Zero Grade Farms, et al, v. Agri
            Business Properties LLC, et al, Case No. 43CV-14-410.                       .30

03/21/17    Email to/from Lyndsey Dilks, attorney, re: matters related to Rice v.
            Southern Rice & Cotton LLC, 16-ap-1095; also, reviewed revised
            draft of Protective Order and made further revisions and forwarded to
            attorney for final approval.                                               1.50

03/21/17    Email to Roger McNeil, attorney, re: scheduling Rule 26(f)
            Conference in Rice v. Razorback Rice & Seed Co., dba Rice Market
            Services, 16-ap-1099.                                                       .10

03/21/17    Email to Grant Ballard, attorney, settlement negotiations, re: discovery
            responses in Rice v. Oxner, 16-ap-1115.                                     .30

03/21/17    Email to/from Kendel Grooms, attorney, re: permitting inspection of
            additional documents under subpoena issued in Zero Grade Farms, et
            al, v. Agri Business Properties LLC, et al, Case No. 43CV-14-410.           .50

03/21/17    Met and conferred with Kendel Grooms, attorney, re: permitting
            inspection of additional documents under subpoena issued in Zero
            Grade Farms, et al, v. Agri Business Properties LLC, et al, Case No.
            43CV-14-410.                                                                .30

03/21/17    Further revisions to Trustee’s Objections, Answers and Responses to
            First Set of Interrogatories & RFPs re: Rice v. Benton, 16-ap-1136.        1.00

03/21/17    Prepared rough draft of Trustee’s Objections, Answers and Responses
            to First Set of Interrogatories & RFPs re: Rice v. Minturn Grain, 16-
            ap-1097; also, reviewed pleadings, discovery responses, and related
            materials in file.                                                         1.00



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03/21/17    Telephone conference with Grant Ballard, attorney, settlement
            negotiations, re: discovery responses in Rice v. Oxner, 16-ap-1115.       .20

03/21/17    Telephone conference with Lyndsey Dilks, attorney, re: matters
            related to Rice v. Southern Rice & Cotton LLC, 16-ap-1095.                .50

03/22/17    Reviewed Initial Disclosures of Defendants in Rice v. Fogleman
            Farms II, et al, 16-ap-1109.                                              .50

03/22/17    Drafted First Set of Interrogatories & RFPs to Lead Defendant in Rice
            v. Fogleman Farms II, et al, 16-ap-1109; also, reviewed pleadings and
            related materials in file re: drafting discovery.                        1.50

03/22/17    Emails to/from Shane Baker, attorney, re: matters related to Motion to
            Compel Discovery pending in Rice v. Agrimarketing, Inc., dba
            Minturn Grain.                                                            .50

03/22/17    Reviewed Defendant’s Discovery Answers and accompanying
            documents in Rice v. Agrimarketing, Inc., dba Minturn Grain.             3.50

03/22/17    Conferred with Randy Rice, attorney, re: matters related to pending
            preference cases and avoidance actions.                                   .50

03/23/17    Drafted and forwarded Rule 26(f) Report to Roger McNeil, attorney,
            re: Rice v. Razorback Rice & Seed Co., dba Rice Market Services,
            2:16-ap-1099.                                                             .30

03/23/17    Drafted and submitted Trustee’s Initial Disclosures in Rice v. M-Real
            Estate LLC, 2:16-ap-1113; also, reviewed Defendant’s Initial
            Disclosures.                                                              .50

03/23/17    Drafted and served Trustee’s First Set of Interrogatories & RFPs to
            Defendant in Rice v. M-Real Estate LLC, 2:16-ap-1113; also,
            reviewed pleadings and related materials in file.                        1.50

03/23/17    Cursory review of reports and back-up documentation re: defenses
            asserted in Rice v. Razorback Rice & Seed Co., dba Rice Market
            Services, 2:16-ap-1099.                                                   .50

03/23/17    Drafted Objections, Answers, and Responses to Defendant’s First Set
            of Interrogatories & RFPs propounded to Trustee in Rice v. M-Real
            Estate LLC, 2:16-ap-1113; also, reviewed pleadings and materials in
            files in connection with drafting discovery responses.                   1.50

03/23/17    Further review of Defendant’s discovery responses and accompanying
            documents re: Rice v. Agri Marketing, Inc., dba Minturn Grain, 16-ap-
            1097; also, conferred with Trustee about matter.                         1.00

3/24/17     Reviewed discovery responses of Lead Defendant re: Rice v. Travis
            Mears Farms, Inc., et al, 16-ap-1123.                                    3.00



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03/24/17    Email to/from Kendel Grooms, attorney, re: additional documents to
            be produced under subpoena issued in connection with state court
            action.                                                                     .20

03/24/17    Email to Carbonite legal department re: issues related to restoration of
            Debtor’s account and back-up data.                                          .20

03/24/17    Telephone conference with Mike Schultz, attorney, re: issues related
            to restoring/recovering carbonite account.                                  .30

03/27/17    Telephone conference with Shane Baker, attorney, settlement
            negotiations, re: Motion to Compel Discovery pending in Rice v. Agri
            Marketing, Inc., dba Minturn Grain, 2:16-ap-1097, and related
            matters.                                                                    .50

03/27/17    Reviewed Discovery Responses and accompanying documents made
            by James Farms JV and Bill James Farms, Inc., re: Rice v. James
            Farms JV, et al, 2:16-ap-1103.                                             2.60

03/27/17    Email to/from Lyndsey Dilks, attorney, re: Protective Order in Rice
            v. Southern Rice & Cotton LLC, 2:16-ap-1095, and finalized and
            submitted Protective Order to Court; also, emailed revised drafts of
            Pre-Trial Order and Rule 26(f) Report to Dilks for review.                  .50

03/27/17    Completed review of discovery responses and document production
            in Rice v. Agri Marketing, Inc., dba Minturn Grain, 2:16-ap-1097;
            also, compared to items in file.                                           1.00

03/27/17    Completed review of discovery responses and document production
            in Rice v. Travis Mears Farms, Inc., et al, 2:16-ap-1123; also,
            compared to items in file.                                                 1.00

03/27/17    Email to/from Kate Davidson, special counsel, re: information and
            records related to Rice v. Gavilon Grain LLC, 16-ap-1149.                   .30

03/27/17    Email to/from David Tyler, attorney, re: matters related to discovery
            responses in Rice v. James Farms JV, et al, 16-ap-1103.                     .20

03/27/17    Conference with Randy Rice, attorney, re: discovery received in Rice
            v. Mears, discovery received in Rice v. Agrimarketing, negotiations
            between parties, discovery received in Rice v. James Farms.                 .50

03/28/17    Conference with Randy Rice, attorney, re: default status of turnover
            of discovery documents to Grooms, affirmative defenses being
            asserted in Rice v. Mears.                                                  .50

03/28/17    Reviewed pleadings and Conferred with Randy Rice, attorney, re:
            matters related to Rice v. J&B Farms (Vanderburg), 16-ap-1122.              .30

03/28/17    Telephone conference with and email to/from Mike Schultz, attorney,
            re: issues related to restoration of Carbonite account.                     .30


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03/28/17    Emails to/from Kevin Keech, special counsel, re: matters related to
            restoring Carbonite account.                                               .50

03/28/17    Conferred with Randy Rice, attorney, re: request made by Kendel
            Grooms, attorney, for production of emails under subpoena and
            protective order entered in state court proceeding; also, assembled
            emails and files for production to attorney.                               .80

03/28/17    Revised draft of Trustee’s discovery responses re: Rice v. Benton, 16-
            ap-1136.                                                                  1.40

03/29/17    Finalized Trustee’s Discovery Responses and assembled responsive
            documents for production re: Rice v. Benton, 2:16-ap-1136; also,
            prepared transmittal letter concerning proceeding to Ralph Scott,
            attorney, and forwarded letter and discovery responses to attorney.       1.50

03/29/17    Email to/from Kevin Keech, special counsel, re: matters related to
            restoration of Carbonite account; also, email to/from Mike Schultz,
            Carbonite attorney, re: matter.                                            .40

03/29/17    Email to Kendel Grooms, attorney, re: production of emails under
            subpoena issued in Zero Grade Farms, et al, v. Agri Business
            Properties LLC, et al, Case No. 43CV-14-410.                               .30

03/29/17    Cursory legal research re: issues related to Rice v. Agri Marketing,
            Inc., dba Minturn Grain, 2:16-ap-1097.                                     .50

03/29/17    Drafted Trustee’s Initial Disclosures re: Rice v. Razorback Rice &
            Seed Co., dba Rice Market Services, 2:16-ap-1099.                          .30

03/30/17    Prepared draft of Trustee’s Objections, Answers, and Responses to
            First Set of Interrogatories & request for productions re: Rice v. Agri
            Marketing, Inc., dba Minturn Grain, 2:16-ap-1097.                         1.80

03/30/17    Reviewed back-up data on Debtor’s Carbonite account re: effort to
            identify records related to bankruptcy proceeding and associated
            adversary proceedings.                                                    1.00

03/30/17    Cursory email to/from Roger McNeil, attorney, re: Rice v. Razorback
            Rice & Seed Co., dba Rice Market Services, 2:16-ap-1099; also,
            finalized and filed Rule 26(f) Report.                                     .10

03/31/17    Letter to Barrett Moore, attorney, settlement negotiations, re: Rice v.
            Travis Mears Farms, Inc., et al, 2:16-ap-1123, and Rice v. 384 Farms,
            Inc., et al, 2:16-ap-1111.                                                 .50

03/31/17    Email to Paul Bennett, attorney, re: matters related to Rice v. Walter
            Shepherd Farms, 2:16-ap-1110.                                              .10

03/31/17    Completed Trustee’s Objections, Answers, and Responses to First Set
            of Interrogatories & RFPs re: Rice v. Agri Marketing, Inc., dba


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            Minturn Grain, 2:16-ap-1097; also, reviewed, assembled, organized,
            and labeled documents for production.                                      2.80

03/31/17    Email to Shane Baker, attorney, re: status of Defendant completing
            production in Rice v. Agri Marketing, Inc., dba Minturn Grain, 2:16-
            ap-1097.                                                                    .10

03/31/17    Telephone conference with and email to Ralph Scott, attorney,
            settlement negotiations, re: Rice v. Benton, 2:16-ap-1136.                  .40

03/31/17    Email to/from Grant Ballard, attorney, re: matters related to
            supplementing discovery in Rice v. Oxner, 16-ap-1115.                       .20

04/03/17    Telephone conference with and email to/from Kendel Grooms,
            attorney, re: matters related to production of GoDaddy emails under
            subpoena issued in Zero Grade Farms, et al, v. Agri Business
            Properties LLC, et al, Case No. 43CV-14-410.                                .50

 04/03/17   Telephone conference with and email to Lisa Ballard, attorney, re:
            matters related to production of GoDaddy emails under subpoena
            issued in Zero Grade Farms, et al, v. Agri Business Properties LLC,
            et al, Case No. 43CV-14-410.                                                .50

04/03/17    Cursory review of letter and enclosed discovery responses and
            documents from Mike Cone, attorney, re: Rice v. James Farms JV, et
            al, 16-ap-1103.                                                             .50

04/03/17    Email to/from Grant Ballard, attorney, settlement negotiations, re:
            supplementing discovery in Rice v. Oxner, 16-ap-1115.                       .10

04/03/17    Email to/from Roger McNeil, attorney, re: Rice v. Razorback Rice &
            Seed Co., dba Rice Market Services, 2:16-ap-1099.                           .20

04/03/17    Conference with Randy Rice, attorney, re: plaintiff’s interrogatories
            and request for production of documents in Rice v. M Real Estate,
            legal strategies proceeding forward.                                        .40

04/04/17    Telephone conference with Don Campbell, attorney, re: matters
            related to production of GoDaddy emails under subpoena issued in
            Zero Grade Farms, et al, v. Agri Business Properties LLC, et al, Case
            No. 43CV-14-410.                                                            .30

04/04/17    Emails to/from Lisa Ballard, attorney, re: matters related to production
            of GoDaddy emails under subpoena issued in Zero Grade Farms, et al,
            v. Agri Business Properties LLC, et al, Case No. 43CV-14-410; also,
            emails to/from Kendel Grooms and Don Campbell, attorneys, about
            matter.                                                                     .30

04/04/17    Email to/from Shane Baker, attorney, re: matters related to discovery
            in Rice v. Agri Marketing, Inc., dba Minturn Grain, 16-ap-1097.             .10



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04/04/17    Drafted and forwarded protective order to Roger McNeil, attorney, re:
            Rice v. Razorback Rice & Seed Co., dba Rice Market Services, 2:16-
            ap-1099.                                                                   .20

04/05/17    Telephone conference with Barrett Moore, attorney, re: issues related
            to Rice v. 384 Farms, Inc., et al, 16-ap-1111, and Rice v. TMFI, et al,
            16-ap-1123.                                                                .50

4/05/17     Cursory review of documents in file re: issues raised by Barrett
            Moore, attorney, in relation to Rice v. 384 Farms, Inc., et al, 16-ap-
            1111, and Rice v. TMFI, et al, 16-ap-1123.                                 .50

04/05/17    Email to/from Shane Baker, attorney, re: matters related to discovery
            in Rice v. Agri Marketing, Inc., dba Minturn Grain, 16-ap-1097.            .10

04/05/17    Finalized and submitted Pre-Trial Order re: Rice v. Benton, 2:16-ap-
            1136.                                                                      .10

04/05/17    Finalized and served Trustee’s Discovery Responses re: Rice v. M-
            Real Estate LLC, 2:16-ap-1113.                                             .20

04/05/17    Reviewed motions filed by parties in Zero Grade Farms, et al, v. Agri
            Business Properties LLC, et al, Case No. 43CV-14-410, re: effort to
            determine impact on adversary proceedings.                                1.00

04/05/17    Telephone conference with Shane Baker, attorney, re: matters related
            to discovery in Rice v. Agri Marketing, Inc., dba Minturn Grain, 2:16-
            ap-1097.                                                                   .20

04/07/17    Emails to/from Greg Bevel, special counsel, and Kevin Keech, special
            counsel, re: matters related to information on file re: Debtor with
            Arkansas Secretary of State.                                               .30

04/07/17    Telephone conference with and email to/from Paul Bennett, attorney,
            re: extending discovery deadline in Rice v. Walter Shepherd Farms,
            16-ap-1110.                                                                .20

04/07/17    Email to/from Grant Ballard, attorney, re: Rice v. Oxner, 2:16-ap-
            1115; also, reviewed Initial Disclosures of Defendant and prepared
            and submitted Trustee’s Initial Disclosures.                               .30

04/07/17    Reviewed email and attached pre-trial order from Bill Waddell,
            attorney, re: Rice v. JJC Partners, et al, 2:17-ap-1024.                   .40

04/07/17    Email to/from Barrett Moore, attorney, re: discovery deadline in Rice
            v. Travis Mears Farms, Inc., et al, 2:16-ap-1123.                          .10

04/07/17    Reviewed and analyzed documents produced in discovery by
            Defendants re: Rice v. James Farms JV, et al, 2:16-ap-1103.               2.60




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04/07/17    Telephone conference with Andy Ballard, attorney, re: Zero Grade
            Farms, et al, v. Agri Business Properties LLC, et al, Case No.
            43CV-14-410.                                                               .20

04/10/17    Telephone conference with and emails to/from Harry Light, attorney,
            and Jack Talbot, attorney, re: pre-trial hearing in Rice v. Leslie T
            Brown Farms, et al, 2:16-ap-1104; also, prepared and forwarded draft
            of Pre-Trial Order to attorneys for review and approval.                  1.00

04/10/17    Reviewed docket and pleadings re: hearings set for April 13th in
            multiple adversary proceedings.                                            .50

04/10/17    Email to/from Bill Waddell, attorney, re: pre-trial hearing in Rice v.
            JJC Partners, et al, 2:17-ap-1024; also, reviewed proposed Pre-Trial
            Order furnished by attorney.                                               .50

04/11/17    Telephone conference with and email to/from Charlie Coleman,
            attorney, re: multiple adversary proceedings set for hearings on April
            13.                                                                        .50

04/11/17    Telephone conference with Bill Waddell, attorney, re: matters related
            to Rice v. JJC Partners, et al, 2:17-ap-1024, and Rice v. LTD Farms,
            et al, 2:16-ap-1140.                                                       .40

04/11/17    Finalized and served Trustee’s written discovery responses in Rice v.
            Agri Marketing, Inc., dba Minturn Grain, and email to/from Shane
            Baker re: status of Minturn Grain supplementing written discovery
            and document production; also, organized and assembled responsive
            documents for production and Conferred with Randy Rice, attorney,
            re: matters related to document production.                               2.50

04/11/17    Reviewed pleadings, rules, and case law re: preparation for hearing on
            Motion to Strike and Response in Rice v. Ainsworth, 2:16-ap-1105.         1.00

04/11/17    Telephone conference with Bill Waddell, attorney, re: matters related
            to Rice v. JJC Partners, et al, 2:17-ap-1024, and Rice v. LTD Farms,
            et al, 2:16-ap-1140.                                                       .40

04/12/17    Reviewed pleadings, rules, and case law re: preparation for hearing on
            Motion to Compel Discovery in Rice v. Hill & Hill, et al, 2:16-ap-
            1101.                                                                     2.50

04/12/17    Email to/from Charlie Coleman, attorney, re: matters related to Rice
            v. Medford, Rice v. N&D Farms, and Rice v. Big Creek Rice Farms,
            Inc.                                                                       .10

04/12/17    Prepared revised draft of Pre-Trial Order re: Rice v. LTD Farms, et al,
            2:16-ap-1140, and forwarded to Bill Waddell, attorney, for review and
            approval; also, reviewed email from Bill Waddell, attorney, approving
            form of Pre-Trial Order.                                                   .50



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04/13/17    Final preparations for and attended hearing on Motion to Strike and
            Response in Rice v. Ainsworth, 2:16-ap-1105. Motion Denied,
            Defendant to prepare Order.                                                 2.00

04/13/17    Final preparations for and attended hearing on Motion to Compel
            Discovery in Rice v. Hill & Hill Farms, et al, 2:16-ap-1101. Motion
            taken under advisement, Court to schedule telephonic conference.            3.00

04/13/17    Email to/from Trey Scott, attorney, re: scheduling time to conduct
            Rule 26(f) Conference in Rice v. Benton, 2:16-ap-1136.                       .10

04/13/17    Email to/from Roger McNeil, attorney, settlement negotiations, re:
            discovery and other matters related to Rice v. Razorback Rice & Seed
            Co., dba Rice Market Services, 2:16-ap-1099.                                 .30

04/13/17    Email to/from Barrett Moore, attorney, re: status of discovery in Rice
            v. Travis Mears Farms, Inc., et al, 2:16-ap-1123.                            .10

04/14/17    Drafted Application for Approval of Accounting Fees and Expenses
            to Lain, Faulkner & Co., P.C.                                                .50

04/14/17    Conducted Rule 26(f) Conference with Ralph Scott, attorney, re: Rice
            v. Benton, 2:16-ap-1136; also, drafted and forwarded Joint Report of
            Rule 26(f) Conference to attorney for review and approval.                   .30

04/14/17    Letter to Grant Ballard, attorney, settlement negotiations, re: discovery
            issues in Rice v. Oxner 2:16-ap-1115.                                        .50

04/14/17    Assembled document production re: Trustee’s Discovery Responses
            in Rice v. Hill & Hill Farms, et al, 16-ap-1101; also, drafted
            transmittal letter to Charlie Coleman, attorney.                            1.00

04/14/17    Reviewed supplemental discovery responses of Defendant re: Rice v.
            Agri Marketing, Inc., dba Minturn Grain; also, reviewed letter from
            Shane Baker, attorney, re: forthcoming supplemental document
            production by Defendant in discovery.                                       1.00

04/17/17    Initial review of supplemental document production made by
            Defendant in Rice v. Agri Marketing, Inc., dba Minturn Grain, 2:16-
            ap-1097; also, email to Shane Baker, attorney, re: production.              1.00

04/17/17    Reviewed discovery responses of Travis Mears, Scott Mears, and
            Mears Farms, Inc., re: Rice v. Travis Mears Farms, Inc., et al, 2:16-ap-
            1123; also, email to/from Barrett Moore, attorney, re: status of
            drafting Protective Order.                                                  2.00

04/17/17    Drafted and forwarded Pre-Trial Order to Charles Coleman, attorney,
            and Russell Berry, attorney, re: Rice v. Hill & Hill Farms, et al, 2:16-
            ap-1101.                                                                    1.00




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04/17/17    Drafted email to Kendel Grooms, attorney, re: matters related to
            documents produced by Trustee in connection with re: Zero Grade
            Farms, et al, v. Agri Business Properties LLC, et al, Case No.
            43CV-14-410.                                                               .30

04/18/17    Conference with Randy Rice, attorney, re: discovery received in Rice
            v. Agri, necessity for redacted information.            Review of
            correspondence between staff attorney and attorney for defendant, re:
            request to revise discovery and provide unredacted checks.                 .40

04/18/17    Telephone conference with Roger McNeil, attorney, settlement
            negotiations, re: Rice v. Razorback Rice & Seed Co., dba Rice Market
            Services, 2:16-ap-1099.                                                    .30

04/18/17    Further review of supplemental document production made by
            Defendant re: Rice v. Agri Marketing, Inc., dba Minturn Grain, 2:16-
            ap-1097; also, emails to/from Shane Baker, attorney, re: issues related
            to document production and conferred with Trustee.                        2.80

04/18/17    Email to/from Charlie Coleman, attorney, re: Pre-Trial Order in Rice
            v. Hill & Hill Farms, et al, 2:16-ap-1101.                                 .30

04/18/17    Telephone conference with Laura Westbrook, staff attorney, re:
            matters related to Rice v. Oxner, 2:16-ap-1115.                            .10

04/19/17    Email to Roger McNeil, attorney, settlement negotiations, re: Rice v.
            Razorback Rice & Seed Co., dba Rice Market Services, 2:16-ap-1099.
                                                                                       .30

04/19/17    Email to/from Mike Dabney, attorney, re: proposed Order denying
            Motion to Strike in Rice v. Ainsworth, 2:16-ap-1105; also, reviewed
            signed answer filed by attorney in proceeding.                             .30

04/19/17    Drafted First Set of Requests for Admission to Lead Defendant re:
            Rice v. Hill & Hill Farms, et al, 2:16-ap-1101; also, reviewed
            pleadings, discovery, and related materials in connection with drafting
            Requests for Admission.                                                   1.50

04/19/17    Email to/from Kendel Grooms, attorney, re: matters related to
            documents produced by Trustee in connection with re: Zero Grade
            Farms, et al, v. Agri Business Properties LLC, et al, Case No.
            43CV-14-410; also, email to Lisa Ballard, attorney, about same
            matters.                                                                   .30

04/20/17    Finalized First Set of Requests for Admission to lead defendant re:
            Rice v. Hill & Hill Farms, et al, 2:16-ap-1101; also, assembled and
            reviewed exhibits to requests.                                             .50

04/20/17    Emails to/from Kendel Grooms, attorney, and Lisa Ballard, attorney,
            re: matters related to documents produced by Trustee in connection



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            with re: Zero Grade Farms, et al, v. Agri Business Properties LLC, et
            al, Case No. 43CV-14-410.                                                 .50

04/20/17    Reviewed Defendant’s discovery responses in Rice v. Big Creek Rice
            Farms, Inc., 2:16-ap-1118; also, reviewed documents produced in
            discovery by Defendant.                                                  1.50

04/20/17    Completed review and assembly of documents to be produced in
            discovery by Trustee in connection with Rice v. Hill & Hill Farms, et
            al, 2:16-ap-1101; also, forwarded letter to Kim Tucker and Charlie
            Coleman, attorneys for Hill Defendants, and produced documents to
            attorneys.                                                                .70

04/20/17    Assembled and reviewed documents to be produced in discovery by
            Trustee in connection with Rice v. Big Creek Rice Farms, Inc., 2:16-
            ap-1118; also, forwarded letter to Kim Tucker and Charlie Coleman,
            attorneys for Defendant, and produced documents to attorneys.            1.80

04/21/17    Telephone conference with Andy Ballard, attorney, re: matters related
            to documents produced by Trustee in connection with re: Zero Grade
            Farms, et al, v. Agri Business Properties LLC, et al, Case No.
            43CV-14-410.                                                              .30

04/22/17    Conference with Randy Rice, attorney, re: responding to subpoena,
            motion to quash.                                                          .25

04/21/17    Emails to/from Andy Ballard, attorney, and Kendel Grooms, attorney,
            re: matters related to documents produced by Trustee in connection
            with re: Zero Grade Farms, et al, v. Agri Business Properties LLC, et
            al, Case No. 43CV-14-410; also, conferred with Trustee about matters.
                                                                                     1.00

04/21/17    Finalized and filed Joint Rule 26(f) Report re: Rice v. Benton, 16-ap-
            1136.                                                                     .10

04/21/17    Reviewed email from Russell Berry, attorney, re: Pre-Trial Order in
            Rice v. Hill & Hill Farms, et al, 2:16-ap-1101; also, email to Charlie
            Coleman, attorney, re: matter.                                            .10

04/21/17    Reviewed supplemental discovery and supplemental disclosures made
            by Defendant re: Rice v. Oxner, 2:16-ap-1115.                             .50

04/21/17    Reviewed pleadings filed by Andy Ballard, attorney, in Zero Grade
            Farms, et al, v. Agri Business Properties LLC, et al, Case No.
            43CV-14-410.                                                             1.00

04/21/17    Email to/from Kendel Grooms, attorney, re: Application for Approval
            of Administrative Expense Claim filed by Trustee on behalf of Lain,
            Faulkner & Co.                                                            .10




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04/22/17    Conferred with Randy Rice, attorney, re: matters related to pleadings
            filed by Andy Ballard, attorney, in Zero Grade Farms, et al, v. Agri
            Business Properties LLC, et al, Case No. 43CV-14-410; also,
            reviewed email from Kendel Grooms, attorney, about matters.                 1.80

04/24/17    Conference with Randy Rice, attorney, re: motion to quash and notice
            of request for sanctions filed by Andy Ballard, attorney for Jason
            Coleman and response filed by Grooms on behalf of Zero Grade
            Farmers (zgf). Response to be filed by trustee, notification of intent
            to indemnify.                                                                .40

04/24/17    Drafted Trustee’s Response to pleadings filed by Andy Ballard,
            attorney, in Zero Grade Farms, et al, v. Agri Business Properties LLC,
            et al, Case No. 43CV-14-410; also, drafted email to Kendel Grooms,
            attorney, about matters.                                                    1.80

04/24/17    Reviewed letter from Barrett Moore, attorney, settlement negotiations,
            re: Rice v. 384 Farms, Inc., et al, 16-ap-1111, and Rice v. Travis
            Mears Farms, Inc., et al, 16-ap-1123.                                        .10

04/24/17    Further review of documents (MG00001-MG06028) produced by
            Defendant in discovery re: Rice v. Agri Marketing, Inc., dba Minturn
            Grain, 2:16-ap-1097.                                                        2.50

04/24/17    Initial review of Defendant’s discovery responses re: Rice v. M-Real
            Estate LLC, 2:16-ap-1113.                                                    .50

04/24/17    Reviewed file and records of Debtor and assembled, labeled, and
            organized documents being produced in discovery by Trustee re: Rice
            v. Medford, et al, 2:16-ap-1124.                                            1.20

04/25/17    Emails to/from Russell Berry, attorney, and Charlie Coleman,
            attorney, re: Rice v. Hill & Hill, et al, 2:16-ap-1101; also, finalized
            and submitted final draft of proposed Pre-Trial Order.                       .30

04/25/17    Drafted Motion for Entry of Default and for Default Judgment re: Rice
            v. Storey, 2:16-ap-1112.                                                    1.00

04/25/17    Completed review of Defendant’s discovery responses re: Rice v. M-
            Real Estate LLC, 2:16-ap-1113; also, letter to Lloyd Ward, attorney,
            re: adequacy of discovery responses.                                        2.00

04/25/17    Completed assembly of documents being produced in discovery by
            Trustee re: Rice v. Medford, et al, 2:16-ap-1124; also, letter to Charles
            Coleman and Kimberly Tucker, attorneys, re: production.                      .60

04/25/17    Reviewed and calendared notices of pre-trial hearings, status hearings,
            and trial dates docketed by Court in multiple adversary proceedings
            associated with Debtor’s case.                                               .50




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04/25/17    Email to/from John Talbot, attorney, and Harry Light, attorney, re:
            status of reviewing and approval Pre-Trial Order in Rice v. Leslie T
            Brown Farms, et al, 2:16-ap-1104.                                           .10

04/25/17    Completed initial review of documents (MG00001-MG06028)
            produced by Defendant in discovery re: Rice v. Agri Marketing, Inc.,
            dba Minturn Grain, 2:16-ap-1097.                                           2.50

04/25/17    Telephone conference with Laura Westbrook, staff attorney, re: status
            hearings set for June 6, 2017, on six adversary proceedings.                .30

04/26/17    Telephone conference with Paul Bennett, attorney, re: matters related
            to Rice v. Walter Shepherd Farms, 2:16-ap-1110.                             .40

04/26/17    Email to/from Barrett Moore, attorney, re: matters related to discovery
            in Rice v. Travis Mears Farms, Inc., et al, 2:16-ap-1123; also,
            reviewed draft of protective order provided by attorney.                    .50

04/26/17    Conference with Randy Rice, attorney, re: discovery received in Rice
            v. M-Real, possible request for clarification and amendment to
            responses.                                                                  .30

04/26/17    Emails to/from Charles Coleman, attorney, and Russell Berry,
            attorney, re: revisions to Pre-Trial Order in Rice v. Hill & Hill Farms,
            et al, 2:16-ap-1101.                                                        .30

04/26/17    Emails to/from Kendel Grooms, attorney, re: revisions to Pre-Trial
            Order in Rice v. K&K Farm Service, 2:16-ap-1102.                            .30

04/26/17    Email to/from Shane Baker, attorney, re: Motion to Compel Discovery
            set for hearing on June 6th in Rice v. Agri Marketing, Inc., dba
            Minturn Grain, 2:16-ap-1097; also, reviewed Motion, original
            discovery responses, and supplemental discovery responses re: effort
            to assess matters.                                                         1.00

04/26/17    Conferred with Randy Rice, attorney, re: draft of Motion for Entry of
            Default re: Rice v. Storey, 2:16-ap-1112.                                   .30

04/26/17    Conferred with Randy Rice, attorney, re: matters related to responding
            to Motion and Notice filed by Andy Ballard, attorney, in Zero Grade
            Farms, et al, v. Agri Business Properties LLC, et al, Case No.
            43CV-14-410; also, prepared final draft of Response.                        .50

04/26/17    Reviewed pleadings, dockets, and related materials in file re:
            anticipation of drafting Motions for Entry of Default in Rice v. James,
            2:16-ap-1117; Rice v. McLain, 2:16-ap-1117; and Rice v. Sauer, 2:16-
            ap-1119.                                                                    .70

04/27/17    Reviewed Order entered by Court on Trustee’s Motion to Compel
            Discovery re: Rice v. Hill & Hill Farms, et al, 2:16-ap-1101.              1.00



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04/27/17    Initial review of Defendant’s discovery responses and document
            production re: Rice v. Southern Rice & Cotton LLC, 2:16-ap-1095.          2.00

04/27/17    Reviewed numerous emails from attorneys re: matters set for hearing
            on May 2 in Zero Grade Farms, et al, v. Agri-Business Properties, et
            al.                                                                        .50

04/27/17    Email to/from Barrett Moore, attorney, settlement negotiations, re:
            discovery dispute in Rice v. Travis Mears Farms, Inc., et al, 2:16-ap-
            1123.                                                                      .20

04/27/17    Revised Pre-Trial Order and forwarded to Charles Coleman, attorney,
            and Russell Berry, attorney, for review and approval re: Rice v. Hill
            & Hill Farms, et al, 2:16-ap-1101.                                         .20

04/27/17    Finalized and submitted Pre-Trial Order to Court re: Rice v. K&K
            Farm Service, Inc., 2:16-ap-1102.                                          .20

04/27/17    Drafted letter to Grant Ballard, attorney, settlement negotiations, re:
            discovery dispute in Rice v. Oxner, 2:16-ap-1115.                          .50

04/27/17    Drafted Second Set of Interrogatories & RFPs and First Set of requests
            for admissions to Defendant re: Rice v. Oxner, 2:16-ap-1115.              1.20

04/27/17    Reviewed and calendared multiple pre-trial hearings and conferences
            set in multiple adversary proceedings.                                     .50

04/28/17    Further review of Defendant’s discovery responses and document
            production re: Rice v. Southern Rice & Cotton LLC, 2:16-ap-1095.          1.00

04/28/17    Reviewed Defendant’s initial disclosures re: Rice v. Benton, 2:16-ap-
            1136.                                                                      .10

04/28/17    Reviewed numerous emails from attorneys re: matters set for hearing
            on May 2 in Zero Grade Farms, et al, v. Agri-Business Properties, et
            al.                                                                        .50

04/28/17    Reviewed Defendant’s discovery responses re: Rice v. Walter
            Shepherd Farms, 2:16-ap-1110.                                             1.20

04/28/17    Email to/from Barrett Moore, attorney, settlement negotiations, re:
            discovery dispute in Rice v. Travis Mears Farms, Inc., et al, 2:16-ap-
            1123.                                                                      .30

04/28/17    Email to Shane Baker, attorney, settlement negotiations, re: discovery
            dispute in Rice v. Agri Marketing, Inc., dba Minturn Grain, 2:16-ap-
            1097.                                                                      .20

04/29/17    Completed initial review of Defendant’s discovery responses and
            document production re: Rice v. Southern Rice & Cotton LLC, 2:16-



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            ap-1095; also, letter to Lyndsey Dilks, attorney, re: questions and
            concerns related to discovery and production.                             2.20

04/29/17    Finalized and served Trustee’s First Set of requests for admissions and
            Trustee’s Second Set of Interrogatories & RFPs to Defendant re: Rice
            v. Oxner, 2:16-ap-1115.                                                    .30

04/29/17    Drafted letter to Barrett Moore, attorney, settlement negotiations, re:
            discovery dispute in Rice v. Travis Mears Farms, Inc., et al, 2:16-ap-
            1123.                                                                      .50


05/01/17    Telephone conference with Andy Ballard, attorney, re: hearing set for
            05/02/17 in Lonoke Court on Jason Coleman’s Notice and Motion to
            Quash filed in Zero Grade Farms, et al, v. Agri Business Properties
            LLC, et al, Case No. 43CV-14-410.                                          .40

05/01/17    Email to Andy Ballard, attorney, re: hearing set for 05/02 in Lonoke
            Court on Jason Coleman’s Notice and Motion to Quash filed in Zero
            Grade Farms, et al, v. Agri Business Properties LLC, et al, Case No.
            43CV-14-410.                                                               .20

05/01/17    Further review and analysis of Defendant’s Discovery Responses and
            Document Production (Pg. 00001-01815) in Rice v. Southern Rice &
            Cotton LLC, 2:16-ap-1095; also, prepared rough draft of second set of
            requests for admission.                                                   3.00

05/01/17    Drafted Motion for Leave to Amend Complaint in Rice v. Oxner,
            2:16-ap-1115; also, drafted proposed Amended Complaint.                    .50

05/01/17    Completed and emailed letter to Barrett Moore, attorney, settlement
            negotiations, re: discovery dispute in Rice v. Travis Mears Farms,
            Inc., et al, 2:16-ap-1123.                                                 .30

05/02/17    Completed draft of Second Set of requests for admissions to
            Defendant re: Rice v. Southern Rice & Cotton LLC, 2:16-ap-1095.           1.00

05/02/17    Further review and analysis of Defendant’s Discovery Responses and
            Document Production (Pg. 00001-01815) in Rice v. Southern Rice &
            Cotton LLC, 2:16-ap-1095; also, prepared rough draft of second set of
            requests for admission.                                                   2.50

05/02/17    Reviewed email from Harry Light, attorney, re: changes to Pre-Trial
            Order in Rice v. Leslie T Brown Farms, et al, 2:16-ap-1104.                .10

05/02/17    Completed draft of Motion for Leave to Amend Complaint and
            accompanying Amended Complaint in Rice v. Oxner, 16-ap-1115.               .20

05/02/17    Conference with Randy Rice, attorney, re: amendment to complaint in
            Rice v. Oxner.                                                             .30



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05/04/17    Drafted Pre-Trial Order and forwarded to Mike Dabney, attorney, re:
            Rice v. Ainsworth, 2:16-ap-1105.                                             .40

05/04/17    Drafted and forwarded Rule 26(f) Report to Bill Waddell, attorney, re:
            Rice v. JJC Partners, et al, 2:17-ap-1024.                                   .60

05/04/17    Conferred with Randy Rice, attorney, re: issues related to partial
            summary judgment on preference actions.                                      .50

05/04/17    Telephone conference with and email to/from Roger McNeil, attorney,
            re: status of producing bank records and emails in discovery in Rice
            v. Razorback Rice & Seed Co., dba Rice Market Services, 2:16-ap-
            1099, and re: objection to production of tax returns in discovery.           .50

05/04/17    Reviewed bank records and emails produced in discovery by
            Defendant re: Rice v. Razorback Rice & Seed Co., dba Rice Market
            Services, 2:16-ap-1099.                                                     1.00

05/04/17    Further review of 7,200 pages of documents produced in discovery by
            Defendant re: Rice v. Agri Marketing, Inc., dba Minturn Grain, 2:16-
            ap-1097.                                                                    1.50


05/05/17    Reviewed Medford’s discovery responses and accompany documents
            re: Rice v. Medford, et al, 2:16-ap-1124.                                   1.00

05/05/17    Email to/from Bill Waddell, attorney, re: initial disclosures,
            preservation of electronic data, and other matters related to Rule 26(f)
            Report in Rice v. JJC Partners, et al, 2:17-ap-1024.                         .30

05/05/17    Prepared drafts of First Sets of requests for admissions to Jimel Farms
            and to JJC Partners re: Rice v. JJC Partners, et al, 2:17-ap-1024; also,
            reviewed back-up documentation to transactions in connection with
            drafting First Sets of requests for admissions.                             2.00

05/05/17    Reviewed letter from Shane Baker, attorney, settlement negotiations,
            re: discovery in Rice v. Agri Marketing, Inc., dba Minturn Grain,
            2:16-ap-1097.                                                                .50

05/05/17    Reviewed email from Roger McNeil, attorney, settlement
            negotiations, re: matters related to discovery in Razorback Rice &
            Seed Co., dba Rice Market Services, 2:16-ap-1099.                            .30

05/05/17    Reviewed pleadings and Conferred with Randy Rice, attorney, re:
            status hearing set for 06/06 re: Oakley Grain, et al, v. Turner Grain, et
            al, Case No. 2:15-ap-01009.                                                  .70

05/10/17    Conference with Randy Rice, attorney, re: status of multiple ap.
            Discovery issues in Rice v. Agri and possible responses. Affirmative
            defenses asserted in Rice v. Medford. Status conference hearing in
            Rice v. LTD set for tomorrow - cover if Keech not available. Pending


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            interpleader action in Oakley Grain v HNB. Other matters set on
            06/06/17.                                                                   .50

05/10/17    Drafted letter to Shane Baker, attorney, settlement negotiations, re:
            matters related to discovery motion pending in Rice v. Agri
            Marketing, Inc., dba Minturn Grain, 2:16-ap-1097.                           .60

05/10/17    Further review of 8,000 pages of documents produced in discovery by
            Defendant in Rice v. Agri Marketing, Inc., dba Minturn Grain, 2:16-
            ap-1097.                                                                   2.00

05/11/17    Attended hearings on Cross-Claim filed by Relyance Bank and
            Answer to Cross-Claim (incl. Jury Demand) filed by LTD Defendants
            in Rice v. LTD Farms, et al, 2:16-ap-1140. Matters continued to
            Court’s next Little Rock Docket.                                           1.50

05/11/17    Email to/from Shane Baker, attorney, settlement negotiations, re:
            matters related to discovery motion pending in Rice v. Agri
            Marketing, Inc., dba Minturn Grain, 2:16-ap-1097.                           .30

05/11/17    Reviewed and analyzed discovery responses and document production
            in Rice v. Medford, et al, 2:16-ap-1124.                                   2.00

05/11/17    Email to/from Shane Baker, attorney, settlement negotiations, re:
            discovery motion pending in Rice v. Agri Marketing, Inc., dba
            Minturn Grain, 2:16-ap-1097.                                                .20

05/11/17    Further review of 8,000 pages of documents produced in discovery by
            Defendant in Rice v. Agri Marketing, Inc., dba Minturn Grain, 2:16-
            ap-1097.                                                                   2.00

05/12/17    Met and conferred with Shane Baker, attorney, settlement
            negotiations, re: discovery dispute in Rice v. Agri Marketing, Inc., dba
            Minturn Grain, 2:16-ap-1097.                                               1.00

05/13/17    Conference with Randy Rice, attorney, re: discovery conducted in
            Jonesboro on Minturn Grain case, necessity to pursue motion to
            compel.                                                                     .40

05/13/17    Conference with Randy Rice, attorney, re: assessment on one of
            pending adversary proceedings, possible motion to dismiss, possible
            nuisance settlement.                                                        .70

05/13/17    Drafted Amended Motion to Compel Discovery in Rice v. Agri
            Marketing, Inc., dba Minturn Grain, 2:16-ap-1097.                          1.00

05/13/17    Conferred with Trustee re: issues related to ordinary course of
            business and other defenses asserted in preference actions.                1.00




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05/13/17    Email to/from Shane Baker, attorney, settlement negotiations, re:
            discovery dispute in Rice v. Agri Marketing, Inc., dba Minturn Grain,
            2:16-ap-1097.                                                              .10

05/13/17    Email to/from Kevin Keech, attorney, re: Rice v. Galloway, et al,
            2:16-ap-1126; also, reviewed and analyzed ordinary course of
            business spreadsheet prepared by Defendant and reviewed related
            materials in Debtor’s file.                                                .80

05/13/17    Reviewed and analyzed Appellee’s Brief in Rice v. Gavilon prepared
            by special counsel; also, emails to/from special counsel re: suggested
            revisions to brief.                                                        .50

05/15/17    Revised and forwarded form Pre-Trial Order to Charles Coleman,
            Harry Hurst, et al, re: multiple adversary proceedings.                    .30

05/15/17    Reviewed letter from Barrett Moore, attorney, settlement negotiations,
            re: discovery dispute in Rice v. Travis Mears Farms, Inc., et al, 2:16-
            ap-1123; also, drafted reply letter to attorney.                          1.80

05/15/17    Reviewed Defendant’s Responses to First Set of requests for
            admissions re: Rice v. Hill & Hill Farms Partnership, et al, 2:16-ap-
            1101.                                                                     1.20

05/15/17    Drafted First Set of requests for admissions to Defendant re: Rice v.
            Walter Shepherd Farms, et al, 2:16-ap-1110.                                .50

05/15/17    Drafted First Set of requests for admissions to Defendant re: Rice v.
            384 Farms, Inc., et al, 2:16-ap-1111.                                      .50

05/16/17    Reviewed documents and information produced in discovery and
            assessed extent of affirmative defenses re: Rice v. Razorback Rice &
            Seed Co., dba Rice Market Services, 2:16-ap-1099; also, drafted letter
            to Roger McNeil, attorney, settlement negotiations, re: proceeding.       2.80

05/16/17    Drafted First Set of Requests for Admission to Defendant re: Rice v.
            384 Farms, Inc., et al, 2:16-ap-1111; also, reviewed pleadings,
            disclosures, and other materials in connection with drafting and
            formulating discovery.                                                    2.00

05/16/17    Email to/from Charlie Coleman, attorney, re: Pre-Trial Order in Rice
            v. Big Creek Rice Farms, Inc., 2:16-ap-1118.                               .10

05/16/17    Prepared and forwarded letter to Barrett S. Moore, attorney for Travis
            Mears Farms, re: Response concerning discovery (requests for
            production of documents). 2:16-ap 1123.                                   1.00

05/16/17    Email to/from Charlie Coleman, attorney, and Harry Hurst, attorney,
            re: Pre-Trial Order in Rice v. Medford, et al, 2:16-ap-1124.               .10




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05/17/17    Finalized and served First Set of Requests for Admissions in Rice v.
            384 Farms, Inc., et al, 2:16-ap-1111; also, drafted and served First Set
            of Interrogatories & RFPs.                                                  1.00

05/17/17    Submitted Pre-Trial Order in Rice v. Big Creek Rice Farms, Inc.,
            2:16-ap-1118.                                                                .10

05/18/17    Prepared and filed Motion for Entry of Default re: Rice v. Storey,
            2:16-ap-1112.                                                                .50

05/18/17    Prepared and filed Motion for Entry of Default re: Rice v. Sauer, 2:16-
            ap-1119.                                                                     .50

05/18/17    Prepared and served Trustee’s Initial Disclosures re: Rice v. Southern
            Rice & Cotton LLC, 2:16-ap-1095.                                             .20

05/18/17    Prepared revised draft of First Set of Requests for Admission re: Rice
            v. Walter Shepherd Farms, et al, 2:16-ap-1110.                               .50

05/18/17    Prepared revised drafts of First Set of Requests for Admission to Jimel
            Farms re: Rice v. JJC Partners, et al, 2:17-ap-1024; also, reviewed
            pleadings and materials in file in connection with drafting discovery
            requests.                                                                   1.60

05/19/17    Finalized and served First Set of requests for admissions to Jimel
            Farms re: Rice v. JJC Partners, et al, 2:17-ap-1024; also, drafted and
            served First Set of Interrogatories & Requests for Production of
            Documents to Jimel Farms.                                                   1.00

05/19/17    Finalized and served First Set of requests for admissions to JJC
            Partners re: Rice v. JJC Partners, et al, 2:17-ap-1024; also, drafted and
            served First Set of Interrogatories & Requests for Production of
            Documents to JJC Partners.                                                  1.00

05/19/17    Drafted and served First Set of requests for admissions to JRC
            Partners re: Rice v. JRC Partners, et al, 2:17-ap-1024; also, drafted
            and served First Set of Interrogatories & Requests for Production of
            Documents to JRC Partners.                                                  1.00

05/19/17    Finalized and served First Set of requests for admissions to Walter
            Shepherd re: Rice v. Walter Shepherd Farms, et al, 2:16-ap-1110.             .20

05/20/17    Drafted First Set of requests for admissions to FF II re: Rice v.
            Fogleman Farms II, et al, 2:16-ap-1109; also, reviewed pleadings,
            discovery responses, and related materials in file in connection with
            drafting requests.                                                          1.00

05/20/17    Drafted Second Set of requests for admissions to Defendant re: Rice
            v. Agri Marketing, Inc., dba Minturn Grain, 2:16-ap-1097; also,
            reviewed pleadings, discovery responses, and related materials in file
            in connection with drafting requests.                                       1.00


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05/20/17    Reviewed emails produced in discovery by Defendant re: Rice v. Agri
            Marketing, Inc., dba Minturn Grain, 2:16-ap-1097; also, additional
            review of original and supplemental discovery responses and
            documents produced in discovery.                                         2.00

05/20/17    Letter to Kim Tucker, attorney, re: issues related to documents
            produced in discovery by Defendant re: Rice v. Big Creek Rice Farms,
            Inc., 2:16-ap-1118.                                                       .30

05/22/17    Prepared rough draft of Second Set of requests for admissions to Hill
            & Hill re: Rice v. Hill & Hill Farms Partnership, et al, 2:16-ap-1101.
                                                                                      .50

05/22/17    Drafted First Set of requests for admissions to James Farms JV re:
            Rice v. James Farms JV, et al, 2:16-ap-1103; also, reviewed pleadings,
            discovery responses, and related materials in file in connection with
            drafting First Set of requests for admissions                            1.50

05/22/17    Completed review of emails produced in discovery by Defendant re:
            Rice v. Agri Marketing, Inc., dba Minturn Grain, 2:16-ap-1097; also,
            additional review of original and supplemental discovery responses
            and documents produced in discovery.                                     1.20

05/23/17    Email to/from Shane Baker, attorney, settlement negotiations, re:
            Motion to Compel Discovery pending in Agri Marketing, Inc., d/b/a
            Minturn Grain, Case No. 2:16-ap-1097.                                     .40

05/23/17    Finalized and served First Set of requests for admissions to James
            Farms JV in Rice v. James Farms JV, et al, 2:16-ap-1103.                  .20

05/23/17    Reviewed First Set of Interrogatories & Requests for Production of
            Documents propounded by James Farms JV to Trustee in Rice v.
            James Farms JV, et al, 2:16-ap-1103; also, prepared rough draft of
            responses to discovery.                                                  1.20

05/23/17    Drafted First Set of requests for admissions to Defendant in Rice v.
            Benton, 2:16-ap-1136.                                                    1.20

05/24/17    Finalized and served Trustee’s First Set of requests for admissions to
            Defendant in Rice v. Benton, 2:16-ap-1136.                                .20

05/24/17    Prepared revised draft of Second Set of requests for admissions to
            Defendant and prepared rough draft of Second Set of Interrogatories
            and Requests for Production of Documents to Defendant re: Rice v.
            Agri Marketing, Inc., d/b/a Minturn Grain, 2:16-ap-1097; also,
            reviewed discovery responses, disclosures, pleadings, and related
            materials in file in connection with drafting discovery requests.        2.80

05/24/17    Email to/from Shane Baker, attorney, settlement negotiations, re:
            Motion to Compel Discovery pending in Rice v. Agri Marketing, Inc.,
            d/b/a Minturn Grain, 2:16-ap-1097.                                        .10


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05/24/17    Prepared and forwarded email to Jason Bauer, accountant, re:
            explanation of interpleader action.                                        .20

05/28/17    Finalized and served First Set of requests for admissions to Defendant
            re: Rice v. Big Creek Rice Farms, Inc., 2:16-ap-1118.                      .20

05/28/17    Revised draft of Second Set of requests for admissions to Lead
            Defendant re: Rice v. Hill & Hill Farms, et al, 2:16-ap-1101; also,
            reviewed pleadings, discovery responses, and related materials in
            connection with drafting discovery requests.                              1.00

05/28/17    Finalized draft of Objections, Answers, and Responses to First Set of
            Interrogatories & Requests for Production of Documents propounded
            by James Farms JV to Trustee in connection with Rice v. James Farms
            JV, et al, 2:16-ap-1103.                                                  1.00

05/28/17    Finalized and filed Motion for Leave to File Amended Complaint in
            Rice v. Oxner, 2:16-ap-1115.                                               .30


05/30/17    Email to/from Bill Waddell, attorney, re: extending time to make
            initial disclosures in Rice v. JJC Partners, et al, 2:17-ap-1024.          .10

05/30/17    Reviewed Defendant’s Responses to First Set of requests for
            admissions and Defendant’s Responses to Second Set of
            Interrogatories & Requests for Production of Documents in Rice v.
            Oxner, 2:16-ap-1115.                                                       .50

05/30/17    Email to/from Charlie Coleman, attorney, re: draft of Pre-Trial Order
            in Rice v. JD McGregor Farms LLC, 2:16-ap-1120; also, finalized
            Order and submitted to Court.                                              .20

05/30/17    Drafted letter to Shane Baker, attorney, re: issues related to Rice v.
            Agri Marketing, Inc., d/b/a Minturn Grain, 2:16-ap-1097.                   .20

05/30/17    Drafted proposed Order withdrawing Motion to Compel Discovery
            pending in Rice v. Agri Marketing, Inc., d/b/a Minturn Grain, 2:16-ap-
            1097.                                                                      .30

05/31/17    Prepared rough drafts of (1) First Set of requests for admissions and
            (2) First Set of Interrogatories & Requests for Production of
            Documents re: Rice v. Ainsworth, 2:16-ap-1105.                            1.00

05/31/17    Prepared and forwarded email to Court, re: proposed Order
            withdrawing Motion to Compel discovery in AP1097.                          .30

06/01/17    Prepared rough draft of First Set of requests for admissions to lead
            defendant re: Rice v. Medford, et al, 2:16-ap-1124; also, reviewed
            pleadings, discovery, and related materials in connection with drafting
            requests for admissions.                                                  1.00



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06/01/17    Drafted First Set of requests for admissions to LTD Farms re: Rice v.
            Leslie T Brown Farms, et al, 2:16-ap-1104; also, reviewed pleadings
            and related materials in connection with drafting requests for
            admissions.                                                               2.00

06/01/17    Emails to/from Harry Light, attorney, and Jack Talbot, attorney, re:
            finalizing and submitting Pre-Trial Order in Rice v. Leslie T Brown
            Farms, et al, 2:16-ap-1104.                                                .10

06/02/17    Finalized and served First Set of requests for admissions to LTD
            Farms and First Set of Interrogatories & Requests for Production of
            Documents to LTD Farms re: Rice v. Leslie T Brown Farms, et al,
            2:16-ap-1104; also, reviewed pleadings and related materials in
            connection with drafting discovery.                                       2.00

06/02/17    Revised draft of Objections, Answers and Responses to First Set of
            Interrogatories & Requests for Production of Documents propounded
            by James Farms JV to Trustee re: Rice v. James Farms JV, et al, 2:16-
            ap-1103; also, reviewed and assembled responsive materials for
            production.                                                                .80

06/02/17    Drafted protective order and forwarded to David Tyler, attorney, re:
            Rice v. James Farms JV, et al, 2:16-ap-1103.                               .20

06/02/17    Finalized and submitted Pre-Trial Order re: Rice v. Leslie T Brown
            Farms, et al, 2:16-ap-1104.                                                .10

06/04/17    Prepared revised draft of Trustee’s Objections, Answers, and
            Responses to First Set of Interrogatories & Requests for Production of
            Documents propounded by JFJV in Rice v. James Farms JV, et al,
            2:16-ap-1103.                                                             1.00

06/04/17    Drafted First Set of requests for admissions to lead defendant in Rice
            v. N&D Farms, et al, 2:16-ap-1125; also, reviewed pleadings and
            materials in file in connection with drafting discovery                   1.00

06/06/17    Drafted letter to Doug Noble, attorney, settlement negotiations, re:
            Rice v. Galloway, et al, 2:16-ap-1127; also, completed review and
            analysis of OCB Spreadsheet and back-up documents.                        1.00

06/06/17    Conferred with Trustee re: defenses asserted in Rice v. Medford, et al,
            2:16-ap-1124; also, reviewed file, discovery responses, and related
            materials.                                                                 .50

06/06/17    Reviewed file re: discovery responses due from Defendant in Rice v.
            Southern Rice & Cotton LLC, 2:16-ap-1095.                                  .20

06/06/17    Conferred with Kevin Keech, special counsel, re: matters set for
            hearings on June 8, 2017.                                                  .30




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06/06/17    Reviewed documents for production re: Rice v. James Farms JV, et al,
            2:16-ap-1103; also, made minor revisions to discovery responses of
            Trustee.                                                                     .50

06/07/17    Reviewed Response filed by Defendant to Trustee’s Motion to Amend
            Complaint in Rice v. Oxner, 2:16-ap-1115.                                    .50

06/07/17    Reviewed email from David Tyler, attorney, re: Rice v. James Farms
            JV, et al, 2:16-ap-1103; also, finalized and submitted Protective Order
            to Court.                                                                    .20

06/08/17    Attended hearing on Motion for Jury Trial in Rice v. Oxner, 2:16-ap-
            1115. Motion granted.                                                        .70

06/08/17    Conferred with Trustee re: Response to Motion to Amend Complaint
            and other issues related to Rice v. Oxner, 2:16-ap-1115; also, prepared
            draft of Reply.                                                              .50

06/08/17    Conferred with Trustee re: defenses asserted by lead defendants in
            Rice v. Medford, et al, 2:16-ap-1124; also, further review and analysis
            of transactions between Debtors and Defendants.                             1.20

06/08/17    Reviewed Defendant’s Responses to First Set of requests for
            admissions re: Rice v. Big Creek Rice Farms, Inc., 2:16-ap-1118.            1.00

06/08/17    Reviewed supplemental documents produced by lead defendant re:
            discovery order in Rice v. Hill & Hill, et al, 2:16-ap-1101.                2.00

06/09/17    Reviewed email from Court re: jury trial in Rice v. Leslie T. Brown
            Farms, et al, 2:16-ap-1104; also, email to Harry Light, attorney, and
            Jack Talbot, attorney, re: matters.                                          .10

06/09/17    Conferred with Kevin Keech, special counsel, re: issues related to
            Rice v. Galloway, et al, 2:16-ap-1127; also, finalized and sent letter to
            Doug Noble, attorney, settlement negotiations, re: proceeding.               .40

06/10/17    Revised draft of Reply to Response to Motion to Amend Complaint re:
            Rice v. Oxner, 2:16-ap-1115; also, drafted Rule 37 letter to Grant
            Ballard, attorney, settlement negotiations, re: disclosures and
            discovery.                                                                   .80

06/10/17    Reviewed file re: disposition of pending adversary proceedings
            (multiple) associated with lead bankruptcy case.                            1.00

06/10/17    Reviewed pleadings, discovery, and other materials related to Rice v.
            Southern Rice & Cotton LLC re: effort to determine whether ready for
            summary judgment.                                                           1.00

06/12/17    Telephone conference with Kevin Keech, special counsel, re: matters
            related to Turner Grain Merchandising, Inc., v. Gray, et al, 2:14-ap-
            1116, and Rice v. Wilkison, et al, 2:16-ap-1129.                             .30


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06/12/17    Reviewed and analyzed pleadings, discovery, and related materials in
            file re: Rice v. Southern Rice & Cotton LLC, 2:16-ap-1095; also,
            drafted outline of possible motion for summary judgment/SUMF and
            memorialized notes and analyses re: claims and defenses.                   3.50

06/12/17    Finalized and sent Rule 37 letter to Grant Ballard, attorney, settlement
            negotiations, re: Defendant’s discovery responses and disclosures.          .30

06/12/17    Reviewed and analyzed pleadings, discovery, and related materials in
            file re: Rice v. Big Creek Rice Farms, Inc., 2:16-ap-1118; also, drafted
            outline of possible motion for summary judgment/SUMF and
            memorialized notes and analyses re: claims and defenses.                   1.20

06/13/17    Drafted Third Set of requests for admissions to Defendant re: Rice v.
            Southern Rice & Cotton LLC, 2:16-ap-1095; also, reviewed pleadings,
            discovery, and related materials in connection with drafting discovery.
                                                                                       1.00

06/13/17    Finalized rough draft of motion for summary judgment/SUMF re: Rice
            v. Southern Rice & Cotton LLC, 2:16-ap-1095.                               1.00

06/13/17    Reviewed letter from Roger McNeil, attorney, settlement negotiations,
            re: Rice v. Razorback Rice & Seed Co., dba Rice Market Services,
            2:16-ap-1099, and conferred with Trustee about matter.                      .40

06/13/17    Reviewed and calendared Defendant’s First Set of Interrogatories and
            Requests for Production of Documents to Trustee re: Rice v.
            Razorback Rice & Seed Co., dba Rice Market Services, 2:16-ap-1099;
            also, prepared draft of responses.                                         1.00

06/13/17    Reviewed email from Harry Light, attorney, re: Rice v. Leslie T.
            Brown Farms, et al, 2:16-ap-1104; also, reviewed attached First Set of
            Interrogatories & Requests for Production of Documents to Trustee
            and prepared rough draft of responses.                                     1.00

06/14/17    Email to/from Barrett Moore, attorney, re: extension of time to
            respond to discovery in Rice v. 384 Farms, Inc., et al, 2:16-ap-1111.       .10

06/14/17    Cursory review of supplemental production (794 pages) made by
            Mears Defendants in Rice v. Travis Mears Farms, Inc., et al, 2:16-ap-
            1123.                                                                       .50

06/14/17    Prepared revised draft of Statement of Undisputed Material Facts, re:
            Rice v. Southern Rice & Cotton LLC, 2:16-ap-1095; also, reviewed
            pleadings, discovery, and related materials in connection with revising
            SUMF.                                                                      3.00

06/14/17    Prepared and forwarded email to Roger Mc Neil, attorney, re: reject
            offer, 50% counteroffer to settle.                                          .50



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06/14/17    Conferred with Trustee re: matters related to Rice v. Razorback Rice
            & Seed Co., d/b/a Rice Market Services, 2:16-ap-1099; also, drafted
            email to Roger McNeil, attorney, settlement negotiations, about
            matters.                                                                   .50

06/14/17    Prepared revised draft of Trustee’s Objections, Answers, and
            Responses to First Set of Interrogatories & Requests for Production of
            Documents re: Rice v. LTD Farms, et al, 2:16-ap-1104; also, reviewed
            and assembled responsive materials for production.                        1.20

06/15/17    Reviewed Defendant’s Responses to First Set of requests for
            admissions re: Rice v. 384 Farms, Inc., et al, 2:16-ap-1111.               .50

06/15/17    Prepared revised draft of Statement of Undisputed Material Facts, re:
            Rice v. Southern Rice & Cotton LLC, 2:16-ap-1095; also, reviewed
            pleadings, discovery, and related materials in connection with revising
            Statement of undisputed material facts.                                   2.00

06/15/17    Brief in Support of motion for summary judgment re: Rice v. Southern
            Rice & Cotton LLC, 2:16-ap-1095; also, reviewed pleadings,
            discovery, and related materials in connection with drafting Brief.       3.50

06/16/17    Prepared final rough drafts of Motion for Summary Judgment,
            Statement of Undisputed Material Facts, and Brief in Support re: Rice
            v. Southern Rice & Cotton LLC, 2:16-ap-1095.                              2.50

06/16/17    Conferred with Kevin Keech, special counsel, re: matters related to
            Rice v. Southern Rice & Cotton LLC, 2:16-ap-1095.                          .30

06/16/17    Reviewed Defendants’ Responses to First Set of requests for
            admissions re: Rice v. JJC Partners, et al, 2:17-ap-1024.                 1.00

06/16/17    Finalized and served (1) First Set of requests for admissions and (2)
            First Set of Interrogatories & Requests for Production of Documents
            re: Rice v. Ainsworth, 2:16-ap-1105; also, letter to Mike Dabney,
            attorney, re: status of approving Pre-Trial Order in case.                 .50

06/16/17    Reviewed Motion to Set Aside Entry of Default in Rice v. Sauer, 2:16-
            ap-1119.                                                                   .20

06/16/17    Prepared Response to motion to Set Aside Default Judgment (Rice v.
            Sauer).                                                                    .60

06/19/17    Reviewed Defendants’ Responses to First Set of Interrogatories &
            Requests for Production of Documents re: Rice v. JJC Partners, et al,
            2:17-ap-1024.                                                             2.00

06/19/17    Reviewed Defendant’s Responses to First Set of requests for
            admissions re: Rice v. Walter Shepherd Farms, et al, 2:16-ap-1110;
            also, reviewed pleadings and Defendant’s Responses to First Set of



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            Interrogatories & Requests for Production of Documents re: effort to
            determine remaining issues in dispute.                                      1.50

06/19/17    Telephone conference with Kate Reid, special counsel, re: matters
            related to discovery in Rice v. Ag Heritage, et al, 2:16-ap-1098.            .30

06/19/17    Prepared revised drafts of Motion for Summary Judgment, Statement
            of Undisputed Material Facts and Brief in Support re: Rice v. Southern
            Rice & Cotton LLC, 2:16-ap-1095.                                            2.20

06/19/17    Revised and finalized Initial Disclosures of Trustee re: Rice v. JJC
            Partners, et al, 2:17-ap-1024.                                               .20

06/20/17    Reviewed letter from Ralph Scott, attorney, settlement negotiations,
            re: Rice v. Benton, 2:16-ap-1136; also, drafted and forwarded
            response letter.                                                             .80

06/20/17    Reviewed James Farms JV’s Responses to First Set of requests for
            admissions re: Rice v. James Farms JV, et al, 2:16-ap-1103; also,
            prepared final draft of Trustee’s Responses to First Set of
            Interrogatories & Requests for Production of Documents.                     1.50

06/20/17    Email to/from Harry Light, attorney, settlement negotiations, re:
            pending discovery and other matters related to Rice v. Leslie T.
            Brown Farms, et al, 2:16-ap-1104.                                            .10

06/20/17    Reviewed and analyzed documents related to ordinary course of
            business defense in connection with drafting Motion for Partial
            Summary Judgment re: Rice v. Southern Rice & Cotton LLC.                    1.00

06/20/17    Finalized and served Initial Disclosures re: Rice v. JJC Partners, et al,
            2:17-ap-1024.                                                                .10

06/21/17    Telephone conference with Doug Noble, attorney, settlement
            negotiations, re: matters related to Rice v. Galloway Cotton Farms, et
            al, 2:16-ap-1127.                                                            .30

06/21/17    Prepared revised drafts of Motion for Summary Judgment, Statement
            of Undisputed Material Facts , and Brief in Support re: Rice v.
            Southern Rice & Cotton LLC, 2:16-ap-1095; also, further review of
            pleadings, discovery, and related materials in connection with drafting
            papers.                                                                     1.60

06/21/17    Drafted letter to Bill Waddell, attorney, re: issues related to discovery
            responses in Rice v. JJC Partners, et al, 2:17-ap-1024.                      .80

06/21/17    Finalized and submitted Trustee’s Responses to First Set of
            Interrogatories & Requests for Production of Documents re: Rice v.
            James Farms JV, et al, 2:16-ap-1103.                                         .20




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06/21/17    Reviewed pleadings and other materials related to Rice v. JD
            McGregor Farms LLC, 2:16-ap-1122, Rice v. Medford, 2:16-ap-1124,
            Rice v. N&D Farms, 2:16-ap-1125, Rice v. England, 2:16-ap-1142,
            and Rice v. Lyle Trust, 2:16-ap-1143; also, conferred with Trustee
            about matters.                                                            1.00

06/22/17    Telephone conference with Bill Waddell, attorney, re: Oakley Grain,
            Inc., et al, v. Turner Grain Merchandising, Inc., et al Case No.
            2:15-ap-01009, and parallel state court litigation.                        .30

06/22/17    Telephone conference with Roger McNeil, attorney, re: Rice v.
            Razorback Rice & Seed Co., d/b/a Rice Market Services, 2:16-ap-
            1099.                                                                      .10

06/22/17    Telephone conference with Trey Scott, attorney, settlement
            negotiations, re: Rice v. Benton, 2:16-ap-1136.                            .20

06/22/17    Telephone conference with Jack Talbot, attorney, re: matters related
            to Rice v. Leslie T Brown Farms, et al, 2:16-ap-1104.                      .20

06/22/17    Prepared rough draft of ordinary course of business spreadsheet re:
            Rice v. Southern Rice & Cotton LLC, 2:16-ap-1095; also, reviewed
            and analyzed invoices, checks, and other back-up documents in
            connection with drafting spreadsheet.                                     3.00

06/22/17    Prepared final rough drafts of Motion for Summary Judgment,
            Statement of Undisputed Material Facts and Brief in Support re: Rice
            v. Southern Rice & Cotton LLC, 2:16-ap-1095; also, further review of
            pleadings, discovery, and related materials in connection with drafting
            papers.                                                                   1.00

06/23/17    Conference with Randy Rice, attorney, re: pending discovery in two
            specific adversary proceedings, probable course of proceeding
            forward.                                                                   .75

06/23/17    Conferred with Trustee re: matters related to Rice v. Southern Rice &
            Cotton LLC, 2:16-ap-1095.                                                  .50

06/23/17    Reviewed Responses to Second Set of Requests for Admission re:
            Rice v. Hill & Hill, 2:16-ap-1101.                                         .50

06/23/17    Reviewed Responses to First Set of Requests for Admission re: Rice
            v. Benton, 2:16-ap-1136.                                                   .50

06/23/17    Reviewed Defendant’s Responses to First Set of requests for
            admissions re: Rice v. Razorback Rice & Seed Co., d/b/a Rice Market
            Services, 2:16-ap-1099.                                                   1.00

06/26/17    Conferred with Trustee re: matters related to Rice v. Benton, 2:16-ap-
            1136, Rice v. Razorback Rice & Seed Co., d/b/a Rice Market



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            Services, 2:16-ap-1099, and Rice v. Razorback Rice & Seed Co., d/b/a
            Rice Market Services, 2:16-ap-1099.                                        .50

06/26/17    Email to/from Shane Banker, attorney, re: extending deadline for
            Defendant to respond to second set of discovery requests in Rice v.
            Agri Marketing, Inc., d/b/a Minturn Grain, 2:16-ap-1097.                   .10

06/26/17    Reviewed supplemental documents produced in discovery by Mears
            Defendants re: Rice v. Travis Mears Farms, Inc., 2:16-ap-1123.            1.00

06/26/17    Reviewed and analyzed Motions for Abstention and Remand filed by
            Lyndsey Dilks, attorney, in Turner Grain Merchandising, Inc., v.
            Gray, et al, 2:14-ap-1116.                                                1.00

06/26/17    Email to/from Kim Tucker, attorney, re: request for additional
            documents in discovery from Trustee re: Rice v. Hill & Hill Farms, et
            al, 2:16-ap-1101; also, reviewed Debtor’s file in effort to produce
            responsive materials.                                                      .50

06/26/17    Conferred with Trustee re: matters related to Rice v. JD McGregor
            Farms LLC, 2:16-ap-1122, Rice v. Medford, 2:16-ap-1124, Rice v.
            N&D Farms, 2:16-ap-1125, Rice v. England, 2:16-ap-1142, and Rice
            v. Lyle Trust, 2:16-ap-1143.                                               .50

06/26/17    Reviewed email from Bill Waddell, attorney, requesting records
            identified in Trustee’s Initial Disclosures; also, started assembling
            records for production.                                                   1.00

06/26/17    Revised draft of ORDINARY COURSE OF BUSINESS Spreadsheet,
            trial preparation re: Rice v. Southern Rice & Cotton LLC, 2:16-ap-
            1095; also, reviewed back-up documentation to transactions between
            Debtor and Southern Rice & Cotton LLC in connection with revising
            spreadsheet.                                                              1.00

06/27/17    Conferred with Trustee re: Motions for Abstention and Remand filed
            by Lyndsey Dilks, attorney, in Turner Grain Merchandising, Inc., v.
            Gray, et al, 2:14-ap-1116, and drafted Response to Motions; also,
            reviewed cases cited by Dilks in Brief.                                   1.50

06/27/17    Email to/from Bill Waddell, attorney, re: suggestion of protective
            order and other issues related to Rice v. JJC Partners, et al, 2:17-ap-
            1024.                                                                      .30

06/27/17    Reviewed email and attached discovery to Trustee from Paul Bennett,
            attorney, re: Rice v. Walter Shepherd Farms, et al, 2:16-ap-1110; also,
            drafted discovery responses.                                              1.00

06/27/17    Revised draft of Trustee’s discovery responses re: Rice v. Razorback
            Rice & Seed Co., d/b/a Rice Market Services, 2:16-ap-1099; also,
            started assembling documents for production.                              1.00



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06/29/17    Telephone conference with Trey Scott, attorney, settlement
            negotiations, re: Rice v. Benton, 2:16-ap-1136.                             .20

06/29/17    Reviewed Supplemental Responses to First Set of requests for
            admissions re: Rice v. JJC Partners, et al, 2:17-ap-1024.                   .60

06/29/17    Reviewed LTD Farms’ Responses to First Set of requests for
            admissions re: Rice v. Leslie T Brown Farms, et al, 2:16-ap-1104.          1.00

06/29/17    Reviewed pleadings, discovery, and back-up documents to
            transactions re: Rice v. Razorback Rice & Seed Co., d/b/a Rice Market
            Services, 2:16-ap-1099.                                                    1.00

06/29/17    Finalized and filed Responses to Motions for Abstention and Remand
            re: Turner Grain v. Gray, et al, 2:14-ap-1116.                              .50

06/29/17    Letter to Lyndsey Dilks, attorney, re: discovery issues related to Rice
            v. Southern Rice & Cotton LLC, 2:16-ap-1095.                                .50

06/29/17    Reviewed and analyzed documents produced in discovery re: ordinary
            course of business defense in Rice v. Agri Marketing, Inc., d/b/a
            Minturn Grain, 2:16-ap-1097.                                               2.00

06/30/17    Reviewed letter from Doug Noble, attorney, settlement negotiations,
            re: Rice v. Galloway Farms, 2:16-ap-1127, Rice v. Gregory Farms,
            2:16-ap-1132, and Rice v. Watson Farms, 2:16-ap-1145; also,
            reviewed and analyzed documents provided to support positions and
            conferred with Trustee about matters.                                      1.00

06/30/17    Reviewed Defendant’s discovery responses and draft protective order
            re: Rice v. 384 Farms, Inc., 2:16-ap-1111.                                 1.00

06/30/17    Telephone conference with Lyndsey Dilks, attorney, re: discovery
            issues related to Rice v. Southern Rice & Cotton LLC, 2:16-ap-1095.
                                                                                        .40

07/05/17    Telephone conference with Bill Waddell, attorney, re: protective order
            and discovery in Rice v. JJC Partners, et al, 2:17-ap-1024.                 .30


07/05/17    Emails to/from Greg Bevel, special counsel, re: matters related to Rice
            v. KBX, Inc., 2:16-ap-1023, and Rice v. Gavilon Grain LLC, 2:16-ap-
            1149.                                                                       .20

07/05/17    Review and analysis of documents produced in discovery re: ordinary
            course of business defense in Rice v. James Farms JV, et al, 2:16-ap-
            1103.                                                                      1.80

07/05/17    Email to/from Bill Waddell, attorney, re: matters related to Rice v. JJC
            Partners, et al, 2:17-ap-1024; also, finalized and submitted protective
            order to Court.                                                             .30


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07/05/17    Review and analysis of documents produced in discovery re: ongoing
            settlement negotiations in Rice v. Razorback Rice & Seed Co., d/b/a
            Rice Market Services, 2:16-ap-1099.                                       1.20

07/06/17    Reviewed supplemental documents produced by Jimel Farms, Inc., re:
            Rice v. JJC Partners, et al, 2:17-ap-1024.                                1.00

07/06/17    Reviewed and analyzed discovery and other materials re: ordinary
            course of business defenses asserted by Jimel Farms, Inc., and JRC
            Partners re: Rice v. JJC Partners, et al, 2:17-ap-1024.                   1.70

07/06/17    Email to/from Roger McNeil, attorney, settlement negotiations, re:
            Rice v. Razorback Rice & Seed Co., d/b/a Rice Market Services, 2:16-
            ap-1099; also, conferred with Trustee about matters.                      1.00

07/07/17    Email to/from Roger McNeil, attorney, settlement negotiations, re:
            Rice v. Razorback Rice & Seed Co., d/b/a Rice Market Services, 2:16-
            ap-1099; also, conferred with Trustee about matters.                       .50

07/07/17    Reviewed email and attached proposed Amended Answers from David
            Tyler, attorney, re: Rice v. James Farms JV, 2:16-ap-1103, and Rice
            v. Fogleman Farms, 2:16-ap-1109.                                           .30

07/07/17    Reviewed supplemental discovery responses and production made by
            Defendant, JRC Partners, re: Rice v. JJC Partners, et al, 2:17-ap-1024.
                                                                                      1.00

07/07/17    Conference with Randy Rice, attorney, re: defendants’ intent to amend
            complaints in Rice v. Fogleman and Rice v. James, upcoming
            conferences with tucker and Coleman, defenses asserted by landlords
            in multiple adversary proceedings, terms of proposed compromise
            settlement in Rice v. Rice Marketing Services.                             .60

07/10/17    Reviewed and analyzed back-up documents in connection with
            analyzing ordinary course of business defense asserted in Rice v. JJC
            Partners, et al, 2:17-ap-1024.                                            3.00

07/10/17    Email to/from Kendel Grooms, attorney, settlement negotiations, re:
            Rice v. K&K Farm Service, Inc., 2:16-ap-1102.                              .10

07/10/17    Letter to Doug Noble, attorney, settlement negotiations, re: Rice v.
            Galloway Cotton Farms, et al, 2:16-ap-1127, Rice v. Gregory Farms,
            2:16-ap-1132, and Rice v. Watson Farms, 2:16-ap-1145.                      .50

07/11/17    Telephone conference with Kendel Grooms, attorney, settlement
            negotiations, re: matters related to Rice v. K&K Farm Service, Inc.,
            2:16-ap-1102, and matters related to Zero Grade Farms, et al, vs. Agri-
            petroleum Sales, et al, 43CV-14-410.                                       .40

07/11/17    Reviewed Third Supplemental Responses to First Set of
            Interrogatories & Requests for Production of Documents, First


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            Supplemental Responses to requests for admissions, Responses to
            Second Set of requests for admissions, and Responses to Second Set
            of Interrogatories & Requests for Production of Documents re: Rice
            v. Agri Marketing, Inc., d/b/a Minturn Grain, 2:16-ap-1097.              2.80

07/11/17    Prepared revised draft of Objections, Answers, and Responses to First
            Set of Interrogatories & Requests for Production of Documents re:
            Rice v. Walter Shepherd Farms, 2:16-ap-1110.                             1.00

07/11/17    Reviewed case files re: effort to determine status and disposition of
            multiple adversary proceedings.                                          1.00

07/12/17    Completed review of Third Supplemental Responses to First Set of
            Interrogatories & Requests for Production of Documents, First
            Supplemental Responses to requests for admissions, Responses to
            Second Set of requests for admissions, and Responses to Second Set
            of Interrogatories & Requests for Production of Documents re: Rice
            v. Agri Marketing, Inc., d/b/a Minturn Grain, 2:16-ap-1097.              2.00

07/12/17    Conferred with Trustee re: defendants’ intent to file Amended Answer
            in Rice v. James Farms JV, 2:16-ap-1103.                                  .50

07/12/17    Revised draft of Objections, Answers, and Responses to First Set of
            Interrogatories & Requests for Production of Documents re: Rice v.
            Walter Shepherd Farms, 2:16-ap-1110; also, conferred with trustee
            about issues related to responses, objections, and production.           1.00

07/12/17    Further review of pleadings and back-up documents re: ongoing
            settlement negotiations concerning Rice v. Galloway Farms, 2:16-ap-
            1126, Rice v. Gregory Farms, 2:16-ap-1132, and Rice v. Watson
            Farms, 2:16-ap-1145.                                                     1.00

07/12/17    Telephone conference with Barrett Moore, attorney, re: matters related
            to Rice v. Travis Mears Farms, Inc., et al, 2:16-ap-1123, and Rice v.
            384 Farms, Inc., et al, 2:16-ap-1111.                                     .30

07/13/17    Email to/from Kendel Grooms, attorney, re: Rice v. K & K Farm
            Service, Inc., 2:16-ap-1102, and Zero Grade Farms, et al, vs. Agri-
            petroleum Sales, et al, 43CV-14-410; also, reviewed file and conferred
            with Trustee about issues.                                                .80

07/13/17    Reviewed email and attached protective order from Grant Ballard,
            attorney, re: Rice v. Oxner, 2:16-ap-1115.                                .40

07/13/17    Reviewed pleadings and related materials and conferred with Trustee
            about prospect of settlement negotiations re: Rice v. Oxner, 2:16-ap-
            1115, Rice v. Calloway, 2:16-ap-1128, Rice v. Prairie Gold Farms,
            2:16-ap-1131, and Rice v. Fowler, 2:16-ap-1144.                          1.00

07/13/17    Email to/from Harry Light, attorney, re: discovery and other issues
            related to Rice v. Leslie T Brown Farms, 2:16-ap-1104.                    .30


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07/13/17    Revised draft of Trustee’s Discovery Responses re: Rice v. Rice v.
            Leslie T Brown Farms, 2:16-ap-1104, and reviewed and assembled
            documents for production.                                                  1.80

07/13/17    Email to/from Kendel Grooms, attorney, re: Rice v. K & K Farm
            Service, Inc., 2:16-ap-1102, and Zero Grade Farms, et al, vs. Agri-
            petroleum Sales, et al, 43CV-14-410; also, reviewed file and conferred
            with Trustee about issues.                                                  .80

07/13/17    Reviewed email and attached protective order from Grant Ballard,
            attorney, re: Rice v. Oxner, 2:16-ap-1115.                                  .30

07/13/17    Email to/from Harry Light, attorney, re: discovery and other issues
            related to Rice v. Leslie T Brown Farms, 2:16-ap-1104.                      .30

07/13/17    Revised draft of Trustee’s Discovery Responses re: Rice v. Rice v.
            Leslie T Brown Farms, 2:16-ap-1104, and reviewed and assembled
            documents for production.                                                  1.80

07/14/17    Email to/from Doug Noble, attorney, settlement negotiations, re: Rice
            v. Galloway Cotton Farms, 2:16-ap-1126, Rice v. Gregory Farms,
            2:16-ap-1132, and Rice v. Watson Farms, 2:16-ap-1145.                       .50

07/16/17    Reviewed email from Kendel Grooms, attorney, re: Rice v. K & K
            Farm Service, Inc., 2:16-ap-1102, and Zero Grade Farms, et al, vs.
            Agri-petroleum Sales, et al, 43CV-14-410; also, reviewed file and
            conferred with Trustee about issues.                                        .40

07/16/17    Email to/from Harry Light, attorney, settlement negotiations, re:
            matters related to Rice v. Leslie T Brown Farms, et al, 2:16-ap-1104.
                                                                                        .20


                           Total hours                                               956.05




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       RECAPITULATION OF FEES CHARGED TO ESTATE
                                    M. RANDY RICE


  Period of time          Hours                 Rate        Amount

04/29/16 to 12/31/16      624.40               $325.00    $202,930.00
01/01/17 to 07/20/17      466.05                335.00     156,126.75

                         1,090.45                                       $ 359,056.75




                           HAMILTON M. MITCHELL


  Period of time          Hours                 Rate        Amount

04/29/16 to 12/31/16      421.15               $140.00    $ 58,961.00
01/01/17 to 07/20/17      534.90                165.00      88,258.50

                          956.05                                         147,219.50


TOTAL                    2,046.50                                       $ 506,276.25




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